                                                              Case 2:23-cv-03885-LMG-LDW       Document 71-2 Filed 12/07/23 Page 1 of 102 PageID: 3267
                                                                                       State of New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_clean_Sp
1⠀      AR Organization: 01‐ FONSI         DOT_0000001 DOT_0000047           47     5/15/2023 14:24 anish US Final.pdf
                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_clean_Chi
2⠀      AR Organization: 01‐ FONSI         DOT_0000048 DOT_0000086           39     5/15/2023 14:33 nese Simplified Final.pdf
                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_clean_Be
3⠀      AR Organization: 01‐ FONSI         DOT_0000087 DOT_0000139           53     5/16/2023 17:27 ngali Final.pdf
                                                                                                    Draft
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4⠀      AR Organization: 01‐ FONSI         DOT_0000140 DOT_0000182           43     5/16/2023 17:42 ian.pdf
                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_clean_Hai
5⠀      AR Organization: 01‐ FONSI         DOT_0000183 DOT_0000223           41     5/17/2023 14:08 tian Creole Final.pdf
                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_Russian
6⠀      AR Organization: 01‐ FONSI         DOT_0000224 DOT_0000272           49     5/17/2023 15:11 Final.pdf
                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_Portugue
7⠀      AR Organization: 01‐ FONSI         DOT_0000273 DOT_0000317           45     5/17/2023 15:12 se BR Final.pdf
                                                                                                    Draft
                                                                                                    FONSI_Reformatted_v1_050823_clean_Ko
8⠀      AR Organization: 01‐ FONSI         DOT_0000318 DOT_0000360           43     5/17/2023 14:49 rean Final.pdf
9⠀      AR Organization: 01‐ FONSI         DOT_0000361 DOT_0000401           41      6/23/2023 7:09 CBDTP FONSI 06232023.pdf
        AR Organization: 02 ‐ FINAL EA +
10⠀     Appendices                         DOT_0000402 DOT_0000402            1     7/20/2022 14:23 44757_KoreanDaily.pdf
        AR Organization: 02 ‐ FINAL EA +
11⠀     Appendices                         DOT_0000403 DOT_0000403            1     7/20/2022 14:27 44757_ElDiario.pdf
        AR Organization: 02 ‐ FINAL EA +
12⠀     Appendices                         DOT_0000404 DOT_0000404            1     7/20/2022 14:30 44757_CWJ.pdf
        AR Organization: 02 ‐ FINAL EA +                                                            CBD Tolling EA_Appendices_Volume
13⠀     Appendices                         DOT_0000405 DOT_0001577       1173       8/18/2022 11:11 2_combined.pdf                              Appendices ‐ Volume 2
        AR Organization: 02 ‐ FINAL EA +                                                            CBD Tolling EA_Appendices_Volume
14⠀     Appendices                         DOT_0001578 DOT_0003543       1966       8/18/2022 12:48 1_combined.pdf                              Appendices ‐ Volume 1
        AR Organization: 02 ‐ FINAL EA +                                                            00 Executive Summary FINAL 03‐2023
15⠀     Appendices                         DOT_0003544 DOT_0003597           54     4/26/2023 20:25 (1).pdf
        AR Organization: 02 ‐ FINAL EA +
16⠀     Appendices                         DOT_0003598 DOT_0004506           909     5/2/2023 10:58 CBDTP_Appendices_Volume 3.pdf
        AR Organization: 02 ‐ FINAL EA +
17⠀     Appendices                         DOT_0004507 DOT_0006066       1560        5/2/2023 11:33 CBDTP_Appendices_Volume 1.pdf               Appendix 2, Project Alternatives
        AR Organization: 02 ‐ FINAL EA +
18⠀     Appendices                         DOT_0006067 DOT_0007450       1384        5/4/2023 13:17 CBDTP_Appendices_Volume 2.pdf
        AR Organization: 02 ‐ FINAL EA +
19⠀     Appendices                         DOT_0007451 DOT_0007451            1      5/5/2023 12:49 Notice of Availability_ITALIAN.pdf
        AR Organization: 02 ‐ FINAL EA +
20⠀     Appendices                         DOT_0007452 DOT_0036141      28690        5/5/2023 13:43 CBDTP_Appendices_Volume 4.pdf               Appendix 18C, Response to Comments
        AR Organization: 02 ‐ FINAL EA +
21⠀     Appendices                         DOT_0036142 DOT_0036142            1        5/8/2023 9:13 Notice of Availability_ENGLISH.pdf
        AR Organization: 02 ‐ FINAL EA +
22⠀     Appendices                         DOT_0036143 DOT_0036143            1        5/8/2023 9:22 Notice of Availability_SPANISH.pdf
        AR Organization: 02 ‐ FINAL EA +
23⠀     Appendices                         DOT_0036144 DOT_0036144            1        5/8/2023 9:25 Notice of Availability_HAITIANCREOLE.pdf
        AR Organization: 02 ‐ FINAL EA +
24⠀     Appendices                         DOT_0036145 DOT_0036145            1        5/8/2023 9:27 Notice of Availability_KOREAN.pdf
        AR Organization: 02 ‐ FINAL EA +
25⠀     Appendices                         DOT_0036146 DOT_0036146            1        5/8/2023 9:29 Notice of Availability_PORTUGUESE.pdf
        AR Organization: 02 ‐ FINAL EA +
26⠀     Appendices                         DOT_0036147 DOT_0036147            1        5/8/2023 9:29 Notice of Availability_RUSSIAN.pdf
        AR Organization: 02 ‐ FINAL EA +
27⠀     Appendices                         DOT_0036148 DOT_0036148            1        5/8/2023 9:30 Notice of Availability_BENGALI.pdf




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        AR Organization: 02 ‐ FINAL EA +
28⠀     Appendices                         DOT_0036149 DOT_0036149            1       5/8/2023 9:31 Notice of Availability_CHINESE.pdf
        AR Organization: 02 ‐ FINAL EA +                                                            CBD Tolling Final
29⠀     Appendices                         DOT_0036150 DOT_0037107           958     5/8/2023 15:11 EA_Chapters_Combined.pdf                Contents
        AR Organization: 03 ‐ Draft EA +
30⠀     Appendices                         DOT_0037108 DOT_0037108            1     7/20/2022 14:21 44757_WeeklyBengali.pdf
        AR Organization: 03 ‐ Draft EA +
31⠀     Appendices                         DOT_0037109 DOT_0037109            1     7/20/2022 14:22 44757_RusskayaReklama.pdf
        AR Organization: 03 ‐ Draft EA +
32⠀     Appendices                         DOT_0037110 DOT_0037110            1     7/20/2022 14:26 44757_HaitiLiberte.pdf
        AR Organization: 03 ‐ Draft EA +
33⠀     Appendices                         DOT_0037111 DOT_0037111            1     7/20/2022 14:59 CBDTP_hearing_Portuguese.pdf
        AR Organization: 03 ‐ Draft EA +                                                            00_Executive Summary FINAL 08‐2022
34⠀     Appendices                         DOT_0037112 DOT_0037147           36     7/27/2022 22:17 REVISED.docx                            Chapter 1, Introduction
        AR Organization: 03 ‐ Draft EA +
35⠀     Appendices                         DOT_0037148 DOT_0037148            1      8/1/2022 17:02 CDBTP_hearing_Italian.pdf

        AR Organization: 03 ‐ Draft EA +                                                                                                    Central Business District (CBD) Tolling
36⠀     Appendices                         DOT_0037149 DOT_0038016           868 8/15/2022 16:11 CBD Tolling EA_Chapters_combined.pdf       Program Environmental Assessment
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
37⠀     Appendices                         DOT_0038017 DOT_0038049           33 8/16/2022 15:38 2022_Chinese Simplified_Final_0.pdf         Executive Summary (Chinese Simplified)
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
38⠀     Appendices                         DOT_0038050 DOT_0038082           33 8/16/2022 15:40 2022_Haitian Creole_Final_0.pdf             Executive Summary (Haitian Creole)
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
39⠀     Appendices                         DOT_0038083 DOT_0038117           35 8/16/2022 15:41 2022_Italian_Final_0.pdf                    Executive Summary (Italian)
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
40⠀     Appendices                         DOT_0038118 DOT_0038157           40 8/16/2022 15:50 2022_Bengali_Final_0.pdf                    Chapter 1, Introduction
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
41⠀     Appendices                         DOT_0038158 DOT_0038190           33 8/16/2022 15:52 2022_Korean_Final.pdf                       Executive Summary (Korean)
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
42⠀     Appendices                         DOT_0038191 DOT_0038227           37 8/16/2022 15:54 2022_Portuguese_Final_0.pdf                 Executive Summary (Portuguese)
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
43⠀     Appendices                         DOT_0038228 DOT_0038266           39 8/16/2022 15:55 2022_Russian_Final_0.pdf                    Executive Summary (Russian)
        AR Organization: 03 ‐ Draft EA +                                                         00 Executive Summary FINAL 08‐
44⠀     Appendices                         DOT_0038267 DOT_0038304           38 8/16/2022 15:57 2022_Spanish_Final_0.pdf                    Executive Summary (Spanish)
45⠀     AR Organization: 04 ‐ Misc         DOT_0038305 DOT_0038306            2 4/25/2019 15:54 CBD Tolling Program Handout.pdf
                                                                                                 CBDTP Expression of Interest Clean
46⠀     AR Organization: 04 ‐ Misc         DOT_0038307 DOT_0038314            8 6/17/2019 11:01 Submitted FIN2 v7 6‐17‐19.pdf
                                                                                                 All Attachments CBD EOI FIN3 06‐17‐19
47⠀     AR Organization: 04 ‐ Misc         DOT_0038315 DOT_0038366           52 6/17/2019 13:21 (00098060x7A901).pdf
48⠀     AR Organization: 04 ‐ Misc         DOT_0038367 DOT_0038368            2 10/10/2019 15:39 ejscreen_NYC.PDF
                                                                                                 NYC VPPP EJ.population and labor.ACS
49⠀     AR Organization: 04 ‐ Misc         DOT_0038369 DOT_0038374            6 10/15/2019 14:29 LEHD.2019Oct15.pdf
                                                                                                 NYC VPPP EJ.population and labor.ACS
50⠀     AR Organization: 04 ‐ Misc         DOT_0038375 DOT_0038380            6 10/15/2019 14:29 LEHD.2019.pdf
                                                                                                 RE_ Briefing_ NYC VPPP NEPA
51⠀     AR Organization: 04 ‐ Misc         DOT_0038381 DOT_0038386            6 2/23/2021 13:35 Considerations 10‐15‐2019_A2.pdf
                                                                                                 RE_ Briefing_ NYC VPPP NEPA
52⠀     AR Organization: 04 ‐ Misc         DOT_0038387 DOT_0038387            1 2/23/2021 13:35 Considerations 10‐15‐2019_A3.pdf
                                                                                                 RE_ Briefing_ NYC VPPP NEPA
53⠀     AR Organization: 04 ‐ Misc         DOT_0038388 DOT_0038390            3 2/23/2021 13:40 Considerations 10‐22‐2019_A.pdf

                                                                                                 RE_ Briefing_ NYC VPPP NEPA
54⠀     AR Organization: 04 ‐ Misc         DOT_0038391 DOT_0038393            3  2/23/2021 13:41 Considerations 10‐22‐2019 response_A.pdf
                                                                                                 All_Attachments_CBD_EOI_FIN3_06‐17‐
55⠀     AR Organization: 04 ‐ Misc         DOT_0038394 DOT_0038445           52 6/17/2019 13:21 19_(00098060x7A901).pdf
56⠀     AR Organization: 04 ‐ Misc         DOT_0038446 DOT_0038453            8   3/10/2021 9:01 nepa‐page‐limits‐policy‐081919.pdf
57⠀     AR Organization: 04 ‐ Misc         DOT_0038454 DOT_0038455            2   6/24/2021 8:26 CBDTP Handout DFT v15 6‐17‐21.pdf
58⠀     AR Organization: 04 ‐ Misc         DOT_0038456 DOT_0038456            1 9/24/2021 11:17 CBDTP Project Location (2).pdf
59⠀     AR Organization: 04 ‐ Misc         DOT_0038457 DOT_0038491           35 11/12/2021 18:17 PoDI SOP 2021.10.13 (002).docx
                                                                                                 Prior Concurrence Request ‐ NYC CBDTP
60⠀     AR Organization: 04 ‐ Misc         DOT_0038492 DOT_0038492            1 2/10/2022 16:43 Project ‐ 02.10.2022 signed.pdf




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                                                                                               CBDTP_Central_Park_Interior_Equipment_
61⠀     AR Organization: 04 ‐ Misc     DOT_0038493 DOT_0038538           46                    Info_DFT_v1_3‐4‐22.pdf
                                                                                               EA_Signage_Appendix_DFT_v2_3‐10‐
62⠀     AR Organization: 04 ‐ Misc     DOT_0038539 DOT_0038554           16    3/10/2022 19:05 22.pdf
                                                                                               CBDTP_‐_Fig_1_‐
                                                                                               _CTs_with_Median_Income_Less_Than_36
63⠀     AR Organization: 04 ‐ Misc     DOT_0038555 DOT_0038555           1     4/22/2022 12:58 K_DFT_v1_04‐22‐2022.pdf
                                                                                               CBDTP_‐_Fig_2‐_Low‐
                                                                                               Income_Indictors_w_35K_Threshold_DFT_
64⠀     AR Organization: 04 ‐ Misc     DOT_0038556 DOT_0038556           1     4/22/2022 12:58 v1_04‐22‐2022.pdf
65⠀     AR Organization: 04 ‐ Misc     DOT_0038557 DOT_0038558           2     5/31/2022 14:56 TRIBAL CONTACT LIST.pdf                List of Tribal Contacts ‐ Section 106
66⠀     AR Organization: 04 ‐ Misc     DOT_0038559 DOT_0038559           1      6/17/2022 9:32 34621_FSO_GS_06172022.docx
                                                                                               34621_FSO_GS_06172022_LPC
67⠀     AR Organization: 04 ‐ Misc     DOT_0038560 DOT_0038560           1     6/17/2022 15:43 Concurrence.pdf
                                                                                               CBDTP Finding
68⠀     AR Organization: 04 ‐ Misc     DOT_0038561 DOT_0038614           54    6/20/2022 14:19 Documentation_FINAL_2022‐6‐20.pdf      Cultural Resources Screening Report
                                                                                               CBDTP_Finding
                                                                                               Documentation_Appendices_2022‐6‐
69⠀     AR Organization: 04 ‐ Misc     DOT_0038615 DOT_0038711           97     6/21/2022 8:10 20_part1.pdf                           Cultural Resources Screening Report

                                                                                               CBD_Tolling_Distribution_List_2022‐07‐
70⠀     AR Organization: 04 ‐ Misc     DOT_0038712 DOT_0038712           1     4/16/2021 12:00 30_Partner_and_Other_Agencies.xlsx
                                                                                               Manhattan_CBD_Low‐
                                                                                               Income_Drivers_by_Census_Tract_shrunk.
71⠀     AR Organization: 04 ‐ Misc     DOT_0038713 DOT_0038715           3     8/23/2022 17:39 pdf
                                                                                               CBDTP_Low‐
                                                                                               Income_Drivers_by_Census_Tract_v2_DFT
72⠀     AR Organization: 04 ‐ Misc     DOT_0038716 DOT_0038716           1     8/23/2022 17:39 _08‐25‐2022.xlsx
73⠀     AR Organization: 04 ‐ Misc     DOT_0038717 DOT_0038717           1                     land_uses.PNG
74⠀     AR Organization: 04 ‐ Misc     DOT_0038718 DOT_0038718           1                     EJ_Tracts.PNG
75⠀     AR Organization: 04 ‐ Misc     DOT_0038719 DOT_0038719           1                     population_density.PNG
76⠀     AR Organization: 04 ‐ Misc     DOT_0038720 DOT_0038721           2     1/19/2023 18:02 FHWA Memo Sensitivity Analyiss.pdf
77⠀     AR Organization: 04 ‐ Misc     DOT_0038722 DOT_0038729           8     3/14/2023 10:06 March_Table_v2_031423.docx
                                                                                               FINAL CP EA Prior Concurrence Memo 4‐27‐
78⠀     AR Organization: 04 ‐ Misc     DOT_0038730 DOT_0038730           1     4/27/2023 12:53 23.pdf
                                                                                               CBDTP FONSI Prior Concurrence Memo_06‐
79⠀     AR Organization: 04 ‐ Misc     DOT_0038731 DOT_0038731           1     6/22/2023 12:50 22‐2023.pdf

80⠀     AR Organization: 04 ‐ Misc     DOT_0038732 DOT_0038755           24    8/10/2023 13:29 MTA Traffic Mobility Reform Act 2019.pdf
                                                                                                                                                                                                                       "OConnor, Arthur (FHWA)"
81⠀     AR Organization: 05 ‐ Emails   DOT_0038756 DOT_0038756           1      4/5/2019 12:50 RE_ Congestion Pricing.msg                 RE: Congestion Pricing              "Takyi, Isaac" <Isaac.Takyi@mtahq.org>   <Arthur.OConnor@dot.gov>


                                                                                                                                                                                                                       "Cafiero, Peter" <pcafiero@mtahq.org>, "Canavan, "Lennon, Lawrence" <llennon@mtahq.org>, "Renek, Naomi"
                                                                                                                                                                                                                       Michael (FHWA)" <Michael.Canavan@dot.gov>,       <nrenek@mtabt.org>, ron.epstein dot.ny.gov
                                                                                                                                                                              "Marquis, Rick (FHWA)"                   "Price, Anna (FHWA)" <anna.price@dot.gov>,       <ron.epstein@dot.ny.gov>, "robert.allen@hdrinc.com"
82⠀     AR Organization: 05 ‐ Emails   DOT_0038757 DOT_0038761           5      6/13/2019 9:32 Re_ Congestion Pricing DBOM RFP.msg        Re: Congestion Pricing DBOM RFP     <Rick.Marquis@dot.gov>                   "Davies, Robert (FHWA)" <Robert.Davies@dot.gov> <robert.allen@hdrinc.com>

                                                                                               RE_ follow up from this morning's          RE: follow up from this morning's   "OConnor, Arthur (FHWA)"                                                                  "Price, Anna (FHWA)" <anna.price@dot.gov>, "Renek, Naomi"
83⠀     AR Organization: 05 ‐ Emails   DOT_0038762 DOT_0038764           3      6/18/2019 9:58 discussion.msg                             discussion                          <Arthur.OConnor@dot.gov>                 "C. de Cerreno, Allison" <acdecerreno@mtabt.org> <nrenek@mtabt.org>, "Paul, Elizabeth" <epaul@mtabt.org>

                                                                                                                                                                                                                       "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Leslie,
                                                                                                                                                                              "Price, Anna (FHWA)"                     Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
84⠀     AR Organization: 05 ‐ Emails   DOT_0038765 DOT_0038765            1    6/20/2019 11:11 NYC Congestion Pricing Info.msg            NYC Congestion Pricing Info         <anna.price@dot.gov>                     <Catherine.Leslie@dot.ny.gov>                       "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>
85⠀     AR Organization: 04 ‐ Misc     DOT_0038766 DOT_0038789           24    4/24/2019 11:41 NY_Part_ZZZ_(4‐23‐19).pdf

                                                                                                                                                                                                                       "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Leslie,
                                                                                                                                                                              "Price, Anna (FHWA)"                     Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
86⠀     AR Organization: 05 ‐ Emails   DOT_0038790 DOT_0038791           2     6/20/2019 11:11 FW_ VPPP Expression of Interest.msg        FW: VPPP Expression of Interest     <anna.price@dot.gov>                     <Catherine.Leslie@dot.ny.gov>                       "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>




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                                                                                                                                                                                                                           "Renek, Naomi" <nrenek@mtabt.org>, "Lennon,       "anna.price@dot.gov" <anna.price@dot.gov>,
                                                                                                                                                                                                                           Lawrence" <LLennon@mtahq.org>, "ron.epstein       "Robert.Davies@dot.gov" <Robert.Davies@dot.gov>, "Roth,
                                                                                                                                                                                                                           dot.ny.gov" <ron.epstein@dot.ny.gov>, "Canavan, Hannah" <hroth@dot.nyc.gov>, "Balik, Justin"
                                                                                                                                                                                                                           Michael (FHWA)" <Michael.Canavan@dot.gov>,        <JBalik@dot.nyc.gov>, "Reo, Christopher (Law)"
                                                                                               CBD Tolling Program ‐ Discussion with       CBD Tolling Program ‐ Discussion with                                           Mark Chertok <mchertok@sprlaw.com>, "Elizabeth <creo@law.nyc.gov>, "Schikler, Peter A. (Law)"
87⠀     AR Organization: 05 ‐ Emails    DOT_0038792 DOT_0038792           1    7/11/2019 12:13 FHWA.msg                                    FHWA                                      "Oliva, Louis" <LOLIVA@mtahq.org>     Knauer" <eknauer@sprlaw.com>                      <pschikle@law.nyc.gov>
                                                                                                                                           CBD Tolling Program ‐ Discussion with
88⠀     AR Organization: 08 ‐ Meeting   DOT_0038793 DOT_0038794           2    7/11/2019 13:30 unnamed                                     FHWA                                      MAILTO:LOLIVA@mtahq.org

                                                                                               Central Business District Tolling Program   Central Business District Tolling Program                                         Bob Davies <Robert.Davies@dot.gov>,
89⠀     AR Organization: 05 ‐ Emails    DOT_0038795 DOT_0038795           1     8/2/2019 13:37 (CBDTP)_ NYC ‐ Region 11.msg                (CBDTP), NYC ‐ Region 11                  "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov> "anna.price@dot.gov" <Anna.Price@dot.gov>




                                                                                                                                                                                                                           "Jin, Shengxin (DOT)" <Shengxin.Jin@dot.ny.gov>,
                                                                                                                                                                                                                           "Greenberg.hannah@epa.gov"
                                                                                                                                                                                                                           <greenberg.hannah@epa.gov>,
                                                                                                                                                                                                                           "laurita.matthew@epa.gov"
                                                                                                                                                                                                                           <laurita.matthew@epa.gov>,
                                                                                                                                                                                                                           "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                               RE_ Central Business District Tolling                                                                                       "gautam.mani@dot.gov" <gautam.mani@dot.gov>, "Bhowmick, Sangeeta (DOT)"
                                                                                               Program project (CBDTP_ or the Project)     RE: Central Business District Tolling     "Sheehan, Michael P (DEC)"            "Rochester, Chris A (DEC)"                       <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
90⠀     AR Organization: 05 ‐ Emails    DOT_0038796 DOT_0038797           2     8/5/2019 15:29 (175).msg                                   Program project (CBDTP, or the Project)   <michael.sheehan@dec.ny.gov>          <chris.rochester@dec.ny.gov>                     <Gerry.Bogacz@dot.ny.gov>




                                                                                                                                                                                                                           "Jin, Shengxin (DOT)" <Shengxin.Jin@dot.ny.gov>,
                                                                                                                                                                                                                           "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                           <michael.sheehan@dec.ny.gov>, "Laurita,
                                                                                                                                                                                                                           Matthew" <Laurita.Matthew@epa.gov>,              "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                               RE_ Central Business District Tolling                                                                                       "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Bhowmick, Sangeeta (DOT)"
                                                                                               Program project (CBDTP_ or the Project)     RE: Central Business District Tolling     "Greenberg, Hannah"                   "gautam.mani@dot.gov" <gautam.mani@dot.gov>, <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
91⠀     AR Organization: 05 ‐ Emails    DOT_0038798 DOT_0038799           2     8/8/2019 11:45 (171).msg                                   Program project (CBDTP, or the Project)   <greenberg.hannah@epa.gov>            Chris Rochester <chris.rochester@dec.ny.gov>     <Gerry.Bogacz@dot.ny.gov>




                                                                                                                                                                                                                           "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
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                                                                                                                                                                                                                           <greenberg.hannah@epa.gov>, "Jin, Shengxin
                                                                                                                                                                                                                           (DOT)" <Shengxin.Jin@dot.ny.gov>,
                                                                                                                                                                                                                           "laurita.matthew@epa.gov"
                                                                                                                                                                                                                           <laurita.matthew@epa.gov>,                     "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                               RE_ Central Business District Tolling                                                                                       "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Bhowmick, Sangeeta (DOT)"
                                                                                               Program project (CBDTP_ or the Project)     RE: Central Business District Tolling     "Sheehan, Michael P (DEC)"            "Rochester, Chris A (DEC)"                     <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
92⠀     AR Organization: 05 ‐ Emails    DOT_0038800 DOT_0038801           2     8/8/2019 12:50 (170).msg                                   Program project (CBDTP, or the Project)   <michael.sheehan@dec.ny.gov>          <chris.rochester@dec.ny.gov>                   <Gerry.Bogacz@dot.ny.gov>




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                                                                                   State of New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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                                                                                                                                                                                                                  "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                  <michael.sheehan@dec.ny.gov>,
                                                                                                                                                                                                                  "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
                                                                                                                                                                                                                  "Greenberg.hannah@epa.gov"
                                                                                                                                                                                                                  <greenberg.hannah@epa.gov>,
                                                                                                                                                                                                                  "laurita.matthew@epa.gov"
                                                                                                                                                                                                                  <laurita.matthew@epa.gov>,                     "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                               RE_ Central Business District Tolling                                                                              "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Bhowmick, Sangeeta (DOT)"
                                                                                               Program project (CBDTP_ or the Project)   RE: Central Business District Tolling     "Jin, Shengxin (DOT)"          "Rochester, Chris A (DEC)"                     <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
93⠀     AR Organization: 05 ‐ Emails   DOT_0038802 DOT_0038804           3       8/9/2019 9:56 (169).msg                                 Program project (CBDTP, or the Project)   <Shengxin.Jin@dot.ny.gov>      <chris.rochester@dec.ny.gov>                   <Gerry.Bogacz@dot.ny.gov>




                                                                                                                                                                                                                  "Jin, Shengxin (DOT)" <Shengxin.Jin@dot.ny.gov>,
                                                                                                                                                                                                                  "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                  <michael.sheehan@dec.ny.gov>, "Mani, Gautam
                                                                                                                                                                                                                  (FHWA)" <gautam.mani@dot.gov>,
                                                                                                                                                                                                                  "Greenberg.hannah@epa.gov"
                                                                                                                                                                                                                  <greenberg.hannah@epa.gov>,                        "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                              RE_ Central Business District Tolling                                                                               "laurita.matthew@epa.gov"                          "Bhowmick, Sangeeta (DOT)"
                                                                                              Program project (CBDTP_ or the Project)    RE: Central Business District Tolling     "Moser, Daniel (FTA)"          <laurita.matthew@epa.gov>, "Rochester, Chris A     <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
94⠀     AR Organization: 05 ‐ Emails   DOT_0038805 DOT_0038807           3     8/9/2019 10:02 (168).msg                                  Program project (CBDTP, or the Project)   <daniel.moser@dot.gov>         (DEC)" <chris.rochester@dec.ny.gov>                <Gerry.Bogacz@dot.ny.gov>




                                                                                                                                                                                                                  "Daniel.moser@dot.gov" <daniel.moser@dot.gov>,
                                                                                                                                                                                                                  "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                  <michael.sheehan@dec.ny.gov>,
                                                                                                                                                                                                                  "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
                                                                                                                                                                                                                  "Greenberg.hannah@epa.gov"
                                                                                                                                                                                                                  <greenberg.hannah@epa.gov>,                    "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                              RE_ Central Business District Tolling                                                                               "laurita.matthew@epa.gov"                      "Bhowmick, Sangeeta (DOT)"
                                                                                              Program project (CBDTP_ or the Project)    RE: Central Business District Tolling     "Jin, Shengxin (DOT)"          <laurita.matthew@epa.gov>, "Rochester, Chris A <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
95⠀     AR Organization: 05 ‐ Emails   DOT_0038808 DOT_0038810           3     8/9/2019 10:05 (167).msg                                  Program project (CBDTP, or the Project)   <Shengxin.Jin@dot.ny.gov>      (DEC)" <chris.rochester@dec.ny.gov>            <Gerry.Bogacz@dot.ny.gov>


                                                                                                                                                                                                                  "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
                                                                                                                                                                                                                  "Jin, Shengxin (DOT)" <Shengxin.Jin@dot.ny.gov>,
                                                                                                                                                                                                                  "Greenberg.hannah@epa.gov"
                                                                                                                                                                                                                  <greenberg.hannah@epa.gov>,
                                                                                                                                                                                                                  "laurita.matthew@epa.gov"
                                                                                                                                                                                                                  <laurita.matthew@epa.gov>,                       "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                              RE_ Central Business District Tolling                                                                               "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Bhowmick, Sangeeta (DOT)"
                                                                                              Program project (CBDTP_ or the Project)    RE: Central Business District Tolling     "Sheehan, Michael P (DEC)"     "Rochester, Chris A (DEC)"                       <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
96⠀     AR Organization: 05 ‐ Emails   DOT_0038811 DOT_0038813           3     8/12/2019 9:57 (165).msg                                  Program project (CBDTP, or the Project)   <michael.sheehan@dec.ny.gov>   <chris.rochester@dec.ny.gov>                     <Gerry.Bogacz@dot.ny.gov>




                                                                                                                                                                                                                  "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                  <michael.sheehan@dec.ny.gov>,
                                                                                                                                                                                                                  "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
                                                                                                                                                                                                                  "Jin, Shengxin (DOT)" <Shengxin.Jin@dot.ny.gov>, "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                              RE_ Central Business District Tolling                                                                               "Laurita, Matthew" <Laurita.Matthew@epa.gov>, "Bhowmick, Sangeeta (DOT)"
                                                                                              Program project (CBDTP_ or the Project)    RE: Central Business District Tolling     "Greenberg, Hannah"            "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, <Sangeeta.Bhowmick@dot.ny.gov>, "Bogacz, Gerry (DOT)"
97⠀     AR Organization: 05 ‐ Emails   DOT_0038814 DOT_0038817           4     8/12/2019 9:59 (164).msg                                  Program project (CBDTP, or the Project)   <greenberg.hannah@epa.gov>     Chris Rochester <chris.rochester@dec.ny.gov>     <Gerry.Bogacz@dot.ny.gov>




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                                                                                                                                                         Administrative Record



Row #   AR Organization                      Bates Beg   Bates End     Pages        Primary Date     Filename                                  Subject                                 From                                    To                                                Cc
                                                                                                                                                                                                                                                                                 "C. de Cerreno, Allison" <acdecerreno@mtabt.org>,
                                                                                                                                                                                                                                                                                 "Schneider, Josh" <JSchneider@mtabt.org>, "Daniels, Clint C."
                                                                                                                                                                                                                                                                                 <Clint.Daniels@wsp.com>, "Cadmus, Andrew"
                                                                                                                                                                                                                               Rick Wilder <rick.wilder@dot.ny.gov>, "McCulloch, <Andrew.Cadmus@hdrinc.com>, "Khan, Shati"
                                                                                                                                                                                                                               Howard (DOT)" <Howard.McCulloch@dot.ny.gov>, <SHKhan@mtahq.org>, "Ahmed, Shakil"
                                                                                                                                                                                                                               "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, <SAhmed2@dot.nyc.gov>, "Andrew J. Weeks
                                                                                                     RE_ FHWA Requirements for Traffic         RE: FHWA Requirements for Traffic                                               "Tran, Chung (FHWA)" <Chung.Tran@dot.gov>,        (aweeks@dot.nyc.gov)" <aweeks@dot.nyc.gov>, "Teglasi,
                                                                                                     Modeling ‐ NYC Congestion Pricing         Modeling ‐ NYC Congestion Pricing       "Lennon, Lawrence"                      "Kligerman, Thomas (DOT)"                         Victor S." <Victor.Teglasi@wsp.com>, "Renek, Naomi"
98⠀     AR Organization: 05 ‐ Emails         DOT_0038818 DOT_0038819            2    8/21/2019 15:39 Initiative.msg                            Initiative                              <LLennon@mtahq.org>                     <Thomas.Kligerman@dot.ny.gov>                     <nrenek@mtabt.org>
                                                                                                     CBDTP_FHWA_Call_DFT_v3_08‐21‐
99⠀     AR Organization: 07 ‐ Presentation   DOT_0038820 DOT_0038833           14    8/21/2019 15:34 2019.pptx


                                                                                                                                                                                                                               "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                               <michael.sheehan@dec.ny.gov>,                  "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                                                                                                                                                               "Greenberg.hannah@epa.gov"                     "laurita.matthew@epa.gov" <laurita.matthew@epa.gov>,
                                                                                                                                                                                                                               <greenberg.hannah@epa.gov>,                    "Rochester, Chris A (DEC)" <chris.rochester@dec.ny.gov>,
                                                                                                     Central Business District Tolling Program Central Business District Tolling Program "Jin, Shengxin (DOT)"                 "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Bhowmick, Sangeeta (DOT)"
100⠀    AR Organization: 05 ‐ Emails         DOT_0038834 DOT_0038834            1     8/23/2019 7:55 (CBDTP) Project Description.msg           (CBDTP) Project Description               <Shengxin.Jin@dot.ny.gov>             "gautam.mani@dot.gov" <gautam.mani@dot.gov> <Sangeeta.Bhowmick@dot.ny.gov>
                                                                                                     Central_Business_District_Tolling_Program
101⠀    AR Organization: 04 ‐ Misc           DOT_0038835 DOT_0038835            1    8/15/2019 18:06 _Project_Description.docx




                                                                                                                                                                                                                               "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                                               <michael.sheehan@dec.ny.gov>,
                                                                                                                                                                                                                               "Greenberg.hannah@epa.gov"
                                                                                                                                                                                                                               <greenberg.hannah@epa.gov>,
                                                                                                                                                                                                                               "laurita.matthew@epa.gov"
                                                                                                                                                                                                                               <laurita.matthew@epa.gov>,
                                                                                                                                                                                                                               "gautam.mani@dot.gov" <gautam.mani@dot.gov>, "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>, "Bogacz,
                                                                                                                                                                                       "Jin, Shengxin (DOT)"                   "Nina.Chung@dot.gov" <nina.chung@dot.gov>,    Gerry (DOT)" <Gerry.Bogacz@dot.ny.gov>, "Bhowmick,
102⠀    AR Organization: 05 ‐ Emails         DOT_0038836 DOT_0038836            1     9/4/2019 15:14 ICG Meeting Summary for CBDTP.msg      ICG Meeting Summary for CBDTP              <Shengxin.Jin@dot.ny.gov>               "Daniel.moser@dot.gov" <daniel.moser@dot.gov> Sangeeta (DOT)" <Sangeeta.Bhowmick@dot.ny.gov>
                                                                                                     8‐29‐
                                                                                                     19_ICG_meeting_minutes_re_CBDTP_NYM
103⠀    AR Organization: 08 ‐ Meeting        DOT_0038837 DOT_0038838            2     9/4/2019 13:32 TC.pdf
                                                                                                     Draft Traffic Methodology for NYC      Draft Traffic Methodology for NYC          "McCulloch, Howard (DOT)"                                                                  "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Wilder,
104⠀    AR Organization: 05 ‐ Emails         DOT_0038839 DOT_0038839            1    9/12/2019 16:15 Congestion Pricing.msg                 Congestion Pricing                         <Howard.McCulloch@dot.ny.gov>           "Tran, Chung (FHWA)" <Chung.Tran@dot.gov>          Rick (DOT)" <Rick.Wilder@dot.ny.gov>
                                                                                                     Transit_and_Traffic_Methodology_DFT_v1
105⠀    AR Organization: 04 ‐ Misc           DOT_0038840 DOT_0038857           18    9/12/2019 13:06 0_09‐12‐2019.docx
                                                                                                                                                                                                                                                                                  "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Wilder,
                                                                                                     RE_ Draft Traffic Methodology for NYC     RE: Draft Traffic Methodology for NYC   "Tran, Chung (FHWA)"                    "McCulloch, Howard (DOT)"                          Rick (DOT)" <Rick.Wilder@dot.ny.gov>, "Pihl, Eric (FHWA)"
106⠀    AR Organization: 05 ‐ Emails         DOT_0038858 DOT_0038859            2    9/18/2019 12:50 Congestion Pricing.msg                    Congestion Pricing                      <Chung.Tran@dot.gov>                    <Howard.McCulloch@dot.ny.gov>                      <Eric.Pihl@dot.gov>

                                                                                                   FW_ Draft Traffic Methodology for NYC  FW: Draft Traffic Methodology for NYC        "McCulloch, Howard (DOT)"               "Tran, Chung (FHWA)" <Chung.Tran@dot.gov>,         "Wilder, Rick (DOT)" <Rick.Wilder@dot.ny.gov>, "Davies,
107⠀    AR Organization: 05 ‐ Emails         DOT_0038860 DOT_0038863            4 10/30/2019 10:41 Congestion Pricing (31).msg            Congestion Pricing                           <Howard.McCulloch@dot.ny.gov>           "Pihl, Eric (FHWA)" <Eric.Pihl@dot.gov>            Robert (FHWA)" <Robert.Davies@dot.gov>
                                                                                                   Transit_and_Traffic_Methodology_DFT_v1
108⠀    AR Organization: 04 ‐ Misc           DOT_0038864 DOT_0038885           22 10/17/2019 16:49 3_10‐17‐19_REV_SK.DOCX

                                                                                                     Transit_and_Traffic_Methodology_Respon
109⠀    AR Organization: 04 ‐ Misc           DOT_0038886 DOT_0038886            1    10/4/2019 15:52 se_to_FHWA_Comments_10‐4‐19.docx

                                                                                                                                                                                                                               "Price, Anna (FHWA)" <anna.price@dot.gov>,
110⠀    AR Organization: 05 ‐ Emails         DOT_0038887 DOT_0038887            1    11/5/2019 18:04 Attendees.msg                             Attendees                               "Renek, Naomi" <nrenek@mtabt.org>       "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>
                                                                                                                                                                                                                               Bob Davies <Robert.Davies@dot.gov>,
                                                                                                                                                                                                                               "michael.canavan@dot.gov"                       "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>,
111⠀    AR Organization: 05 ‐ Emails         DOT_0038888 DOT_0038888            1 11/13/2019 14:56 CBDTP.msg                                   CBDTP                                   "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov> <michael.canavan@dot.gov>                       "Epstein, Ron (DOT)" <Ron.Epstein@dot.ny.gov>
                                                                                                                                                                                       "Mani, Gautam (FHWA)"                   "Greenberg, Hannah"                             "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Price, Anna
112⠀    AR Organization: 05 ‐ Emails         DOT_0038889 DOT_0038889            1 11/14/2019 12:02 FHWA‐EPA Meeting November 21st.msg          FHWA‐EPA Meeting November 21st          <gautam.mani@dot.gov>                   <greenberg.hannah@epa.gov>                      (FHWA)" <anna.price@dot.gov>
113⠀    AR Organization: 08 ‐ Meeting        DOT_0038890 DOT_0038890            1 11/13/2019 14:55 EPA_Nov_21_Agenda.docx




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                   From                                   To                                                   Cc

                                                                                            Re_ meetings _ calls for CBDTP and I‐81                                             "Price, Anna (FHWA)"                   "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Davies,
114⠀    AR Organization: 05 ‐ Emails   DOT_0038891 DOT_0038892           2 11/19/2019 13:59 (5).msg                                   Re: meetings / calls for CBDTP and I‐81   <anna.price@dot.gov>                   Robert (FHWA)" <Robert.Davies@dot.gov>            "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>
                                                                                            Re_ meetings _ calls for CBDTP and I‐
115⠀    AR Organization: 05 ‐ Emails   DOT_0038893 DOT_0038894           2 11/20/2019 10:06 81.msg                                    Re: meetings / calls for CBDTP and I‐81   "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov> "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                                                                                                                                                                                       "Price, Anna (FHWA)" <anna.price@dot.gov>, "Daniel P. Hitt
                                                                                                                                                                                                                                                                       (dan.hitt@dot.ny.gov)" <dan.hitt@dot.ny.gov>, "Leslie,
                                                                                                                                                                                                                                                                       Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
116⠀    AR Organization: 05 ‐ Emails   DOT_0038895 DOT_0038896           2 11/20/2019 10:25 RE_ CBDTP EJ Analysis with FHWA (2).msg RE: CBDTP EJ Analysis with FHWA             "Renek, Naomi" <nrenek@mtabt.org>      "Davies, Robert (FHWA)" <Robert.Davies@dot.gov> <Catherine.Leslie@dot.ny.gov>

                                                                                                                                                                                                                                                                            "Daniel P. Hitt (dan.hitt@dot.ny.gov)" <dan.hitt@dot.ny.gov>,
                                                                                                                                                                                "Price, Anna (FHWA)"                   "Renek, Naomi" <nrenek@mtabt.org>, "Davies,          "Leslie, Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
117⠀    AR Organization: 05 ‐ Emails   DOT_0038897 DOT_0038898           2    11/21/2019 7:55 RE_ CBDTP EJ Analysis with FHWA.msg     RE: CBDTP EJ Analysis with FHWA           <anna.price@dot.gov>                   Robert (FHWA)" <Robert.Davies@dot.gov>               <Catherine.Leslie@dot.ny.gov>

                                                                                                                                                                                                                       "Daniel P. Hitt (dan.hitt@dot.ny.gov)"
                                                                                                                                                                                                                       <dan.hitt@dot.ny.gov>, "Leslie, Catherine S. (DOT)
                                                                                                                                                                                "Price, Anna (FHWA)"                   (Catherine.Leslie@dot.ny.gov)"
118⠀    AR Organization: 05 ‐ Emails   DOT_0038899 DOT_0038899           1     12/5/2019 7:41 EJ Congestion Pricing.msg               EJ Congestion Pricing                     <anna.price@dot.gov>                   <Catherine.Leslie@dot.ny.gov>                        "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                                                                                                                                                                                            "Daniel P. Hitt (dan.hitt@dot.ny.gov)" <dan.hitt@dot.ny.gov>,
                                                                                                                                                                                                                                                                            "Leslie, Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
                                                                                                                                                                                                                                                                            <Catherine.Leslie@dot.ny.gov>, "Oliva, Louis"
                                                                                                                                                                                                                                                                            <LOLIVA@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                            <acdecerreno@mtabt.org>, "Epstein, Ron (DOT)"
                                                                                                                                                                                                                                                                            <Ron.Epstein@dot.ny.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                            <Robert.Davies@dot.gov>, "Lange, Jason"
                                                                                            TBTA White Paper on Real Estate           TBTA White Paper on Real Estate                                                                                                       <jlange@mtabt.org>, "Terry, M. Margaret"
119⠀    AR Organization: 05 ‐ Emails   DOT_0038900 DOT_0038900           1 12/10/2019 11:57 Acquisition.msg                           Acquisition                               "Renek, Naomi" <nrenek@mtabt.org>      "Price, Anna (FHWA)" <anna.price@dot.gov>            <MTerry@mtabt.org>

                                                                                            FHWA_White_Paper_‐
120⠀    AR Organization: 04 ‐ Misc     DOT_0038901 DOT_0038905           5 12/10/2019 10:13 _Prop_Acquisition_DFT_v5_12‐10‐19.docx

                                                                                                                                                                                                                                                                            "Daniel P. Hitt (dan.hitt@dot.ny.gov)" <dan.hitt@dot.ny.gov>,
                                                                                                                                                                                                                                                                            "Leslie, Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
                                                                                                                                                                                                                                                                            <Catherine.Leslie@dot.ny.gov>, "Oliva, Louis"
                                                                                                                                                                                                                                                                            <LOLIVA@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                            <acdecerreno@mtabt.org>, ron.epstein dot.ny.gov
                                                                                                                                                                                                                                                                            <ron.epstein@dot.ny.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                            <Robert.Davies@dot.gov>, "Lange, Jason"
                                                                                                                                                                                                                                                                            <jlange@mtabt.org>, "Terry, M. Margaret"
                                                                                            RE_ TBTA White Paper on Real Estate       RE: TBTA White Paper on Real Estate                                                                                                   <MTerry@mtabt.org>, "Canavan, Michael (FHWA)"
121⠀    AR Organization: 05 ‐ Emails   DOT_0038906 DOT_0038907           2 12/11/2019 13:06 Acquisition.msg                           Acquisition                               "Renek, Naomi" <nrenek@mtabt.org>      "Price, Anna (FHWA)" <anna.price@dot.gov>            <Michael.Canavan@dot.gov>


                                                                                                                                                                                                                                                                            "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Davies, Robert
                                                                                                                                                                                "C. de Cerreno, Allison"                                                                    (FHWA) (robert.davies@dot.gov)" <robert.davies@dot.gov>,
122⠀    AR Organization: 05 ‐ Emails   DOT_0038908 DOT_0038908           1 12/30/2019 10:36 CBDTP DRAFT white paper for input.msg     CBDTP DRAFT white paper for input         <acdecerreno@mtabt.org>                "anna.price@dot.gov" <anna.price@dot.gov>            "catherine.leslie@dot.ny.gov" <catherine.leslie@dot.ny.gov>
                                                                                            FHWA_White_Paper_‐
                                                                                            _Poles_and_mast_arms_DFT_v2_12‐19‐
123⠀    AR Organization: 04 ‐ Misc     DOT_0038909 DOT_0038911           3 12/19/2019 15:56 19_sent_for_review.docx

                                                                                                                                                                                                                                                                        "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Davies, Robert
                                                                                            RE_ CBDTP DRAFT white paper for input                                               "Price, Anna (FHWA)"                                                                    (FHWA)" <Robert.Davies@dot.gov>,
124⠀    AR Organization: 05 ‐ Emails   DOT_0038912 DOT_0038912           1 12/30/2019 10:39 (1).msg                                   RE: CBDTP DRAFT white paper for input     <anna.price@dot.gov>                   "C. de Cerreno, Allison" <acdecerreno@mtabt.org> "catherine.leslie@dot.ny.gov" <catherine.leslie@dot.ny.gov>

                                                                                                                                                                                                                                                                            "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Davies, Robert
                                                                                            RE_ CBDTP DRAFT white paper for                                                     "C. de Cerreno, Allison"                                                                    (FHWA)" <Robert.Davies@dot.gov>,
125⠀    AR Organization: 05 ‐ Emails   DOT_0038913 DOT_0038913           1 12/30/2019 12:10 input.msg                                 RE: CBDTP DRAFT white paper for input     <acdecerreno@mtabt.org>                "Price, Anna (FHWA)" <anna.price@dot.gov>            "catherine.leslie@dot.ny.gov" <catherine.leslie@dot.ny.gov>




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                                                                                                                                                         Administrative Record



Row #   AR Organization                      Bates Beg   Bates End     Pages        Primary Date     Filename                                  Subject                                 From                            To                                                  Cc

                                                                                                                                                                                                                       "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Leslie,
                                                                                                      FW_ CBDTP DRAFT white paper for                                                "Price, Anna (FHWA)"              Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
126⠀    AR Organization: 05 ‐ Emails         DOT_0038914 DOT_0038914           1        1/2/2020 8:10 input.msg                                FW: CBDTP DRAFT white paper for input <anna.price@dot.gov>              <Catherine.Leslie@dot.ny.gov>                       "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                      RE_ CBDTP DRAFT white paper for input                                            "Leslie, Catherine S. (DOT)"    "anna.price@dot.gov" <anna.price@dot.gov>, "Hitt,
127⠀    AR Organization: 05 ‐ Emails         DOT_0038915 DOT_0038916           2        1/3/2020 8:31 (48).msg                                 RE: CBDTP DRAFT white paper for input   <Catherine.Leslie@dot.ny.gov>   Dan (DOT)" <Dan.Hitt@dot.ny.gov>                  "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>
                                                                                                                                                                                                                       "Leslie, Catherine S. (DOT)"
                                                                                                     Re_ CBDTP DRAFT white paper for input                                             "Price, Anna (FHWA)"            <Catherine.Leslie@dot.ny.gov>, "Hitt, Dan (DOT)"
128⠀    AR Organization: 05 ‐ Emails         DOT_0038917 DOT_0038918           2      1/3/2020 10:56 (47).msg                                  Re: CBDTP DRAFT white paper for input   <anna.price@dot.gov>            <Dan.Hitt@dot.ny.gov>                             "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>


                                                                                                                                                                                                                       "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>,
                                                                                                                                                                                                                       "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Leslie,
                                                                                                                                                                                       "Price, Anna (FHWA)"            Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
129⠀    AR Organization: 05 ‐ Emails         DOT_0038919 DOT_0038919           1      1/6/2020 10:56 CBDTA white paper.msg                     CBDTA white paper                       <anna.price@dot.gov>            <Catherine.Leslie@dot.ny.gov>

                                                                                                                                                                                                                                                                        ron.epstein dot.ny.gov <ron.epstein@dot.ny.gov>, "Canavan,
                                                                                                     RE_ CBDTP DRAFT white paper for input                                             "Price, Anna (FHWA)"                                                             Michael (FHWA)" <Michael.Canavan@dot.gov>, "Davies,
130⠀    AR Organization: 05 ‐ Emails         DOT_0038920 DOT_0038920           1     1/10/2020 13:53 (43).msg                                  RE: CBDTP DRAFT white paper for input   <anna.price@dot.gov>            "C. de Cerreno, Allison" <acdecerreno@mtabt.org> Robert (FHWA)" <Robert.Davies@dot.gov>
                                                                                                                                                                                                                                                                        ron epstein <Ron.Epstein@dot.ny.gov>, "Canavan, Michael
                                                                                                     RE_ CBDTP DRAFT white paper for input                                             "C. de Cerreno, Allison"                                                         (FHWA)" <Michael.Canavan@dot.gov>, "Davies, Robert
131⠀    AR Organization: 05 ‐ Emails         DOT_0038921 DOT_0038922           2     1/22/2020 14:28 (42).msg                                  RE: CBDTP DRAFT white paper for input   <acdecerreno@mtabt.org>         "Price, Anna (FHWA)" <anna.price@dot.gov>        (FHWA)" <Robert.Davies@dot.gov>
                                                                                                     FHWA_Comments_White_Paper_‐
                                                                                                     _Poles_and_mast_arms_DFT_v3_1‐22‐
132⠀    AR Organization: 04 ‐ Misc           DOT_0038923 DOT_0038926           4     1/22/2020 14:27 20_sent_for_review.docx

                                                                                                                                                                                                                                                                        ron.epstein dot.ny.gov <ron.epstein@dot.ny.gov>, "Canavan,
                                                                                                     RE_ CBDTP DRAFT white paper for input                                             "Price, Anna (FHWA)"                                                             Michael (FHWA)" <Michael.Canavan@dot.gov>, "Davies,
133⠀    AR Organization: 05 ‐ Emails         DOT_0038927 DOT_0038928           2      1/23/2020 7:35 (40).msg                                  RE: CBDTP DRAFT white paper for input   <anna.price@dot.gov>            "C. de Cerreno, Allison" <acdecerreno@mtabt.org> Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                                                                                                                                       "Hitt, Dan (DOT)" <Dan.Hitt@dot.ny.gov>, "Leslie,
                                                                                                     FW_ NYS Response to October 24‐2019       FW: NYS Response to October 24‐2019     "Price, Anna (FHWA)"            Catherine S. (DOT) (Catherine.Leslie@dot.ny.gov)"
134⠀    AR Organization: 05 ‐ Emails         DOT_0038929 DOT_0038929           1      1/28/2020 7:41 FHWA Letter 12‐17‐19_pdf (38).msg         FHWA Letter 12‐17‐19.pdf                <anna.price@dot.gov>            <Catherine.Leslie@dot.ny.gov>                       "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                     CBDTP_Appendix_A_‐
135⠀    AR Organization: 09 ‐ Report         DOT_0038930 DOT_0038932           3     1/27/2020 14:33 _Summary_of_BPM_FIN_v3_01‐27‐20.pdf
                                                                                                     CBDTP_Traffic_and_Revenue_Study_FIN_v Program Overview and Traffic and
136⠀    AR Organization: 09 ‐ Report         DOT_0038933 DOT_0038962           30    1/27/2020 14:29 3_1‐27‐20.pdf                         Revenue Study

                                                                                                     NYS_Response_to_October_24‐
137⠀    AR Organization: 06 Correspondence   DOT_0038963 DOT_0038968           6     12/18/2019 9:01 2019_FHWA_Letter_Fin_v2_12‐17‐19.pdf
                                                                                                     Traffic_and_Revenue_Cover_Letter_for_F
138⠀    AR Organization: 06 Correspondence   DOT_0038969 DOT_0038969           1     1/27/2020 16:30 HWA_1‐27‐20_.pdf

                                                                                                                                                                                                                                                                    "ron.epstein dot.ny.gov" <ron.epstein@dot.ny.gov>, "'C. de
                                                                                                                                                                                                                                                                    Cerreno, Allison'" <acdecerreno@mtabt.org>, "'Carry,
                                                                                                                                                                                                                       "Dominguez, MarieTherese (DOT)"              William'" <WCarry@dot.nyc.gov>, "Cochran, Alexander
                                                                                                                                                                                                                       <MarieTherese.Dominguez@dot.ny.gov>,         (CHAMBER)" <Alexander.Cochran@exec.ny.gov>, "Hynes,
                                                                                                     FHWA Letter NYC CBDTP NEPA COA                                                    "Marquis, Rick (FHWA)"          "hgutman@dot.nyc.gov" <hgutman@dot.nyc.gov>, Kylah" <kyhynes@mtahq.org>, "Goodman, Stephen (FTA)"
139⠀    AR Organization: 05 ‐ Emails         DOT_0038970 DOT_0038970           1     3/30/2021 10:00 (433).msg                                 FHWA Letter NYC CBDTP NEPA COA          <Rick.Marquis@dot.gov>          "pfoye@mtahq.org" <pfoye@mtahq.org>          <stephen.goodman@dot.gov>
                                                                                                     RE_ FHWA Letter NYC CBDTP NEPA COA                                                "Marquis, Rick (FHWA)"          "C. de Cerreno, Allison"
140⠀    AR Organization: 05 ‐ Emails         DOT_0038971 DOT_0038971           1     3/30/2021 10:06 (431).msg                                 RE: FHWA Letter NYC CBDTP NEPA COA      <Rick.Marquis@dot.gov>          <allison.cdecerreno@mtahq.org>
                                                                                                                                                                                       "Price, Anna (FHWA)"                                                         "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
141⠀    AR Organization: 05 ‐ Emails         DOT_0038972 DOT_0038972           1      4/8/2021 11:22 CBDTP NEPA Focus Areas.msg                CBDTP NEPA Focus Areas                  <anna.price@dot.gov>            "Gavin, James (FHWA)" <james.gavin@dot.gov>  Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                     FW_ FHWA Greenlights Environmental        FW: FHWA Greenlights Environmental                                      "Marie Therese Dominguez ‐ NYSDOT
                                                                                                     Assessment for New York City’s Proposed   Assessment for New York City’s Proposed "Marquis, Rick (FHWA)"          (marietherese.dominguez@dot.ny.gov)"
142⠀    AR Organization: 05 ‐ Emails         DOT_0038973 DOT_0038973           1     4/14/2021 16:21 Congestion Pricing Plan (392).msg         Congestion Pricing Plan                 <Rick.Marquis@dot.gov>          <marietherese.dominguez@dot.ny.gov>




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                                                                                         State of New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                      Bates Beg   Bates End     Pages         Primary Date      Filename                                  Subject                               From                             To                                              Cc

                                                                                                                                                                                                                                                                        "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
                                                                                                                                                                                                                                                                        Robert (FHWA)" <Robert.Davies@dot.gov>, "OConnor, Arthur
                                                                                                                                                                                       "C. de Cerreno, Allison"                                                         (FHWA)" <Arthur.OConnor@dot.gov>, "Mani, Gautam
143⠀    AR Organization: 05 ‐ Emails         DOT_0038974 DOT_0038975            2     4/15/2021 16:38 RE_ Transmitting documents (12).msg        RE: Transmitting documents            <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>       (FHWA)" <gautam.mani@dot.gov>


                                                                                                                                                                                                                                                                        "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
                                                                                                                                                                                                                                                                        Robert (FHWA)" <Robert.Davies@dot.gov>, "OConnor, Arthur
                                                                                                                                                                                                                                                                        (FHWA)" <Arthur.OConnor@dot.gov>, "Mani, Gautam
                                                                                                                                                                                                                                                                        (FHWA)" <gautam.mani@dot.gov>, "Angel, Nichola"
                                                                                                                                                                                                                                                                        <nangel@mtabt.org>, "Reis, Sergio" <sreis@mtabt.org>,
                                                                                                                                                                                       "C. de Cerreno, Allison"                                                         "Desantis, Romolo" <rdesanti@mtabt.org>, "Lovett, Kenneth"
144⠀    AR Organization: 05 ‐ Emails         DOT_0038976 DOT_0038976            1     4/16/2021 19:43 CBDTP Agency Outreach .msg             CBDTP Agency Outreach                     <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>       <klovett@mtahq.org>
                                                                                                      Agency_Outreach_Meeting_Invitee_List_D
145⠀    AR Organization: 07 ‐ Presentation   DOT_0038977 DOT_0038977            1     4/16/2021 15:05 FT_v3_4‐16‐21.docx
                                                                                                                                                                                       "Mani, Gautam (FHWA)"
146⠀    AR Organization: 05 ‐ Emails         DOT_0038978 DOT_0038978            1     4/21/2021 15:01 RE_ CBDTP Agency Outreach (25).msg         RE: CBDTP Agency Outreach             <gautam.mani@dot.gov>            "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>
                                                                                                      RE_ CBDT SEMP doc and possibly             RE: CBDT SEMP doc and possibly        "OConnor, Arthur (FHWA)"
147⠀    AR Organization: 05 ‐ Emails         DOT_0038979 DOT_0038981            3     4/26/2021 14:50 ConOpss.msg                                ConOpss                               <Arthur.OConnor@dot.gov>         "Venkataswami, Krishna" <kvenkata@mtabt.org>    "Reis, Sergio" <sreis@mtabt.org>

148⠀    AR Organization: 09 ‐ Report         DOT_0038982 DOT_0039104           123    4/26/2021 14:44 I‐210_ICM_Pilot_‐_PMP_(2015‐06‐19).pdf

                                                                                                      ICM_I‐495_Corridor_ConOps_PMP_v1_2_‐
149⠀    AR Organization: 09 ‐ Report         DOT_0039105 DOT_0039171           67     4/26/2021 14:43 _2015_09_02_(003).docx

                                                                                                      RE_ FHWA Greenlights Environmental         RE: FHWA Greenlights Environmental
                                                                                                      Assessment for New York City’s Proposed    Assessment for New York City’s Proposed "Marquis, Rick (FHWA)"         "Dominguez, MarieTherese (DOT)"
150⠀    AR Organization: 05 ‐ Emails         DOT_0039172 DOT_0039173            2     4/28/2021 10:43 Congestion Pricing Plan (366).msg          Congestion Pricing Plan                 <Rick.Marquis@dot.gov>         <MarieTherese.Dominguez@dot.ny.gov>

                                                                                                      RE_ FHWA Greenlights Environmental         RE: FHWA Greenlights Environmental
                                                                                                      Assessment for New York City’s Proposed    Assessment for New York City’s Proposed "Marquis, Rick (FHWA)"         "Dominguez, MarieTherese (DOT)"
151⠀    AR Organization: 05 ‐ Emails         DOT_0039174 DOT_0039175            2     4/28/2021 10:50 Congestion Pricing Plan (362).msg          Congestion Pricing Plan                 <Rick.Marquis@dot.gov>         <MarieTherese.Dominguez@dot.ny.gov>

                                                                                                                                                                                                                        "Choubah, Nick (DOT)"
                                                                                                                                                                                                                        <Nick.Choubah@dot.ny.gov>,
                                                                                                                                                                                                                        "Jan.McLachlan@dot.ny.gov"
                                                                                                                                                                                                                        <Jan.McLachlan@dot.ny.gov>, ron.epstein
                                                                                                                                                                                                                        dot.ny.gov <ron.epstein@dot.ny.gov>,
                                                                                                      Congestion Pricing NYSDOT                                                         "Price, Anna (FHWA)"            "Todd.Westhuis@dot.ny.gov"                      "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Gatchell,
152⠀    AR Organization: 05 ‐ Emails         DOT_0039176 DOT_0039177            2     4/28/2021 12:54 Coordination.msg                           Congestion Pricing NYSDOT Coordination <anna.price@dot.gov>            <Todd.Westhuis@dot.ny.gov>                      Chris (FHWA)" <Chris.Gatchell@dot.gov>
                                                                                                                                                                                                                                                                        "Reis, Sergio" <sreis@mtabt.org>, 'AJ Lahiri'
                                                                                                      Re_ CBDT SEMP doc and possibly                                                   "Venkataswami, Krishna"                                                          <ajl@consystec.com>, "Arthur.OConnor@dot.gov"
153⠀    AR Organization: 05 ‐ Emails         DOT_0039178 DOT_0039181            4      4/29/2021 9:09 ConOps.msg                                 RE: CBDT SEMP doc and possibly ConOps <kvenkata@mtabt.org>             "rsj@consystec.com" <rsj@consystec.com>         <Arthur.OConnor@dot.gov>

                                                                                                       RE_ FHWA Greenlights Environmental        RE: FHWA Greenlights Environmental
                                                                                                       Assessment for New York City’s Proposed   Assessment for New York City’s Proposed "Marquis, Rick (FHWA)"         "Dominguez, MarieTherese (DOT)"
154⠀    AR Organization: 05 ‐ Emails         DOT_0039182 DOT_0039183            2        5/3/2021 8:33 Congestion Pricing Plan (355).msg         Congestion Pricing Plan                 <Rick.Marquis@dot.gov>         <MarieTherese.Dominguez@dot.ny.gov>




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                                                                                                                                                                                                                                                                               "Acerra, Paul" <pacerra@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                                                                               <nangel@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                                                                                               <rdesanti@mtabt.org>, "Lennon, Lawrence"
                                                                                                                                                                                                                                                                               <Lawrence.Lennon@mtacd.org>, "Lovett, Kenneth"
                                                                                                                                                                                                                                                                               <klovett@mtahq.org>, "Reis, Sergio" <sreis@mtabt.org>, ron
                                                                                                                                                                                                                                                                               epstein <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                               "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                             "Price, Anna (FHWA)" <anna.price@dot.gov>, "Toni, "Catherine S. Leslie ‐ New York State Department of
                                                                                                                                                                                                                             Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies, Transportation (Catherine.Leslie@dot.ny.gov)"
                                                                                                                                                                                                                             Robert (FHWA)" <Robert.Davies@dot.gov>, "Mani, <Catherine.Leslie@dot.ny.gov>, "angelo.trichilo@dot.ny.gov"
                                                                                                                                                                                                                             Gautam (FHWA)" <gautam.mani@dot.gov>, "Arthur <angelo.trichilo@dot.ny.gov>, Rick Wilder
                                                                                                                                                                                   "C. de Cerreno, Allison"                  O'Connor [arthur.oconnor@dot.gov]"                <rick.wilder@dot.ny.gov>, "WCarry@dot.nyc.gov"
155⠀    AR Organization: 05 ‐ Emails    DOT_0039184 DOT_0039185           2     5/7/2021 18:14 CBDTP ‐ links to documentation.msg         CBDTP ‐ links to documentation           <allison.cdecerreno@mtahq.org>            <arthur.oconnor@dot.gov>                          <WCarry@dot.nyc.gov>
                                                                                                                                                                                   "C. de Cerreno, Allison"                                                                    "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
156⠀    AR Organization: 05 ‐ Emails    DOT_0039186 DOT_0039188           3     5/10/2021 8:14 RE_ CBDTP PIP and EJ Comments.msg          RE: CBDTP PIP and EJ Comments            <allison.cdecerreno@mtahq.org>            "Price, Anna (FHWA)" <anna.price@dot.gov>         Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                               Accepted_ Federal Agency Coordination      Accepted: Federal Agency Coordination    "C. de Cerreno, Allison"
157⠀    AR Organization: 05 ‐ Emails    DOT_0039189 DOT_0039189           1    5/13/2021 14:33 Meetings_ Transportation.msg               Meetings: Transportation                 <allison.cdecerreno@mtahq.org>            "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>

                                                                                                                                          Accepted: Federal Agency Coordination
158⠀    AR Organization: 08 ‐ Meeting   DOT_0039190 DOT_0039190           1    5/25/2021 11:00 unnamed                                    Meetings: Transportation                 MAILTO:allison.cdecerreno@mtahq.org
                                                                                                                                                                                   "Toni, Melissa (FHWA)"
159⠀    AR Organization: 05 ‐ Emails    DOT_0039191 DOT_0039192           2     5/14/2021 8:44 RE_ CBDTP Agency Coordination.msg          RE: CBDTP Agency Coordination            <melissa.toni@dot.gov>                    "Price, Anna (FHWA)" <anna.price@dot.gov>          "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>

                                                                                                                                                                                   "C. de Cerreno, Allison"                  "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>,
160⠀    AR Organization: 05 ‐ Emails    DOT_0039193 DOT_0039194           2     5/14/2021 9:54 RE_ CBDTP Agency Coordination (11).msg     RE: CBDTP Agency Coordination            <allison.cdecerreno@mtahq.org>            "Price, Anna (FHWA)" <anna.price@dot.gov>

                                                                                                                                                                                   "C. de Cerreno, Allison"                  "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>,
161⠀    AR Organization: 05 ‐ Emails    DOT_0039195 DOT_0039196           2     5/14/2021 9:57 RE_ CBDTP Agency Coordination.msg          RE: CBDTP Agency Coordination            <allison.cdecerreno@mtahq.org>            "Price, Anna (FHWA)" <anna.price@dot.gov>

                                                                                                                                                                                                                                                                               "Angel, Nichola" <nangel@mtabt.org>, "Lennon, Lawrence"
                                                                                                                                                                                                                                                                               <Lawrence.Lennon@mtacd.org>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                               <WCarry@dot.nyc.gov>, ron epstein
                                                                                                                                                                                                                                                                               <Ron.Epstein@dot.ny.gov>, "Catherine S. Leslie ‐ New York
                                                                                                                                                                                                                                                                               State Department of Transportation
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                                                                                                                                                                                                                             "Price, Anna (FHWA)" <anna.price@dot.gov>, "Toni, <Catherine.Leslie@dot.ny.gov>, "Liebowitz, Peter"
                                                                                                                                                                                                                             Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies, <Peter.Liebowitz@wsp.com>, "Schneider, Josh"
                                                                                                                                                                                   "C. de Cerreno, Allison"                  Robert (FHWA)" <Robert.Davies@dot.gov>, "Mani, <JSchneider@mtabt.org>, "angelo.trichilo@dot.ny.gov"
162⠀    AR Organization: 05 ‐ Emails    DOT_0039197 DOT_0039198           2    5/20/2021 10:12 RE_ CBDTP NEPA Working Group (10).msg RE: CBDTP NEPA Working Group                  <allison.cdecerreno@mtahq.org>            Gautam (FHWA)" <gautam.mani@dot.gov>              <angelo.trichilo@dot.ny.gov>

                                                                                                                                                                                                                             "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>,
                                                                                                                                                                                                                             "Tran, Chung (FHWA)" <Chung.Tran@dot.gov>,
                                                                                               RE_ Meeting to discuss Congestion Pricing RE: Meeting to discuss Congestion Pricing                                           "McCulloch, Howard (DOT)"
163⠀    AR Organization: 05 ‐ Emails    DOT_0039199 DOT_0039200           2    5/20/2021 12:06 Modeling Effort.msg                       Modeling Effort                           "Pihl, Eric (FHWA)" <Eric.Pihl@dot.gov>   <Howard.McCulloch@dot.ny.gov>                    "Price, Anna (FHWA)" <anna.price@dot.gov>

                                                                                                                                                                                                                                                                                "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Robert
                                                                                                                                                                                                                                                                                Davies ‐ Federal Highway Administration
                                                                                                                                                                                                                                                                                (robert.davies@dot.gov)" <robert.davies@dot.gov>, "Mani,
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                                                                                                                                                                                                                                                                                [arthur.oconnor@dot.gov]" <arthur.oconnor@dot.gov>,
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                                                                                                                                                                                                                             "Anna Price ‐ Federal Highway Administration, NY   <Catherine.Leslie@dot.ny.gov>, "Angel, Nichola"
                                                                                                                                                                                   "C. de Cerreno, Allison"                  Division (anna.price@dot.gov)"                     <nangel@mtabt.org>, "angelo.trichilo@dot.ny.gov"
164⠀    AR Organization: 05 ‐ Emails    DOT_0039201 DOT_0039201           1    5/25/2021 10:18 PIP‐related materials for CBDTP.msg        PIP‐related materials for CBDTP          <allison.cdecerreno@mtahq.org>            <anna.price@dot.gov>                               <angelo.trichilo@dot.ny.gov>
165⠀    AR Organization: 04 ‐ Misc      DOT_0039202 DOT_0039203           2    5/21/2021 11:07 CBDTP_handout_DFT_v12_5‐21‐21.pdf




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                                                                                                                                                                                                                                                                 "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
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                                                                                                                                                                                                                                                                 <Catherine.Leslie@dot.ny.gov>, "Angel, Nichola"
                                                                                              RE_ PIP‐related materials for CBDTP                                             "C. de Cerreno, Allison"                                                           <nangel@mtabt.org>, "angelo.trichilo@dot.ny.gov"
166⠀    AR Organization: 05 ‐ Emails   DOT_0039204 DOT_0039205           2    5/27/2021 14:34 (9).msg                                   RE: PIP‐related materials for CBDTP   <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>         <angelo.trichilo@dot.ny.gov>

                                                                                                                                                                                                                                                                 "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
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                                                                                                                                                                                                                                                                 (FHWA)" <Arthur.OConnor@dot.gov>, "Lovett, Kenneth"
                                                                                                                                                                                                                                                                 <klovett@mtahq.org>, ron epstein
                                                                                                                                                                                                                                                                 <Ron.Epstein@dot.ny.gov>, "Catherine S. Leslie ‐ New York
                                                                                                                                                                                                                                                                 State Department of Transportation
                                                                                                                                                                                                                                                                 (Catherine.Leslie@dot.ny.gov)"
                                                                                                                                                                                                                                                                 <Catherine.Leslie@dot.ny.gov>, "Angel, Nichola"
                                                                                                                                                                              "C. de Cerreno, Allison"                                                           <nangel@mtabt.org>, "angelo.trichilo@dot.ny.gov"
167⠀    AR Organization: 05 ‐ Emails   DOT_0039206 DOT_0039208           3    5/27/2021 15:05 RE_ PIP‐related materials for CBDTP.msg   RE: PIP‐related materials for CBDTP   <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>         <angelo.trichilo@dot.ny.gov>


                                                                                                                                                                                                               "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>,
                                                                                                                                                                                                               "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Catherine S. Leslie ‐ New York State Department of
                                                                                                                                                                                                               "Mani, Gautam (FHWA)" <gautam.mani@dot.gov>, Transportation (Catherine.Leslie@dot.ny.gov)"
                                                                                              FW_ FHWA CBDTP PIP and EJ                                                       "Price, Anna (FHWA)"             "Bienko, Alexander (FHWA)"                        <Catherine.Leslie@dot.ny.gov>, "angelo.trichilo@dot.ny.gov"
168⠀    AR Organization: 05 ‐ Emails   DOT_0039209 DOT_0039211           3     5/28/2021 8:07 Comments.msg                              FW: FHWA CBDTP PIP and EJ Comments    <anna.price@dot.gov>             <alexander.bienko@dot.gov>                        <angelo.trichilo@dot.ny.gov>
                                                                                                                                                                                                                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Lovett, Kenneth"
                                                                                                                                                                              "C. de Cerreno, Allison"         "Price, Anna (FHWA)" <anna.price@dot.gov>, "Toni, <klovett@mtahq.org>, "Gregory, Hazel"
169⠀    AR Organization: 05 ‐ Emails   DOT_0039212 DOT_0039213           2     6/3/2021 11:53 RE_ website and handout comments.msg      RE: website and handout comments      <allison.cdecerreno@mtahq.org>   Melissa (FHWA)" <melissa.toni@dot.gov>            <hgregory@mtabt.org>
                                                                                                                                                                                                                                                                 ron.epstein dot.ny.gov <ron.epstein@dot.ny.gov>, "Lafferty,
                                                                                                                                                                                                                                                                 Alma L. (DOT)" <Alma.Lafferty@dot.ny.gov>, "Oliva, Louis"
                                                                                                                                                                                                                                                                 <LOLIVA@mtahq.org>, "Vaughn‐Fair, Sharon (FHWA)"
                                                                                                                                                                                                                                                                 <Sharon.Vaughn‐Fair@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                                                                                                                                                                                                 <Rick.Marquis@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                                                                                                 <james.gavin@dot.gov>, "Toni, Melissa (FHWA)"
                                                                                                                                                                                                                                                                 <melissa.toni@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                 <Robert.Davies@dot.gov>, "Catherine S. Leslie ‐ New York
                                                                                                                                                                                                                                                                 State Department of Transportation
                                                                                                                                                                                                                                                                 (Catherine.Leslie@dot.ny.gov)"
                                                                                                                                                                              "Price, Anna (FHWA)"             "C. de Cerreno, Allison"                          <Catherine.Leslie@dot.ny.gov>, "Carter, Lee Ellen (FHWA)"
170⠀    AR Organization: 05 ‐ Emails   DOT_0039214 DOT_0039215           2    6/10/2021 10:22 CBDTP Purpose and Need.msg                CBDTP Purpose and Need                <anna.price@dot.gov>             <allison.cdecerreno@mtahq.org>                    <lee.ellen.carter@dot.gov>

171⠀    AR Organization: 04 ‐ Misc     DOT_0039216 DOT_0039216           1    6/10/2021 10:07 Revised_PN_and_objectives_6‐10‐21.docx
                                                                                                                                                                                                                                                                 ron epstein <Ron.Epstein@dot.ny.gov>, "Lafferty, Alma L.
                                                                                                                                                                                                                                                                 (DOT)" <Alma.Lafferty@dot.ny.gov>, "Oliva, Louis"
                                                                                                                                                                                                                                                                 <LOLIVA@mtahq.org>, "Vaughn‐Fair, Sharon (FHWA)"
                                                                                                                                                                                                                                                                 <Sharon.Vaughn‐Fair@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                                                                                                                                                                                                 <Rick.Marquis@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                                                                                                 <james.gavin@dot.gov>, "Toni, Melissa (FHWA)"
                                                                                                                                                                                                                                                                 <melissa.toni@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                 <Robert.Davies@dot.gov>, "Catherine S. Leslie ‐ New York
                                                                                                                                                                                                                                                                 State Department of Transportation
                                                                                                                                                                                                                                                                 (Catherine.Leslie@dot.ny.gov)"
                                                                                                                                                                              "C. de Cerreno, Allison"                                                           <Catherine.Leslie@dot.ny.gov>, "Carter, Lee Ellen (FHWA)"
172⠀    AR Organization: 05 ‐ Emails   DOT_0039217 DOT_0039219           3    6/10/2021 12:54 RE_ CBDTP Purpose and Need.msg            RE: CBDTP Purpose and Need            <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>         <lee.ellen.carter@dot.gov>




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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                                 Subject                                From                             To                                          Cc




                                                                                                                                                                                                                                                                 "Gatchell, Chris (FHWA)" <Chris.Gatchell@dot.gov>,
                                                                                                                                                                                                                                                                 "Dawn.Arnold@dot.ny.gov" <Dawn.Arnold@dot.ny.gov>,
                                                                                                                                                                                                                                                                 "Gross, Sara (FHWA)" <sara.gross@dot.gov>, "Guerra, Lisell
                                                                                                                                                                                                                                                                 (FHWA)" <Lisell.Guerra@dot.gov>, "Millington, Tricia (FHWA)"
                                                                                                                                                                                                                                                                 <patricia.millington@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                 <Robert.Davies@dot.gov>, "Uchenna.Madu@dot.ny.gov"
                                                                                                                                                                                                                                                                 <Uchenna.Madu@dot.ny.gov>, "David.Rettig@dot.ny.gov"
                                                                                                    RE_ NYCDEP work to NYCDOT federal aid RE: NYCDEP work to NYCDOT federal aid "Musolino, Donna (FHWA)"             "Diane.Kenneally@dot.ny.gov"                <David.Rettig@dot.ny.gov>, "Anderson, Cindy (FHWA)"
173⠀    AR Organization: 05 ‐ Emails         DOT_0039220 DOT_0039220           1    6/22/2021 10:53 projects 06_10_21.msg                 projects 06.10.21                     <donna.musolino@dot.gov>             <Diane.Kenneally@dot.ny.gov>                <cindy.anderson@dot.gov>
                                                                                                    NYCDEP_work_to_NYCDOT_federal_aid_pr
174⠀    AR Organization: 06 Correspondence   DOT_0039221 DOT_0039222           2     6/16/2021 8:36 ojects_06.10.21.pdf

                                                                                                                                                                                                                                                                 "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Marquis,
                                                                                                                                                                                                                                                                 Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago, Damaris
                                                                                                                                                                                                                                                                 (FHWA)" <Damaris.Santiago@dot.gov>, "Santiago, Damaris
                                                                                                    RE_ FHWA milestones and review times for RE: FHWA milestones and review times   "C. de Cerreno, Allison"                                                     (FHWA)" <Damaris.Santiago@dot.gov>, ron epstein
175⠀    AR Organization: 05 ‐ Emails         DOT_0039223 DOT_0039224           2    6/29/2021 14:59 EA.msg                                   for EA                                 <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>   <Ron.Epstein@dot.ny.gov>
                                                                                                                                                                                    "C. de Cerreno, Allison"                                                     "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, ron epstein
176⠀    AR Organization: 05 ‐ Emails         DOT_0039225 DOT_0039226           2     7/8/2021 18:53 RE_ Principals.msg                       RE: Principals                         <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>   <Ron.Epstein@dot.ny.gov>
                                                                                                                                                                                                                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Lovett, Kenneth"
                                                                                                                                                                                                                                                                 <klovett@mtahq.org>, ron epstein
                                                                                                                                                                                                                                                                 <Ron.Epstein@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                 <WCarry@dot.nyc.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                                                                                                 <james.gavin@dot.gov>, "Carter, Lee Ellen (FHWA)"
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                                                                                                                                                                                                                                                                 <Sharon.Vaughn‐Fair@dot.gov>, "Powell, Vanessa (FHWA)"
                                                                                                                                                                                                                                                                 <Vanessa.Powell@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                                                                                                                                                                                                 <Rick.Marquis@dot.gov>, "Toni, Melissa (FHWA)"
                                                                                                                                                                                                                                                                 <melissa.toni@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                 <Robert.Davies@dot.gov>, "Hogan, Kara E (FHWA)"
                                                                                                    RE_ Final updated outreach documents for RE: Final updated outreach documents   "C. de Cerreno, Allison"                                                     <Kara.Hogan@dot.gov>, "Mani, Gautam (FHWA)"
177⠀    AR Organization: 05 ‐ Emails         DOT_0039227 DOT_0039229           3    7/16/2021 15:42 review (178).msg                         for review                             <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>   <gautam.mani@dot.gov>

                                                                                                                                                                                                                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Lovett, Kenneth"
                                                                                                                                                                                                                                                                 <klovett@mtahq.org>, ron.epstein dot.ny.gov
                                                                                                                                                                                                                                                                 <ron.epstein@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                 <WCarry@dot.nyc.gov>, "Gavin, James (FHWA)"
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                                                                                                                                                                                                                                                                 <Sharon.Vaughn‐Fair@dot.gov>, "Powell, Vanessa (FHWA)"
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                                                                                                                                                                                                                                                                 <melissa.toni@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                 <Robert.Davies@dot.gov>, "Hogan, Kara E (FHWA)"
                                                                                                    Re_ Final updated outreach documents for Re: Final updated outreach documents   "Price, Anna (FHWA)"             "C. de Cerreno, Allison"                    <Kara.Hogan@dot.gov>, "Mani, Gautam (FHWA)"
178⠀    AR Organization: 05 ‐ Emails         DOT_0039230 DOT_0039233           4    7/16/2021 15:56 review (177).msg                         for review                             <anna.price@dot.gov>             <allison.cdecerreno@mtahq.org>              <gautam.mani@dot.gov>
                                                                                                                                                                                                                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Lovett, Kenneth"
                                                                                                                                                                                                                                                                 <klovett@mtahq.org>, ron epstein
                                                                                                                                                                                                                                                                 <Ron.Epstein@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                 <WCarry@dot.nyc.gov>, "Gavin, James (FHWA)"
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                                                                                                                                                                                                                                                                 <Sharon.Vaughn‐Fair@dot.gov>, "Powell, Vanessa (FHWA)"
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                                                                                                                                                                                                                                                                 <Rick.Marquis@dot.gov>, "Toni, Melissa (FHWA)"
                                                                                                                                                                                                                                                                 <melissa.toni@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                 <Robert.Davies@dot.gov>, "Hogan, Kara E (FHWA)"
                                                                                                    RE_ Final updated outreach documents for RE: Final updated outreach documents   "C. de Cerreno, Allison"                                                     <Kara.Hogan@dot.gov>, "Mani, Gautam (FHWA)"
179⠀    AR Organization: 05 ‐ Emails         DOT_0039234 DOT_0039237           4    7/16/2021 16:07 review.msg                               for review                             <allison.cdecerreno@mtahq.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>   <gautam.mani@dot.gov>




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                                                                                                    CBDTP EA Schedule ‐ NEPA and Rulemaking CBDTP EA Schedule ‐ NEPA and         "C. de Cerreno, Allison"
180⠀    AR Organization: 05 ‐ Emails         DOT_0039238 DOT_0039238           1    7/20/2021 14:37 DFT v14 7‐20‐21 (450).msg               Rulemaking DFT v14 7‐20‐21           <allison.cdecerreno@mtahq.org>        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>
                                                                                                                                                                                                                                                                        "anna.price@dot.gov" <anna.price@dot.gov>, "C. de Cerreno,
                                                                                                                                                                                                                                                                        Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                        "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>, "Dominguez,
                                                                                                                                                                                                                                                                        MarieTherese (DOT)"
                                                                                                                                                                                                                                                                        <MarieTherese.Dominguez@dot.ny.gov>, "Lieber, Janno"
                                                                                                                                                                                                                                                                        <Janno.Lieber@mtacd.org>, "hgutman@dot.nyc.gov"
                                                                                                    CBDTP Environmental Assessment Request CBDTP Environmental Assessment        "Epstein, Ron (DOT)"                                                                   <hgutman@dot.nyc.gov>, "Epstein, Ron (DOT)"
181⠀    AR Organization: 05 ‐ Emails         DOT_0039239 DOT_0039239           1    8/17/2021 18:35 .msg                                   Request                               <Ron.Epstein@dot.ny.gov>              "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>    <Ron.Epstein@dot.ny.gov>
                                                                                                    Request_to_Begin_CBDTP_EA_DFT_v9_8‐
182⠀    AR Organization: 06 Correspondence   DOT_0039240 DOT_0039241           2    8/17/2021 16:40 17‐21.pdf
                                                                                                    Re_ _EXTERNAL_ RE_ CBDTP
                                                                                                    Environmental Assessment Request       Re: [EXTERNAL] RE: CBDTP              "Gutman, Henry"
183⠀    AR Organization: 05 ‐ Emails         DOT_0039242 DOT_0039243           2    8/17/2021 19:18 (345).msg                              Environmental Assessment Request      <hgutman@dot.nyc.gov>                 "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>

                                                                                                    Re_ _EXTERNAL_ RE_ CBDTP                Re: [EXTERNAL] RE: CBDTP             "Marquis, Rick (FHWA)"
184⠀    AR Organization: 05 ‐ Emails         DOT_0039244 DOT_0039245           2    8/17/2021 19:20 Environmental Assessment Request .msg   Environmental Assessment Request     <Rick.Marquis@dot.gov>                "Gutman, Henry" <hgutman@dot.nyc.gov>


                                                                                                                                                                                                                       "Dominguez, MarieTherese (DOT)"
                                                                                                                                                                                                                       <MarieTherese.Dominguez@dot.ny.gov>, "Lieber,
                                                                                                                                                                                                                       Janno" <Janno.Lieber@mtacd.org>,                  "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    RE_ CBDTP Environmental Assessment      RE: CBDTP Environmental Assessment                                         "hgutman@dot.nyc.gov" <hgutman@dot.nyc.gov>, "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>, "Price, Anna
185⠀    AR Organization: 05 ‐ Emails         DOT_0039246 DOT_0039247           2    8/18/2021 13:39 Request (305).msg                       Request                                                                    "ron.epstein dot.ny.gov" <ron.epstein@dot.ny.gov> (FHWA)" <anna.price@dot.gov>


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                                                                                                                                                                                                                       <MarieTherese.Dominguez@dot.ny.gov>, "Lieber,
                                                                                                                                                                                                                       Janno" <Janno.Lieber@mtacd.org>,                  "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    RE_ CBDTP Environmental Assessment      RE: CBDTP Environmental Assessment                                         "hgutman@dot.nyc.gov" <hgutman@dot.nyc.gov>, "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>, "Price, Anna
186⠀    AR Organization: 05 ‐ Emails         DOT_0039248 DOT_0039249           2    8/18/2021 13:39 Request (307).msg                       Request                                                                    "ron.epstein dot.ny.gov" <ron.epstein@dot.ny.gov> (FHWA)" <anna.price@dot.gov>


                                                                                                                                                                                                                       "Dominguez, MarieTherese (DOT)"
                                                                                                                                                                                                                       <MarieTherese.Dominguez@dot.ny.gov>, "Lieber,
                                                                                                                                                                                                                       Janno" <Janno.Lieber@mtacd.org>,                  "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    RE_ CBDTP Environmental Assessment      RE: CBDTP Environmental Assessment   "Marquis, Rick (FHWA)"                "hgutman@dot.nyc.gov" <hgutman@dot.nyc.gov>, "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>, "Price, Anna
187⠀    AR Organization: 05 ‐ Emails         DOT_0039250 DOT_0039251           2    8/18/2021 15:01 Request (145).msg                       Request                              <Rick.Marquis@dot.gov>                "ron.epstein dot.ny.gov" <ron.epstein@dot.ny.gov> (FHWA)" <anna.price@dot.gov>




                                                                                                                                                                                                                       "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                                       "Dominguez, MarieTherese (DOT)"
                                                                                                                                                                                                                       <MarieTherese.Dominguez@dot.ny.gov>, "Lieber, "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    Re_ CBDTP Environmental Assessment      Re: CBDTP Environmental Assessment   "Epstein, Ron (DOT)"                  Janno" <Janno.Lieber@mtacd.org>,               "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
188⠀    AR Organization: 05 ‐ Emails         DOT_0039252 DOT_0039253           2    8/18/2021 15:06 Request (296).msg                       Request                              <Ron.Epstein@dot.ny.gov>              "hgutman@dot.nyc.gov" <hgutman@dot.nyc.gov> "anna.price@dot.gov" <anna.price@dot.gov>
                                                                                                    RE_ CBDTP Environmental Assessment      RE: CBDTP Environmental Assessment   "C. de Cerreno, Allison"
189⠀    AR Organization: 05 ‐ Emails         DOT_0039254 DOT_0039255           2    8/18/2021 15:08 Request (293).msg                       Request                              <allison.cdecerreno@mtahq.org>        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>
                                                                                                                                                                                                                                                                        "Lieber, Janno" <Janno.Lieber@mtacd.org>,
                                                                                                                                                                                                                                                                        "hgutman@dot.nyc.gov" <hgutman@dot.nyc.gov>, "Epstein,
                                                                                                                                                                                                                                                                        Ron (DOT)" <Ron.Epstein@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                                                                                        Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    Re_ CBDTP Environmental Assessment      Re: CBDTP Environmental Assessment   "Dominguez, MarieTherese (DOT)"                                                        "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
190⠀    AR Organization: 05 ‐ Emails         DOT_0039256 DOT_0039257           2    8/18/2021 15:14 Request (288).msg                       Request                              <MarieTherese.Dominguez@dot.ny.gov>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>    "anna.price@dot.gov" <anna.price@dot.gov>




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Row #   AR Organization                 Bates Beg   Bates End     Pages       Primary Date     Filename                                  Subject                                  From                                    To                                               Cc
                                                                                                                                                                                                                                                                           "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                                                                           Fair@dot.gov>, "Powell, Vanessa (FHWA)"
                                                                                                                                                                                                                                                                           <Vanessa.Powell@dot.gov>, "Cogburn, Megan (FHWA)"
                                                                                                                                                                                                                                                                           <megan.cogburn@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                           <Robert.Davies@dot.gov>, "Toni, Melissa (FHWA)"
                                                                                                                                                                                                                                                                           <melissa.toni@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                                                                                                                                                                                                           <Rick.Marquis@dot.gov>, "Nelson, Carolyn (FHWA)"
                                                                                                                                                                                                                                                                           <carolyn.nelson@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                                                                           <lee.ellen.carter@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                  "Price, Anna (FHWA)"                    "C. de Cerreno, Allison"                         <james.gavin@dot.gov>, "Washington, Robert (FHWA)"
191⠀    AR Organization: 05 ‐ Emails    DOT_0039258 DOT_0039259           2    8/18/2021 16:53 EJ Outreach .msg                          EJ Outreach                              <anna.price@dot.gov>                    <allison.cdecerreno@mtahq.org>                   <robert.washington@dot.gov>
                                                                                                                                                                                                                                                                           "Dominguez, MarieTherese (DOT)"
                                                                                                                                                                                                                                                                           <MarieTherese.Dominguez@dot.ny.gov>, "Lieber, Janno"
                                                                                                                                                                                                                                                                           <Janno.Lieber@mtacd.org>, ron.epstein dot.ny.gov
                                                                                                                                                                                                                                                                           <ron.epstein@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                               Re_ _EXTERNAL_ RE_ CBDTP                                                                                                                                                    <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                               Environmental Assessment Request          Re: [EXTERNAL] RE: CBDTP                 "Gutman, Henry"                                                                          <WCarry@dot.nyc.gov>, "Price, Anna (FHWA)"
192⠀    AR Organization: 05 ‐ Emails    DOT_0039260 DOT_0039261           2    8/18/2021 17:07 (273).msg                                 Environmental Assessment Request         <hgutman@dot.nyc.gov>                   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>    <anna.price@dot.gov>
                                                                                                                                                                                                                                                                           "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                                                                           Fair@dot.gov>, "Powell, Vanessa (FHWA)"
                                                                                                                                                                                                                                                                           <Vanessa.Powell@dot.gov>, "Cogburn, Megan (FHWA)"
                                                                                                                                                                                                                                                                           <megan.cogburn@dot.gov>, "Davies, Robert (FHWA)"
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                                                                                                                                                                                                                                                                           <lee.ellen.carter@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                  "C. de Cerreno, Allison"                                                                 <james.gavin@dot.gov>, "Washington, Robert (FHWA)"
193⠀    AR Organization: 05 ‐ Emails    DOT_0039262 DOT_0039263           2    8/18/2021 17:22 RE_ EJ Outreach (3).msg                   RE: EJ Outreach                          <allison.cdecerreno@mtahq.org>          "Price, Anna (FHWA)" <anna.price@dot.gov>        <robert.washington@dot.gov>
                                                                                               RE_ CBDTP Environmental Assessment        RE: CBDTP Environmental Assessment       "C. de Cerreno, Allison"
194⠀    AR Organization: 05 ‐ Emails    DOT_0039264 DOT_0039266           3    8/19/2021 11:55 Request (248).msg                         Request                                  <allison.cdecerreno@mtahq.org>          "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>    "Price, Anna (FHWA)" <anna.price@dot.gov>


                                                                                                                                                                                                                          "Price, Anna (FHWA)" <anna.price@dot.gov>,       "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>, ron
                                                                                                                                                                                                                          "Singer, Nancy (FHWA)" <Nancy.Singer@dot.gov>,   epstein <Ron.Epstein@dot.ny.gov>, "WCarry@dot.nyc.gov"
195⠀    AR Organization: 05 ‐ Emails    DOT_0039267 DOT_0039267           1    8/19/2021 20:47 CBDTP Ads and Handout (243).msg         CBDTP Ads and Handout                      "Lovett, Kenneth" <klovett@mtahq.org>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>    <WCarry@dot.nyc.gov>
196⠀    AR Organization: 04 ‐ Misc      DOT_0039268 DOT_0039269           2    8/19/2021 11:58 CBDTP_handout_DFT_v21_8‐19‐21.pdf
                                                                                               MTA_CB_District_Tolling_Program_21x25_
197⠀    AR Organization: 08 ‐ Meeting   DOT_0039270 DOT_0039270           1    8/19/2021 19:48 01.pdf
                                                                                               MTA_CB_District_Tolling_Program_Justice
198⠀    AR Organization: 08 ‐ Meeting   DOT_0039271 DOT_0039271           1    8/19/2021 19:48 _21x25_02.pdf
                                                                                               RE_ CBDTP‐ REVISED PRESENTATIONS                                                   "C. de Cerreno, Allison"                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Marquis, Rick
199⠀    AR Organization: 05 ‐ Emails    DOT_0039272 DOT_0039273           2    8/30/2021 11:28 (195).msg                               RE: CBDTP‐ REVISED PRESENTATIONS           <allison.cdecerreno@mtahq.org>          "Price, Anna (FHWA)" <anna.price@dot.gov>        (FHWA)" <Rick.Marquis@dot.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Toni,
                                                                                                                                                                                                                                                                           Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies, Robert
                                                                                                                                                                                                                                                                           (FHWA)" <Robert.Davies@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                                                                                                           <james.gavin@dot.gov>, "Mani, Gautam (FHWA)"
                                                                                                                                                                                                                                                                           <gautam.mani@dot.gov>, "OConnor, Arthur (FHWA)"
                                                                                                                                                                                                                          "C. de Cerreno, Allison"                         <Arthur.OConnor@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                               FHWA invitations to public and EJ         FHWA invitations to public and EJ        "Price, Anna (FHWA)"                    <allison.cdecerreno@mtahq.org>, "Angel, Nichola" <lee.ellen.carter@dot.gov>, "Hogan, Kara E (FHWA)"
200⠀    AR Organization: 05 ‐ Emails    DOT_0039274 DOT_0039274           1    8/31/2021 12:43 meetings.msg                              meetings                                 <anna.price@dot.gov>                    <nangel@mtabt.org>                               <Kara.Hogan@dot.gov>

                                                                                               FW_ CBDTP Agency Invitation letters to NJ FW: CBDTP Agency Invitation letters to   "C. de Cerreno, Allison"
201⠀    AR Organization: 05 ‐ Emails    DOT_0039275 DOT_0039275           1     9/7/2021 18:27 DOT and NJ Turnpike Authority (185).msg NJ DOT and NJ Turnpike Authority           <allison.cdecerreno@mtahq.org>          "Richard J. Marquis" <rick.marquis@dot.gov>
                                                                                                                                                                                                                                                                           "Price, Anna (FHWA)" <anna.price@dot.gov>, ron epstein
                                                                                                                                                                                                                                                                           <Ron.Epstein@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                           <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                                                                           <WCarry@dot.nyc.gov>, "Russo, Michael [DOT]"
                                                                                                                                         RE: CBDTP Agency Invitation Letter ‐     "Adams, Lisa [DOT]"                                                                      <Mike.Russo@dot.nj.gov>, "Goldman, Cheryl [DOT]"
202⠀    AR Organization: 05 ‐ Emails    DOT_0039276 DOT_0039278           3     9/7/2021 18:27 unnamed.eml                               Diane Gutierrez‐Scaccetti                <Lisa.Adams@dot.nj.gov>                 "Gregory, Hazel" <hgregory@mtabt.org>            <Cheryl.Goldman@dot.nj.gov>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                               Subject                                 From                             To                                               Cc
                                                                                                                                                                                                                                                                "Price, Anna (FHWA)" <anna.price@dot.gov>, ron epstein
                                                                                                                                                                                                                                                                <Ron.Epstein@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                                                                <WCarry@dot.nyc.gov>, "Russo, Michael [DOT]"
                                                                                                                                      RE: CBDTP Agency Invitation Letter ‐    "Adams, Lisa [DOT]"                                                               <Mike.Russo@dot.nj.gov>, "Goldman, Cheryl [DOT]"
203⠀    AR Organization: 05 ‐ Emails   DOT_0039279 DOT_0039281           3     9/7/2021 16:03 unnamed.eml                             Diane Gutierrez‐Scaccetti               <Lisa.Adams@dot.nj.gov>          "Gregory, Hazel" <hgregory@mtabt.org>            <Cheryl.Goldman@dot.nj.gov>
                                                                                                                                                                                                                                                                "Price, Anna (FHWA)" <anna.price@dot.gov>, ron epstein
                                                                                                                                                                                                                                                                <Ron.Epstein@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                                                                <WCarry@dot.nyc.gov>, "Russo, Michael [DOT]"
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐    "Adams, Lisa [DOT]"                                                               <Mike.Russo@dot.nj.gov>, "Goldman, Cheryl [DOT]"
204⠀    AR Organization: 05 ‐ Emails   DOT_0039282 DOT_0039284           3     9/7/2021 16:03 _Diane_Gutierrez‐Scaccetti.eml          Diane Gutierrez‐Scaccetti               <Lisa.Adams@dot.nj.gov>          "Gregory, Hazel" <hgregory@mtabt.org>            <Cheryl.Goldman@dot.nj.gov>
                                                                                                                                                                              "MTA Customer Service Team"      "undisclosed‐recipients@custhelp.com"
205⠀    AR Organization: 05 ‐ Emails   DOT_0039285 DOT_0039285           1       9/8/2021 8:02 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally               <response@mta.info>              <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"      "undisclosed‐recipients@custhelp.com"
206⠀    AR Organization: 05 ‐ Emails   DOT_0039286 DOT_0039286           1       9/8/2021 8:02 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally               <response@mta.info>              <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"      "undisclosed‐recipients@custhelp.com"
207⠀    AR Organization: 05 ‐ Emails   DOT_0039287 DOT_0039287           1       9/8/2021 8:02 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally               <response@mta.info>              <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"      "undisclosed‐recipients@custhelp.com"
208⠀    AR Organization: 05 ‐ Emails   DOT_0039288 DOT_0039288           1       9/8/2021 8:02 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally               <response@mta.info>              <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"      "undisclosed‐recipients@custhelp.com"
209⠀    AR Organization: 05 ‐ Emails   DOT_0039289 DOT_0039289           1       9/8/2021 8:02 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally               <response@mta.info>              <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"      "undisclosed‐recipients@custhelp.com"
210⠀    AR Organization: 05 ‐ Emails   DOT_0039290 DOT_0039290           1       9/8/2021 8:02 CBD_Tolling_Program_tally(5).eml       CBD Tolling Program tally               <response@mta.info>              <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "C. de Cerreno, Allison"                                                          "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Toni,
211⠀    AR Organization: 05 ‐ Emails   DOT_0039291 DOT_0039291           1     9/9/2021 14:25 RE_ follow up Section 106 NPS.msg       RE: follow up Section 106 NPS           <allison.cdecerreno@mtahq.org>   "Price,, Anna (FHWA)"
                                                                                                                                                                                                                               (     )<anna.price@dot.gov>
                                                                                                                                                                                                                                                   @     g ,    Melissa (FHWA)" <melissa.toni@dot.gov>
                                                                                                                                                                                                               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                               "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>,
                                                                                                                                                                                                               "Goodman, Stephen (FTA)"
                                                                                                                                                                                                               <stephen.goodman@dot.gov>, "Culotta, Michael
                                                                                                                                                                                                               (FTA)" <Michael.Culotta@dot.gov>,
                                                                                                                                                                                                               "Mugdan.Walter@epa.gov"
                                                                                                                                                                                                               <Mugdan.Walter@epa.gov>,
                                                                                                                                                                                                               "Austin.Mark@epa.gov" <Austin.Mark@epa.gov>,
                                                                                                                                                                                                               "Laurita.Matthew@epa.gov"
                                                                                                                                                                                                               <Laurita.Matthew@epa.gov>,
                                                                                                                                                                                                               "Williamson.Anahita@epa.gov"
                                                                                                                                                                                                               <Williamson.Anahita@epa.gov>,
                                                                                                                                                                                                               "kluesner.dave@epa.gov"
                                                                                                                                                                                                               <kluesner.dave@epa.gov>,
                                                                                                                                                                                                               "Ruvo.Richard@epa.gov" <Ruvo.Richard@epa.gov>,
                                                                                                                                                                                                               "Eberle, Mark D" <mark_eberle@nps.gov>,
                                                                                                                                                                                                               "Santiago, Kisha (DOS)"
                                                                                                                                                                                                               <Kisha.Santiago@dos.ny.gov>, "Bessette, Rachel
                                                                                                                                                                                                               (DOS)" <Rachel.Bessette@dos.ny.gov>,
                                                                                                                                                                                                               thomas.berkman <thomas.berkman@dec.ny.gov>,
                                                                                                                                                                                                               "patrick.foster@dec.ny.gov"
                                                                                                                                                                                                               <patrick.foster@dec.ny.gov>,
                                                                                                                                                                                                               "Erik.Kulleseid@parks.ny.gov"                    "Meal, Jeanne (DEC)" <jeanne.meal@dec.ny.gov>, "Davis,
                                                                                                                                                                                                               <Erik.Kulleseid@parks.ny.gov>,                   Virginia (PARKS)" <Virginia.Davis@parks.ny.gov>, "Burns,
                                                                                                                                                                                                               "Janno.Lieber@mtacd.org"                         Donald (FTA)" <Donald.Burns@dot.gov>, "Renek, Naomi"
                                                                                              Congestion Pricing_ Federal and State   Congestion Pricing: Federal and State   "Price, Anna (FHWA)"             <Janno.Lieber@mtacd.org>, "Ddecresc@mtabt.org" <Naomi.Renek@mtacd.org>, "Reis, Sergio"
212⠀    AR Organization: 05 ‐ Emails   DOT_0039292 DOT_0039293           2    9/10/2021 11:11 Agency Meeting.msg                      Agency Meeting                          <anna.price@dot.gov>             <Ddecresc@mtabt.org>, "C. de Cerreno, Allison"   <sreis@mtabt.org>




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                      Bates Beg   Bates End     Pages         Primary Date     Filename                                Subject                                 From                                   To    p             p     @      yg ,       y,     Cc
                                                                                                                                                                                                                             William" <WCarry@dot.nyc.gov>, "Ullom, William"
                                                                                                                                                                                                                             <wullom@dot.nyc.gov>, "Smith, Patrick"
                                                                                                                                                                                                                             <psmith@dot.nyc.gov>, "Lovett, Kenneth"
                                                                                                                                                                                                                             <klovett@mtahq.org>, "Oliva, Louis"
                                                                                                                                                                                                                             <LOLIVA@mtahq.org>, "Reis, Sergio"
                                                                                                                                                                                                                             <sreis@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                                             <Romolo.Desantis@mtacd.org>, "Lange, Jason"
                                                                                                                                                                                                                             <jlange@mtabt.org>, "Friman, Paul"
                                                                                                                                                                                                                             <pfriman@mtabt.org>, "Levenson, Nolan"
                                                                                                                                                                                                                             <nolan.levenson@mtahq.org>, "Price, Anna
                                                                                                                                                                                                                             (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                             "melissa.toni@dot.gov" <melissa.toni@dot.gov>,
                                                                                                                                                                                                                             "Timoney, Caitlin" <Caitlin.Timoney@hdrinc.com>,
                                                                                                                                                                                                                             "Myers, Seth" <Seth.Myers@wsp.com>, "Daniels,
                                                                                                                                                                                                                             Clint C." <Clint.Daniels@wsp.com>, "Christopher M.
                                                                                                                                                                                                                             Calvert" <ccalvert@akrf.com>, Hannah Brockhaus
                                                                                                                                                                                                                             <hbrockhaus@fhistudio.com>,
                                                                                                                                                                                                                             "zkazmi@fhistudio.com" <zkazmi@fhistudio.com>,
                                                                                                                                                                                                                             "kimberly.lesay@ct.gov" <kimberly.lesay@ct.gov>,
                                                                                                                                                                                                                             "david.elder@ct.gov" <david.elder@ct.gov>,
                                                                                                                                                                                                                             "mfulda@ctmetro.org" <mfulda@ctmetro.org>,
                                                                                                                                                                                                                             "mdebald@dutchessny.gov"
                                                                                                                                                                                                                             <mdebald@dutchessny.gov>,
                                                                                                                                                                                                                             "kcorbett@njtransit.com"
                                                                                                                                                                                                                             <kcorbett@njtransit.com>, "jpdavis@njtransit.com"
                                                                                                      RE_ CBDTP Agency Coordination Meeting   RE: CBDTP Agency Coordination Meeting                                          <jpdavis@njtransit.com>, "mameen@njtpa.org"
213⠀    AR Organization: 05 ‐ Emails         DOT_0039294 DOT_0039295            2     9/10/2021 15:13 #2.msg                                  #2                                    "Angel, Nichola" <nangel@mtabt.org>      <mameen@njtpa.org>, "dbehrend@njtpa.org"           "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>

                                                                                                      CBDTP_PPT_for_Agency_Meeting__2_FIN_
214⠀    AR Organization: 07 ‐ Presentation   DOT_0039296 DOT_0039315           20     9/10/2021 14:27 9‐7‐21_to_Meeting_Participants.pdf
                                                                                                                                                                                                                                                                               "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Toni,
                                                                                                                                                                                                                                                                               Melissa (FHWA)" <melissa.toni@dot.gov>, "Marquis, Rick
                                                                                                      Re_ _EXTERNAL_ 106 Consultation for     Re: [EXTERNAL] 106 Consultation for                                                                                              (FHWA)" <Rick.Marquis@dot.gov>, "Schlegel, Kathryn A"
215⠀    AR Organization: 05 ‐ Emails         DOT_0039316 DOT_0039317            2     9/14/2021 15:19 Congestion Pricing.msg                  Congestion Pricing                      "Eberle, Mark D" <mark_eberle@nps.gov> "Price, Anna (FHWA)" <anna.price@dot.gov>         <Kathy_Schlegel@nps.gov>


                                                                                                                                                                                                                                                                               "laurita.matthew@epa.gov" <laurita.matthew@epa.gov>,
                                                                                                                                                                                                                                                                               "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
                                                                                                                                                                                                                                                                               "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, "Sheehan,
                                                                                                                                                                                                                                                                               Michael P (DEC)" <michael.sheehan@dec.ny.gov>,
                                                                                                                                                                                                                                                                               "mdebald@dutchessny.gov" <mdebald@dutchessny.gov>,
                                                                                                                                                                                                                                                                               "Nelson, Debra (DOT)" <Debra.Nelson@dot.ny.gov>,
                                                                                                                                                                                                                                                                               "jrichmond@orangecountygov.com"
                                                                                                                                                                                                                             "rick.marquis@dot.gov" <rick.marquis@dot.gov>,    <jrichmond@orangecountygov.com>, "Epstein, Ron (DOT)"
                                                                                                      Request for Approval – DCTC_ NYMTC and Request for Approval – DCTC, NYMTC       "Smith, Terry (DOT)"                   "stephen.goodman@dot.gov"                         <Ron.Epstein@dot.ny.gov>, "Choubah, Nick (DOT)"
216⠀    AR Organization: 05 ‐ Emails         DOT_0039318 DOT_0039318            1      9/15/2021 8:48 OCTC Conformity Determinations.msg       and OCTC Conformity Determinations     <Terry.Smith@dot.ny.gov>               <stephen.goodman@dot.gov>                         <Nick.Choubah@dot.ny.gov>
                                                                                                      DCTC‐NYMTC‐
                                                                                                      OCTC_conformity_transmittal_letter_9‐15‐
217⠀    AR Organization: 06 Correspondence   DOT_0039319 DOT_0039320            2      9/15/2021 8:34 2021.pdf

                                                                                                      Final_PONA_1997_Ozone_Conformity_Det PONA Transportation Conformity
218⠀    AR Organization: 09 ‐ Report         DOT_0039321 DOT_0039340           20     8/25/2021 17:34 ermination_072721.pdf                   Determination Statement ‐ Summer 2021
                                                                                                      NYMTC_Conformity_Document_W_series_‐
219⠀    AR Organization: 09 ‐ Report         DOT_0039341 DOT_0039451           111    9/14/2021 15:49 final_9‐14‐21.pdf
                                                                                                      OCTC_Air_Quality_Transportation_Confor
                                                                                                      mity_Determination_Final_w_Resolution.p
220⠀    AR Organization: 09 ‐ Report         DOT_0039452 DOT_0039487           36     8/17/2021 10:39 df




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                            Subject                           From                             To                                                 Cc

                                                                                                                                                                                                                                                      "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Carter,
                                                                                                                                                                                                                                                      Lee Ellen (FHWA)" <lee.ellen.carter@dot.gov>, "Powell,
                                                                                                                                                                                                     "C. de Cerreno, Allison"                         Vanessa (FHWA)" <Vanessa.Powell@dot.gov>, "Toni, Melissa
                                                                                                                                                                    "Price, Anna (FHWA)"             <allison.cdecerreno@mtahq.org>, "Angel, Nichola" (FHWA)" <melissa.toni@dot.gov>, "Davies, Robert (FHWA)"
221⠀    AR Organization: 05 ‐ Emails   DOT_0039488 DOT_0039488           1    9/15/2021 11:46 EJ Stakeholder Working Groups.msg   EJ Stakeholder Working Groups     <anna.price@dot.gov>             <nangel@mtabt.org>                               <Robert.Davies@dot.gov>




                                                                                                                                                                                                     "Anna Price ‐ Federal Highway Administration, NY
                                                                                                                                                                                                     Division (anna.price@dot.gov)"
                                                                                                                                                                                                     <anna.price@dot.gov>, "Mackay, Daniel (PARKS)"
                                                                                                                                                                                                     <Daniel.Mackay@parks.ny.gov>,
                                                                                                                                                                                                     "beth.cumming@parks.ny.gov"
                                                                                                                                                                                                     <beth.cumming@parks.ny.gov>, "Brazee, Olivia
                                                                                                                                                                                                     (PARKS)" <olivia.brazee@parks.ny.gov>,
                                                                                                                                                                                                     "lori.blair@dot.ny.gov" <lori.blair@dot.ny.gov>, ron
                                                                                                                                                                                                     epstein <Ron.Epstein@dot.ny.gov>, "Ullom,            "Angel, Nichola" <nangel@mtabt.org>, "Timoney, Caitlin"
                                                                                                                                                                                                     William" <wullom@dot.nyc.gov>, William Carry         <Caitlin.Timoney@hdrinc.com>, "Desantis, Romolo"
                                                                                                                                                                    "C. de Cerreno, Allison"         <WCarry@dot.nyc.gov>, "Toni, Melissa (FHWA)"         <Romolo.Desantis@mtacd.org>, Christopher Calvert
222⠀    AR Organization: 05 ‐ Emails   DOT_0039489 DOT_0039490           2    9/17/2021 19:23 CBDTP Section 106.msg               CBDTP Section 106                 <allison.cdecerreno@mtahq.org>   <melissa.toni@dot.gov>                               <CCalvert@akrf.com>, "Oliva, Louis" <LOLIVA@mtahq.org>

                                                                                                                                                                                                                                                        "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                        "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
                                                                                                                                                                                                                                                        Robert (FHWA)" <Robert.Davies@dot.gov>, "Mani, Gautam
                                                                                              RE_ CBDTP Community Impact          RE: CBDTP Community Impact        "Price, Anna (FHWA)"                                                                (FHWA)" <gautam.mani@dot.gov>, "Carter, Lee Ellen
223⠀    AR Organization: 05 ‐ Emails   DOT_0039491 DOT_0039492           2     9/21/2021 8:47 Assessment.msg                      Assessment                        <anna.price@dot.gov>             "Angel, Nichola"
                                                                                                                                                                                                                   , <nangel@mtabt.org>                 (FHWA)" <lee.ellen.carter@dot.gov>
                                                                                                                                                                                                     <allison.cdecerreno@mtahq.org>, "Schwartz,
                                                                                                                                                                                                     William" <wschwartz@mtahq.org>, "Lovett,
                                                                                                                                                                                                     Kenneth" <klovett@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                     <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                     <leah.flax@mtabt.org>, "Mulvaney, Joyce"
                                                                                                                                                                                                     <JMulvane@mtabt.org>, "Reis, Sergio"
                                                                                                                                                                                                     <sreis@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                     <Romolo.Desantis@mtacd.org>, "DePalma, Luke"
                                                                                                                                                                                                     <Luke.DePalma@nyct.com>, ron.epstein dot.ny.gov
                                                                                                                                                                                                     <ron.epstein@dot.ny.gov>,
                                                                                                                                                                                                     "craig.ruyle@dot.ny.gov" <craig.ruyle@dot.ny.gov>,
                                                                                                                                                                                                     "george.paralemos@dot.nyc.gov"
                                                                                                                                                                                                     <george.paralemos@dot.nyc.gov>, William Carry
                                                                                                                                                                                                     <wcarry@dot.nyc.gov>, "Ullom, William"
                                                                                                                                                                                                     <wullom@dot.nyc.gov>, "Metal, Avraham (Rami)"
                                                                                                                                                                                                     <rmetal@dot.nyc.gov>, "Smith, Patrick"
                                                                                                                                                                                                     <psmith@dot.nyc.gov>, "nlopez1@dot.nyc.gov"
                                                                                                                                                                                                     <nlopez1@dot.nyc.gov>, "kbray@dot.nyc.gov"
                                                                                                                                                                                                     <kbray@dot.nyc.gov>, "rcaruana@dot.nyc.gov"
                                                                                                                                                                                                     <rcaruana@dot.nyc.gov>, "Arancio, Matthew"
                                                                                                                                                                                                     <marancio@dot.nyc.gov>, "Kalb, Keith"
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                                                                                                                                                                                                     <SAhmed2@dot.nyc.gov>,                             "Schultz, Abigail M (DOT)" <Abigail.Schultz@dot.ny.gov>,
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                                                                                                                                                                    "Price, Anna (FHWA)"             Calvert" <ccalvert@akrf.com>, Maura Fitzpatrick    <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
224⠀    AR Organization: 05 ‐ Emails   DOT_0039493 DOT_0039494           2    9/23/2021 12:48 RE_ Great Start!!.msg               RE: Great Start!!                 <anna.price@dot.gov>             <mfitzpatrick@fhistudio.com>, "Timoney, Caitlin" <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                     Subject                           From                           To         ,                   @      q g ,        Cc
                                                                                                                                                                                            "DeCrescenzo, Daniel" <Ddecresc@mtabt.org>, "C.
                                                                                                                                                                                            de Cerreno, Allison"
                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Lovett,
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225⠀    AR Organization: 05 ‐ Emails   DOT_0039495 DOT_0039498           4    9/23/2021 13:05 Re_ Great Start!! (10).msg   Re: Great Start!!                 <mfitzpatrick@fhistudio.com>   (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                        p          p      @"Christopher M.,    <hgregory@mtabt.org>
                                                                                                                                                                                            "Schwartz, William" <wschwartz@mtahq.org>,
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226⠀    AR Organization: 05 ‐ Emails   DOT_0039499 DOT_0039502           4    9/23/2021 14:21 RE_ Great Start!! (9).msg    RE: Great Start!!                 <hbrockhaus@fhistudio.com>     <byeung.consultant@dot.nyc.gov>, "Price, Anna      <hgregory@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                    Subject                           From                             To         ,                   @      q g ,        Cc
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227⠀    AR Organization: 05 ‐ Emails   DOT_0039503 DOT_0039504           2    9/23/2021 21:42 RE_ Great Start!! (8).msg   RE: Great Start!!                 <allison.cdecerreno@mtahq.org>   <Caitlin.Timoney@hdrinc.com>,
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                                                                                                                                                            Maura Fitzpatrick                (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
228⠀    AR Organization: 05 ‐ Emails   DOT_0039505 DOT_0039507           3     9/24/2021 8:10 Re_ Great Start!! (7).msg   Re: Great Start!!                 <mfitzpatrick@fhistudio.com>     Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                     Subject                           From                                    To         p            p     @                ,   Cc
                                                                                                                                                                                                     "Schwartz, William" <wschwartz@mtahq.org>,
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229⠀    AR Organization: 05 ‐ Emails   DOT_0039508 DOT_0039511           4     9/24/2021 8:20 RE_ Great Start!! (6).msg    RE: Great Start!!                 <allison.cdecerreno@mtahq.org>          <Caitlin.Timoney@hdrinc.com>,
                                                                                                                                                                                                                    ,                Zainab Kazmi       <Ddecresc@mtabt.org>
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230⠀    AR Organization: 05 ‐ Emails   DOT_0039512 DOT_0039516           5     9/24/2021 9:08 Re_ Great Start!! (21).msg   Re: Great Start!!                 "Lovett, Kenneth" <klovett@mtahq.org>   Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                     Subject                           From                           To      ,                   @      q g ,           Cc
                                                                                                                                                                                            Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
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231⠀    AR Organization: 05 ‐ Emails   DOT_0039517 DOT_0039521           5     9/24/2021 9:29 Re_ Great Start!! (20).msg   Re: Great Start!!                 <mfitzpatrick@fhistudio.com>   <Caitlin.Timoney@hdrinc.com>,
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                                                                                                                                                             Maura Fitzpatrick              Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
232⠀    AR Organization: 05 ‐ Emails   DOT_0039522 DOT_0039527           6     9/24/2021 9:32 Re_ Great Start!! (5).msg    Re: Great Start!!                 <mfitzpatrick@fhistudio.com>   <Caitlin.Timoney@hdrinc.com>, Zainab Kazmi         <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                                    Subject                                    From                            To             ,                                   Cc
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                              CBDTP ‐ Tally from Today's Webinar #3 for CBDTP ‐ Tally from Today's Webinar #3         Maura Fitzpatrick               (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
233⠀    AR Organization: 05 ‐ Emails   DOT_0039528 DOT_0039532           5    9/24/2021 12:11 New Jersey.msg                            for New Jersey                                <mfitzpatrick@fhistudio.com>    Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>
                                                                                                                                                                                                                                                                         Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                         "anna.price@dot.gov" <anna.price@dot.gov>, "Epstein, Ron
                                                                                                                                                                                                                                                                         (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                              CBDTP ‐ Initiation of Section 106            CBDTP ‐ Initiation of Section 106          "Leslie, Catherine S. (DOT)"    "Mackay, Daniel (PARKS)"                           "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
234⠀    AR Organization: 05 ‐ Emails   DOT_0039533 DOT_0039533           1    9/24/2021 15:11 Consultation .msg                            Consultation                               <Catherine.Leslie@dot.ny.gov>   <Daniel.Mackay@parks.ny.gov>                       "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>
                                                                                              Re_ RELEASE_ Brad Lander_ Subway and         Re: RELEASE: Brad Lander, Subway and
                                                                                              Bus Riders_ 'Big Tent' Transit Coalition     Bus Riders, 'Big Tent' Transit Coalition
                                                                                              Rally For Congestion Pricing At Governor's   Rally For Congestion Pricing At            "Marquis, Rick (FHWA)"          "C. de Cerreno, Allison"
235⠀    AR Organization: 05 ‐ Emails   DOT_0039534 DOT_0039536           3    9/26/2021 16:40 Office (50).msg                              Governor's Office                          <Rick.Marquis@dot.gov>          <allison.cdecerreno@mtahq.org>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                              Subject                               From                                    To         p            p     @                ,   Cc
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                                                                                              RE_ CBDTP ‐ 9‐29‐21 10 AM Webinar ‐   RE: CBDTP ‐ 9‐29‐21 10 AM Webinar ‐   "C. de Cerreno, Allison"                Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
236⠀    AR Organization: 05 ‐ Emails   DOT_0039537 DOT_0039538           2    9/29/2021 11:47 Northern NY Quick Tally (11).msg      Northern NY Quick Tally               <allison.cdecerreno@mtahq.org>          <Caitlin.Timoney@hdrinc.com>,
                                                                                                                                                                                                                                 ,                Zainab Kazmi       <Ddecresc@mtabt.org>
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                                                                                              Re_ CBDTP ‐ 9‐29‐21 10 AM Webinar ‐   Re: CBDTP ‐ 9‐29‐21 10 AM Webinar ‐                                           (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
237⠀    AR Organization: 05 ‐ Emails   DOT_0039539 DOT_0039541           3    9/29/2021 11:50 Northern NY Quick Tally (9).msg       Northern NY Quick Tally               "Lovett, Kenneth" <klovett@mtahq.org>   Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                              Subject                               From                                    To              ,                                  Cc
                                                                                                                                                                                                                  <allison.cdecerreno@mtahq.org>, Maura Fitzpatrick
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                                                                                              Re_ CBDTP ‐ 9‐29‐21 10 AM Webinar ‐   Re: CBDTP ‐ 9‐29‐21 10 AM Webinar ‐                                           (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
238⠀    AR Organization: 05 ‐ Emails   DOT_0039542 DOT_0039545           4    9/29/2021 12:05 Northern NY Quick Tally (5).msg       Northern NY Quick Tally               "Lovett, Kenneth" <klovett@mtahq.org>   Calvert", <ccalvert@akrf.com>,
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                                                                                                                                                                                                                  (FHWA)" <anna.price@dot.gov>, "Christopher M.      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              Re_ CBDTP ‐ 9‐29‐21 10 AM Webinar ‐   Re: CBDTP ‐ 9‐29‐21 10 AM Webinar ‐   "C. de Cerreno, Allison"                Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
239⠀    AR Organization: 05 ‐ Emails   DOT_0039546 DOT_0039549           4    9/29/2021 12:06 Northern NY Quick Tally (4).msg       Northern NY Quick Tally               <allison.cdecerreno@mtahq.org>          <Caitlin.Timoney@hdrinc.com>, Zainab Kazmi         <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                From                                    To             ,                                   Cc
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                                                                                              Re_ CBDTP ‐ 9‐29‐21 10 AM Webinar ‐     Re: CBDTP ‐ 9‐29‐21 10 AM Webinar ‐                                            (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
240⠀    AR Organization: 05 ‐ Emails   DOT_0039550 DOT_0039554           5    9/29/2021 12:19 Northern NY Quick Tally.msg             Northern NY Quick Tally                "Lovett, Kenneth" <klovett@mtahq.org>   Calvert" <ccalvert@akrf.com>,
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                                                                                                                                                                                                                     "rcaruana@dot.nyc.gov" <rcaruana@dot.nyc.gov>,
                                                                                                                                                                                                                     "Arancio, Matthew" <marancio@dot.nyc.gov>,
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                                                                                                                                                                                                                     "byeung.consultant@dot.nyc.gov"                    "Donovan, Aaron" <adonovan@mtahq.org>, Leslie Black
                                                                                                                                                                                                                     <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              Re_ CBDTP ‐ 9‐29‐21 6 PM Webinar ‐ Long Re: CBDTP ‐ 9‐29‐21 6 PM Webinar ‐ Long Maura Fitzpatrick                      (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
241⠀    AR Organization: 05 ‐ Emails   DOT_0039555 DOT_0039556           2     9/30/2021 7:41 Island Quick Tally (3).msg              Island Quick Tally                      <mfitzpatrick@fhistudio.com>           Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                 Subject                               From                              To         p            p     @                ,   Cc
                                                                                                                                                                                                               "Schwartz, William" <wschwartz@mtahq.org>,
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                                                                                                                                                                                                               <Luke.DePalma@nyct.com>, ron epstein
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                                                                                                                                                                                                               "byeung.consultant@dot.nyc.gov"                    "Schultz, Abigail M (DOT)" <Abigail.Schultz@dot.ny.gov>,
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                                                                                                                                                                                                               (FHWA)" <anna.price@dot.gov>, "Christopher M.      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              RE_ CBDTP ‐ 9‐29‐21 6 PM Webinar ‐ Long RE: CBDTP ‐ 9‐29‐21 6 PM Webinar ‐ Long "C. de Cerreno, Allison"         Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
242⠀    AR Organization: 05 ‐ Emails   DOT_0039557 DOT_0039558           2     9/30/2021 8:01 Island Quick Tally.msg                  Island Quick Tally                      <allison.cdecerreno@mtahq.org>   <Caitlin.Timoney@hdrinc.com>, Zainab Kazmi         <Ddecresc@mtabt.org>

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                                                                                                                                                                             "Leslie, Catherine S. (DOT)"                                                         "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
243⠀    AR Organization: 05 ‐ Emails   DOT_0039559 DOT_0039559           1    9/30/2021 14:37 CBDTP ‐ Section 106 Consultation (3).msg CBDTP ‐ Section 106 Consultation      <Catherine.Leslie@dot.ny.gov>     "gsantucci@lpc.nyc.gov" <gsantucci@lpc.nyc.gov>    "nangel@mtabt.org" <nangel@mtabt.org>

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244⠀    AR Organization: 05 ‐ Emails   DOT_0039560 DOT_0039560           1    9/30/2021 14:37 CBDTP ‐ Section 106 Consultation (2).msg CBDTP ‐ Section 106 Consultation      <Catherine.Leslie@dot.ny.gov>     "mark_eberle@nps.gov" <mark_eberle@nps.gov>        "nangel@mtabt.org" <nangel@mtabt.org>

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245⠀    AR Organization: 05 ‐ Emails   DOT_0039561 DOT_0039561           1    9/30/2021 14:38 CBDTP ‐ Section 106 Consultation (1).msg CBDTP ‐ Section 106 Consultation      <Catherine.Leslie@dot.ny.gov>     <mkmurphy@panynj.gov>                              "nangel@mtabt.org" <nangel@mtabt.org>

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246⠀    AR Organization: 05 ‐ Emails   DOT_0039562 DOT_0039562           1    9/30/2021 14:38 CBDTP ‐ Section 106 Consultation .msg    CBDTP ‐ Section 106 Consultation      <Catherine.Leslie@dot.ny.gov>     <andreagoldwyn@nylandmarks.org>                    "nangel@mtabt.org" <nangel@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                 Subject                                From                                    To             ,                                   Cc
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                                                                                                                                                      "byeung.consultant@dot.nyc.gov"                    "Donovan, Aaron" <adonovan@mtahq.org>, Leslie Black
                                                                                                                                                                                                                      <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              CBDTP ‐ 9‐30‐21 6 PM Webinar ‐ Outer     CBDTP ‐ 9‐30‐21 6 PM Webinar ‐ Outer   Maura Fitzpatrick                       (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
247⠀    AR Organization: 05 ‐ Emails   DOT_0039563 DOT_0039564           2     10/1/2021 7:26 Boroughs Quick Tally.msg                 Boroughs Quick Tally                   <mfitzpatrick@fhistudio.com>            Calvert" <ccalvert@akrf.com>,
                                                                                                                                                                                                                                 p            p     "Timoney,
                                                                                                                                                                                                                                                    @         Caitlin",  <Ddecresc@mtabt.org>
                                                                                                                                                                                                                      "C. de Cerreno, Allison"
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                                                                                                                                                      "Kalb, Keith" <kkalb@dot.nyc.gov>, "Ahmed, Shakil"
                                                                                                                                                                                                                      <SAhmed2@dot.nyc.gov>,                             "Schultz, Abigail M (DOT)" <Abigail.Schultz@dot.ny.gov>,
                                                                                                                                                                                                                      "byeung.consultant@dot.nyc.gov"                    "Donovan, Aaron" <adonovan@mtahq.org>, Leslie Black
                                                                                                                                                                                                                      <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              Re_ CBDTP ‐ 9‐30‐21 6 PM Webinar ‐ Outer Re: CBDTP ‐ 9‐30‐21 6 PM Webinar ‐                                             (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
248⠀    AR Organization: 05 ‐ Emails   DOT_0039565 DOT_0039567           3     10/1/2021 7:48 Boroughs Quick Tally (2).msg             Outer Boroughs Quick Tally             "Lovett, Kenneth" <klovett@mtahq.org>   Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                  Subject                             From                            To                                                 Cc

                                                                                                                                                                                                                                                               'Robert Davies' <robert.davies@dot.gov>,
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249⠀    AR Organization: 05 ‐ Emails   DOT_0039568 DOT_0039568           1     10/1/2021 8:01 CBDTP ‐ Section 106 Consultation (62).msg CBDTP ‐ Section 106 Consultation    <Catherine.Leslie@dot.ny.gov>   <gabrielle.fialkoff@parks.nyc.gov>
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                                                                                                                                                                                                            <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              Re_ CBDTP ‐ 9‐30‐21 6 PM Webinar ‐ Outer Re: CBDTP ‐ 9‐30‐21 6 PM Webinar ‐   "Lewis, Michael"                (FHWA)" <anna.price@dot.gov>, Chris Calvert        <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
250⠀    AR Organization: 05 ‐ Emails   DOT_0039569 DOT_0039571           3     10/1/2021 8:06 Boroughs Quick Tally (1).msg             Outer Boroughs Quick Tally           <Michael.Lewis@hdrinc.com>      <ccalvert@akrf.com>, "Timoney, Caitlin"            <Ddecresc@mtabt.org>




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Row #   AR Organization                 Bates Beg   Bates End     Pages       Primary Date     Filename                                  Subject                                 From                        To    ,        (     )              @     g ,     Cc
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                                                                                               Canceled_ Congestion Pricing_ Federal and                                                                     <klovett@mtahq.org>, "Oliva, Louis"               <Kisha.Santiago@dos.ny.gov>, "Mani, Gautam (FHWA)"
                                                                                               State Agencies Follow‐Up Meeting          Canceled: Congestion Pricing: Federal   "Price, Anna (FHWA)"        <LOLIVA@mtahq.org>, "Reis, Sergio"                <gautam.mani@dot.gov>, Zainab Kazmi
251⠀    AR Organization: 05 ‐ Emails    DOT_0039572 DOT_0039574           3     10/1/2021 8:25 (123).msg                                 and State Agencies Follow‐Up Meeting    <anna.price@dot.gov>        <sreis@mtabt.org>, ron.epstein dot.ny.gov         <zkazmi@fhistudio.com>

                                                                                                                                         Canceled: Congestion Pricing: Federal
252⠀    AR Organization: 08 ‐ Meeting   DOT_0039575 DOT_0039577           3    10/1/2021 10:00 unnamed                                   and State Agencies Follow‐Up Meeting    MAILTO:anna.price@dot.gov         ,        (     )              @     g ,
                                                                                                                                                                                                             "Nyer.Samantha@epa.gov"
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                                                                                                                                                                                                             (FHWA)" <Robert.Davies@dot.gov>,                  "kluesner.dave@epa.gov" <kluesner.dave@epa.gov>,
                                                                                                                                                                                                             "Laurita.Matthew@epa.gov"                         "Goodman, Stephen (FTA)" <stephen.goodman@dot.gov>,
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                                                                                               Canceled_ Congestion Pricing_ Federal and Canceled: Congestion Pricing: Federal   "Price, Anna (FHWA)"        <LOLIVA@mtahq.org>, "Reis, Sergio"                <gautam.mani@dot.gov>, Zainab Kazmi
253⠀    AR Organization: 05 ‐ Emails    DOT_0039578 DOT_0039580           3     10/1/2021 8:25 State Agencies Follow‐Up Meeting.msg      and State Agencies Follow‐Up Meeting    <anna.price@dot.gov>        <sreis@mtabt.org>, ron.epstein dot.ny.gov         <zkazmi@fhistudio.com>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                                   Subject                                   From                              To                                             Cc
                                                                                                                                                                                                                                                                     "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>, "'C. de Cerreno,
                                                                                                                                                                                                                                                                     Allison'" <allison.cdecerreno@mtahq.org>, "'Angel, Nichola'"
                                                                                                                                                                                                                                                                     <nangel@mtabt.org>, "Nierenberg, Daniel R (DOT)"
                                                                                              Central Business District Tolling Program ‐ Central Business District Tolling Program ‐ "Leslie, Catherine S. (DOT)"    "anna.price@dot.gov" <anna.price@dot.gov>,     <Daniel.Nierenberg@dot.ny.gov>, "Toni, Melissa (FHWA)"
254⠀    AR Organization: 05 ‐ Emails   DOT_0039581 DOT_0039581           1    10/1/2021 10:21 Consultation with Tribal Nations.msg        Consultation with Tribal Nations            <Catherine.Leslie@dot.ny.gov>   "Davies,
                                                                                                                                                                                                                            , Robert (FHWA)" <Robert.Davies@dot.gov>
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                                                                                                                                                                                                                      "Lovett, Kenneth" <klovett@mtahq.org>, "C. de
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                                                                                              RE_ CBDTP ‐ 9‐30‐21 6 PM Webinar ‐ Outer RE: CBDTP ‐ 9‐30‐21 6 PM Webinar ‐           Hannah Brockhaus                  (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
255⠀    AR Organization: 05 ‐ Emails   DOT_0039582 DOT_0039585           4    10/1/2021 14:15 Boroughs Quick Tally.msg                 Outer Boroughs Quick Tally                   <hbrockhaus@fhistudio.com>        Calvert" <ccalvert@akrf.com>,
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                                                                                              CBDTP ‐ 10‐4‐21 6 PM Webinar ‐ New          CBDTP ‐ 10‐4‐21 6 PM Webinar ‐ New        Maura Fitzpatrick                 (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
256⠀    AR Organization: 05 ‐ Emails   DOT_0039586 DOT_0039587           2     10/5/2021 8:08 Jersey Quick Tally.msg                      Jersey Quick Tally                        <mfitzpatrick@fhistudio.com>      Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                 From                         To         p             p    @               ,    Cc
                                                                                                                                                                                                           "C. de Cerreno, Allison"
                                                                                                                                                                                                           <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                              RE_ CBDTP ‐ 10‐5‐21 6 PM Webinar ‐      RE: CBDTP ‐ 10‐5‐21 6 PM Webinar ‐      Hannah Brockhaus             <byeung.consultant@dot.nyc.gov>, "Price, Anna      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
257⠀    AR Organization: 05 ‐ Emails   DOT_0039588 DOT_0039590           3    10/5/2021 20:03 Northern NY Suburbs Quick Tally.msg     Northern NY Suburbs Quick Tally         <hbrockhaus@fhistudio.com>   (FHWA)" <anna.price@dot.gov>, "Christopher M.      <Ddecresc@mtabt.org>


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                                                                                                                                                                                                                                                              <Robert.Davies@dot.gov>, "Toni, Melissa (FHWA)"
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                                                                                              RE_ CBDTP Consulting Party Invitation   RE: CBDTP Consulting Party Invitation   "Musolino, Donna (FHWA)"     "Bryanpolite@shinnecock.org"                       <allison.cdecerreno@mtahq.org>, "WCarry@dot.nyc.gov"
258⠀    AR Organization: 05 ‐ Emails   DOT_0039591 DOT_0039591           1    10/6/2021 13:19 Letter Tribes.msg                       Letter Tribes                           <donna.musolino@dot.gov>     <Bryanpolite@shinnecock.org>                       <WCarry@dot.nyc.gov>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                              From                           To             ,                                   Cc
                                                                                                                                                                                                          <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                              CBDTP ‐ 10‐6‐21 6 PM Webinar ‐          CBDTP ‐ 10‐6‐21 6 PM Webinar ‐       Maura Fitzpatrick              (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
259⠀    AR Organization: 05 ‐ Emails   DOT_0039592 DOT_0039593           2     10/7/2021 8:28 Manhattan outside CBD Quick Tally.msg   Manhattan outside CBD Quick Tally    <mfitzpatrick@fhistudio.com>   Calvert" <ccalvert@akrf.com>,
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                                                                                                                                                                                                          <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              Re_ CBDTP ‐ 10‐6‐21 6 PM Webinar ‐      Re: CBDTP ‐ 10‐6‐21 6 PM Webinar ‐   Maura Fitzpatrick              (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
260⠀    AR Organization: 05 ‐ Emails   DOT_0039594 DOT_0039595           2    10/7/2021 11:08 Manhattan outside CBD Quick Tally.msg   Manhattan outside CBD Quick Tally    <mfitzpatrick@fhistudio.com>   Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                 Subject                                From                                  To             ,                                   Cc
                                                                                                                                                                                                                    <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                                                                                                                                                    "Arancio, Matthew" <marancio@dot.nyc.gov>,
                                                                                                                                                                                                                    "Kalb, Keith" <kkalb@dot.nyc.gov>, "Ahmed, Shakil"
                                                                                                                                                                                                                    <SAhmed2@dot.nyc.gov>,                             "Schultz, Abigail M (DOT)" <Abigail.Schultz@dot.ny.gov>,
                                                                                                                                                                                                                    "byeung.consultant@dot.nyc.gov"                    "Donovan, Aaron" <adonovan@mtahq.org>, Leslie Black
                                                                                                                                                                                                                    <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              CBDTP ‐ 10‐7‐21 6 PM EJ Webinar #1 ‐ New CBDTP ‐ 10‐7‐21 6 PM EJ Webinar #1 ‐   Maura Fitzpatrick                     (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
261⠀    AR Organization: 05 ‐ Emails   DOT_0039596 DOT_0039597           2     10/8/2021 7:36 York.msg                                 New York                               <mfitzpatrick@fhistudio.com>          Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>

                                                                                                                                                                              "Price, Anna (FHWA)"                  "Angel, Nichola" <nangel@mtabt.org>, "C. de      "Carter, Lee Ellen (FHWA)" <lee.ellen.carter@dot.gov>,
262⠀    AR Organization: 05 ‐ Emails   DOT_0039598 DOT_0039598           1 10/12/2021 13:22 EJ outreach for CBDTP.msg                  EJ outreach for CBDTP                  <anna.price@dot.gov>                  Cerreno, Allison" <allison.cdecerreno@mtahq.org> "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>


                                                                                                                                                                                                                    "Price, Anna (FHWA)" <anna.price@dot.gov>, "C. de "Carter, Lee Ellen (FHWA)" <lee.ellen.carter@dot.gov>,
263⠀    AR Organization: 05 ‐ Emails   DOT_0039599 DOT_0039600           2 10/12/2021 13:46 RE_ EJ outreach for CBDTP (7).msg          RE: EJ outreach for CBDTP              "Angel, Nichola" <nangel@mtabt.org>   Cerreno, Allison" <allison.cdecerreno@mtahq.org> "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                                                                                              "Price, Anna (FHWA)"                  "Angel, Nichola" <nangel@mtabt.org>, "C. de      "Carter, Lee Ellen (FHWA)" <lee.ellen.carter@dot.gov>,
264⠀    AR Organization: 05 ‐ Emails   DOT_0039601 DOT_0039602           2 10/12/2021 13:49 RE_ EJ outreach for CBDTP.msg              RE: EJ outreach for CBDTP              <anna.price@dot.gov>                  Cerreno, Allison" <allison.cdecerreno@mtahq.org> "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>

                                                                                                                                                                              "Price, Anna (FHWA)"                  "Angel, Nichola" <nangel@mtabt.org>, "Carter, Lee "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
265⠀    AR Organization: 05 ‐ Emails   DOT_0039603 DOT_0039603           1 10/12/2021 16:45 RE_ EJ TAG on Oct 14 (12).msg              RE: EJ TAG on Oct 14                   <anna.price@dot.gov>                  Ellen (FHWA)" <lee.ellen.carter@dot.gov>          "Flax, Leah" <leah.flax@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                 From                                    To             ,                                   Cc
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Schwartz,
                                                                                                                                                                                                                      William" <wschwartz@mtahq.org>, "Lovett,
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                                                                                              CBDTP ‐ 10‐12‐21 6 PM EJ Webinar #2‐    CBDTP ‐ 10‐12‐21 6 PM EJ Webinar #2‐    Maura Fitzpatrick                       (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
266⠀    AR Organization: 05 ‐ Emails   DOT_0039604 DOT_0039605           2    10/13/2021 9:10 New Jersey.msg                          New Jersey                              <mfitzpatrick@fhistudio.com>            Calvert" <ccalvert@akrf.com>,
                                                                                                                                                                                                                                     ,              "Timoney, Caitlin"   <Ddecresc@mtabt.org>
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                                                                                                                                                      <byeung.consultant@dot.nyc.gov>, "Price, Anna      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              CBDTP ‐ 10‐13‐21 6 PM EJ Webinar #3 ‐   CBDTP ‐ 10‐13‐21 6 PM EJ Webinar #3 ‐   Maura Fitzpatrick                       (FHWA)" <anna.price@dot.gov>, "Christopher M.      <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
267⠀    AR Organization: 05 ‐ Emails   DOT_0039606 DOT_0039607           2    10/14/2021 7:46 CT.msg                                  CT                                      <mfitzpatrick@fhistudio.com>            Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <Ddecresc@mtabt.org>

                                                                                            Re_ _EXTERNAL_ RE_ CBDTP Permitting       Re: [EXTERNAL] RE: CBDTP Permitting                                            "Price, Anna (FHWA)" <anna.price@dot.gov>,          "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies,
268⠀    AR Organization: 05 ‐ Emails   DOT_0039608 DOT_0039609           2 10/14/2021 16:00 Timetable Worksheet (51).msg              Timetable Worksheet                     "Eberle, Mark D" <mark_eberle@nps.gov> "Schlegel, Kathryn A" <Kathy_Schlegel@nps.gov>      Robert (FHWA)" <Robert.Davies@dot.gov>




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                                                                                                                                                                                                                                                         "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                                                                         <leah.flax@mtabt.org>, "Toni, Melissa (FHWA)"
                                                                                                                                                                                                                                                         <melissa.toni@dot.gov>, "Cogburn, Megan (FHWA)"
                                                                                                                                                                                                        "Gregory, Hazel" <hgregory@mtabt.org>,           <megan.cogburn@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                        "Price, Anna (FHWA)"            ron.epstein dot.ny.gov <ron.epstein@dot.ny.gov>, <lee.ellen.carter@dot.gov>, "Gavin, James (FHWA)"
269⠀    AR Organization: 05 ‐ Emails   DOT_0039610 DOT_0039611           2 10/20/2021 12:49 RE_ EJ Webinars #2 in December.msg    RE: EJ Webinars #2 in December        <anna.price@dot.gov>            William Carry <wcarry@dot.nyc.gov>               <james.gavin@dot.gov>

                                                                                                                                                                                                                                                        Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                        "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                        Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
                                                                                                                                                                                                                                                        Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                        "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                            CBD Tolling Program Section 106       CBD Tolling Program Section 106       "Leslie, Catherine S. (DOT)"                                                    "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
270⠀    AR Organization: 05 ‐ Emails   DOT_0039612 DOT_0039612           1 10/21/2021 11:11 Consultation (42).msg                 Consultation                          <Catherine.Leslie@dot.ny.gov>   "egoldstein@mas.org" <egoldstein@mas.org>       "nangel@mtabt.org" <nangel@mtabt.org>

                                                                                                                                                                                                                                                        'Robert Davies' <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                        "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                        Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
                                                                                                                                                                                                                                                        Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                        "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                            CBD Tolling Program Section 106       CBD Tolling Program Section 106       "Leslie, Catherine S. (DOT)"                                                    "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
271⠀    AR Organization: 05 ‐ Emails   DOT_0039613 DOT_0039613           1 10/21/2021 11:13 Consultation (41).msg                 Consultation                          <Catherine.Leslie@dot.ny.gov>   "lnowve@hdc.org" <lnowve@hdc.org>               "nangel@mtabt.org" <nangel@mtabt.org>

                                                                                                                                                                                                                                                        'Robert Davies' <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                        "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                        Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
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                                                                                                                                                                                                                                                        "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                            RE_ CBD Tolling Program Section 106   RE: CBD Tolling Program Section 106   "Benware, Bridget N (DOT)"                                                      "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
272⠀    AR Organization: 05 ‐ Emails   DOT_0039614 DOT_0039614           1 10/21/2021 11:39 Consultation (40).msg                 Consultation                          <Bridget.Benware@dot.ny.gov>    "lnowve@hdc.org" <lnowve@hdc.org>               "nangel@mtabt.org" <nangel@mtabt.org>

                                                                                                                                                                                                                                                        'Robert Davies' <robert.davies@dot.gov>,
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                                                                                                                                                                                                                                                        "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                            RE_ CBD Tolling Program Section 106   RE: CBD Tolling Program Section 106   "Benware, Bridget N (DOT)"                                                      "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
273⠀    AR Organization: 05 ‐ Emails   DOT_0039615 DOT_0039615           1 10/21/2021 11:40 Consultation (39).msg                 Consultation                          <Bridget.Benware@dot.ny.gov>    "egoldstein@mas.org" <egoldstein@mas.org>       "nangel@mtabt.org" <nangel@mtabt.org>
                                                                                                                                                                                                                                                        Robert Davies <robert.davies@dot.gov>, "Mackay, Daniel
                                                                                                                                                                                                                                                        (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein, Ron
                                                                                                                                                                                                                                                        (DOT)" <Ron.Epstein@dot.ny.gov>,
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                                                                                            CBD Tolling Program Section 106       CBD Tolling Program Section 106       "Leslie, Catherine S. (DOT)"                                                    "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
274⠀    AR Organization: 05 ‐ Emails   DOT_0039616 DOT_0039616           1 10/21/2021 12:26 Consultation (38).msg                 Consultation                          <Catherine.Leslie@dot.ny.gov>   "anna.price@dot.gov" <anna.price@dot.gov>       "nangel@mtabt.org" <nangel@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                 From                            To             ,                                   Cc
                                                                                                                                                                                                              <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                                                                                                                                              <Luke.DePalma@nyct.com>, ron epstein
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                                                                                                                                                                                                              "byeung.consultant@dot.nyc.gov"                    "Schultz, Abigail M (DOT)" <Abigail.Schultz@dot.ny.gov>,
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                                                                                                                                                                                                              (FHWA)" <anna.price@dot.gov>, "Christopher M.      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                            CBDTP ‐ 10‐26‐21 6 PM EJ Webinar #4 ‐     CBDTP ‐ 10‐26‐21 6 PM EJ Webinar #4 ‐   Maura Fitzpatrick               Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
275⠀    AR Organization: 05 ‐ Emails   DOT_0039617 DOT_0039618           2 10/27/2021 10:00 NY.msg                                    NY                                      <mfitzpatrick@fhistudio.com>    <Caitlin.Timoney@hdrinc.com>,
                                                                                                                                                                                                                             ,                Zainab Kazmi       <Ddecresc@mtabt.org>
                                                                                                                                                                                                              <allison.cdecerreno@mtahq.org>, "Schwartz,
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                                                                                                                                                                                                              (FHWA)" <anna.price@dot.gov>, "Christopher M.      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              CBDTP ‐ 10‐27‐21 6 PM EJ Webinar #5 ‐   CBDTP ‐ 10‐27‐21 6 PM EJ Webinar #5 ‐   Maura Fitzpatrick               Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
276⠀    AR Organization: 05 ‐ Emails   DOT_0039619 DOT_0039620           2    10/28/2021 8:17 NJ.msg                                  NJ                                      <mfitzpatrick@fhistudio.com>    <Caitlin.Timoney@hdrinc.com>, Zainab Kazmi         <Ddecresc@mtabt.org>

                                                                                                                                                                                                                                                                 "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Toni,
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                                                                                                                                                                                                                                                                 <Lori.Blair@dot.ny.gov>, "Nierenberg, Daniel R (DOT)"
                                                                                                                                                                                                                                                                 <Daniel.Nierenberg@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                            CBDTP ‐ Section 106 Submission to the     CBDTP ‐ Section 106 Submission to the   "Leslie, Catherine S. (DOT)"                                                       <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
277⠀    AR Organization: 05 ‐ Emails   DOT_0039621 DOT_0039621           1 10/28/2021 11:18 Nations.msg                               Nations                                 <Catherine.Leslie@dot.ny.gov>   "anna.price@dot.gov" <anna.price@dot.gov>          <nangel@mtabt.org>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                  From                            To                                                 Cc
                                                                                                                                                                                                                                                                  Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                  "anna.price@dot.gov" <anna.price@dot.gov>, "Epstein, Ron
                                                                                                                                                                                                                                                                  (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                  "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                            CBD Tolling Program Section 106 Screening CBD Tolling Program Section 106          "Leslie, Catherine S. (DOT)"    "Mackay, Daniel (PARKS)"                           "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
278⠀    AR Organization: 05 ‐ Emails   DOT_0039622 DOT_0039622           1 10/28/2021 13:43 Report.msg                                Screening Report                         <Catherine.Leslie@dot.ny.gov>   <Daniel.Mackay@parks.ny.gov>
                                                                                                                                                                                                                            ,                                     "nangel@mtabt.org" <nangel@mtabt.org>
                                                                                                                                                                                                               <allison.cdecerreno@mtahq.org>, "Schwartz,
                                                                                                                                                                                                               William" <wschwartz@mtahq.org>, "Angel,
                                                                                                                                                                                                               Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                               <leah.flax@mtabt.org>, "Mulvaney, Joyce"
                                                                                                                                                                                                               <JMulvane@mtabt.org>, "Reis, Sergio"
                                                                                                                                                                                                               <sreis@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                               <Romolo.Desantis@mtacd.org>, "DePalma, Luke"
                                                                                                                                                                                                               <Luke.DePalma@nyct.com>, ron epstein
                                                                                                                                                                                                               <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                               "craig.ruyle@dot.ny.gov" <craig.ruyle@dot.ny.gov>,
                                                                                                                                                                                                               "george.paralemos@dot.nyc.gov"
                                                                                                                                                                                                               <george.paralemos@dot.nyc.gov>,
                                                                                                                                                                                                               "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,
                                                                                                                                                                                                               "Ullom, William" <wullom@dot.nyc.gov>, "Metal,
                                                                                                                                                                                                               Avraham (Rami)" <rmetal@dot.nyc.gov>, "Smith,
                                                                                                                                                                                                               Patrick" <psmith@dot.nyc.gov>,
                                                                                                                                                                                                               "nlopez1@dot.nyc.gov" <nlopez1@dot.nyc.gov>,
                                                                                                                                                                                                               "kbray@dot.nyc.gov" <kbray@dot.nyc.gov>,
                                                                                                                                                                                                               "rcaruana@dot.nyc.gov" <rcaruana@dot.nyc.gov>,
                                                                                                                                                                                                               "Arancio, Matthew" <marancio@dot.nyc.gov>,
                                                                                                                                                                                                               "Kalb, Keith" <kkalb@dot.nyc.gov>, "Ahmed, Shakil"
                                                                                                                                                                                                               <SAhmed2@dot.nyc.gov>,
                                                                                                                                                                                                               "byeung.consultant@dot.nyc.gov"                    "Schultz, Abigail M (DOT)" <Abigail.Schultz@dot.ny.gov>,
                                                                                                                                                                                                               <byeung.consultant@dot.nyc.gov>, "Price, Anna      "Donovan, Aaron" <adonovan@mtahq.org>, Leslie Black
                                                                                                                                                                                                               (FHWA)" <anna.price@dot.gov>, "Christopher M.      <lblack@fhistudio.com>, "Gregory, Hazel"
                                                                                              CBDTP ‐ 10‐28‐21 6 PM EJ Webinar #6 ‐   CBDTP ‐ 10‐28‐21 6 PM EJ Webinar #6 ‐    Maura Fitzpatrick               Calvert" <ccalvert@akrf.com>, "Timoney, Caitlin"   <hgregory@mtabt.org>, "DeCrescenzo, Daniel"
279⠀    AR Organization: 05 ‐ Emails   DOT_0039623 DOT_0039624           2    10/29/2021 9:08 CT.msg                                  CT                                       <mfitzpatrick@fhistudio.com>    <Caitlin.Timoney@hdrinc.com>, Zainab Kazmi         <Ddecresc@mtabt.org>
                                                                                                                                                                                                                                                                  "Flax, Leah" <leah.flax@mtabt.org>, "Carter, Lee Ellen
                                                                                                                                                                               "Price, Anna (FHWA)"                                                               (FHWA)" <lee.ellen.carter@dot.gov>, "Angel, Nichola"
280⠀    AR Organization: 05 ‐ Emails   DOT_0039625 DOT_0039626           2     11/8/2021 9:22 RE_ EJ SWG Meeting ‐ Nov 9th .msg       RE: EJ SWG Meeting ‐ Nov 9th             <anna.price@dot.gov>            "Gregory, Hazel" <hgregory@mtabt.org>              <nangel@mtabt.org>
                                                                                                                                                                                                                                                                  Robert Davies <robert.davies@dot.gov>, "Mackay, Daniel
                                                                                                                                                                                                                                                                  (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein, Ron
                                                                                                                                                                                                                                                                  (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                  "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                              CBD Tolling Program Section 106         CBD Tolling Program Section 106          "Leslie, Catherine S. (DOT)"                                                       "nangel@mtabt.org" <nangel@mtabt.org>,
281⠀    AR Organization: 05 ‐ Emails   DOT_0039627 DOT_0039627           1    11/9/2021 14:57 Consultation.msg                        Consultation                             <Catherine.Leslie@dot.ny.gov>   "anna.price@dot.gov" <anna.price@dot.gov>          "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                  "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                                  "Lori.Blair@dot.ny.gov" <Lori.Blair@dot.ny.gov>, ron.epstein
                                                                                                                                                                                                                                                                  dot.ny.gov <ron.epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                  "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                  <allison.cdecerreno@mtahq.org>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                  <WCarry@dot.nyc.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                                  <Robert.Davies@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                            RE_ CBDTP Section 106 Consulting Party    RE: CBDTP Section 106 Consulting Party   "Anderson, Cindy (FHWA)"                                                           <kaylie.kramer@dot.gov>, "Musolino, Donna (FHWA)"
282⠀    AR Organization: 05 ‐ Emails   DOT_0039628 DOT_0039628           1 11/12/2021 10:20 Approval Letter (002).msg                 Approval Letter (002)                    <cindy.anderson@dot.gov>        Catherine Leslie <Catherine.Leslie@dot.ny.gov>     <donna.musolino@dot.gov>
                                                                                                                                                                                                                                                                  "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Toni,
                                                                                                                                                                                                                                                                  Melissa (FHWA)" <melissa.toni@dot.gov>, "Blair, Lori E (DOT)"
                                                                                                                                                                               "Price, Anna (FHWA)"            "Leslie, Catherine S. (DOT)"                       <Lori.Blair@dot.ny.gov>, "Kramer, Kaylie (FHWA)"
283⠀    AR Organization: 05 ‐ Emails   DOT_0039629 DOT_0039630           2 11/18/2021 14:14 RE_ CBDTP ‐ Section 106 Items.msg         RE: CBDTP ‐ Section 106 Items            <anna.price@dot.gov>            <Catherine.Leslie@dot.ny.gov>                      <kaylie.kramer@dot.gov>

                                                                                                                                                                                                                                                                  "Kramer, Kaylie (FHWA)" <kaylie.kramer@dot.gov>, "Pavlik,
                                                                                                                                                                                                                                                                  Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Carter, Lee Ellen
                                                                                                                                                                               "Price, Anna (FHWA)"                                                               (FHWA)" <lee.ellen.carter@dot.gov>, "Cogburn, Megan
284⠀    AR Organization: 05 ‐ Emails   DOT_0039631 DOT_0039632           2    11/22/2021 9:14 RE_ EJ TAG Meeting 2_1.msg              RE: EJ TAG Meeting 2.1                   <anna.price@dot.gov>            "Gregory, Hazel" <hgregory@mtabt.org>              (FHWA)" <megan.cogburn@dot.gov>




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                        Administrative Record



Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                                  Subject                                     From                            To                                                 Cc

                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Angel, Nichola" <nangel@mtabt.org>, "Kramer, Kaylie
                                                                                                                                                                                                                                                                             (FHWA)" <kaylie.kramer@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                                                                                                                                                                                                             <Rick.Marquis@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                          "Price, Anna (FHWA)"                                                               <Monica.Pavlik@dot.gov>, "Carter, Lee Ellen (FHWA)"
285⠀    AR Organization: 05 ‐ Emails         DOT_0039633 DOT_0039633           1    11/22/2021 9:19 FHWA attendees Nov 30 SWG.msg             FHWA attendees Nov 30 SWG                   <anna.price@dot.gov>            "Gregory, Hazel" <hgregory@mtabt.org>              <lee.ellen.carter@dot.gov>

                                                                                                                                                                                                                                                                             Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                             "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                                             Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
                                                                                                                                                                                                                                                                             Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                             "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                                  CBDTP Section 106 Consulting Parties        CBDTP Section 106 Consulting Parties        "Leslie, Catherine S. (DOT)"    "andreagoldwyn@nylandmarks.org"                    "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
286⠀    AR Organization: 05 ‐ Emails         DOT_0039634 DOT_0039634           1 11/22/2021 11:25 Meeting (13).msg                            Meeting                                     <Catherine.Leslie@dot.ny.gov>   <andreagoldwyn@nylandmarks.org>                    "nangel@mtabt.org" <nangel@mtabt.org>

                                                                                                                                                                                                                                                                             Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                             "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                                             Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
                                                                                                                                                                                                                                                                             Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                             "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                                  CBDTP Section 106 Consulting Parties        CBDTP Section 106 Consulting Parties        "Leslie, Catherine S. (DOT)"                                                       "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
287⠀    AR Organization: 05 ‐ Emails         DOT_0039635 DOT_0039635           1 11/22/2021 11:26 Meeting (12).msg                            Meeting                                     <Catherine.Leslie@dot.ny.gov>   "mark_eberle@nps.gov" <mark_eberle@nps.gov>        "nangel@mtabt.org" <nangel@mtabt.org>

                                                                                                                                                                                                                                                                             Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                             "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                                             Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
                                                                                                                                                                                                                                                                             Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                             "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                                  CBDTP Section 106 Consulting Parties        CBDTP Section 106 Consulting Parties        "Leslie, Catherine S. (DOT)"    "David.cuff@parks.nyc.gov"                         "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
288⠀    AR Organization: 05 ‐ Emails         DOT_0039636 DOT_0039636           1 11/22/2021 11:27 Meeting (11).msg                            Meeting                                     <Catherine.Leslie@dot.ny.gov>   <David.cuff@parks.nyc.gov>                         "nangel@mtabt.org" <nangel@mtabt.org>

                                                                                                                                                                                                                                                                             Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                             "anna.price@dot.gov" <anna.price@dot.gov>, "Mackay,
                                                                                                                                                                                                                                                                             Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>, "Epstein,
                                                                                                                                                                                                                                                                             Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                                                                             "acdecerreno@mtabt.org" <acdecerreno@mtabt.org>,
                                                                                                  CBDTP Section 106 Consulting Parties        CBDTP Section 106 Consulting Parties        "Leslie, Catherine S. (DOT)"                                                       "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
289⠀    AR Organization: 05 ‐ Emails         DOT_0039637 DOT_0039637           1 11/22/2021 11:28 Meeting.msg                                 Meeting                                     <Catherine.Leslie@dot.ny.gov>   "gsantucci@lpc.nyc.gov" <gsantucci@lpc.nyc.gov>    "nangel@mtabt.org" <nangel@mtabt.org>
                                                                                                  Upcoming Public Meeting Opportunities       Upcoming Public Meeting Opportunities
                                                                                                  for the Central Business District Tolling   for the Central Business District Tolling   OCTC Mailbox
290⠀    AR Organization: 05 ‐ Emails         DOT_0039638 DOT_0039638           1 11/22/2021 14:06 Program.msg                                 Program                                     <OCTC@orangecountygov.com>      Undisclosed recipients:;




                                                                                                                                                                                                                          "Angel, Nichola" <nangel@mtabt.org>, "C. de
                                                                                                                                                                                                                          Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                          "(ccalvert@akrf.com)" <ccalvert@akrf.com>,
                                                                                                                                                                                                                          Claudia Cooney <ccooney@akrf.com>, Julie Cowing
                                                                                                                                                                                                                          <jcowing@akrf.com>, "anna.price@dot.gov"
                                                                                                                                                                                                                          <anna.price@dot.gov>, "robert.davies
                                                                                                                                                                                                                          (robert.davies@dot.gov)"
                                                                                                  CBDTP Section 106 ‐ SHPO response to        CBDTP Section 106 ‐ SHPO response to        "Blair, Lori E (DOT)"           <robert.davies@dot.gov>, "Toni, Melissa (FHWA)"
291⠀    AR Organization: 05 ‐ Emails         DOT_0039639 DOT_0039639           1 11/22/2021 16:29 Screening.msg                               Screening                                   <Lori.Blair@dot.ny.gov>         <melissa.toni@dot.gov>                            "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>
                                                                                                  SHPO_response_to_screening_11‐22‐
292⠀    AR Organization: 06 Correspondence   DOT_0039640 DOT_0039641           2 11/22/2021 15:40 2021.pdf

                                                                                                                                                                                          "Marquis, Rick (FHWA)"          "Price, Anna (FHWA)" <anna.price@dot.gov>,
293⠀    AR Organization: 05 ‐ Emails         DOT_0039642 DOT_0039642           1    11/29/2021 8:56 13a08.eml                                 CBDTP                                       <Rick.Marquis@dot.gov>          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                          "MTA Customer Service Team"     "undisclosed‐recipients@custhelp.com"
294⠀    AR Organization: 05 ‐ Emails         DOT_0039643 DOT_0039643           1    11/29/2021 8:56 CBD_Tolling_Program_feedback.eml          CBD Tolling Program feedback                <response@mta.info>             <undisclosed‐recipients@custhelp.com>




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                         Administrative Record



Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                               Subject                                     From                                     To                                                 Cc
                                                                                                    CBD_Tolling_Program_feedback_(Weekly).
295⠀    AR Organization: 06 Correspondence   DOT_0039644 DOT_0039644           1    11/29/2021 8:56 xls
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
296⠀    AR Organization: 05 ‐ Emails         DOT_0039645 DOT_0039645           1    11/29/2021 8:56 CBD_Tolling_Program_registration.eml       CBD Tolling Program registration        <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
297⠀    AR Organization: 06 Correspondence   DOT_0039646 DOT_0039646           1    11/29/2021 8:56 CBD_Tolling_Program_registration.xls
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
298⠀    AR Organization: 05 ‐ Emails         DOT_0039647 DOT_0039647           1    11/29/2021 8:56 CBD_Tolling_Program_tally(1).eml           CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
299⠀    AR Organization: 05 ‐ Emails         DOT_0039648 DOT_0039648           1    11/29/2021 8:56 CBD_Tolling_Program_tally(2).eml           CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
300⠀    AR Organization: 05 ‐ Emails         DOT_0039649 DOT_0039649           1    11/29/2021 8:56 CBD_Tolling_Program_tally(3).eml           CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
301⠀    AR Organization: 05 ‐ Emails         DOT_0039650 DOT_0039650           1    11/29/2021 8:56 CBD_Tolling_Program_tally(4).eml           CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
302⠀    AR Organization: 05 ‐ Emails         DOT_0039651 DOT_0039651           1    11/29/2021 8:56 CBD_Tolling_Program_tally.eml              CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>


                                                                                                                                                                                                                                "C. de Cerreno, Allison"
                                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>, "ron.epstein       "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Angel,
                                                                                                                                                                                         "Price, Anna (FHWA)"                   dot.ny.gov" <ron.epstein@dot.ny.gov>,              Nichola" <nangel@mtabt.org>, "Marquis, Rick (FHWA)"
303⠀    AR Organization: 05 ‐ Emails         DOT_0039652 DOT_0039652           1 11/30/2021 10:50 FHWA SdPOM for Congestion Pricing.msg        FHWA SdPOM for Congestion Pricing         <anna.price@dot.gov>                   "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>          <Rick.Marquis@dot.gov>
                                                                                                  RE_ Federal Agency Coordination              RE: Federal Agency Coordination           "C. de Cerreno, Allison"                                                                  "Anna Price (FHWA)" <anna.price@dot.gov>, "Angel, Nichola"
304⠀    AR Organization: 05 ‐ Emails         DOT_0039653 DOT_0039655           3 11/30/2021 11:01 Meetings_ Transportation.msg                 Meetings: Transportation                  <allison.cdecerreno@mtahq.org>          "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>     <nangel@mtabt.org>
                                                                                                  Central Business District Tolling Program    Central Business District Tolling Program dot.sm.nymtc.public.info <NYMTC‐Public‐
305⠀    AR Organization: 05 ‐ Emails         DOT_0039656 DOT_0039658           3 11/30/2021 14:35 Update.msg                                   Update                                    Info@dot.ny.gov>                        Undisclosed recipients:;
                                                                                                  Central Business District Tolling Program    Central Business District Tolling Program dot.sm.nymtc.public.info <NYMTC‐Public‐
306⠀    AR Organization: 05 ‐ Emails         DOT_0039659 DOT_0039660           2 11/30/2021 14:41 Update.msg                                   Update                                    Info@dot.ny.gov>                        Undisclosed recipients:;

                                                                                                                                                                                                                                                                                   "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    FHWA attendance at EJ meetings next        FHWA attendance at EJ meetings next     "Price, Anna (FHWA)"                                                                        "Angel, Nichola" <nangel@mtabt.org>, "Carter, Lee Ellen
307⠀    AR Organization: 05 ‐ Emails         DOT_0039661 DOT_0039661           1    12/2/2021 16:33 week.msg                                   week                                    <anna.price@dot.gov>                     "Gregory, Hazel" <hgregory@mtabt.org>              (FHWA)" <lee.ellen.carter@dot.gov>
                                                                                                    Your Sign Up_ CBDTP Public Meeting_        Your Sign Up: CBDTP Public Meeting:
                                                                                                    Environmental Justice Communities for      Environmental Justice Communities for   "MTA Customer Service Team"
308⠀    AR Organization: 05 ‐ Emails         DOT_0039662 DOT_0039662           1    12/6/2021 10:29 New Jersey _211206‐000355_.msg             New Jersey [211206‐000355]              <response@mta.info>                      rick.marquis@dot.gov
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
309⠀    AR Organization: 05 ‐ Emails         DOT_0039663 DOT_0039663           1     12/6/2021 8:00 unnamed.eml                                CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
310⠀    AR Organization: 05 ‐ Emails         DOT_0039664 DOT_0039664           1     12/6/2021 8:00 unnamed(1).eml                             CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
311⠀    AR Organization: 05 ‐ Emails         DOT_0039665 DOT_0039665           1     12/6/2021 8:00 unnamed(2).eml                             CBD Tolling Program tally               <response@mta.info>                      <undisclosed‐recipients@custhelp.com>




                                                                                                                                                                                                                                "robert.davies@dot.gov" <robert.davies@dot.gov>,
                                                                                                                                                                                                                                "anna.price@dot.gov" <anna.price@dot.gov>,
                                                                                                                                                                                                                                "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>,
                                                                                                    Manhattan Central Business District Tolling Manhattan Central Business District                                             "nangel@mtabt.org" <nangel@mtabt.org>,
                                                                                                    Program ‐Section 106 ‐ OPRHP                Tolling Program ‐Section 106 ‐ OPRHP   "Ferraro, Diane (DOT)"                   "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>,
312⠀    AR Organization: 05 ‐ Emails         DOT_0039666 DOT_0039666           1    12/6/2021 14:49 21PR06430.msg                               21PR06430                              <Diane.Ferraro@dot.ny.gov>               "Epstein, Ron (DOT)" <Ron.Epstein@dot.ny.gov>

                                                                                                                                                                                                                                                                                   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Kramer,
                                                                                                                                                                                                                                "C. de Cerreno, Allison"                           Kaylie (FHWA)" <kaylie.kramer@dot.gov>, "Cogburn, Megan
                                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>, "Angel, Nichola"   (FHWA)" <megan.cogburn@dot.gov>, "Carter, Lee Ellen
                                                                                                                                                                                       "Price, Anna (FHWA)"                     <nangel@mtabt.org>, "Gregory, Hazel"               (FHWA)" <lee.ellen.carter@dot.gov>, "Gavin, James (FHWA)"
313⠀    AR Organization: 05 ‐ Emails         DOT_0039667 DOT_0039669           3    12/7/2021 10:17 EJ webinars this week.msg                  EJ webinars this week                   <anna.price@dot.gov>                     <hgregory@mtabt.org>                               <james.gavin@dot.gov>




                                                                                                                                                            Page 39 of 102
                                                         Case 2:23-cv-03885-LMG-LDWState ofDocument              71-2 Filed 12/07/23 Page 40 of 102 PageID: 3306
                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                                    Subject                                   From                                  To                                               Cc

                                                                                                                                                                                                                                                                             "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Kramer,
                                                                                                                                                                                                                                                                             Kaylie (FHWA)" <kaylie.kramer@dot.gov>, "Cogburn, Megan
                                                                                                                                                                                                                           "Gregory, Hazel" <hgregory@mtabt.org>, "C. de     (FHWA)" <megan.cogburn@dot.gov>, "Carter, Lee Ellen
                                                                                                                                                                                     "Price, Anna (FHWA)"                  Cerreno, Allison" <allison.cdecerreno@mtahq.org>, (FHWA)" <lee.ellen.carter@dot.gov>, "Gavin, James (FHWA)"
314⠀    AR Organization: 05 ‐ Emails   DOT_0039670 DOT_0039673           4    12/7/2021 11:24 RE_ EJ webinars this week (1).msg            RE: EJ webinars this week                 <anna.price@dot.gov>                  "Angel, Nichola" <nangel@mtabt.org>               <james.gavin@dot.gov>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
315⠀    AR Organization: 05 ‐ Emails   DOT_0039674 DOT_0039674           1    12/10/2021 8:07 CBD_Tolling_Program_tally.eml                CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
316⠀    AR Organization: 05 ‐ Emails   DOT_0039675 DOT_0039675           1    12/13/2021 8:00 unnamed.eml                                  CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
317⠀    AR Organization: 05 ‐ Emails   DOT_0039676 DOT_0039676           1    12/13/2021 8:00 unnamed(1).eml                               CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "Pavlik, Monica (FHWA)"                                                                 "CBDTP" <CBDTP@dot.gov>, "Price, Anna (FHWA)"
318⠀    AR Organization: 05 ‐ Emails   DOT_0039677 DOT_0039677           1 12/13/2021 10:00 FW_ CBDTP (40).msg                             FW: CBDTP                                 <Monica.Pavlik@dot.gov>               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov> <anna.price@dot.gov>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
319⠀    AR Organization: 05 ‐ Emails   DOT_0039678 DOT_0039678           1 12/13/2021 10:00 CBD_Tolling_Program_tally(1).eml               CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
320⠀    AR Organization: 05 ‐ Emails   DOT_0039679 DOT_0039679           1 12/13/2021 10:00 CBD_Tolling_Program_tally.eml                  CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
321⠀    AR Organization: 05 ‐ Emails   DOT_0039680 DOT_0039680           1    12/16/2021 8:01 unnamed.eml                                  CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
322⠀    AR Organization: 05 ‐ Emails   DOT_0039681 DOT_0039681           1    12/22/2021 8:01 CBD_Tolling_Program_tally.eml                CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
323⠀    AR Organization: 05 ‐ Emails   DOT_0039682 DOT_0039682           1    12/22/2021 8:01 CBD_Tolling_Program_tally(5).eml             CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "Pavlik, Monica (FHWA)"
324⠀    AR Organization: 05 ‐ Emails   DOT_0039683 DOT_0039683           1    12/22/2021 9:51 FW_ CBDTP (36).msg                           FW: CBDTP                                 <Monica.Pavlik@dot.gov>               "CBDTP" <CBDTP@dot.gov>                          "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
325⠀    AR Organization: 05 ‐ Emails   DOT_0039684 DOT_0039684           1    12/22/2021 9:51 CBD_Tolling_Program_feedback.eml             CBD Tolling Program feedback              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
326⠀    AR Organization: 05 ‐ Emails   DOT_0039685 DOT_0039685           1    12/22/2021 9:51 CBD_Tolling_Program_registration.eml         CBD Tolling Program registration          <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
327⠀    AR Organization: 05 ‐ Emails   DOT_0039686 DOT_0039686           1    12/22/2021 9:51 CBD_Tolling_Program_tally.eml                CBD Tolling Program tally                 <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




                                                                                                                                                                                                                           Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                           "anna.price@dot.gov" <anna.price@dot.gov>,
                                                                                                                                                                                                                           "Epstein, Ron (DOT)" <Ron.Epstein@dot.ny.gov>,
                                                                                                                                                                                                                           "acdecerreno@mtabt.org"
                                                                                                                                                                                                                           <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                            Central Business District Tolling Program‐     Central Business District Tolling Program‐ "Leslie, Catherine S. (DOT)"         <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
328⠀    AR Organization: 05 ‐ Emails   DOT_0039687 DOT_0039687           1 12/22/2021 14:08 Section 106 ‐ OPRHP 21PR06430.msg              Section 106 ‐ OPRHP 21PR06430              <Catherine.Leslie@dot.ny.gov>        <WCarry@dot.nyc.gov>

329⠀    AR Organization: 05 ‐ Emails   DOT_0039688 DOT_0039689           2 12/22/2021 15:26 CBDTP NEPA follow up.msg                       CBDTP NEPA follow up                      "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>

330⠀    AR Organization: 05 ‐ Emails   DOT_0039690 DOT_0039691           2 12/22/2021 16:53 RE_ CBDTP NEPA follow up.msg                   RE: CBDTP NEPA follow up                  "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>

                                                                                                                                                                                                                                                                         "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                                         <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                                         <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                                         <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                                                                         <kaylie.kramer@dot.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                                                                         <Catherine.Leslie@dot.ny.gov>, "Williamson, Ann (DOT)"
                                                                                                                                                                                                                           "mark_eberle@nps.gov" <mark_eberle@nps.gov>, <Ann.Williamson@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                           "kathryn_schlegel@nps.gov"                    <allison.cdecerreno@mtahq.org>, "Flax, Leah"
                                                                                                                                                                                                                           <kathryn_schlegel@nps.gov>, "Brazee, Olivia   <leah.flax@mtabt.org>, "jschneider@mtabt.org"
                                                                                                                                                                                                                           (PARKS)" <Olivia.Brazee@parks.ny.gov>,        <jschneider@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                                           "andreagoldwyn@nylandmarks.org"               <Romolo.Desantis@mtacd.org>, Julie Cowing
                                                                                              Central Business District Tolling Program ‐ Central Business District Tolling Program ‐                                      <andreagoldwyn@nylandmarks.org>, "Cuff, David <jcowing@akrf.com>, Claudia Cooney <ccooney@akrf.com>,
                                                                                              OPRHP 21PR06430 Section 106                 OPRHP 21PR06430 Section 106                 "Blair, Lori E (DOT)"                (Parks)" <David.Cuff@parks.nyc.gov>, "Gina    "Timoney, Caitlin" <Caitlin.Timoney@hdrinc.com>, Hannah
331⠀    AR Organization: 05 ‐ Emails   DOT_0039692 DOT_0039693           2    12/23/2021 8:24 Consultation .msg                           Consultation                                <Lori.Blair@dot.ny.gov>              Santucci (LPC)" <GSantucci@lpc.nyc.gov>       Brockhaus <hbrockhaus@fhistudio.com>




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                                                                                                                                                      Administrative Record



Row #   AR Organization                      Bates Beg   Bates End     Pages     Primary Date      Filename                                 Subject                               From                                  To                                                 Cc
                                                                                                   CBDTP_Project_Info_for_Consulting_Partie
332⠀    AR Organization: 09 ‐ Report         DOT_0039694 DOT_0039759           66 12/22/2021 13:25 s_December_2021.pdf                      Cultural Resources Screening Report
                                                                                                   CBDTP_Section_106_CP_Mtg_1_Presentati
333⠀    AR Organization: 07 ‐ Presentation   DOT_0039760 DOT_0039800           41 12/15/2021 16:58 on_FIN_12‐16‐21.pdf

334⠀    AR Organization: 05 ‐ Emails         DOT_0039801 DOT_0039801            1 12/27/2021 13:01 RE_ CBDTP Concept of Operations.msg       RE: CBDTP Concept of Operations      "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                  "Marquis, Rick (FHWA)"                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
335⠀    AR Organization: 05 ‐ Emails         DOT_0039802 DOT_0039802            1 12/28/2021 13:01 139d4.eml                                 CBDTP                                <Rick.Marquis@dot.gov>                "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
336⠀    AR Organization: 05 ‐ Emails         DOT_0039803 DOT_0039803            1 12/28/2021 13:01 CBD_Tolling_Program_feedback.eml          CBD Tolling Program feedback         <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
337⠀    AR Organization: 05 ‐ Emails         DOT_0039804 DOT_0039804            1 12/28/2021 13:01 CBD_Tolling_Program_registration.eml      CBD Tolling Program registration     <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
338⠀    AR Organization: 05 ‐ Emails         DOT_0039805 DOT_0039805            1 12/28/2021 13:01 CBD_Tolling_Program_tally(1).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
339⠀    AR Organization: 05 ‐ Emails         DOT_0039806 DOT_0039806            1 12/28/2021 13:01 CBD_Tolling_Program_tally(2).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
340⠀    AR Organization: 05 ‐ Emails         DOT_0039807 DOT_0039807            1 12/28/2021 13:01 CBD_Tolling_Program_tally(3).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
341⠀    AR Organization: 05 ‐ Emails         DOT_0039808 DOT_0039808            1 12/28/2021 13:01 CBD_Tolling_Program_tally(4).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
342⠀    AR Organization: 05 ‐ Emails         DOT_0039809 DOT_0039809            1 12/28/2021 13:01 CBD_Tolling_Program_tally.eml             CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "Pavlik, Monica (FHWA)"
343⠀    AR Organization: 05 ‐ Emails         DOT_0039810 DOT_0039810            1 12/28/2021 13:28 FW_ CBDTP.msg                             FW: CBDTP                            <Monica.Pavlik@dot.gov>               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>      "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
344⠀    AR Organization: 05 ‐ Emails         DOT_0039811 DOT_0039811            1 12/28/2021 13:28 CBD_Tolling_Program_feedback.eml          CBD Tolling Program feedback         <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
345⠀    AR Organization: 05 ‐ Emails         DOT_0039812 DOT_0039812            1 12/28/2021 13:28 CBD_Tolling_Program_registration.eml      CBD Tolling Program registration     <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
346⠀    AR Organization: 05 ‐ Emails         DOT_0039813 DOT_0039813            1 12/28/2021 13:28 CBD_Tolling_Program_tally(1).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
347⠀    AR Organization: 05 ‐ Emails         DOT_0039814 DOT_0039814            1 12/28/2021 13:28 CBD_Tolling_Program_tally(2).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
348⠀    AR Organization: 05 ‐ Emails         DOT_0039815 DOT_0039815            1 12/28/2021 13:28 CBD_Tolling_Program_tally(3).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
349⠀    AR Organization: 05 ‐ Emails         DOT_0039816 DOT_0039816            1 12/28/2021 13:28 CBD_Tolling_Program_tally(4).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
350⠀    AR Organization: 05 ‐ Emails         DOT_0039817 DOT_0039817            1 12/28/2021 13:28 CBD_Tolling_Program_tally.eml             CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "Price, Anna (FHWA)"
351⠀    AR Organization: 05 ‐ Emails         DOT_0039818 DOT_0039818            1 12/28/2021 13:54 135a3.eml                                 FW: CBDTP                            <anna.price@dot.gov>                  CBDTP <CBDTP@dot.gov>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
352⠀    AR Organization: 05 ‐ Emails         DOT_0039819 DOT_0039819            1 12/28/2021 13:54 CBD_Tolling_Program_registration.eml      CBD Tolling Program registration     <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
353⠀    AR Organization: 05 ‐ Emails         DOT_0039820 DOT_0039820            1 12/28/2021 13:54 CBD_Tolling_Program_tally(1).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
354⠀    AR Organization: 05 ‐ Emails         DOT_0039821 DOT_0039821            1 12/28/2021 13:54 CBD_Tolling_Program_tally(2).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
355⠀    AR Organization: 05 ‐ Emails         DOT_0039822 DOT_0039822            1 12/28/2021 13:54 CBD_Tolling_Program_tally(3).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
356⠀    AR Organization: 05 ‐ Emails         DOT_0039823 DOT_0039823            1 12/28/2021 13:54 CBD_Tolling_Program_tally(4).eml          CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                  "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
357⠀    AR Organization: 05 ‐ Emails         DOT_0039824 DOT_0039824            1 12/28/2021 13:54 CBD_Tolling_Program_tally.eml             CBD Tolling Program tally            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                               Subject                               From                          To                                                 Cc




                                                                                                                                                                                                          "Angel, Nichola" <nangel@mtabt.org>, "C. de
                                                                                                                                                                                                          Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                          "Desantis, Romolo"
                                                                                                                                                                                                          <Romolo.Desantis@mtacd.org>, "Christopher M.
                                                                                                                                                                                                          Calvert" <ccalvert@akrf.com>, Julie Cowing
                                                                                                                                                                                                          <jcowing@akrf.com>, Claudia Cooney
                                                                                                                                                                                                          <ccooney@akrf.com>, "anna.price@dot.gov"
                                                                                                                                                                                                          <anna.price@dot.gov>, "robert.davies
                                                                                                                                                                                                          (robert.davies@dot.gov)"                          "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>,
                                                                                                                                                                            "Blair, Lori E (DOT)"         <robert.davies@dot.gov>, "Toni, Melissa (FHWA)" "Nierenberg, Daniel R (DOT)"
358⠀    AR Organization: 05 ‐ Emails   DOT_0039825 DOT_0039825           1    12/31/2021 8:16 CBDTP Section 106.msg                   CBDTP Section 106                     <Lori.Blair@dot.ny.gov>       <melissa.toni@dot.gov>                            <Daniel.Nierenberg@dot.ny.gov>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
359⠀    AR Organization: 05 ‐ Emails   DOT_0039826 DOT_0039826           1       1/3/2022 8:01 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
360⠀    AR Organization: 05 ‐ Emails   DOT_0039827 DOT_0039827           1       1/3/2022 8:01 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
361⠀    AR Organization: 05 ‐ Emails   DOT_0039828 DOT_0039828           1       1/3/2022 8:01 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
362⠀    AR Organization: 05 ‐ Emails   DOT_0039829 DOT_0039829           1       1/3/2022 8:01 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
363⠀    AR Organization: 05 ‐ Emails   DOT_0039830 DOT_0039830           1       1/3/2022 8:01 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
364⠀    AR Organization: 05 ‐ Emails   DOT_0039831 DOT_0039831           1       1/3/2022 8:01 CBD_Tolling_Program_tally(5).eml       CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                            "Pavlik, Monica (FHWA)"                                                         "'C. de Cerreno, Allison'" <allison.cdecerreno@mtahq.org>,
365⠀    AR Organization: 05 ‐ Emails   DOT_0039832 DOT_0039832           1     1/7/2022 15:38 RE_ CBDTP Contact List.msg              RE: CBDTP Contact List                <Monica.Pavlik@dot.gov>       "'Timoney, Caitlin'" <Caitlin.Timoney@hdrinc.com> "'Angel, Nichola'" <nangel@mtabt.org>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
366⠀    AR Organization: 05 ‐ Emails   DOT_0039833 DOT_0039833           1     1/10/2022 8:01 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
367⠀    AR Organization: 05 ‐ Emails   DOT_0039834 DOT_0039834           1     1/10/2022 8:01 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
368⠀    AR Organization: 05 ‐ Emails   DOT_0039835 DOT_0039835           1     1/10/2022 8:01 CBD_Tolling_Program_tally(2).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
369⠀    AR Organization: 05 ‐ Emails   DOT_0039836 DOT_0039836           1     1/10/2022 8:01 CBD_Tolling_Program_tally(3).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
370⠀    AR Organization: 05 ‐ Emails   DOT_0039837 DOT_0039837           1     1/10/2022 8:01 CBD_Tolling_Program_tally(4).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                                                          "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>,     "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Pavlik,
                                                                                                                                                                            "Price, Anna (FHWA)"          "Leslie, Catherine S. (DOT)"                       Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Kramer, Kaylie
371⠀    AR Organization: 05 ‐ Emails   DOT_0039838 DOT_0039838           1     1/12/2022 9:46 CBDTP Section 106.msg                   CBDTP Section 106                     <anna.price@dot.gov>          <Catherine.Leslie@dot.ny.gov>                      (FHWA)" <kaylie.kramer@dot.gov>

                                                                                                                                                                                                                                                           "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                           <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                           <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                           <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                                                           <kaylie.kramer@dot.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                                                           <Catherine.Leslie@dot.ny.gov>, "Williamson, Ann (DOT)"
                                                                                                                                                                                                          "'Blair, Lori E (DOT)'" <Lori.Blair@dot.ny.gov>, <Ann.Williamson@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                          "mark_eberle@nps.gov" <mark_eberle@nps.gov>, <allison.cdecerreno@mtahq.org>, "Flax, Leah"
                                                                                                                                                                                                          "kathryn_schlegel@nps.gov"                       <leah.flax@mtabt.org>, "jschneider@mtabt.org"
                                                                                                                                                                                                          <kathryn_schlegel@nps.gov>, "Brazee, Olivia      <jschneider@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                          (PARKS)" <Olivia.Brazee@parks.ny.gov>,           <Romolo.Desantis@mtacd.org>, Julie Cowing
                                                                                              RE_ Central Business District Tolling   RE: Central Business District Tolling                               "andreagoldwyn@nylandmarks.org"                  <jcowing@akrf.com>, Claudia Cooney <ccooney@akrf.com>,
                                                                                              Program ‐ OPRHP 21PR06430 Section 106   Program ‐ OPRHP 21PR06430 Section 106 "Cuff, David (Parks)"         <andreagoldwyn@nylandmarks.org>, "Gina           "Timoney, Caitlin" <Caitlin.Timoney@hdrinc.com>, Hannah
372⠀    AR Organization: 05 ‐ Emails   DOT_0039839 DOT_0039841           3    1/12/2022 14:56 Consultation .msg                       Consultation                          <David.Cuff@parks.nyc.gov>    Santucci (LPC)" <GSantucci@lpc.nyc.gov>          Brockhaus <hbrockhaus@fhistudio.com>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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                                                                                                                                                                                                          "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                          <robert.davies@dot.gov>, "Pavlik, Monica (FHWA"
                                                                                                                                                                                                          <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                          <anna.price@dot.gov>, "Kramer, Kaylie (FHWA"
                                                                                                                                                                                                          <kaylie.kramer@dot.gov>, "Leslie, Catherine S.
                                                                                                                                                                                                          (DOT)" <Catherine.Leslie@dot.ny.gov>,
                                                                                                                                                                                                          "Williamson, Ann (DOT)"
                                                                                                                                                                                                          <Ann.Williamson@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                          Allison" <allison.cdecerreno@mtahq.org>, "Flax,
                                                                                                                                                                                                          Leah" <leah.flax@mtabt.org>,
                                                                                                                                                                                                          "jschneider@mtabt.org" <jschneider@mtabt.org>,
                                                                                                                                                                                                          "Desantis, Romolo"
                                                                                                                                                                                                          <Romolo.Desantis@mtacd.org>, Julie Cowing
                                                                                                                                                                                                          <jcowing@akrf.com>, Claudia Cooney
                                                                                              FW_ Central Business District Tolling   FW: Central Business District Tolling                               <ccooney@akrf.com>, "Timoney, Caitlin"
                                                                                              Program ‐ OPRHP 21PR06430 Section 106   Program ‐ OPRHP 21PR06430 Section 106 "Blair, Lori E (DOT)"         <Caitlin.Timoney@hdrinc.com>, Hannah Brockhaus
373⠀    AR Organization: 05 ‐ Emails   DOT_0039842 DOT_0039843           2    1/12/2022 15:59 Consultation .msg                       Consultation                          <Lori.Blair@dot.ny.gov>       <hbrockhaus@fhistudio.com>

                                                                                                                                                                                                                                                         "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                         <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                         <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                         <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                                                         <kaylie.kramer@dot.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                                                         <Catherine.Leslie@dot.ny.gov>, "Williamson, Ann (DOT)"
                                                                                                                                                                                                                                                         <Ann.Williamson@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                         <allison.cdecerreno@mtahq.org>, "Flax, Leah"
                                                                                                                                                                                                          "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>, <leah.flax@mtabt.org>, "jschneider@mtabt.org"
                                                                                                                                                                                                          "mark_eberle@nps.gov" <mark_eberle@nps.gov>, <jschneider@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                          "kathryn_schlegel@nps.gov"                     <Romolo.Desantis@mtacd.org>, Julie Cowing
                                                                                                                                                                                                          <kathryn_schlegel@nps.gov>, "Brazee, Olivia    <jcowing@akrf.com>, Claudia Cooney <ccooney@akrf.com>,
                                                                                                                                                                                                          (PARKS)" <Olivia.Brazee@parks.ny.gov>,         "Timoney, Caitlin" <Caitlin.Timoney@hdrinc.com>, Hannah
                                                                                              RE_ Central Business District Tolling   RE: Central Business District Tolling                               "andreagoldwyn@nylandmarks.org"                Brockhaus <hbrockhaus@fhistudio.com>, "Parmenter,
                                                                                              Program ‐ OPRHP 21PR06430 Section 106   Program ‐ OPRHP 21PR06430 Section 106 "Gina Santucci (LPC)"         <andreagoldwyn@nylandmarks.org>, "Cuff, David Zephreny" <zparmenter@dot.nyc.gov>, "Lloyd, Timothy
374⠀    AR Organization: 05 ‐ Emails   DOT_0039844 DOT_0039845           2    1/13/2022 13:51 Consultation (37).msg                   Consultation                          <GSantucci@lpc.nyc.gov>       (Parks)" <David.Cuff@parks.nyc.gov>            (PARKS)" <Timothy.Lloyd@parks.ny.gov>
375⠀    AR Organization: 04 ‐ Misc     DOT_0039846 DOT_0039847           2    1/13/2022 13:48 34621_FSO_DNP_11052021.docx
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
376⠀    AR Organization: 05 ‐ Emails   DOT_0039848 DOT_0039848           1     1/14/2022 8:01 unnamed.eml                             CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
377⠀    AR Organization: 05 ‐ Emails   DOT_0039849 DOT_0039849           1     1/18/2022 8:01 unnamed.eml                             CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
378⠀    AR Organization: 05 ‐ Emails   DOT_0039850 DOT_0039850           1     1/18/2022 8:01 unnamed(1).eml                          CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
379⠀    AR Organization: 05 ‐ Emails   DOT_0039851 DOT_0039851           1     1/18/2022 8:01 unnamed(2).eml                          CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
380⠀    AR Organization: 05 ‐ Emails   DOT_0039852 DOT_0039852           1     1/18/2022 8:01 unnamed(3).eml                          CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                            "Price, Anna (FHWA)"          "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
381⠀    AR Organization: 05 ‐ Emails   DOT_0039853 DOT_0039853           1     1/18/2022 9:54 13561.eml                               FW: NYC CBDTP                         <anna.price@dot.gov>          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> CBDTP <CBDTP@dot.gov>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
382⠀    AR Organization: 05 ‐ Emails   DOT_0039854 DOT_0039854           1     1/18/2022 9:54 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
383⠀    AR Organization: 05 ‐ Emails   DOT_0039855 DOT_0039855           1     1/18/2022 9:54 CBD_Tolling_Program_tally(2).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
384⠀    AR Organization: 05 ‐ Emails   DOT_0039856 DOT_0039856           1     1/18/2022 9:54 CBD_Tolling_Program_tally(3).eml        CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                            "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
385⠀    AR Organization: 05 ‐ Emails   DOT_0039857 DOT_0039857           1     1/18/2022 9:54 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally             <response@mta.info>           <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
386⠀    AR Organization: 05 ‐ Emails   DOT_0039858 DOT_0039858           1     1/20/2022 8:01 unnamed.eml                            CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
387⠀    AR Organization: 05 ‐ Emails   DOT_0039859 DOT_0039859           1     1/20/2022 8:01 unnamed(1).eml                         CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                        "Price, Anna (FHWA)"                   "Austin.Mark@epa.gov" <Austin.Mark@epa.gov>,       "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Toni,
388⠀    AR Organization: 05 ‐ Emails   DOT_0039860 DOT_0039860           1    1/20/2022 16:01 13297.eml                              Congestion Pricing Meetings        <anna.price@dot.gov>                   "Burns, Donald (FTA)" <Donald.Burns@dot.gov>       Melissa (FHWA)" <melissa.toni@dot.gov>

                                                                                                                                                                                                               "Price, Anna (FHWA)" <anna.price@dot.gov>,         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Toni,
389⠀    AR Organization: 05 ‐ Emails   DOT_0039861 DOT_0039862           2    1/20/2022 16:06 13d26.eml                              RE: Congestion Pricing Meetings    "Austin, Mark" <Austin.Mark@epa.gov>   "Burns, Donald (FTA)" <Donald.Burns@dot.gov>       Melissa (FHWA)" <melissa.toni@dot.gov>
                                                                                                                                                                        "Pavlik, Monica (FHWA)"                "'C. de Cerreno, Allison'"
390⠀    AR Organization: 05 ‐ Emails   DOT_0039863 DOT_0039863           1    1/24/2022 10:15 RE_ preparing to share the EA.msg      RE: preparing to share the EA      <Monica.Pavlik@dot.gov>                <allison.cdecerreno@mtahq.org>                     "'Angel, Nichola'" <nangel@mtabt.org>

                                                                                                                                                                        "Marquis, Rick (FHWA)"                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
391⠀    AR Organization: 05 ‐ Emails   DOT_0039864 DOT_0039864           1     1/25/2022 8:39 1399d.eml                              NYC CBDTP                          <Rick.Marquis@dot.gov>                 "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
392⠀    AR Organization: 05 ‐ Emails   DOT_0039865 DOT_0039865           1     1/25/2022 8:39 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback       <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
393⠀    AR Organization: 05 ‐ Emails   DOT_0039866 DOT_0039866           1     1/25/2022 8:39 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration   <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
394⠀    AR Organization: 05 ‐ Emails   DOT_0039867 DOT_0039867           1     1/25/2022 8:39 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
395⠀    AR Organization: 05 ‐ Emails   DOT_0039868 DOT_0039868           1     1/25/2022 8:39 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
396⠀    AR Organization: 05 ‐ Emails   DOT_0039869 DOT_0039869           1     1/25/2022 8:39 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
397⠀    AR Organization: 05 ‐ Emails   DOT_0039870 DOT_0039870           1     1/25/2022 8:39 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
398⠀    AR Organization: 05 ‐ Emails   DOT_0039871 DOT_0039871           1     1/25/2022 8:39 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "Pavlik, Monica (FHWA)"                                                                   "CBDTP" <CBDTP@dot.gov>, "Price, Anna (FHWA)"
399⠀    AR Organization: 05 ‐ Emails   DOT_0039872 DOT_0039872           1    1/25/2022 10:10 FW_ NYC CBDTP (9).msg                  FW: NYC CBDTP                      <Monica.Pavlik@dot.gov>                "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>      <anna.price@dot.gov>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
400⠀    AR Organization: 05 ‐ Emails   DOT_0039873 DOT_0039873           1    1/25/2022 10:10 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback       <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
401⠀    AR Organization: 05 ‐ Emails   DOT_0039874 DOT_0039874           1    1/25/2022 10:10 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration   <response@mta.info>                    <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "Pavlik, Monica (FHWA)"
402⠀    AR Organization: 05 ‐ Emails   DOT_0039875 DOT_0039875           1    1/26/2022 17:01 RE_ CBDTP overview (5).msg             RE: CBDTP overview                 <Monica.Pavlik@dot.gov>                "'Angel, Nichola'" <nangel@mtabt.org>              "'C. de Cerreno, Allison'" <allison.cdecerreno@mtahq.org>

403⠀    AR Organization: 05 ‐ Emails   DOT_0039876 DOT_0039876           1    1/26/2022 17:19 13e78.eml                              RE: CBDTP overview                 "Angel, Nichola" <nangel@mtabt.org>    "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>
                                                                                                                                                                        "MTA Customer Service Team"            "undisclosed‐recipients@custhelp.com"
404⠀    AR Organization: 05 ‐ Emails   DOT_0039877 DOT_0039877           1     1/28/2022 8:02 unnamed.eml                            CBD Tolling Program tally          <response@mta.info>                    <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                               Subject                                 From                                  To                                                 Cc




                                                                                                                                                                                                                    "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                    "Chris.Gatchell@dot.gov"
                                                                                                                                                                                                                    <Chris.Gatchell@dot.gov>, "Kara.Hogan@dot.gov"
                                                                                                                                                                                                                    <Kara.Hogan@dot.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                    <allison.cdecerreno@mtahq.org>, ron epstein
                                                                                                                                                                                                                    <Ron.Epstein@dot.ny.gov>, William Carry
                                                                                                                                                                                                                    <wcarry@dot.nyc.gov>, "Wojnar, Michael"
                                                                                                                                                                                                                    <mwojnar@mtahq.org>, "Oliva, Louis"
                                                                                                                                                                                                                    <LOLIVA@mtahq.org>, "Schwartz, William"
                                                                                                                                                                                                                    <wschwartz@mtahq.org>, Maura Fitzpatrick
                                                                                                                                                                                                                    <mfitzpatrick@fhistudio.com>, "McNamara, Ian"
                                                                                                                                                                                                                    <Ian.McNamara@wsp.com>, "Metal, Avraham
                                                                                                                                                                                                                    (Rami)" <rmetal@dot.nyc.gov>, "Flax, Leah"
                                                                                                                                                                                                                    <leah.flax@mtabt.org>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                    <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                    "Chris.Gatchell@dot.gov"
                                                                                                                                                                                                                    <Chris.Gatchell@dot.gov>, "Kara.Hogan@dot.gov"
                                                                                                                                                                                                                    <Kara.Hogan@dot.gov>, ron epstein
                                                                                                                                                                                                                    <Ron.Epstein@dot.ny.gov>, William Carry
                                                                                                                                                                                                                    <wcarry@dot.nyc.gov>, "Oliva, Louis"
                                                                                                                                                                                                                    <LOLIVA@mtahq.org>, Maura Fitzpatrick
                                                                                                                                                                                                                    <mfitzpatrick@fhistudio.com>, "McNamara, Ian"
                                                                                              RE_ Bi‐weekly meeting w_Monica                                                                                        <Ian.McNamara@wsp.com>, "Metal, Avraham
405⠀    AR Organization: 05 ‐ Emails   DOT_0039878 DOT_0039878           1    1/28/2022 12:09 Pavlik.pdf                              RE: Bi‐weekly meeting w/Monica Pavlik   "Angel, Nichola" <nangel@mtabt.org>   (Rami)" <rmetal@dot.nyc.gov>

                                                                                                                                                                                                                                                                     "Angel, Nichola" <nangel@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                              "C. de Cerreno, Allison"              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <mwojnar@mtahq.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
406⠀    AR Organization: 05 ‐ Emails   DOT_0039879 DOT_0039879           1     2/4/2022 16:37 CBDTP June Outreach Plan for FHWA.msg CBDTP June Outreach Plan for FHWA         <allison.cdecerreno@mtahq.org>        "Hogan, Kara E (FHWA)" <Kara.Hogan@dot.gov>      "Timoney, Caitlin" <Caitlin.Timoney@hdrinc.com>
                                                                                              CBDTP_June_Outreach_Plan_DFT_v2_2‐4‐
407⠀    AR Organization: 04 ‐ Misc     DOT_0039880 DOT_0039882           3     2/4/2022 16:19 22.docx

                                                                                                                                                                              "Marquis, Rick (FHWA)"                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
408⠀    AR Organization: 05 ‐ Emails   DOT_0039883 DOT_0039883           1       2/7/2022 9:00 13982.eml                              NYC CBDTP                               <Rick.Marquis@dot.gov>                "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
409⠀    AR Organization: 05 ‐ Emails   DOT_0039884 DOT_0039884           1       2/7/2022 9:00 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
410⠀    AR Organization: 05 ‐ Emails   DOT_0039885 DOT_0039885           1       2/7/2022 9:00 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration        <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
411⠀    AR Organization: 05 ‐ Emails   DOT_0039886 DOT_0039886           1       2/7/2022 9:00 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
412⠀    AR Organization: 05 ‐ Emails   DOT_0039887 DOT_0039887           1       2/7/2022 9:00 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
413⠀    AR Organization: 05 ‐ Emails   DOT_0039888 DOT_0039888           1       2/7/2022 9:00 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
414⠀    AR Organization: 05 ‐ Emails   DOT_0039889 DOT_0039889           1       2/7/2022 9:00 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                              "Price, Anna (FHWA)"                  "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
415⠀    AR Organization: 05 ‐ Emails   DOT_0039890 DOT_0039890           1       2/7/2022 9:23 13528.eml                              FW: NYC CBDTP                           <anna.price@dot.gov>                  "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> CBDTP <CBDTP@dot.gov>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
416⠀    AR Organization: 05 ‐ Emails   DOT_0039891 DOT_0039891           1       2/7/2022 9:23 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
417⠀    AR Organization: 05 ‐ Emails   DOT_0039892 DOT_0039892           1       2/7/2022 9:23 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration        <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
418⠀    AR Organization: 05 ‐ Emails   DOT_0039893 DOT_0039893           1       2/7/2022 9:23 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
419⠀    AR Organization: 05 ‐ Emails   DOT_0039894 DOT_0039894           1       2/7/2022 9:23 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
420⠀    AR Organization: 05 ‐ Emails   DOT_0039895 DOT_0039895           1       2/7/2022 9:23 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
421⠀    AR Organization: 05 ‐ Emails         DOT_0039896 DOT_0039896           1       2/7/2022 9:23 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
422⠀    AR Organization: 05 ‐ Emails         DOT_0039897 DOT_0039897           1       2/9/2022 8:00 unnamed.eml                            CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
423⠀    AR Organization: 05 ‐ Emails         DOT_0039898 DOT_0039898           1       2/9/2022 8:00 unnamed(1).eml                         CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                                                                           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                           "Anna Price ‐ Federal Highway Administration, NY "Angel, Nichola" <nangel@mtabt.org>, "Timoney, Caitlin"
                                                                                                                                                                                     "C. de Cerreno, Allison"              Division (anna.price@dot.gov)"                   <Caitlin.Timoney@hdrinc.com>, "Wojnar, Michael"
424⠀    AR Organization: 05 ‐ Emails         DOT_0039899 DOT_0039899           1     2/9/2022 17:11 13fb4.eml                               FW: CBDTP EJ TAG ‐ Set Up                <allison.cdecerreno@mtahq.org>        <anna.price@dot.gov>                             <mwojnar@mtahq.org>
                                                                                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, ron
                                                                                                                                                                                     "C. de Cerreno, Allison"                                                               epstein <Ron.Epstein@dot.ny.gov>, "WCarry@dot.nyc.gov"
425⠀    AR Organization: 05 ‐ Emails         DOT_0039900 DOT_0039900           1    2/10/2022 19:27 13fb1.eml                             CBDTP ‐ Submission of the Draft EA         <allison.cdecerreno@mtahq.org>        "Richard J. Marquis" <rick.marquis@dot.gov>      <wcarry@dot.nyc.gov>
                                                                                                    CBDTP_Draft_EA_Submission_Cvr_Ltr_to_
426⠀    AR Organization: 06 Correspondence   DOT_0039901 DOT_0039902           2    2/10/2022 19:15 FHWA_2‐10‐22.pdf
                                                                                                                                                                                                                                                                             "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                    Re_ CBDTP ‐ Submission of the Draft                                              "Marquis, Rick (FHWA)"                "C. de Cerreno, Allison"                          "ron.epstein dot.ny.gov" <ron.epstein@dot.ny.gov>,
427⠀    AR Organization: 05 ‐ Emails         DOT_0039903 DOT_0039903           1    2/10/2022 19:30 EA.msg                                  Re: CBDTP ‐ Submission of the Draft EA   <Rick.Marquis@dot.gov>                <allison.cdecerreno@mtahq.org>                    "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
428⠀    AR Organization: 05 ‐ Emails         DOT_0039904 DOT_0039904           1     2/11/2022 8:02 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
429⠀    AR Organization: 05 ‐ Emails         DOT_0039905 DOT_0039905           1     2/11/2022 8:02 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                            RE: ACTION: Response requested by
                                                                                                                                            March 4. New York City Central Business
                                                                                                                                            District Tolling Program Environmental  "Pavlik, Monica (FHWA)"                "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
430⠀    AR Organization: 05 ‐ Emails         DOT_0039906 DOT_0039907           2    2/11/2022 10:32 1034b.eml                               Assessment                              <Monica.Pavlik@dot.gov>                "austin.mark@epa.gov" <austin.mark@epa.gov>       "Price, Anna (FHWA)" <anna.price@dot.gov>


                                                                                                                                                                                                                           "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>,
                                                                                                                                                                                                                           "Austin, Mark" <Austin.Mark@epa.gov>, "Pavlik,
                                                                                                                                                                                                                           Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                                                                                     "Benjamin, Arielle"                   Anna (FHWA)" <anna.price@dot.gov>, "Nyer,
431⠀    AR Organization: 05 ‐ Emails         DOT_0039908 DOT_0039909           2    2/11/2022 15:04 RE_ Congestion Pricing (15).msg         RE: Congestion Pricing                   <Benjamin.Arielle@epa.gov>            Samantha" <Nyer.Samantha@epa.gov>               "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
432⠀    AR Organization: 05 ‐ Emails         DOT_0039910 DOT_0039910           1     2/14/2022 8:00 unnamed.eml                             CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
433⠀    AR Organization: 05 ‐ Emails         DOT_0039911 DOT_0039911           1     2/14/2022 8:00 unnamed(1).eml                          CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
434⠀    AR Organization: 05 ‐ Emails         DOT_0039912 DOT_0039912           1     2/14/2022 8:00 unnamed(2).eml                          CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
435⠀    AR Organization: 05 ‐ Emails         DOT_0039913 DOT_0039913           1     2/17/2022 8:01 unnamed.eml                             CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
436⠀    AR Organization: 05 ‐ Emails         DOT_0039914 DOT_0039914           1     2/17/2022 8:01 unnamed(1).eml                          CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
437⠀    AR Organization: 05 ‐ Emails         DOT_0039915 DOT_0039915           1     2/17/2022 8:01 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                     "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
438⠀    AR Organization: 05 ‐ Emails         DOT_0039916 DOT_0039916           1     2/17/2022 8:01 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                                                                                                                            "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                            "Wojnar, Michael" <mwojnar@mtahq.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                                            <LOLIVA@mtahq.org>, "Timoney, Caitlin"
                                                                                                    RE_ CBDTCP June Outreach Plan for FHWA RE: CBDTCP June Outreach Plan for                                               "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <Caitlin.Timoney@hdrinc.com>, "Flax, Leah"
439⠀    AR Organization: 05 ‐ Emails         DOT_0039917 DOT_0039917           1    2/17/2022 15:16 (85).msg                               FHWA                                      "Angel, Nichola" <nangel@mtabt.org>   "Hogan, Kara E (FHWA)" <Kara.Hogan@dot.gov>      <leah.flax@mtabt.org>




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                                                                                                                                                                                                                                                                               "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                                               <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                             "Eberle, Mark D" <mark_eberle@nps.gov>, "Slater, <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                             Mark P" <Mark_Slater@nps.gov>, "Schlegel,         <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                             Kathryn A" <Kathy_Schlegel@nps.gov>, "Brazee,     <kaylie.kramer@dot.gov>, "wullom@dot.nyc.gov"
                                                                                                                                                                                                                             Olivia (PARKS)" <Olivia.Brazee@parks.ny.gov>,     <wullom@dot.nyc.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                             "Cuff, David (Parks)" <David.Cuff@parks.nyc.gov>, <Catherine.Leslie@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                     CBDTP ‐ Section 106 ‐ Central Park       CBDTP ‐ Section 106 ‐ Central Park       "Blair, Lori E (DOT)"                 "Lindsay.Quartini@parks.nyc.gov"                  <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
440⠀    AR Organization: 05 ‐ Emails         DOT_0039918 DOT_0039918           1      2/24/2022 9:26 Renderings.msg                           Renderings                               <Lori.Blair@dot.ny.gov>               <Lindsay.Quartini@parks.nyc.gov>                  <nangel@mtabt.org>

                                                                                                                                                                                                                                                                               "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                                               <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                                               <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                             "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>,    <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                             "Eberle, Mark D" <mark_eberle@nps.gov>, "Slater, <kaylie.kramer@dot.gov>, "wullom@dot.nyc.gov"
                                                                                                                                                                                                                             Mark P" <Mark_Slater@nps.gov>, "Schlegel,         <wullom@dot.nyc.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                             Kathryn A" <Kathy_Schlegel@nps.gov>, "Cuff, David <Catherine.Leslie@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                             (Parks)" <David.Cuff@parks.nyc.gov>,              <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                     RE_ CBDTP ‐ Section 106 ‐ Central Park   RE: CBDTP ‐ Section 106 ‐ Central Park   "Brazee, Olivia (PARKS)"              "Lindsay.Quartini@parks.nyc.gov"                  <nangel@mtabt.org>, "zparmenter@dot.nyc.gov"
441⠀    AR Organization: 05 ‐ Emails         DOT_0039919 DOT_0039921           3     2/24/2022 14:29 Renderings (58).msg                      Renderings                               <Olivia.Brazee@parks.ny.gov>          <Lindsay.Quartini@parks.nyc.gov>                  <zparmenter@dot.nyc.gov>

                                                                                                                                                                                                                                                                               "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                                               <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                             "Eberle, Mark D" <mark_eberle@nps.gov>, "Slater, <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                             Mark P" <Mark_Slater@nps.gov>, "Schlegel,         <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                             Kathryn A" <Kathy_Schlegel@nps.gov>, "Brazee,     <kaylie.kramer@dot.gov>, "wullom@dot.nyc.gov"
                                                                                                                                                                                                                             Olivia (PARKS)" <Olivia.Brazee@parks.ny.gov>,     <wullom@dot.nyc.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                             "Cuff, David (Parks)" <David.Cuff@parks.nyc.gov>, <Catherine.Leslie@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                     RE_ _EXTERNAL_ CBDTP ‐ Section 106 ‐  RE: [EXTERNAL] CBDTP ‐ Section 106 ‐        "Blair, Lori E (DOT)"                 "Lindsay.Quartini@parks.nyc.gov"                  <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
442⠀    AR Organization: 05 ‐ Emails         DOT_0039922 DOT_0039924           3      2/25/2022 8:03 Central Park Renderings (60).msg      Central Park Renderings                     <Lori.Blair@dot.ny.gov>               <Lindsay.Quartini@parks.nyc.gov>                  <nangel@mtabt.org>
                                                                                                     CBDTP_Central_Park_West_Evaluation_DF
443⠀    AR Organization: 07 ‐ Presentation   DOT_0039925 DOT_0039936           12     2/25/2022 8:03 T_v1_2‐15‐22.pdf
                                                                                                                                                                                                                                                                               "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                                                                               <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                             "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>,    <Monica.Pavlik@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                             "Eberle, Mark D" <mark_eberle@nps.gov>, "Slater, <anna.price@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                             Mark P" <Mark_Slater@nps.gov>, "Schlegel,         <kaylie.kramer@dot.gov>, "wullom@dot.nyc.gov"
                                                                                                                                                                                                                             Kathryn A" <Kathy_Schlegel@nps.gov>, "Cuff, David <wullom@dot.nyc.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                             (Parks)" <David.Cuff@parks.nyc.gov>,              <Catherine.Leslie@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                     RE_ _EXTERNAL_ CBDTP ‐ Section 106 ‐     RE: [EXTERNAL] CBDTP ‐ Section 106 ‐     "Brazee, Olivia (PARKS)"              "Lindsay.Quartini@parks.nyc.gov"                  <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
444⠀    AR Organization: 05 ‐ Emails         DOT_0039937 DOT_0039939           3      2/28/2022 9:34 Central Park Renderings (63).msg         Central Park Renderings                  <Olivia.Brazee@parks.ny.gov>          <Lindsay.Quartini@parks.nyc.gov>                  <nangel@mtabt.org>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
445⠀    AR Organization: 05 ‐ Emails         DOT_0039940 DOT_0039940           1        3/2/2022 8:00 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
446⠀    AR Organization: 05 ‐ Emails         DOT_0039941 DOT_0039941           1        3/2/2022 8:00 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
447⠀    AR Organization: 05 ‐ Emails         DOT_0039942 DOT_0039942           1        3/2/2022 8:00 CBD_Tolling_Program_tally(2).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
448⠀    AR Organization: 05 ‐ Emails         DOT_0039943 DOT_0039943           1        3/2/2022 8:00 CBD_Tolling_Program_tally(3).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
449⠀    AR Organization: 05 ‐ Emails         DOT_0039944 DOT_0039944           1        3/2/2022 8:00 CBD_Tolling_Program_tally(4).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
450⠀    AR Organization: 05 ‐ Emails         DOT_0039945 DOT_0039945           1        3/2/2022 8:00 CBD_Tolling_Program_tally(5).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                                                                                                                                "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                                "Wojnar, Michael" <mwojnar@mtahq.org>, "Lennon,
                                                                                                     CBDTP EA Transit Assessment Meeting      CBDTP EA Transit Assessment Meeting                                            "Colangelo‐Bryan, Jeremy C. (CPLNJCB)"             Lawrence" <Lawrence.Lennon@mtacd.org>, "Gregory, Hazel"
451⠀    AR Organization: 05 ‐ Emails         DOT_0039946 DOT_0039946           1      3/3/2022 11:02 Follow‐Up.msg                            Follow‐Up                                "Angel, Nichola" <nangel@mtabt.org>   <JColangelo‐bryan@njtransit.com>                   <hgregory@mtabt.org>
                                                                                                                                                                                                                             "C. de Cerreno, Allison"
                                                                                                     CDBTP ‐ PM2_5_PM10 hot spot                                                       "Pavlik, Monica (FHWA)"               <allison.cdecerreno@mtahq.org>, "Angel, Nichola" "Price, Anna (FHWA)" <anna.price@dot.gov>, "Mani, Gautam
452⠀    AR Organization: 05 ‐ Emails         DOT_0039947 DOT_0039947           1      3/3/2022 11:32 analysis.msg                             CDBTP ‐ PM2.5/PM10 hot spot analysis     <Monica.Pavlik@dot.gov>               <nangel@mtabt.org>                               (FHWA)" <gautam.mani@dot.gov>, CBDTP <CBDTP@dot.gov>




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Row #   AR Organization                      Bates Beg   Bates End     Pages        Primary Date      Filename                                Subject                                  From                                  To                                                 Cc

                                                                                                                                                                                                                                                                                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Toni,
                                                                                                                                                                                                                                                                                Melissa (FHWA)" <melissa.toni@dot.gov>, "Davies, Robert
                                                                                                                                                                                                                                                                                (FHWA)" <Robert.Davies@dot.gov>, "Anderson, Cindy
                                                                                                                                                                                       "Price, Anna (FHWA)"                  "Benjamin, Arielle" <Benjamin.Arielle@epa.gov>,    (FHWA)" <cindy.anderson@dot.gov>, "Musolino, Donna
453⠀    AR Organization: 05 ‐ Emails         DOT_0039948 DOT_0039948           1      3/3/2022 15:08 13229.eml                                CBDTP: Project Sponsor Addresses         <anna.price@dot.gov>                  "Austin.Mark@epa.gov" <Austin.Mark@epa.gov>        (FHWA)" <donna.musolino@dot.gov>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
454⠀    AR Organization: 05 ‐ Emails         DOT_0039949 DOT_0039949           1        3/7/2022 8:01 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
455⠀    AR Organization: 05 ‐ Emails         DOT_0039950 DOT_0039950           1        3/7/2022 8:01 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
456⠀    AR Organization: 05 ‐ Emails         DOT_0039951 DOT_0039951           1        3/7/2022 8:01 CBD_Tolling_Program_tally(2).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
457⠀    AR Organization: 05 ‐ Emails         DOT_0039952 DOT_0039952           1        3/7/2022 8:01 CBD_Tolling_Program_tally(3).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
458⠀    AR Organization: 05 ‐ Emails         DOT_0039953 DOT_0039953           1        3/9/2022 8:01 CBD_Tolling_Program_tally.eml           CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
459⠀    AR Organization: 05 ‐ Emails         DOT_0039954 DOT_0039954           1        3/9/2022 8:01 CBD_Tolling_Program_tally(1).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                                                                                                                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, ron
                                                                                                     RE_ CBDTP ‐ Submission of the Draft EA                                            "C. de Cerreno, Allison"                                                                 epstein <Ron.Epstein@dot.ny.gov>, "WCarry@dot.nyc.gov"
460⠀    AR Organization: 05 ‐ Emails         DOT_0039955 DOT_0039956           2     3/11/2022 12:46 (134).msg                                RE: CBDTP ‐ Submission of the Draft EA   <allison.cdecerreno@mtahq.org>        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>      <wcarry@dot.nyc.gov>




                                                                                                                                                                                                                             "cdegraffe@panynj.gov" <cdegraffe@panynj.gov>,
                                                                                                                                                                                                                             "mokeane@panynj.gov" <mokeane@panynj.gov>,
                                                                                                                                                                                                                             "jstarace@panynj.gov" <jstarace@panynj.gov>,
                                                                                                                                                                                                                             "reisenst@panynj.gov" <reisenst@panynj.gov>,
                                                                                                                                                                                                                             "bsiegel@panynj.gov" <bsiegel@panynj.gov>,
                                                                                                                                                                                                                             "jburkhar@panynj.gov" <jburkhar@panynj.gov>,
                                                                                                                                                                                                                             "dmcshane@panynj.gov"
                                                                                                                                                                                                                             <dmcshane@panynj.gov>, "jchiu@panynj.gov"
                                                                                                                                                                                                                             <jchiu@panynj.gov>, "gwong@panynj.gov"            "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                             <gwong@panynj.gov>, "mdicules@panynj.gov"         "Schreibman, Lisa" <Lisa.Schreibman@nyct.com>, "Krantz,
                                                                                                                                                                                                                             <mdicules@panynj.gov>, "Colangelo‐Bryan, Jeremy Jay" <Jay.Krantz@nyct.com>, "Wojnar, Michael"
                                                                                                                                                                                                                             C. (CPLNJCB)" <JColangelo‐bryan@njtransit.com>, <mwojnar@mtahq.org>, "Lennon, Lawrence"
                                                                                                                                                                                                                             "Kriegel, Russell" <rkriegel@panynj.gov>, "Safer, <Lawrence.Lennon@mtacd.org>, "Desantis, Romolo"
                                                                                                                                                                                                                             Mathew A. (CCAPMAS)" <MSafer@njtransit.com>, <Romolo.Desantis@mtacd.org>, "ian.mcnamara"
                                                                                                                                                                                                                             "Kearns, Alan D. (CCAPADK)"                       <ian.mcnamara@wsp.com>, "Walker, Mark C."
                                                                                                     CBDTP‐PANYNJNJT on Hoboken Follow        CBDTP‐PANYNJ/NJT on Hoboken Follow                                             <AKearns@njtransit.com>, "Viqueira, William       <Mark.Walker@wsp.com>, "Hannah Brockhaus"
461⠀    AR Organization: 05 ‐ Emails         DOT_0039957 DOT_0039958           2     3/18/2022 17:30 up.msg                                   up                                       "Angel, Nichola" <nangel@mtabt.org>   (CFINWXV)" <WViqueira@njtransit.com>              <hbrockhaus@fhistudio.com>
462⠀    AR Organization: 04 ‐ Misc           DOT_0039959 DOT_0039959           1     10/8/2021 17:19 CBDTP_Hoboken_2022‐03‐16.xlsx
                                                                                                     CBDTP_PPT_for_PANYNJ_v3_03‐07‐
463⠀    AR Organization: 07 ‐ Presentation   DOT_0039960 DOT_0039973           14     3/7/2022 17:27 22.pptx

                                                                                                                                                                                       "Marquis, Rick (FHWA)"                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
464⠀    AR Organization: 05 ‐ Emails         DOT_0039974 DOT_0039974           1     3/22/2022 12:41 1390a.eml                                NYC CBDTP                                <Rick.Marquis@dot.gov>                "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
465⠀    AR Organization: 05 ‐ Emails         DOT_0039975 DOT_0039975           1     3/22/2022 12:41 CBD_Tolling_Program_tally(1).eml         CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
466⠀    AR Organization: 05 ‐ Emails         DOT_0039976 DOT_0039976           1     3/22/2022 12:41 CBD_Tolling_Program_tally(10).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
467⠀    AR Organization: 05 ‐ Emails         DOT_0039977 DOT_0039977           1     3/22/2022 12:41 CBD_Tolling_Program_tally(11).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
468⠀    AR Organization: 05 ‐ Emails         DOT_0039978 DOT_0039978           1     3/22/2022 12:41 CBD_Tolling_Program_tally(12).eml        CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                       "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
469⠀    AR Organization: 05 ‐ Emails         DOT_0039979 DOT_0039979           1     3/22/2022 12:41 CBD_Tolling_Program_tally(2).eml         CBD Tolling Program tally                <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                               Subject                            From                          To                                            Cc
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
470⠀    AR Organization: 05 ‐ Emails   DOT_0039980 DOT_0039980           1    3/22/2022 12:41 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
471⠀    AR Organization: 05 ‐ Emails   DOT_0039981 DOT_0039981           1    3/22/2022 12:41 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
472⠀    AR Organization: 05 ‐ Emails   DOT_0039982 DOT_0039982           1    3/22/2022 12:41 CBD_Tolling_Program_tally(5).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
473⠀    AR Organization: 05 ‐ Emails   DOT_0039983 DOT_0039983           1    3/22/2022 12:41 CBD_Tolling_Program_tally(6).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
474⠀    AR Organization: 05 ‐ Emails   DOT_0039984 DOT_0039984           1    3/22/2022 12:41 CBD_Tolling_Program_tally(7).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
475⠀    AR Organization: 05 ‐ Emails   DOT_0039985 DOT_0039985           1    3/22/2022 12:41 CBD_Tolling_Program_tally(8).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
476⠀    AR Organization: 05 ‐ Emails   DOT_0039986 DOT_0039986           1    3/22/2022 12:41 CBD_Tolling_Program_tally(9).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
477⠀    AR Organization: 05 ‐ Emails   DOT_0039987 DOT_0039987           1    3/22/2022 12:41 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "Price, Anna (FHWA)"          CBDTP <CBDTP@dot.gov>, "Marquis, Rick (FHWA)"
478⠀    AR Organization: 05 ‐ Emails   DOT_0039988 DOT_0039988           1    3/22/2022 12:47 134a9.eml                              FW: NYC CBDTP                      <anna.price@dot.gov>          <Rick.Marquis@dot.gov>                        "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
479⠀    AR Organization: 05 ‐ Emails   DOT_0039989 DOT_0039989           1    3/22/2022 12:47 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
480⠀    AR Organization: 05 ‐ Emails   DOT_0039990 DOT_0039990           1    3/22/2022 12:47 CBD_Tolling_Program_tally(10).eml      CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
481⠀    AR Organization: 05 ‐ Emails   DOT_0039991 DOT_0039991           1    3/22/2022 12:47 CBD_Tolling_Program_tally(11).eml      CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
482⠀    AR Organization: 05 ‐ Emails   DOT_0039992 DOT_0039992           1    3/22/2022 12:47 CBD_Tolling_Program_tally(12).eml      CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
483⠀    AR Organization: 05 ‐ Emails   DOT_0039993 DOT_0039993           1    3/22/2022 12:47 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
484⠀    AR Organization: 05 ‐ Emails   DOT_0039994 DOT_0039994           1    3/22/2022 12:47 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
485⠀    AR Organization: 05 ‐ Emails   DOT_0039995 DOT_0039995           1    3/22/2022 12:47 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
486⠀    AR Organization: 05 ‐ Emails   DOT_0039996 DOT_0039996           1    3/22/2022 12:47 CBD_Tolling_Program_tally(5).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
487⠀    AR Organization: 05 ‐ Emails   DOT_0039997 DOT_0039997           1    3/22/2022 12:47 CBD_Tolling_Program_tally(6).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
488⠀    AR Organization: 05 ‐ Emails   DOT_0039998 DOT_0039998           1    3/22/2022 12:47 CBD_Tolling_Program_tally(7).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
489⠀    AR Organization: 05 ‐ Emails   DOT_0039999 DOT_0039999           1    3/22/2022 12:47 CBD_Tolling_Program_tally(8).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
490⠀    AR Organization: 05 ‐ Emails   DOT_0040000 DOT_0040000           1    3/22/2022 12:47 CBD_Tolling_Program_tally(9).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
491⠀    AR Organization: 05 ‐ Emails   DOT_0040001 DOT_0040001           1    3/22/2022 12:47 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                        "Marquis, Rick (FHWA)"        "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
492⠀    AR Organization: 05 ‐ Emails   DOT_0040002 DOT_0040002           1    3/28/2022 10:51 13900.eml                              NYC CBDTP                          <Rick.Marquis@dot.gov>        "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
493⠀    AR Organization: 05 ‐ Emails   DOT_0040003 DOT_0040003           1    3/28/2022 10:51 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback       <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
494⠀    AR Organization: 05 ‐ Emails   DOT_0040004 DOT_0040004           1    3/28/2022 10:51 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration   <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
495⠀    AR Organization: 05 ‐ Emails   DOT_0040005 DOT_0040005           1    3/28/2022 10:51 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
496⠀    AR Organization: 05 ‐ Emails   DOT_0040006 DOT_0040006           1    3/28/2022 10:51 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
497⠀    AR Organization: 05 ‐ Emails   DOT_0040007 DOT_0040007           1    3/28/2022 10:51 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
498⠀    AR Organization: 05 ‐ Emails   DOT_0040008 DOT_0040008           1    3/28/2022 10:51 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                        "MTA Customer Service Team"   "undisclosed‐recipients@custhelp.com"
499⠀    AR Organization: 05 ‐ Emails   DOT_0040009 DOT_0040009           1    3/28/2022 10:51 CBD_Tolling_Program_tally(5).eml       CBD Tolling Program tally          <response@mta.info>           <undisclosed‐recipients@custhelp.com>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                               Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                              Subject                                 From                                  To                                                 Cc
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
500⠀    AR Organization: 05 ‐ Emails   DOT_0040010 DOT_0040010           1    3/28/2022 10:51 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
501⠀    AR Organization: 05 ‐ Emails   DOT_0040011 DOT_0040011           1       4/1/2022 8:03 CBD_Tolling_Program_tally.eml         CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
502⠀    AR Organization: 05 ‐ Emails   DOT_0040012 DOT_0040012           1       4/1/2022 8:03 CBD_Tolling_Program_tally(1).eml      CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
503⠀    AR Organization: 05 ‐ Emails   DOT_0040013 DOT_0040013           1       4/1/2022 8:03 CBD_Tolling_Program_tally(2).eml      CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
504⠀    AR Organization: 05 ‐ Emails   DOT_0040014 DOT_0040014           1      4/1/2022 8:03 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                              RE_ CBDTP Abbreviated EA Outline
505⠀    AR Organization: 05 ‐ Emails   DOT_0040015 DOT_0040016           2     4/4/2022 10:53 (124).msg                              RE: CBDTP Abbreviated EA Outline        "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>
                                                                                                                                     FW: Central Business District Tolling
                                                                                            Stockbridge_Munsee_Response_‐            Program ‐ Consultation with Tribal
506⠀    AR Organization: 05 ‐ Emails   DOT_0040017 DOT_0040019           3 10/13/2021 15:33 _Consultation_with_Tribal_Nations.pdf    Nations                                 Price, Anna (FHWA)                    Leslie, Catherine S. (DOT); Blair, Lori E (DOT)
                                                                                                                                     FW: Central Business District Tolling
                                                                                            Stockbridge_Munsee_Response_‐            Program ‐ Consultation with Tribal
507⠀    AR Organization: 05 ‐ Emails   DOT_0040020 DOT_0040022           3 10/13/2021 15:33 _Consultation_with_Tribal_Nations.pdf    Nations                                 Price, Anna (FHWA)                    Leslie, Catherine S. (DOT); Blair, Lori E (DOT)
                                                                                                                                     FW: Central Business District Tolling
                                                                                            Stockbridge_Munsee_Response_‐            Program ‐ Consultation with Tribal
508⠀    AR Organization: 05 ‐ Emails   DOT_0040023 DOT_0040025           3 10/13/2021 15:33 _Consultation_with_Tribal_Nations.pdf    Nations                                 Price, Anna (FHWA)                    Leslie, Catherine S. (DOT); Blair, Lori E (DOT)

                                                                                                                                                                             "Marquis, Rick (FHWA)"                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
509⠀    AR Organization: 05 ‐ Emails   DOT_0040026 DOT_0040026           1     4/14/2022 8:26 138e2.eml                              NYC CBDTP                               <Rick.Marquis@dot.gov>                "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
510⠀    AR Organization: 05 ‐ Emails   DOT_0040027 DOT_0040027           1     4/14/2022 8:26 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
511⠀    AR Organization: 05 ‐ Emails   DOT_0040028 DOT_0040028           1     4/14/2022 8:26 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration        <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
512⠀    AR Organization: 05 ‐ Emails   DOT_0040029 DOT_0040029           1     4/14/2022 8:26 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
513⠀    AR Organization: 05 ‐ Emails   DOT_0040030 DOT_0040030           1     4/14/2022 8:26 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
514⠀    AR Organization: 05 ‐ Emails   DOT_0040031 DOT_0040031           1     4/14/2022 8:26 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
515⠀    AR Organization: 05 ‐ Emails   DOT_0040032 DOT_0040032           1     4/14/2022 8:26 CBD_Tolling_Program_tally(4).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
516⠀    AR Organization: 05 ‐ Emails   DOT_0040033 DOT_0040033           1     4/14/2022 8:26 CBD_Tolling_Program_tally(5).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
517⠀    AR Organization: 05 ‐ Emails   DOT_0040034 DOT_0040034           1     4/14/2022 8:26 CBD_Tolling_Program_tally(6).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
518⠀    AR Organization: 05 ‐ Emails   DOT_0040035 DOT_0040035           1     4/14/2022 8:26 CBD_Tolling_Program_tally(7).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
519⠀    AR Organization: 05 ‐ Emails   DOT_0040036 DOT_0040036           1     4/14/2022 8:26 CBD_Tolling_Program_tally(8).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
520⠀    AR Organization: 05 ‐ Emails   DOT_0040037 DOT_0040037           1     4/14/2022 8:26 CBD_Tolling_Program_tally(9).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
521⠀    AR Organization: 05 ‐ Emails   DOT_0040038 DOT_0040038           1     4/14/2022 8:26 CBD_Tolling_Program_tally.eml          CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                             "Price, Anna (FHWA)"                  "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
522⠀    AR Organization: 05 ‐ Emails   DOT_0040039 DOT_0040039           1     4/14/2022 9:10 13460.eml                              FW: NYC CBDTP                           <anna.price@dot.gov>                  CBDTP <CBDTP@dot.gov>                              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
523⠀    AR Organization: 05 ‐ Emails   DOT_0040040 DOT_0040040           1     4/14/2022 9:10 CBD_Tolling_Program_feedback.eml       CBD Tolling Program feedback            <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
524⠀    AR Organization: 05 ‐ Emails   DOT_0040041 DOT_0040041           1     4/14/2022 9:10 CBD_Tolling_Program_registration.eml   CBD Tolling Program registration        <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
525⠀    AR Organization: 05 ‐ Emails   DOT_0040042 DOT_0040042           1     4/14/2022 9:10 CBD_Tolling_Program_tally(1).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
526⠀    AR Organization: 05 ‐ Emails   DOT_0040043 DOT_0040043           1     4/14/2022 9:10 CBD_Tolling_Program_tally(2).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
527⠀    AR Organization: 05 ‐ Emails   DOT_0040044 DOT_0040044           1     4/14/2022 9:10 CBD_Tolling_Program_tally(3).eml       CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
528⠀    AR Organization: 05 ‐ Emails   DOT_0040045 DOT_0040045           1     4/14/2022 9:10 CBD_Tolling_Program_tally(4).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
529⠀    AR Organization: 05 ‐ Emails   DOT_0040046 DOT_0040046           1     4/14/2022 9:10 CBD_Tolling_Program_tally(5).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
530⠀    AR Organization: 05 ‐ Emails   DOT_0040047 DOT_0040047           1     4/14/2022 9:10 CBD_Tolling_Program_tally(6).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
531⠀    AR Organization: 05 ‐ Emails   DOT_0040048 DOT_0040048           1     4/14/2022 9:10 CBD_Tolling_Program_tally(7).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
532⠀    AR Organization: 05 ‐ Emails   DOT_0040049 DOT_0040049           1     4/14/2022 9:10 CBD_Tolling_Program_tally(8).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
533⠀    AR Organization: 05 ‐ Emails   DOT_0040050 DOT_0040050           1     4/14/2022 9:10 CBD_Tolling_Program_tally(9).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
534⠀    AR Organization: 05 ‐ Emails   DOT_0040051 DOT_0040051           1     4/14/2022 9:10 CBD_Tolling_Program_tally.eml            CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>




                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                            <nangel@mtabt.org>, "robert.davies
                                                                                                                                                                                                            (robert.davies@dot.gov)"                         "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>,
                                                                                                                                                                                                            <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)" "Nierenberg, Daniel R (DOT)"
                                                                                                                                                                                                            <Monica.Pavlik@dot.gov>, "Kramer, Kaylie (FHWA)" <Daniel.Nierenberg@dot.ny.gov>, Claudia Cooney
                                                                                                                                                                             "Blair, Lori E (DOT)"          <kaylie.kramer@dot.gov>, "anna.price@dot.gov"    <ccooney@akrf.com>, "Christopher M. Calvert"
535⠀    AR Organization: 05 ‐ Emails   DOT_0040052 DOT_0040052           1     4/18/2022 8:47 CBDTP Section 106 (115).msg              CBDTP Section 106                     <Lori.Blair@dot.ny.gov>        <anna.price@dot.gov>                             <ccalvert@akrf.com>, Julie Cowing <jcowing@akrf.com>




                                                                                                                                                                                                            "Sheehan, Michael P (DEC)"
                                                                                                                                                                                                            <michael.sheehan@dec.ny.gov>,
                                                                                                                                                                                                            "gautam.mani@dot.gov" <gautam.mani@dot.gov>,
                                                                                                                                                                                                            "anna.price@dot.gov" <anna.price@dot.gov>,
                                                                                                                                                                                                            "Daniel.moser@dot.gov" <daniel.moser@dot.gov>,
                                                                                                                                                                                                            "laurita.matthew@epa.gov"                      "Smith, Terry (DOT)" <Terry.Smith@dot.ny.gov>, "Leslie,
                                                                                                                                                                                                            <laurita.matthew@epa.gov>, "Black, Lily"       Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>, "Nelson,
                                                                                              CBDTP Air Quality ICG Meeting_                                                                                <Black.Lily@epa.gov>, "Burns, Donald (FTA)"    Debra (DOT)" <Debra.Nelson@dot.ny.gov>, "Neerackal,
                                                                                              Presentation and proposed                CBDTP Air Quality ICG Meeting:        "Lentlie, Patrick (DOT)"       <Donald.Burns@dot.gov>, "Anukwe, Uzoma (FTA)" George (DOT)" <George.Neerackal@dot.ny.gov>, "Savage,
536⠀    AR Organization: 05 ‐ Emails   DOT_0040053 DOT_0040053           1    4/18/2022 17:58 methodology.msg                          Presentation and proposed methodology <Patrick.Lentlie@dot.ny.gov>   <uzoma.anukwe@dot.gov>                         Laura E (DOT)" <Laura.Savage@dot.ny.gov>

                                                                                                                                                                             "Marquis, Rick (FHWA)"         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
537⠀    AR Organization: 05 ‐ Emails   DOT_0040054 DOT_0040054           1     4/25/2022 9:05 138b2.eml                                NYC CBDTP                             <Rick.Marquis@dot.gov>         "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
538⠀    AR Organization: 05 ‐ Emails   DOT_0040055 DOT_0040055           1     4/25/2022 9:05 CBD_Tolling_Program_feedback(1).eml      CBD Tolling Program feedback          <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
539⠀    AR Organization: 05 ‐ Emails   DOT_0040056 DOT_0040056           1     4/25/2022 9:05 CBD_Tolling_Program_feedback.eml         CBD Tolling Program feedback          <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
540⠀    AR Organization: 05 ‐ Emails   DOT_0040057 DOT_0040057           1     4/25/2022 9:05 CBD_Tolling_Program_registration(1).eml CBD Tolling Program registration       <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
541⠀    AR Organization: 05 ‐ Emails   DOT_0040058 DOT_0040058           1     4/25/2022 9:05 CBD_Tolling_Program_registration.eml     CBD Tolling Program registration      <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
542⠀    AR Organization: 05 ‐ Emails   DOT_0040059 DOT_0040059           1     4/25/2022 9:05 CBD_Tolling_Program_tally(1).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
543⠀    AR Organization: 05 ‐ Emails   DOT_0040060 DOT_0040060           1     4/25/2022 9:05 CBD_Tolling_Program_tally(2).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
544⠀    AR Organization: 05 ‐ Emails   DOT_0040061 DOT_0040061           1     4/25/2022 9:05 CBD_Tolling_Program_tally(3).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
545⠀    AR Organization: 05 ‐ Emails   DOT_0040062 DOT_0040062           1     4/25/2022 9:05 CBD_Tolling_Program_tally(4).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
546⠀    AR Organization: 05 ‐ Emails   DOT_0040063 DOT_0040063           1     4/25/2022 9:05 CBD_Tolling_Program_tally(5).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                             "MTA Customer Service Team"    "undisclosed‐recipients@custhelp.com"
547⠀    AR Organization: 05 ‐ Emails   DOT_0040064 DOT_0040064           1     4/25/2022 9:05 CBD_Tolling_Program_tally(6).eml         CBD Tolling Program tally             <response@mta.info>            <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
548⠀    AR Organization: 05 ‐ Emails   DOT_0040065 DOT_0040065           1     4/25/2022 9:05 CBD_Tolling_Program_tally(7).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
549⠀    AR Organization: 05 ‐ Emails   DOT_0040066 DOT_0040066           1     4/25/2022 9:05 CBD_Tolling_Program_tally(8).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
550⠀    AR Organization: 05 ‐ Emails   DOT_0040067 DOT_0040067           1     4/25/2022 9:05 CBD_Tolling_Program_tally(9).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
551⠀    AR Organization: 05 ‐ Emails   DOT_0040068 DOT_0040068           1     4/25/2022 9:05 CBD_Tolling_Program_tally.eml            CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "Pavlik, Monica (FHWA)"                                                                  "Price, Anna (FHWA)" <anna.price@dot.gov>, CBDTP
552⠀    AR Organization: 05 ‐ Emails   DOT_0040069 DOT_0040069           1    4/25/2022 17:33 13142.eml                                FW: NYC CBDTP                       <Monica.Pavlik@dot.gov>               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>      <CBDTP@dot.gov>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
553⠀    AR Organization: 05 ‐ Emails   DOT_0040070 DOT_0040070           1    4/25/2022 17:33 CBD_Tolling_Program_feedback(1).eml      CBD Tolling Program feedback        <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
554⠀    AR Organization: 05 ‐ Emails   DOT_0040071 DOT_0040071           1    4/25/2022 17:33 CBD_Tolling_Program_feedback.eml         CBD Tolling Program feedback        <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
555⠀    AR Organization: 05 ‐ Emails   DOT_0040072 DOT_0040072           1    4/25/2022 17:33 CBD_Tolling_Program_registration(1).eml CBD Tolling Program registration     <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
556⠀    AR Organization: 05 ‐ Emails   DOT_0040073 DOT_0040073           1    4/25/2022 17:33 CBD_Tolling_Program_registration.eml     CBD Tolling Program registration    <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
557⠀    AR Organization: 05 ‐ Emails   DOT_0040074 DOT_0040074           1    4/25/2022 17:33 CBD_Tolling_Program_tally(1).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
558⠀    AR Organization: 05 ‐ Emails   DOT_0040075 DOT_0040075           1    4/25/2022 17:33 CBD_Tolling_Program_tally(2).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
559⠀    AR Organization: 05 ‐ Emails   DOT_0040076 DOT_0040076           1    4/25/2022 17:33 CBD_Tolling_Program_tally(3).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
560⠀    AR Organization: 05 ‐ Emails   DOT_0040077 DOT_0040077           1    4/25/2022 17:33 CBD_Tolling_Program_tally(4).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
561⠀    AR Organization: 05 ‐ Emails   DOT_0040078 DOT_0040078           1    4/25/2022 17:33 CBD_Tolling_Program_tally(5).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
562⠀    AR Organization: 05 ‐ Emails   DOT_0040079 DOT_0040079           1    4/25/2022 17:33 CBD_Tolling_Program_tally(6).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
563⠀    AR Organization: 05 ‐ Emails   DOT_0040080 DOT_0040080           1    4/25/2022 17:33 CBD_Tolling_Program_tally(7).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
564⠀    AR Organization: 05 ‐ Emails   DOT_0040081 DOT_0040081           1    4/25/2022 17:33 CBD_Tolling_Program_tally(8).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
565⠀    AR Organization: 05 ‐ Emails   DOT_0040082 DOT_0040082           1    4/25/2022 17:33 CBD_Tolling_Program_tally(9).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
566⠀    AR Organization: 05 ‐ Emails   DOT_0040083 DOT_0040083           1    4/25/2022 17:33 CBD_Tolling_Program_tally.eml            CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                                                                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                           "Marquis, Rick (FHWA)"                "Price, Anna (FHWA)" <anna.price@dot.gov>,       "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>,
567⠀    AR Organization: 05 ‐ Emails   DOT_0040084 DOT_0040084           1    4/27/2022 11:57 12fb2.eml                                FW: CBDTP                           <Rick.Marquis@dot.gov>                CBDTP <CBDTP@dot.gov>                            "Gatchell, Chris (FHWA)" <Chris.Gatchell@dot.gov>

                                                                                                                                                                                                                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                              RE_ CBDTP ‐ Environmental Justice        RE: CBDTP ‐ Environmental Justice                                         "C. de Cerreno, Allison"
568⠀    AR Organization: 05 ‐ Emails   DOT_0040085 DOT_0040086           2    4/28/2022 10:17 Information (108).msg                    Information                         "Angel, Nichola" <nangel@mtabt.org>   <allison.cdecerreno@mtahq.org>                   "Gregory, Hazel" <hgregory@mtabt.org>

                                                                                                                                                                           "Marquis, Rick (FHWA)"                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
569⠀    AR Organization: 05 ‐ Emails   DOT_0040087 DOT_0040087           1     5/9/2022 15:24 13870.eml                                NYC CBDTP                           <Rick.Marquis@dot.gov>                "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
570⠀    AR Organization: 05 ‐ Emails   DOT_0040088 DOT_0040088           1     5/9/2022 15:24 CBD_Tolling_Program_tally(1).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
571⠀    AR Organization: 05 ‐ Emails   DOT_0040089 DOT_0040089           1     5/9/2022 15:24 CBD_Tolling_Program_tally(10).eml        CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
572⠀    AR Organization: 05 ‐ Emails   DOT_0040090 DOT_0040090           1     5/9/2022 15:24 CBD_Tolling_Program_tally(11).eml        CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
573⠀    AR Organization: 05 ‐ Emails   DOT_0040091 DOT_0040091           1     5/9/2022 15:24 CBD_Tolling_Program_tally(12).eml        CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
574⠀    AR Organization: 05 ‐ Emails   DOT_0040092 DOT_0040092           1     5/9/2022 15:24 CBD_Tolling_Program_tally(2).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                           "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
575⠀    AR Organization: 05 ‐ Emails   DOT_0040093 DOT_0040093           1     5/9/2022 15:24 CBD_Tolling_Program_tally(3).eml         CBD Tolling Program tally           <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




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                                                                                                                                                   Administrative Record



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                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
576⠀    AR Organization: 05 ‐ Emails   DOT_0040094 DOT_0040094           1     5/9/2022 15:24 CBD_Tolling_Program_tally(4).eml           CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
577⠀    AR Organization: 05 ‐ Emails   DOT_0040095 DOT_0040095           1     5/9/2022 15:24 CBD_Tolling_Program_tally(5).eml           CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
578⠀    AR Organization: 05 ‐ Emails   DOT_0040096 DOT_0040096           1     5/9/2022 15:24 CBD_Tolling_Program_tally(6).eml           CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
579⠀    AR Organization: 05 ‐ Emails   DOT_0040097 DOT_0040097           1     5/9/2022 15:24 CBD_Tolling_Program_tally(7).eml           CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
580⠀    AR Organization: 05 ‐ Emails   DOT_0040098 DOT_0040098           1     5/9/2022 15:24 CBD_Tolling_Program_tally(8).eml           CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
581⠀    AR Organization: 05 ‐ Emails   DOT_0040099 DOT_0040099           1     5/9/2022 15:24 CBD_Tolling_Program_tally(9).eml           CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
582⠀    AR Organization: 05 ‐ Emails   DOT_0040100 DOT_0040100           1     5/9/2022 15:24 CBD_Tolling_Program_tally.eml              CBD Tolling Program tally              <response@mta.info>                   <undisclosed‐recipients@custhelp.com>




                                                                                                                                                                                                                      "Ho, Cecilia (FHWA)" <Cecilia.Ho@dot.gov>,
                                                                                                                                                                                                                      "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                      <lee.ellen.carter@dot.gov>, "Martinez, Victoria
                                                                                                                                                                                                                      (FHWA)" <Victoria.Martinez@dot.gov>, Mark          "Hogan, Kara E (FHWA)" <Kara.Hogan@dot.gov>, "Mani,
                                                                                                                                                                                                                      Chertok <mchertok@sprlaw.com>, "Price, Anna        Gautam (FHWA)" <gautam.mani@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                      (FHWA)" <anna.price@dot.gov>, "C. de Cerreno,      (FHWA)" <kaylie.kramer@dot.gov>, "mwojnar@mtahq.org"
                                                                                                                                                                                                                      Allison" <allison.cdecerreno@mtahq.org>,           <mwojnar@mtahq.org>, "peter.liebowitz@wsp.com"
                                                                                                                                                                                                                      "jcowing@akrf.com" <jcowing@akrf.com>,             <peter.liebowitz@wsp.com>, "Michael.lewis@hdrinc.com"
                                                                                                                                                                                                                      "Caitlin.timoney@hdrinc.com"                       <Michael.lewis@hdrinc.com>, "Shepard, Katie R."
                                                                                                                                                                                                                      <Caitlin.timoney@hdrinc.com>,                      <Katie.Shepard@wsp.com>, "Max Meltzer"
                                                                                                                                                                                                                      "Guinevere.ngau@hdrinc.com"                        <mmeltzer@akrf.com>, "Nierenberg, Daniel R (DOT)"
                                                                                                                                                                                                                      <Guinevere.ngau@hdrinc.com>,                       <Daniel.Nierenberg@dot.ny.gov>, "DiLuccio, Sean"
                                                                                                                                                                                                                      "catherine.leslie@dot.ny.gov"                      <SDiLuccio@dot.nyc.gov>, "Carry, William"
                                                                                                                                                                                                                      <catherine.leslie@dot.ny.gov>,                     <WCarry@dot.nyc.gov>, "Blair, Lori E (DOT)"
                                                                                                                                                                                                                      "jsimeon@dot.nyc.gov" <jsimeon@dot.nyc.gov>,       <Lori.Blair@dot.ny.gov>, "Lovegrove, Alice"
                                                                                                                                                                                                                      "alma.lafferty@dot.ny.gov"                         <Alice.Lovegrove@wsp.com>, "Ullom, William"
                                                                                                                                                                                                                      <alma.lafferty@dot.ny.gov>,                        <wullom@dot.nyc.gov>, "Gathen, Kari (DOT)"
                                                                                                                                                                                                                      "ian.mcnamara@wsp.com"                             <Kari.Gathen@dot.ny.gov>, "Tadross, Edward"
                                                                                                                                                                                                                      <ian.mcnamara@wsp.com>, "nangel@mtabt.org"         <Edward.Tadross@wsp.com>, "Flax, Leah"
                                                                                                                                                                                                                      <nangel@mtabt.org>, "loliva@mtahq.org"             <leah.flax@mtabt.org>, Farah Mahjabeen
                                                                                                                                                                                "Pavlik, Monica (FHWA)"               <loliva@mtahq.org>, "eknauer@sprlaw.com"           <fmahjabeen@samschwartz.com>, "Lentlie, Patrick (DOT)"
583⠀    AR Organization: 05 ‐ Emails   DOT_0040101 DOT_0040102           2    5/13/2022 10:07 CBDTP ‐ AQ meeting (55).msg                CBDTP ‐ AQ meeting                     <Monica.Pavlik@dot.gov>               <eknauer@sprlaw.com>                               <Patrick.Lentlie@dot.ny.gov>

                                                                                                                                                                                                                                                                         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                                                                                                                                                                         Anna (FHWA)" <anna.price@dot.gov>, CBDTP
                                                                                              CBDTP Section 106 Determination ‐ DUE      CBDTP Section 106 Determination ‐ DUE                                                                                           <CBDTP@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                              DATE May 27 and Section 4(f) Di Minimis    DATE May 27 and Section 4(f) Di Minimis "Davies, Robert (FHWA)"                                                                 <kaylie.kramer@dot.gov>, "Catherine.Leslie@dot.ny.gov"
584⠀    AR Organization: 05 ‐ Emails   DOT_0040103 DOT_0040103           1    5/17/2022 15:17 Finding.msg                                Finding                                 <Robert.Davies@dot.gov>              "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>      <Catherine.Leslie@dot.ny.gov>

585⠀    AR Organization: 05 ‐ Emails   DOT_0040104 DOT_0040105           2    5/17/2022 17:22 Re_ low income discussion (92).msg         Re: low income discussion              "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                      "C. de Cerreno, Allison"
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Angel, Nichola"   "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                      <nangel@mtabt.org>, Julie Cowing                   <robert.davies@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                      <jcowing@akrf.com>, "Christopher M. Calvert"       <kaylie.kramer@dot.gov>, "Leslie, Catherine S. (DOT)"
                                                                                                                                                                                                                      <ccalvert@akrf.com>, Claudia Cooney                <Catherine.Leslie@dot.ny.gov>, "Nierenberg, Daniel R (DOT)"
                                                                                                                                                                                "Blair, Lori E (DOT)"                 <ccooney@akrf.com>, "Timoney, Caitlin"             <Daniel.Nierenberg@dot.ny.gov>, "anna.price@dot.gov"
586⠀    AR Organization: 05 ‐ Emails   DOT_0040106 DOT_0040107           2    5/18/2022 10:24 CBDTP ‐ Section 106 and Section 4(f).msg   CBDTP ‐ Section 106 and Section 4(f)   <Lori.Blair@dot.ny.gov>               <Caitlin.Timoney@hdrinc.com>                       <anna.price@dot.gov>




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                                                                                                                                                                                                                "anna.price@dot.gov" <anna.price@dot.gov>,
                                                                                                                                                                                                                "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                                                <robert.davies@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                              FW_ _EXTERNAL_ RE_ CBDTP Findings   FW: [EXTERNAL] RE: CBDTP Findings     "Blair, Lori E (DOT)"                   <kaylie.kramer@dot.gov>, "Pavlik, Monica (FHWA)"
587⠀    AR Organization: 05 ‐ Emails   DOT_0040108 DOT_0040110           3    5/18/2022 10:54 Letter (157).msg                    Letter                                <Lori.Blair@dot.ny.gov>                 <Monica.Pavlik@dot.gov>                          "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>


                                                                                                                                                                                                                "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>,
                                                                                                                                                                                                                "Austin, Mark" <Austin.Mark@epa.gov>,
                                                                                                                                                                                                                "Benjamin.Arielle@epa.gov"
                                                                                                                                                                                                                <Benjamin.Arielle@epa.gov>, "Herter, Nancy
                                                                                                                                                                                                                (PARKS)" <Nancy.Herter@parks.ny.gov>,
                                                                                                                                                                                                                "Goodman, Stephen (FTA)"                           "anna.price@dot.gov" <anna.price@dot.gov>, "Pavlik, Monica
                                                                                                                                  RE: Congestion Pricing: Permitting    "Cumming, Beth (PARKS)"                 <stephen.goodman@dot.gov>, "Eberle, Mark D"        (FHWA)" <Monica.Pavlik@dot.gov>, CBDTP
588⠀    AR Organization: 05 ‐ Emails   DOT_0040111 DOT_0040111           1    5/18/2022 11:03 12ddc.eml                           Dashboard Date Change                 <Beth.Cumming@parks.ny.gov>             <mark_eberle@nps.gov>                              <CBDTP@dot.gov>


                                                                                                                                                                                                               "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>,
                                                                                                                                                                                                               "Austin, Mark" <Austin.Mark@epa.gov>,
                                                                                                                                                                                                               "Benjamin.Arielle@epa.gov"
                                                                                                                                                                                                               <Benjamin.Arielle@epa.gov>,
                                                                                                                                                                                                               "Nancy.Herter@parks.ny.gov"
                                                                                                                                                                                                               <Nancy.Herter@parks.ny.gov>, "Cumming, Beth
                                                                                                                                                                                                               (PARKS)" <beth.cumming@parks.ny.gov>,            "Price, Anna (FHWA)" <anna.price@dot.gov>, "Pavlik, Monica
                                                                                                                                  Re: [EXTERNAL] Congestion Pricing:                                           "Goodman, Stephen (FTA)"                         (FHWA)" <Monica.Pavlik@dot.gov>, CBDTP
589⠀    AR Organization: 05 ‐ Emails   DOT_0040112 DOT_0040113           2    5/18/2022 11:11 12f2d.eml                           Permitting Dashboard Date Change      "Eberle, Mark D" <mark_eberle@nps.gov> <stephen.goodman@dot.gov>                        <CBDTP@dot.gov>
                                                                                                                                                                                                                                                                "Angel, Nichola" <nangel@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                                                                                                                <mwojnar@mtahq.org>, Ian McNamara
                                                                                                                                                                        "C. de Cerreno, Allison"                                                                <ian.mcnamara@wsp.com>, "Oliva, Louis"
590⠀    AR Organization: 05 ‐ Emails   DOT_0040114 DOT_0040115           2    5/18/2022 19:13 Re_ effects follow up.msg           Re: effects follow up                 <allison.cdecerreno@mtahq.org>          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <LOLIVA@mtahq.org>


                                                                                                                                                                                                                "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>,
                                                                                                                                                                                                                "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>,
                                                                                                                                                                        "C. de Cerreno, Allison"                "catherine.leslie@dot.ny.gov"
591⠀    AR Organization: 05 ‐ Emails   DOT_0040116 DOT_0040117           2    5/26/2022 10:00 13c6a.eml                           RE: Section 106                       <allison.cdecerreno@mtahq.org>          <catherine.leslie@dot.ny.gov>

                                                                                                                                                                                                                                                                   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Wojnar,
                                                                                                                                                                                                                                                                   Michael" <mwojnar@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                  RE: Updating CBDTP Outreach Schedule ‐ "Price, Anna (FHWA)"                                                                      <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
592⠀    AR Organization: 05 ‐ Emails   DOT_0040118 DOT_0040118           1    5/31/2022 10:25 13129.eml                           Agency Meetings Sequence               <anna.price@dot.gov>                   "Flax, Leah" <leah.flax@mtabt.org>                 <nangel@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>

                                                                                                                                                                                                                                                                "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>, "Nierenberg,
                                                                                                                                                                                                                                                                Daniel R (DOT)" <Daniel.Nierenberg@dot.ny.gov>, "Davies,
                                                                                                                                                                        "Leslie, Catherine S. (DOT)"            "anna.price@dot.gov" <anna.price@dot.gov>,      Robert (FHWA)" <Robert.Davies@dot.gov>, "Kramer, Kaylie
593⠀    AR Organization: 05 ‐ Emails   DOT_0040119 DOT_0040120           2    5/31/2022 17:28 13a6a.eml                           RE: Section 106                       <Catherine.Leslie@dot.ny.gov>           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> (FHWA)" <kaylie.kramer@dot.gov>




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                                                                                                                                                                                                                                              "Price, Anna (FHWA)" <anna.price@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                                              (FHWA)" <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                              <Robert.Davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                              <Monica.Pavlik@dot.gov>, "Millington, Tricia (FHWA)"
                                                                                                                                                                                                                                              <patricia.millington@dot.gov>,
                                                                                                                                                                                                                                              "Daniel.Mackay@parks.ny.gov"
                                                                                                                                                                                                                                              <Daniel.Mackay@parks.ny.gov>,
                                                                                                                                                                                                                                              "Olivia.Brazee@parks.ny.gov" <Olivia.Brazee@parks.ny.gov>,
                                                                                                                                                                                                                                              Terry Smith <terry.smith@dot.ny.gov>, "Catherine Leslie"
                                                                                                                                                                                                                                              <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                                              "allison.cdecerreno@mtahq.org"
                                                                                              RE_ FHWA to Tribal Nations_ Delaware   RE: FHWA to Tribal Nations_ Delaware    "Anderson, Cindy (FHWA)"    "sbachor@delawaretribe.org"          <allison.cdecerreno@mtahq.org>, "wcarry@dot.nyc.gov"
594⠀    AR Organization: 05 ‐ Emails   DOT_0040121 DOT_0040121           1     6/1/2022 11:56 Tribe signs_5 31 22.msg                Tribe signs_5 31 22                     <cindy.anderson@dot.gov>    <sbachor@delawaretribe.org>          <wcarry@dot.nyc.gov>
                                                                                              Central_Park_replacement_poles_with_eq Section 106 Finding Documentation Draft
595⠀    AR Organization: 04 ‐ Misc     DOT_0040122 DOT_0040123           2    5/24/2022 12:38 uipment_and_signs.pdf                  (Proposed Final) VOL 2
                                                                                              Section_106_Consulting_Parties_Comment
                                                                                              s_Matrix_Finding_Documentation_2022‐5‐
596⠀    AR Organization: 04 ‐ Misc     DOT_0040124 DOT_0040126           3    5/24/2022 12:26 24.docx


                                                                                                                                                                                                                                              "Price, Anna (FHWA)" <anna.price@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                                              (FHWA)" <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                              <Robert.Davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                              <Monica.Pavlik@dot.gov>, "Millington, Tricia (FHWA)"
                                                                                                                                                                                                                                              <patricia.millington@dot.gov>,
                                                                                                                                                                                                                                              "Daniel.Mackay@parks.ny.gov"
                                                                                                                                                                                                                                              <Daniel.Mackay@parks.ny.gov>,
                                                                                                                                                                                                                                              "Olivia.Brazee@parks.ny.gov" <Olivia.Brazee@parks.ny.gov>,
                                                                                                                                                                                                                                              Terry Smith <terry.smith@dot.ny.gov>, "Catherine Leslie"
                                                                                                                                                                                                                                              <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                                              "allison.cdecerreno@mtahq.org"
                                                                                              RE_ FHWA to Tribal Nations_ Delaware     RE: FHWA to Tribal Nations_ Delaware   "Anderson, Cindy (FHWA)"   "klucas@delawarenation‐nsn.gov"      <allison.cdecerreno@mtahq.org>, "wcarry@dot.nyc.gov"
597⠀    AR Organization: 05 ‐ Emails   DOT_0040127 DOT_0040127           1     6/1/2022 11:57 Nation signs_5 31 22.msg                 Nation signs_5 31 22                   <cindy.anderson@dot.gov>   <klucas@delawarenation‐nsn.gov>      <wcarry@dot.nyc.gov>


                                                                                                                                                                                                                                              "Price, Anna (FHWA)" <anna.price@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                                              (FHWA)" <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                              <Robert.Davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                              <Monica.Pavlik@dot.gov>, "Millington, Tricia (FHWA)"
                                                                                                                                                                                                                                              <patricia.millington@dot.gov>,
                                                                                                                                                                                                                                              "Daniel.Mackay@parks.ny.gov"
                                                                                                                                                                                                                                              <Daniel.Mackay@parks.ny.gov>,
                                                                                                                                                                                                                                              "Olivia.Brazee@parks.ny.gov" <Olivia.Brazee@parks.ny.gov>,
                                                                                                                                                                                                                                              "Aiyanasmith@shinnecock.org"
                                                                                                                                                                                                                                              <Aiyanasmith@shinnecock.org>,
                                                                                                                                                                                                                                              "JosephineSmith@shinnecock.org"
                                                                                                                                                                                                                                              <JosephineSmith@shinnecock.org>, Jeremy Dennis
                                                                                                                                                                                                                                              <jeremynative@gmail.com>,
                                                                                                                                                                                                                                              "Laurynrandall2@shinnecock.org"
                                                                                                                                                                                                                                              <Laurynrandall2@shinnecock.org>,
                                                                                                                                                                                                                                              "graveprotection@gmail.com"
                                                                                                                                                                                                                                              <graveprotection@gmail.com>,
                                                                                                                                                                                                                                              "COTExecutiveAssistant@shinnecock.org"
                                                                                                                                                                                                                                              <COTExecutiveAssistant@shinnecock.org>, Terry Smith
                                                                                                                                                                                                                                              <terry.smith@dot.ny.gov>, Catherine Leslie
                                                                                                                                                                                                                                              <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                                              "allison.cdecerreno@mtahq.org"
                                                                                              RE_ FHWA to Tribal Nations_ Shinnecock   RE: FHWA to Tribal Nations_ Shinnecock "Anderson, Cindy (FHWA)"   "counciloftrustees@shinnecock.org"   <allison.cdecerreno@mtahq.org>, "wcarry@dot.nyc.gov"
598⠀    AR Organization: 05 ‐ Emails   DOT_0040128 DOT_0040128           1     6/1/2022 11:57 Indian Nation signs_5 31 22.msg          Indian Nation signs_5 31 22            <cindy.anderson@dot.gov>   <counciloftrustees@shinnecock.org>   <wcarry@dot.nyc.gov>




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                                                                                                                                                                                                                                                               "Price, Anna (FHWA)" <anna.price@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                                                               (FHWA)" <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                               <Robert.Davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                               <Monica.Pavlik@dot.gov>, "Millington, Tricia (FHWA)"
                                                                                                                                                                                                                                                               <patricia.millington@dot.gov>,
                                                                                                                                                                                                                                                               "Daniel.Mackay@parks.ny.gov"
                                                                                                                                                                                                                                                               <Daniel.Mackay@parks.ny.gov>,
                                                                                                                                                                                                                                                               "Olivia.Brazee@parks.ny.gov" <Olivia.Brazee@parks.ny.gov>,
                                                                                                                                                                                                                                                               Terry Smith <terry.smith@dot.ny.gov>, "Catherine Leslie"
                                                                                                                                                                                                                                                               <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                                                               "allison.cdecerreno@mtahq.org"
                                                                                              RE_ FHWA to Tribal Nations_ Stockbridge‐ RE: FHWA to Tribal Nations_ Stockbridge‐ "Anderson, Cindy (FHWA)"      "thpo@mohican‐nsn.gov" <thpo@mohican‐            <allison.cdecerreno@mtahq.org>, "wcarry@dot.nyc.gov"
599⠀    AR Organization: 05 ‐ Emails   DOT_0040129 DOT_0040129           1     6/1/2022 11:58 Munsee signs_5 31 22.msg                 Munsee signs_5 31 22                     <cindy.anderson@dot.gov>      nsn.gov>                                         <wcarry@dot.nyc.gov>


                                                                                                                                                                                                                                                               "Price, Anna (FHWA)" <anna.price@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                                                               (FHWA)" <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                                                                                                                                                                                               <Robert.Davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                               <Monica.Pavlik@dot.gov>, "Millington, Tricia (FHWA)"
                                                                                                                                                                                                                                                               <patricia.millington@dot.gov>,
                                                                                                                                                                                                                                                               "Daniel.Mackay@parks.ny.gov"
                                                                                                                                                                                                                                                               <Daniel.Mackay@parks.ny.gov>,
                                                                                                                                                                                                                                                               "Olivia.Brazee@parks.ny.gov" <Olivia.Brazee@parks.ny.gov>,
                                                                                                                                                                                                                                                               Terry Smith <terry.smith@dot.ny.gov>, Catherine Leslie
                                                                                                                                                                                                                                                               <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                                                               "allison.cdecerreno@mtahq.org"
                                                                                                                                       RE: FHWA to Tribal Nations_ Stockbridge‐                               "Anderson, Cindy (FHWA)"                         <allison.cdecerreno@mtahq.org>, "wcarry@dot.nyc.gov"
600⠀    AR Organization: 05 ‐ Emails   DOT_0040130 DOT_0040131           2     6/1/2022 13:44 12dbf.eml                                Munsee signs_5 31 22                     thpo <thpo@mohican‐nsn.gov>   <cindy.anderson@dot.gov>                         <wcarry@dot.nyc.gov>

                                                                                                                                                                                                                                                               "Cogburn, Megan (FHWA)" <megan.cogburn@dot.gov>,
                                                                                                                                                                                                                                                               "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                                                               Fair@dot.gov>, "Powell, Vanessa (FHWA)"
                                                                                                                                                                                                                                                               <Vanessa.Powell@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                                                               <lee.ellen.carter@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                                                               <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                              CBDTP Low‐Income Threshold                                                                                      "C. de Cerreno, Allison"                         <Robert.Davies@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                              Recommendation DFT v7 05‐20‐22       CBDTP Low‐Income Threshold           "Price, Anna (FHWA)"                  <allison.cdecerreno@mtahq.org>, "Angel, Nichola" <Rick.Marquis@dot.gov>, "Pavlik, Monica (FHWA)"
601⠀    AR Organization: 05 ‐ Emails   DOT_0040132 DOT_0040133           2     6/2/2022 10:48 clean.msg                            Recommendation DFT v7 05‐20‐22 clean <anna.price@dot.gov>                  <nangel@mtabt.org>                               <Monica.Pavlik@dot.gov>, CBDTP <CBDTP@dot.gov>
                                                                                              CBDTP_Comparison_of_Reference_Values
                                                                                              _for_Low‐Income_Pops_DFT_v9_05‐20‐
602⠀    AR Organization: 04 ‐ Misc     DOT_0040134 DOT_0040136           3     5/20/2022 0:13 2022.pdf
                                                                                              CBDTP_Low‐
                                                                                              Income_Threshold_Recommendation_DFT
603⠀    AR Organization: 04 ‐ Misc     DOT_0040137 DOT_0040145           9    5/20/2022 11:51 _v7_05‐20‐22_clean.docx

                                                                                                                                                                                                                                                               "Cogburn, Megan (FHWA)" <megan.cogburn@dot.gov>,
                                                                                                                                                                                                                                                               "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                                                               Fair@dot.gov>, "Powell, Vanessa (FHWA)"
                                                                                                                                                                                                                                                               <Vanessa.Powell@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                                                               <lee.ellen.carter@dot.gov>, "Kramer, Kaylie (FHWA)"
                                                                                                                                                                                                                                                               <kaylie.kramer@dot.gov>, "Davies, Robert (FHWA)"
                                                                                              RE_ CBDTP Low‐Income Threshold                                                                                                                                   <Robert.Davies@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                              Recommendation DFT v7 05‐20‐22 clean     RE: CBDTP Low‐Income Threshold       "C. de Cerreno, Allison"          "Price, Anna (FHWA)" <anna.price@dot.gov>,       <Rick.Marquis@dot.gov>, "Pavlik, Monica (FHWA)"
604⠀    AR Organization: 05 ‐ Emails   DOT_0040146 DOT_0040147           2     6/2/2022 10:53 (3).msg                                  Recommendation DFT v7 05‐20‐22 clean <allison.cdecerreno@mtahq.org>    "Angel, Nichola" <nangel@mtabt.org>              <Monica.Pavlik@dot.gov>, CBDTP <CBDTP@dot.gov>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                           Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                           Subject                                From                            To                                                Cc
                                                                                                                                                                                                                                                          "monica.pavlik@dot.gov" <monica.pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                          Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                          <anna.price@dot.gov>, "kaylie.kramer@dot.gov"
                                                                                                                                                                                                                                                          <kaylie.kramer@dot.gov>, "Smith, Terry (DOT)"
                                                                                                                                                                                                                                                          <Terry.Smith@dot.ny.gov>, "acdecerreno@mtabt.org"
                                                                                                                                                                                                                                                          <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                              CBDTP ‐ Section 106 Consultation                                          "Leslie, Catherine S. (DOT)"    "Brazee, Olivia (PARKS)"                          <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
605⠀    AR Organization: 05 ‐ Emails   DOT_0040148 DOT_0040148           1     6/3/2022 11:54 (191).msg                          CBDTP ‐ Section 106 Consultation       <Catherine.Leslie@dot.ny.gov>   <Olivia.Brazee@parks.ny.gov>                      <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                          "monica.pavlik@dot.gov" <monica.pavlik@dot.gov>, Robert
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                                                                                              CBDTP ‐ Section 106 Consultation                                          "Leslie, Catherine S. (DOT)"                                                      <Cheryl_Sams@nps.gov>, "laurel_racine@nps.gov"
606⠀    AR Organization: 05 ‐ Emails   DOT_0040149 DOT_0040149           1     6/3/2022 11:54 (192).msg                          CBDTP ‐ Section 106 Consultation       <Catherine.Leslie@dot.ny.gov>   "mark_eberle@nps.gov" <mark_eberle@nps.gov>       <laurel_racine@nps.gov>
                                                                                                                                                                                                                                                          "monica.pavlik@dot.gov" <monica.pavlik@dot.gov>, Robert
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                                                                                                                                                                                                                                                          <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                              CBDTP ‐ Section 106 Consultation                                          "Leslie, Catherine S. (DOT)"    "andreagoldwyn@nylandmarks.org"                   <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
607⠀    AR Organization: 05 ‐ Emails   DOT_0040150 DOT_0040150           1     6/3/2022 11:55 (193).msg                          CBDTP ‐ Section 106 Consultation       <Catherine.Leslie@dot.ny.gov>   <andreagoldwyn@nylandmarks.org>                   <WCarry@dot.nyc.gov>

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                                                                                              CBDTP ‐ Section 106 Consultation                                          "Leslie, Catherine S. (DOT)"    "David.cuff@parks.nyc.gov"                        "brendan.shera@parks.nyc.gov"
608⠀    AR Organization: 05 ‐ Emails   DOT_0040151 DOT_0040151           1     6/3/2022 11:55 (194).msg                          CBDTP ‐ Section 106 Consultation       <Catherine.Leslie@dot.ny.gov>   <David.cuff@parks.nyc.gov>                        <brendan.shera@parks.nyc.gov>
                                                                                                                                                                                                                                                          "monica.pavlik@dot.gov" <monica.pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                          Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
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                                                                                              CBDTP ‐ Section 106 Consultation                                          "Leslie, Catherine S. (DOT)"                                                      <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
609⠀    AR Organization: 05 ‐ Emails   DOT_0040152 DOT_0040152           1     6/3/2022 11:56 (195).msg                          CBDTP ‐ Section 106 Consultation       <Catherine.Leslie@dot.ny.gov>   "gsantucci@lpc.nyc.gov" <gsantucci@lpc.nyc.gov>   <WCarry@dot.nyc.gov>
                                                                                                                                                                                                                                                          "monica.pavlik@dot.gov" <monica.pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                          Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                          <anna.price@dot.gov>, "kaylie.kramer@dot.gov"
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                                                                                                                                                                                                                                                          <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                                                                                                                                                                                          <nangel@mtabt.org>, "Carry, William"
                                                                                                                                                                                                                                                          <wcarry@dot.nyc.gov>, "Young, Sybil (Parks)"
                                                                                                                                                                        "Cuff, David (Parks)"           "'Leslie, Catherine S. (DOT)'"                    <Sybil.Young@parks.nyc.gov>, "Shera, Brendan (Parks)"
610⠀    AR Organization: 05 ‐ Emails   DOT_0040153 DOT_0040154           2    6/10/2022 16:04 13bdc.eml                          RE: CBDTP ‐ Section 106 Consultation   <David.Cuff@parks.nyc.gov>      <Catherine.Leslie@dot.ny.gov>                     <Brendan.Shera@parks.nyc.gov>




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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date      Filename                                 Subject                                   From                                To                                            Cc
                                                                                                                                                                                                                                                                          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                                                                          robert.davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                          "anna.price@dot.gov" <anna.price@dot.gov>, "Kramer, Kaylie
                                                                                                                                                                                                                                                                          (FHWA)" <kaylie.kramer@dot.gov>, "Smith, Terry (DOT)"
                                                                                                                                                                                                                                                                          <Terry.Smith@dot.ny.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                          <acdecerreno@mtabt.org>, "Angel, Nichola"
                                                                                                                                                                                                                                                                          <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
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                                                                                                                                                                                                                            "Brazee, Olivia (PARKS)"                      <Kathy_Schlegel@nps.gov>, "Cheryl_Sams@nps.gov"
                                                                                                    CBDTP ‐ Section 106 Consultation ‐        CBDTP ‐ Section 106 Consultation ‐        "Leslie, Catherine S. (DOT)"        <Olivia.Brazee@parks.ny.gov>,                 <Cheryl_Sams@nps.gov>, "laurel_racine@nps.gov"
611⠀    AR Organization: 05 ‐ Emails         DOT_0040155 DOT_0040155           1    6/16/2022 14:11 Proposed Signage in Central Park.msg      Proposed Signage in Central Park          <Catherine.Leslie@dot.ny.gov>       "'mark_eberle@nps.gov'" <mark_eberle@nps.gov> <laurel_racine@nps.gov>
612⠀    AR Organization: 04 ‐ Misc           DOT_0040156 DOT_0040156           1     5/24/2022 8:21 Central_Park_Rendering_1_copy.png

                                                                                                                                                                                                                                                                            "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                                                                                            <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
                                                                                                                                                                                                                                                                            "Friman, Paul" <pfriman@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                                                                                                                            <mwojnar@mtahq.org>, Mark Chertok
                                                                                                    language for mitigation related to low‐   language for mitigation related to low‐   "C. de Cerreno, Allison"                                                            <mchertok@sprlaw.com>, Elizabeth Knauer
613⠀    AR Organization: 05 ‐ Emails         DOT_0040157 DOT_0040158           2    6/16/2022 14:11 income drivers.msg                        income drivers                            <allison.cdecerreno@mtahq.org>      "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <eknauer@sprlaw.com>

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                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                            <nangel@mtabt.org>, "Christopher M. Calvert"         "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>,
                                                                                                                                                                                                                            <ccalvert@akrf.com>, Julie Cowing                    "robert.davies (robert.davies@dot.gov)"
                                                                                                                                                                                        "Blair, Lori E (DOT)"               <jcowing@akrf.com>, Claudia Cooney                   <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
614⠀    AR Organization: 05 ‐ Emails         DOT_0040159 DOT_0040159           1    6/16/2022 15:53 CBDTP Section 106.msg             CBDTP Section 106                                 <Lori.Blair@dot.ny.gov>             <ccooney@akrf.com>                                   <Monica.Pavlik@dot.gov>
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615⠀    AR Organization: 06 Correspondence   DOT_0040160 DOT_0040160           1    6/16/2022 15:42 nsignage.pdf




                                                                                                                                                                                                                            "Blair, Lori E (DOT)" <Lori.Blair@dot.ny.gov>,
                                                                                                                                                                                                                            "Angel, Nichola" <nangel@mtabt.org>, "Christopher
                                                                                                                                                                                                                            M. Calvert" <ccalvert@akrf.com>,                  catherine.leslie <catherine.leslie@dot.ny.gov>, "robert.davies
                                                                                                                                                                                        "C. de Cerreno, Allison"            "jcowing@akrf.com" <jcowing@akrf.com>, Claudia (robert.davies@dot.gov)" <robert.davies@dot.gov>, "Pavlik,
616⠀    AR Organization: 05 ‐ Emails         DOT_0040161 DOT_0040161           1    6/16/2022 15:55 RE_ CBDTP Section 106.msg                 RE: CBDTP Section 106                     <allison.cdecerreno@mtahq.org>      Cooney <ccooney@akrf.com>                         Monica (FHWA)" <Monica.Pavlik@dot.gov>




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                                                                                                                                                                                                                            <ccalvert@akrf.com>, Julie Cowing
                                                                                                                                                                                                                            <jcowing@akrf.com>, Claudia Cooney
                                                                                                                                                                                                                            <ccooney@akrf.com>, "Leslie, Catherine S. (DOT)"
                                                                                                    FW_ CBDTP ‐ Section 106 Consultation ‐    FW: CBDTP ‐ Section 106 Consultation ‐    "Blair, Lori E (DOT)"               <Catherine.Leslie@dot.ny.gov>, "Nierenberg, Daniel
617⠀    AR Organization: 05 ‐ Emails         DOT_0040162 DOT_0040162           1     6/17/2022 9:41 Proposed Signage in Central Park.msg      Proposed Signage in Central Park          <Lori.Blair@dot.ny.gov>             R (DOT)" <Daniel.Nierenberg@dot.ny.gov>
                                                                                                    RE_ CBDTP ‐ Section 106 Consultation ‐    RE: CBDTP ‐ Section 106 Consultation ‐    Racine, Laurel A on behalf of NHL
618⠀    AR Organization: 05 ‐ Emails         DOT_0040163 DOT_0040163           1    6/17/2022 15:42 NPS Concurrence.pdf                       Proposed Signage in Central Park          NEReview, NPS                       Blair, Lori E (DOT)

                                                                                                    FW_ FHWA Tribal Nations_ Stockbridge‐     FW: FHWA to Tribal Nations_ Stockbridge‐
619⠀    AR Organization: 05 ‐ Emails         DOT_0040164 DOT_0040165           2    6/17/2022 16:03 Munsee signs_5 31 22_concurrence.pdf      Munsee signs_5 31 22                     Leslie, Catherine S. (DOT)           Blair, Lori E (DOT); Nierenberg, Daniel R (DOT)




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date      Filename                                  Subject                                   From                                  To                                                Cc

                                                                                                                                                                                                                                                                               Robert Davies <robert.davies@dot.gov>,
                                                                                                                                                                                                                                                                               "anna.price@dot.gov" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                                               "kaylie.kramer@dot.gov" <kaylie.kramer@dot.gov>, "Brazee,
                                                                                                                                                                                                                                                                               Olivia (PARKS)" <Olivia.Brazee@parks.ny.gov>, "Smith, Terry
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                                                                                                                                                                                                                                                                               <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                                    CBDTP ‐ Section 106 Effect                 CBDTP ‐ Section 106 Effect                "Leslie, Catherine S. (DOT)"                                                          <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
620⠀    AR Organization: 05 ‐ Emails         DOT_0040166 DOT_0040166           1    6/21/2022 10:25 Determination.msg                          Determination                             <Catherine.Leslie@dot.ny.gov>         "monica.pavlik@dot.gov" <monica.pavlik@dot.gov> <WCarry@dot.nyc.gov>
                                                                                                                                                                                                                                                                               "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Price,
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                                                                                                    RE_ CBDTP ‐ Section 106 Effect             RE: CBDTP ‐ Section 106 Effect            "Pavlik, Monica (FHWA)"               "Leslie, Catherine S. (DOT)"                    <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
621⠀    AR Organization: 05 ‐ Emails         DOT_0040167 DOT_0040168           2    6/21/2022 11:23 Determination (63).msg                     Determination                             <Monica.Pavlik@dot.gov>               <Catherine.Leslie@dot.ny.gov>                   <WCarry@dot.nyc.gov>


                                                                                                                                                                                                                                                                                 "Davies, Robert (FHWA)" <Robert.Davies@dot.gov>, "Pavlik,
                                                                                                                                                                                                                                                                                 Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Millington, Tricia
                                                                                                                                                                                                                                                                                 (FHWA)" <patricia.millington@dot.gov>,
                                                                                                                                                                                                                                                                                 "Daniel.Mackay@parks.ny.gov"
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                                                                                                                                                                                                                                                                                 Terry Smith <terry.smith@dot.ny.gov>, "Catherine Leslie"
                                                                                                                                                                                                                                                                                 <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                                                                                 "allison.cdecerreno@mtahq.org"
                                                                                                    RE_ FHWA Final Section 106 No Adverse      RE: FHWA Final Section 106 No Adverse     "Anderson, Cindy (FHWA)"                                                                <allison.cdecerreno@mtahq.org>, "wcarry@dot.nyc.gov"
622⠀    AR Organization: 05 ‐ Emails         DOT_0040169 DOT_0040169           1    6/21/2022 16:03 Effect Determination for the CBDTP.msg     Effect Determination for the CBDTP        <cindy.anderson@dot.gov>              Catherine Leslie <catherine.leslie@dot.ny.gov>    <wcarry@dot.nyc.gov>

                                                                                                    FHWA_Final_Section_106_No_Adverse_Eff
623⠀    AR Organization: 06 Correspondence   DOT_0040170 DOT_0040171           2    6/21/2022 15:28 ect_Determination_for_the_CBDTP.pdf
                                                                                                                                                                                         "Pavlik, Monica (FHWA)"                                                                 "Price, Anna (FHWA)" <anna.price@dot.gov>, "C. de Cerreno,
624⠀    AR Organization: 05 ‐ Emails         DOT_0040172 DOT_0040172           1    6/22/2022 11:31 102e1.eml                                  RE: Update on CBDTP EA Submission         <Monica.Pavlik@dot.gov>               "Angel, Nichola" <nangel@mtabt.org>               Allison" <allison.cdecerreno@mtahq.org>

                                                                                                                                                                                                                                                                                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                                                                                 "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                                 William Carry <wcarry@dot.nyc.gov>, "C. de Cerreno, Allison"
625⠀    AR Organization: 05 ‐ Emails         DOT_0040173 DOT_0040173           1    6/23/2022 22:32 CBDTP ‐ Submission of the Draft EA.msg     CBDTP ‐ Submission of the Draft EA        "Angel, Nichola" <nangel@mtabt.org>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>     <allison.cdecerreno@mtahq.org>

                                                                                                                                                                                                                                                                                 "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                         "Marquis, Rick (FHWA)"                "Angel, Nichola" <nangel@mtabt.org>, "Pavlik,     William Carry <wcarry@dot.nyc.gov>, "C. de Cerreno, Allison"
626⠀    AR Organization: 05 ‐ Emails         DOT_0040174 DOT_0040174           1    6/23/2022 22:38 RE_ CBDTP ‐ EA revised schedules (30).msg RE: CBDTP ‐ EA revised schedules           <Rick.Marquis@dot.gov>                Monica (FHWA)" <Monica.Pavlik@dot.gov>            <allison.cdecerreno@mtahq.org>
                                                                                                                                                RE: ACTION: New York, NYC Central
                                                                                                    RE_ ACTION_ New York_ NYC Central           Business District Tolling Program ‐
                                                                                                    Business District Tolling Program ‐ Request Request for Concurrent Review of draft   "Mugdan, Walter"
627⠀    AR Organization: 05 ‐ Emails         DOT_0040175 DOT_0040176           2     6/24/2022 8:47 for Concurrent Review of draft EA.msg       EA                                       <Mugdan.Walter@epa.gov>               "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>




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                                                                                                                                                                                                                          "C. de Cerreno, Allison"
                                                                                                                                                                                                                          <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                          <nangel@mtabt.org>, "Desantis, Romolo"
                                                                                                                                                                                                                          <Romolo.desantis@mtacd.org>, "Flax, Leah"
                                                                                                                                                                                                                          <leah.flax@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                                                                          <mwojnar@mtahq.org>, "jpchan@mtahq.org"
                                                                                                                                                                                                                          <jpchan@mtahq.org>, "sarah.meyer@mtahq.org"
                                                                                                                                                                                                                          <sarah.meyer@mtahq.org>, "Pavlik, Monica
                                                                                                                                                                                                                          (FHWA)" <Monica.Pavlik@dot.gov>, "Price, Anna
                                                                                                                                                                                                                          (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                          "lee.ellen.carter@dot.gov"
                                                                                                                                                                                                                          <lee.ellen.carter@dot.gov>, "Leslie, Catherine S.
                                                                                                                                                                                                                          (DOT)" <Catherine.Leslie@dot.ny.gov>, Ian
                                                                                                                                                                                                                          McNamara <ian.mcnamara@wsp.com>, Julie
                                                                                                                                                                                                                          Cowing <jcowing@akrf.com>, Chris Calvert
                                                                                                                                                                                                                          <ccalvert@akrf.com>, Maura Fitzpatrick
                                                                                                                                                                                                                          <mfitzpatrick@fhistudio.com>, "Heffernan, Audrey"
                                                                                                                                                                                                                          <Audrey.Heffernan@hdrinc.com>,
                                                                                                                                                                                                                          "pamela.rogers@nyct.com"
                                                                                              06_27_22 CBDTP public hearing planning   06.27.22 CBDTP public hearing planning                                             <pamela.rogers@nyct.com>, "Gregory, Hazel"        "Lewis, Michael" <Michael.Lewis@hdrinc.com>, "Ngau,
628⠀    AR Organization: 05 ‐ Emails   DOT_0040177 DOT_0040177           1    6/28/2022 12:25 workshop.msg                             workshop                                 "Kelly, Jason" <Jason.Kelly@hdrinc.com>   <hgregory@mtabt.org>                              Guinevere" <guinevere.ngau@hdrinc.com>
                                                                                                                                                                                                                          "Wiser, Tom (DOT)" <Tom.Wiser@dot.ny.gov>,
                                                                                                                                                                                                                          "'Pam.Eshbaugh@dot.ny.gov'"
                                                                                                                                                                                                                          <Pam.Eshbaugh@dot.ny.gov>,
                                                                                                                                                                                                                          "'Doug.Bickford@dot.ny.gov'"
                                                                                                                                                                                                                          <Doug.Bickford@dot.ny.gov>,
                                                                                                                                                                                                                          "James.Darlington@dot.ny.gov"
                                                                                                                                                                                                                          <James.Darlington@dot.ny.gov>,
                                                                                                                                                                                                                          "Dave.MacEwan@dot.ny.gov"
                                                                                                                                                                                                                          <Dave.MacEwan@dot.ny.gov>,
                                                                                                                                                                                                                          "Andrew.Clark@dot.ny.gov"
                                                                                                                                                                                                                          <Andrew.Clark@dot.ny.gov>, "Zargham, Steve
                                                                                                                                                                                                                          (DOT) (Steve.Zargham@dot.ny.gov)"
                                                                                                                                                                                                                          <Steve.Zargham@dot.ny.gov>, "Ricard, Mary
                                                                                                                                                                                                                          (DOT)" <Mary.Ricard@dot.ny.gov>, "Smith, Terry
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                                                                                                                                                                                                                          "Catherine.Leslie@dot.ny.gov"
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                                                                                                                                                                                                                          "Dawn.Arnold@dot.ny.gov"
                                                                                                                                                                                                                          <Dawn.Arnold@dot.ny.gov>, "Kenneally, Diane
                                                                                                                                                                                                                          (DOT) (Diane.Kenneally@dot.ny.gov)"
                                                                                                                                                                                                                          <Diane.Kenneally@dot.ny.gov>,
                                                                                                                                                                                                                          "Erica.Gundrum@dot.ny.gov"
                                                                                                                                                                                                                          <Erica.Gundrum@dot.ny.gov>,
                                                                                                                                                                                                                          "Rick.Wilder@dot.ny.gov"
                                                                                              Region 9 Interim FHWA Area Engineer      Region 9 Interim FHWA Area Engineer      "Davies, Robert (FHWA)"                   <Rick.Wilder@dot.ny.gov>, "Herter, Nancy (PARKS)"
629⠀    AR Organization: 05 ‐ Emails   DOT_0040178 DOT_0040179           2    6/29/2022 14:34 Coverage ‐ EFFECTIVE July 5th.msg        Coverage ‐ EFFECTIVE July 5th            <Robert.Davies@dot.gov>                   <Nancy.Herter@parks.ny.gov>                       "NY‐All (FHWA)" <NY‐All@dot.gov>

                                                                                                                                                                                                                                                                          "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                          "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, William Carry <wcarry@dot.nyc.gov>, "C. de Cerreno, Allison"
630⠀    AR Organization: 05 ‐ Emails   DOT_0040180 DOT_0040180           1    6/23/2022 22:33 unnamed.eml                              CBDTP ‐ EA revised schedules             "Angel, Nichola" <nangel@mtabt.org>       "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <allison.cdecerreno@mtahq.org>




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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                               From                                    To                                                Cc
                                                                                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                                            Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                                            <anna.price@dot.gov>, "kaylie.kramer@dot.gov"
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                                                                                                                                                                                                                                                                            <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                                                                                                                  "Leslie, Catherine S. (DOT)"                                                              <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
631⠀    AR Organization: 05 ‐ Emails         DOT_0040181 DOT_0040181           1    6/30/2022 10:55 CBDTP ‐ Section 4(f) (41).msg           CBDTP ‐ Section 4(f)                  <Catherine.Leslie@dot.ny.gov>           "mark_eberle@nps.gov" <mark_eberle@nps.gov>       <WCarry@dot.nyc.gov>
                                                                                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                                            Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
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                                                                                                                                                                                  "Leslie, Catherine S. (DOT)"            "David.cuff@parks.nyc.gov"                        <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
632⠀    AR Organization: 05 ‐ Emails         DOT_0040182 DOT_0040182           1    6/30/2022 10:56 CBDTP ‐ Section 4(f) (40).msg           CBDTP ‐ Section 4(f)                  <Catherine.Leslie@dot.ny.gov>           <David.cuff@parks.nyc.gov>                        <WCarry@dot.nyc.gov>
                                                                                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                                            Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                                            <anna.price@dot.gov>, "kaylie.kramer@dot.gov"
                                                                                                                                                                                                                                                                            <kaylie.kramer@dot.gov>, "Smith, Terry (DOT)"
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                                                                                                                                                                                                                                                                            <acdecerreno@mtabt.org>, "nangel@mtabt.org"
                                                                                                                                                                                  "Leslie, Catherine S. (DOT)"            "Brazee, Olivia (PARKS)"                          <nangel@mtabt.org>, "WCarry@dot.nyc.gov"
633⠀    AR Organization: 05 ‐ Emails         DOT_0040183 DOT_0040183           1    6/30/2022 10:56 CBDTP ‐ Section 4(f).msg                CBDTP ‐ Section 4(f)                  <Catherine.Leslie@dot.ny.gov>           <Olivia.Brazee@parks.ny.gov>                      <WCarry@dot.nyc.gov>




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                                                                                                                                                                                                                          <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
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                                                                                                                                                                                                                          <ccalvert@akrf.com>, Julie Cowing
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                                                                                                                                                                                                                          <robert.davies@dot.gov>, "kaylie.kramer@dot.gov"
                                                                                                                                                                                  "Blair, Lori E (DOT)"                   <kaylie.kramer@dot.gov>, "anna.price@dot.gov"
634⠀    AR Organization: 05 ‐ Emails         DOT_0040184 DOT_0040184           1     7/5/2022 11:38 CBDTP Section 4(f) (39).msg             CBDTP Section 4(f)                    <Lori.Blair@dot.ny.gov>                 <anna.price@dot.gov>                             "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>

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635⠀    AR Organization: 06 Correspondence   DOT_0040185 DOT_0040185           1     7/5/2022 11:28 19_21PR06430.011SHPO4fconcurrence.pdf




                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                                        "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                        catherine.leslie <catherine.leslie@dot.ny.gov>,
                                                                                                                                                                                                                        "Metal, Avraham (Rami)" <rmetal@dot.nyc.gov>,
                                                                                                                                                                                                                        "Ullom, William" <wullom@dot.nyc.gov>, "Will
                                                                                                                                                                                                                        Carry (wcarry@dot.nyc.gov)"
                                                                                                                                            RE: Draft Notice of Availability of                                         <wcarry@dot.nyc.gov>,                            "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                            Environmental Assessment and Public                                         "Nick.Choubah@dot.ny.gov"                        "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
636⠀    AR Organization: 05 ‐ Emails         DOT_0040186 DOT_0040187           2     7/8/2022 13:19 143d9.eml                               Hearings                              "Wojnar, Michael" <mwojnar@mtahq.org> <nick.choubah@dot.ny.gov>                        <leah.flax@mtabt.org>

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                                                                                                                                                                                                                          <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
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                                                                                                                                                                                  "Marquis, Rick (FHWA)"                  <nick.choubah@dot.ny.gov>, William Carry
637⠀    AR Organization: 05 ‐ Emails         DOT_0040188 DOT_0040189           2    7/12/2022 17:24 142ac.eml                            RE: CBDTP ‐ Submission of the Draft EA   <Rick.Marquis@dot.gov>                  <wcarry@dot.nyc.gov>                             "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                    FHWA_July_12_2022_response_to_June_2
638⠀    AR Organization: 06 Correspondence   DOT_0040190 DOT_0040194           5    7/12/2022 17:10 3_2022_NYC_CBDTP_EA.pdf




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                                                               Case 2:23-cv-03885-LMG-LDWState ofDocument              71-2 Filed 12/07/23 Page 62 of 102 PageID: 3328
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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                 From                                   To                                               Cc




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                                                                                                                                                                                                                           <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                           <nangel@mtabt.org>, "Christopher M. Calvert"
                                                                                                                                                                                                                           <ccalvert@akrf.com>, Julie Cowing
                                                                                                                                                                                                                           <jcowing@akrf.com>, Claudia Cooney
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                                                                                                                                                                                                                           <robert.davies@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                           <Monica.Pavlik@dot.gov>, "anna.price@dot.gov" "Leslie, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>,
                                                                                                                                                                                    "Blair, Lori E (DOT)"                  <anna.price@dot.gov>, "kaylie.kramer@dot.gov"    "Nierenberg, Daniel R (DOT)"
639⠀    AR Organization: 05 ‐ Emails         DOT_0040195 DOT_0040195           1     7/13/2022 8:31 CBDTP Section 4(f).msg                  CBDTP Section 4(f)                      <Lori.Blair@dot.ny.gov>                <kaylie.kramer@dot.gov>                          <Daniel.Nierenberg@dot.ny.gov>

                                                                                                                                                                                                                                                                            "Kelly, Jason" <Jason.Kelly@hdrinc.com>, "Ngau, Guinevere"
                                                                                                                                                                                                                                                                            <guinevere.ngau@hdrinc.com>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                            RE: Urgent ‐ CBDTP ‐ Invitation to Federal "Pavlik, Monica (FHWA)"             "Lewis, Michael" <Michael.Lewis@hdrinc.com>,     <nangel@mtabt.org>, "Wojnar, Michael"
640⠀    AR Organization: 05 ‐ Emails         DOT_0040196 DOT_0040196           1    7/14/2022 17:57 102d8.eml                               Resource Agencies                          <Monica.Pavlik@dot.gov>             "Price, Anna (FHWA)" <anna.price@dot.gov>        <mwojnar@mtahq.org>, "Flax, Leah" <leah.flax@mtabt.org>

                                                                                                                                            Congestion Pricing EA‐ Federal Resource "Price, Anna (FHWA)"                                                                    "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Toni,
641⠀    AR Organization: 05 ‐ Emails         DOT_0040197 DOT_0040197           1     7/15/2022 8:14 13092.eml                               Agencies Meeting August 1st             <anna.price@dot.gov>                   "Eberle, Mark D" <mark_eberle@nps.gov>           Melissa (FHWA)" <melissa.toni@dot.gov>

                                                                                                                                                                                                                             "kluesner.dave@epa.gov"
                                                                                                                                             Congestion Pricing EA ‐ Federal Resource "Price, Anna (FHWA)"                   <kluesner.dave@epa.gov>, "Austin.Mark@epa.gov" "Toni, Melissa (FHWA)" <melissa.toni@dot.gov>, "Pavlik,
642⠀    AR Organization: 05 ‐ Emails         DOT_0040198 DOT_0040198           1     7/15/2022 8:18 13090.eml                                Agencies Meeting August 1                <anna.price@dot.gov>                   <Austin.Mark@epa.gov>                          Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                    Re_ _EXTERNAL_ Congestion Pricing EA‐    Re: [EXTERNAL] Congestion Pricing EA‐
                                                                                                    Federal Resource Agencies Meeting August Federal Resource Agencies Meeting                                                                                              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Toni,
643⠀    AR Organization: 05 ‐ Emails         DOT_0040199 DOT_0040200           2     7/15/2022 8:48 1st.msg                                  August 1st                               "Eberle, Mark D" <mark_eberle@nps.gov> "Price, Anna (FHWA)" <anna.price@dot.gov>      Melissa (FHWA)" <melissa.toni@dot.gov>
                                                                                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, Robert
                                                                                                                                                                                                                                                                            Davies <robert.davies@dot.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                                            <anna.price@dot.gov>, "kaylie.kramer@dot.gov"
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                                                                                                                                                                                                                                                                            <WCarry@dot.nyc.gov>, "Sams, Cheryl A"
                                                                                                                                                                                                                                                                            <Cheryl_Sams@nps.gov>, "Racine, Laurel A"
                                                                                                                                                                                                                                                                            <Laurel_Racine@nps.gov>, "Schlegel, Kathryn A"
                                                                                                                                                                                                                             "Leslie, Catherine S. (DOT)"                   <Kathy_Schlegel@nps.gov>, "Porter, Jed M"
644⠀    AR Organization: 05 ‐ Emails         DOT_0040201 DOT_0040202           2    7/15/2022 10:44 Re_ _EXTERNAL_ CBDTP ‐ Section 4(f).msg Re: [EXTERNAL] CBDTP ‐ Section 4(f)       "Eberle, Mark D" <mark_eberle@nps.gov> <Catherine.Leslie@dot.ny.gov>                  <jed_porter@nps.gov>
                                                                                                    20220715_NPS_Section_4(f)_Letter_to_FH
                                                                                                    WA_for_the_CBDTP_Project_SignedCopy_
645⠀    AR Organization: 06 Correspondence   DOT_0040203 DOT_0040204           2    7/15/2022 10:03 1B.pdf
                                                                                                                                                                                                                                                                            "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                                                                                                                                                            Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                                            "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                                            <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                            <WCarry@dot.nyc.gov>, garcia.lisa epa.gov
                                                                                                                                                                                                                                                                            <garcia.lisa@epa.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                                                                            <Monica.Pavlik@dot.gov>, "Smith, Kevin S. (FHWA)"
                                                                                                                                             CBDTP EA Resource Agencies Meeting       "Musolino, Donna (FHWA)"               "kluesner.dave@epa.gov"                        <kevin.s.smith@dot.gov>, "Anderson, Cindy (FHWA)"
646⠀    AR Organization: 05 ‐ Emails         DOT_0040205 DOT_0040205           1     7/19/2022 9:48 133bb.eml                                August 1 2022                            <donna.musolino@dot.gov>               <kluesner.dave@epa.gov>                        <cindy.anderson@dot.gov>
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647⠀    AR Organization: 06 Correspondence   DOT_0040206 DOT_0040207           2     7/19/2022 8:50 2022.pdf




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                                                                                             New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                 Bates Beg   Bates End     Pages       Primary Date     Filename                                   Subject                              From                       To                                            Cc
                                                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
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                                                                                                                                                                                                                                                        <WCarry@dot.nyc.gov>, garcia.lisa epa.gov
                                                                                                                                                                                                                                                        <garcia.lisa@epa.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                          CBDTP EA Resource Agencies Meeting   "Musolino, Donna (FHWA)"                                                 <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
648⠀    AR Organization: 05 ‐ Emails    DOT_0040208 DOT_0040208           1     7/19/2022 9:49 133ba.eml                                  August 1 2022                        <donna.musolino@dot.gov>   "austin.mark@epa.gov" <austin.mark@epa.gov>   <cindy.anderson@dot.gov>

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649⠀    AR Organization: 08 ‐ Meeting   DOT_0040209 DOT_0040210           2     7/19/2022 8:49 nvite_Letter_from_FHWA_07‐19‐2022.pdf
                                                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
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                                                                                                                                                                                                                                                        <garcia.lisa@epa.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                    CBDTP EA Resource Agencies Meeting         "Musolino, Donna (FHWA)"   "Benjamin.Arielle@epa.gov"                    <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
650⠀    AR Organization: 05 ‐ Emails    DOT_0040211 DOT_0040211           1     7/19/2022 9:50 133b9.eml                            August 1 2022                              <donna.musolino@dot.gov>   <Benjamin.Arielle@epa.gov>                    <cindy.anderson@dot.gov>
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651⠀    AR Organization: 08 ‐ Meeting   DOT_0040212 DOT_0040213           2     7/19/2022 8:50 2022.pdf
                                                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
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                                                                                                                                                                                                                                                        "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                        <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                        <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                        <WCarry@dot.nyc.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                    CBDTP EA Resource Agencies Meeting         "Musolino, Donna (FHWA)"   "Goodman, Stephen (FTA)"                      <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
652⠀    AR Organization: 05 ‐ Emails    DOT_0040214 DOT_0040214           1     7/19/2022 9:50 133b8.eml                            August 1 2022                              <donna.musolino@dot.gov>   <stephen.goodman@dot.gov>                     <cindy.anderson@dot.gov>
                                                                                               Federal_Transit_Admin_DOT_Goodman_A
                                                                                               gency_Invite_Letter_from_FHWA_07‐19‐
653⠀    AR Organization: 08 ‐ Meeting   DOT_0040215 DOT_0040216           2     7/19/2022 8:45 2022.pdf
                                                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                                                                                                                                        Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                        "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                        <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                        <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                        <WCarry@dot.nyc.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                          CBDTP EA Resource Agencies Meeting   "Musolino, Donna (FHWA)"                                                 <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
654⠀    AR Organization: 05 ‐ Emails    DOT_0040217 DOT_0040217           1     7/19/2022 9:51 133b6.eml                                  August 1 2022                        <donna.musolino@dot.gov>   "mark_eberle@nps.gov" <mark_eberle@nps.gov>   <cindy.anderson@dot.gov>

                                                                                               National_Park_Service_Eberle_Agency_Invi
655⠀    AR Organization: 08 ‐ Meeting   DOT_0040218 DOT_0040219           2     7/19/2022 8:46 te_Letter_from_FHWA_07‐19‐2022.pdf
                                                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                                                                                                                                        Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                        "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                        <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                        <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                        <WCarry@dot.nyc.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                          CBDTP EA Resource Agencies Meeting   "Musolino, Donna (FHWA)"   "Kathy_Schlegel@nps.gov"                      <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
656⠀    AR Organization: 05 ‐ Emails    DOT_0040220 DOT_0040220           1     7/19/2022 9:51 133b5.eml                                  August 1 2022                        <donna.musolino@dot.gov>   <Kathy_Schlegel@nps.gov>                      <cindy.anderson@dot.gov>

                                                                                               National_Park_Service_Schlegel_Agency_I
657⠀    AR Organization: 08 ‐ Meeting   DOT_0040221 DOT_0040222           2     7/19/2022 8:47 nvite_Letter_from_FHWA_07‐19‐2022.pdf




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                                                                                             New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                 Bates Beg   Bates End     Pages       Primary Date     Filename                               Subject                                 From                                 To                                                Cc
                                                                                                                                                                                                                                                                     "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                                                                                                                                                     Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                                     "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                     <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                                     <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                     <WCarry@dot.nyc.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                      CBDTP EA Resource Agencies Meeting      "Musolino, Donna (FHWA)"             "Daniel.Mackay@parks.ny.gov"                      <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
658⠀    AR Organization: 05 ‐ Emails    DOT_0040223 DOT_0040223           1     7/19/2022 9:52 133b4.eml                              August 1 2022                           <donna.musolino@dot.gov>             <Daniel.Mackay@parks.ny.gov>                      <cindy.anderson@dot.gov>
                                                                                               NYS_Office_of_Parks_Rec_Hist_Pres_MacK
                                                                                               ay_Agency_Invite_Letter_from_FHWA_07‐
659⠀    AR Organization: 08 ‐ Meeting   DOT_0040224 DOT_0040225           2     7/19/2022 8:48 19‐2022.pdf
                                                                                                                                                                                                                                                                     "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                                                                                                                                                     Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                                     "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                     <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                                     <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                     <WCarry@dot.nyc.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                       CBDTP EA Resource Agencies Meeting     "Musolino, Donna (FHWA)"             "nancy.herter@parks.ny.gov"                       <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
660⠀    AR Organization: 05 ‐ Emails    DOT_0040226 DOT_0040226           1     7/19/2022 9:52 133b3.eml                               August 1 2022                          <donna.musolino@dot.gov>             <nancy.herter@parks.ny.gov>                       <cindy.anderson@dot.gov>
                                                                                               NYS_Office_of_Parks_Rec_Hist_Pres_Herte
                                                                                               r_Agency_Invite_Letter_from_FHWA_07‐
661⠀    AR Organization: 08 ‐ Meeting   DOT_0040227 DOT_0040228           2     7/19/2022 8:48 19‐2022.pdf
                                                                                                                                                                                                                                                                     "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                                                                                                                                                     Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                                                                     "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                     <allison.cdecerreno@mtahq.org>, Nick Choubah
                                                                                                                                                                                                                                                                     <nick.choubah@dot.ny.gov>, "WCarry@dot.nyc.gov"
                                                                                                                                                                                                                                                                     <WCarry@dot.nyc.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                      CBDTP EA Resource Agencies Meeting      "Musolino, Donna (FHWA)"             "beth.cumming@parks.ny.gov"                       <Monica.Pavlik@dot.gov>, "Anderson, Cindy (FHWA)"
662⠀    AR Organization: 05 ‐ Emails    DOT_0040229 DOT_0040229           1     7/19/2022 9:52 133b2.eml                              August 1 2022                           <donna.musolino@dot.gov>             <beth.cumming@parks.ny.gov>                       <cindy.anderson@dot.gov>
                                                                                                                                                                                                                                                                     "Kelly, Jason" <Jason.Kelly@hdrinc.com>, "Ngau, Guinevere"
                                                                                                                                                                                                                                                                     <guinevere.ngau@hdrinc.com>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                     <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                   "Flax, Leah" <leah.flax@mtabt.org>, "Lewis,       <nangel@mtabt.org>, "Wojnar, Michael"
                                                                                                                                      RE: Urgent ‐ CBDTP ‐ Invitation to Federal "Pavlik, Monica (FHWA)"           Michael" <Michael.Lewis@hdrinc.com>, "Price,      <mwojnar@mtahq.org>, "Price, Anna (FHWA)"
663⠀    AR Organization: 05 ‐ Emails    DOT_0040230 DOT_0040232           3    7/19/2022 10:25 101a9.eml                              Resource Agencies                          <Monica.Pavlik@dot.gov>           Anna (FHWA)" <anna.price@dot.gov>                 <anna.price@dot.gov>
664⠀    AR Organization: 08 ‐ Meeting   DOT_0040233 DOT_0040235           3    7/18/2022 10:04 Updated_7‐18‐22_Group_1_B.docx

                                                                                                                                                                                                                   "C. de Cerreno, Allison"                          "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                      RE: URGENT ‐ list of preparers still    "Price, Anna (FHWA)"                 <allison.cdecerreno@mtahq.org>, "Pavlik, Monica   <leah.flax@mtabt.org>, ian.mcnamara
665⠀    AR Organization: 05 ‐ Emails    DOT_0040236 DOT_0040236           1     7/24/2022 1:13 1306d.eml                              missing from FHWA                       <anna.price@dot.gov>                 (FHWA)" <Monica.Pavlik@dot.gov>                   <ian.mcnamara@wsp.com>
666⠀    AR Organization: 04 ‐ Misc      DOT_0040237 DOT_0040238           2     7/24/2022 1:13 FHWA_List_of_Preparers.docx
                                                                                                                                                                                                                   "C. de Cerreno, Allison"
                                                                                                                                                                              "Price, Anna (FHWA)"                 <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
667⠀    AR Organization: 05 ‐ Emails    DOT_0040239 DOT_0040239           1     7/28/2022 8:43 13048.eml                              CBDTP EA                                <anna.price@dot.gov>                 <nangel@mtabt.org>                               "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                                                   "C. de Cerreno, Allison"
                                                                                                                                                                              "Price, Anna (FHWA)"                 <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
668⠀    AR Organization: 05 ‐ Emails    DOT_0040240 DOT_0040240           1     7/28/2022 9:10 13046.eml                              RE: CBDTP EA                            <anna.price@dot.gov>                 <nangel@mtabt.org>                               "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                   "C. de Cerreno, Allison"
                                                                                                                                                                                                                   <allison.cdecerreno@mtahq.org>, "Pavlik, Monica
                                                                                                                                                                                                                   (FHWA)" <Monica.Pavlik@dot.gov>, "Angel,
669⠀    AR Organization: 05 ‐ Emails    DOT_0040241 DOT_0040241           1    7/29/2022 15:02 14109.eml                              RE: CBDTP ‐ presentation on Monday      "Flax, Leah" <leah.flax@mtabt.org>   Nichola" <nangel@mtabt.org>

                                                                                                                                                                                                                                                                     "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                                      RE: CBDTP EA Signature Page ‐ ready for "Marquis, Rick (FHWA)"               "C. de Cerreno, Allison"                          Anna (FHWA)" <anna.price@dot.gov>, "Angel, Nichola"
670⠀    AR Organization: 05 ‐ Emails    DOT_0040242 DOT_0040242           1    7/29/2022 15:59 136fd.eml                              NYCDOT Signature                        <Rick.Marquis@dot.gov>               <allison.cdecerreno@mtahq.org>                    <nangel@mtabt.org>, "Flax, Leah" <leah.flax@mtabt.org>
                                                                                                                                                                              "Benjamin, Arielle"
671⠀    AR Organization: 05 ‐ Emails    DOT_0040243 DOT_0040244           2       8/2/2022 9:25 13eac.eml                             RE: CBDTP ‐ hard copy of the EA         <Benjamin.Arielle@epa.gov>           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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                                                                                                                                                                                                                                                           "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,
                                                                                                                                                                                                                                                           "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                           "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                           <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
                                                                                                                              CBDTP ‐ request to exceed the page limit                                                                                     "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                              and duration for completion associated "C. de Cerreno, Allison"                                                              Renee" <rprice@mtahq.org>, "Santiago, Damaris (FHWA)"
672⠀    AR Organization: 05 ‐ Emails   DOT_0040245 DOT_0040245           1     8/3/2022 20:17 13f3d.eml                       with Environmental Assessments           <allison.cdecerreno@mtahq.org>    "rick.marquis@dot.gov" <rick.marquis@dot.gov>     <Damaris.Santiago@dot.gov>




                                                                                                                                                                                                                                                           "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,
                                                                                                                                                                                                                                                           "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                           "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                           <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
                                                                                                                              RE: CBDTP ‐ request to exceed the page                                                                                       "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Anna
                                                                                                                              limit and duration for completion                                                                                            Price ‐ Federal Highway Administration, NY Division
                                                                                                                              associated with Environmental            "C. de Cerreno, Allison"                                                            (anna.price@dot.gov)" <anna.price@dot.gov>, "Santiago,
673⠀    AR Organization: 05 ‐ Emails   DOT_0040246 DOT_0040246           1     8/3/2022 20:18 13c41.eml                       Assessments                              <allison.cdecerreno@mtahq.org>    "rick.marquis@dot.gov" <rick.marquis@dot.gov>     Damaris (FHWA)" <Damaris.Santiago@dot.gov>


                                                                                                                                                                                                                                                           "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,
                                                                                                                                                                                                                                                           "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                           "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                                                              RE: CBDTP ‐ request to exceed the page                                                                                       <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
                                                                                                                              limit and duration for completion                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                              associated with Environmental            "Marquis, Rick (FHWA)"            "C. de Cerreno, Allison"                          Anna (FHWA)" <anna.price@dot.gov>, "Santiago, Damaris
674⠀    AR Organization: 05 ‐ Emails   DOT_0040247 DOT_0040248           2       8/4/2022 7:52 136de.eml                      Assessments                              <Rick.Marquis@dot.gov>            <allison.cdecerreno@mtahq.org>                    (FHWA)" <Damaris.Santiago@dot.gov>


                                                                                                                                                                                                                                                           "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,
                                                                                                                                                                                                                                                           "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                           "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                                                              RE: CBDTP ‐ request to exceed the page                                                                                       <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
                                                                                                                              limit and duration for completion                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                              associated with Environmental            "Marquis, Rick (FHWA)"            "C. de Cerreno, Allison"                          Anna (FHWA)" <anna.price@dot.gov>, "Santiago, Damaris
675⠀    AR Organization: 05 ‐ Emails   DOT_0040249 DOT_0040250           2       8/4/2022 9:15 136dd.eml                      Assessments                              <Rick.Marquis@dot.gov>            <allison.cdecerreno@mtahq.org>                    (FHWA)" <Damaris.Santiago@dot.gov>

                                                                                                                                                                                                                                                           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Hogan,
                                                                                                                                                                                                                                                           Kara E (FHWA)" <Kara.Hogan@dot.gov>, "Millington, Tricia
                                                                                                                                                                       "Price, Anna (FHWA)"              "Laurynrandall2@shinnecock.org"                   (FHWA)" <patricia.millington@dot.gov>, CBDTP
676⠀    AR Organization: 05 ‐ Emails   DOT_0040251 DOT_0040251           1     8/5/2022 14:35 Congestion Pricing EA.pdf       Congestion Pricing EA                    <anna.price@dot.gov>              <Laurynrandall2@shinnecock.org>                   <CBDTP@dot.gov>

                                                                                                                                                                                                                                                           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Hogan,
                                                                                                                                                                                                                                                           Kara E (FHWA)" <Kara.Hogan@dot.gov>, "Millington, Tricia
                                                                                                                                                                                                                                                           (FHWA)" <patricia.millington@dot.gov>, CBDTP
                                                                                                                                                                                                                                                           <CBDTP@dot.gov>, Council of Trustees
                                                                                                                                                                                                                                                           <counciloftrustees@shinnecock.org>, Shavonne Smith
                                                                                                                                                                                                                                                           <ShavonneSmith@shinnecock.org>, jeremy dennis
                                                                                                                                                                       "Price, Anna (FHWA)"                                                                <jeremynative@gmail.com>, "Flax, Leah"
677⠀    AR Organization: 05 ‐ Emails   DOT_0040252 DOT_0040253           2     8/8/2022 11:30 RE_ Congestion Pricing EA.pdf   RE: Congestion Pricing EA                <anna.price@dot.gov>              Lauryn Randall <LaurynRandall2@shinnecock.org>    <leah.flax@mtabt.org>
678⠀    AR Organization: 05 ‐ Emails   DOT_0040254 DOT_0040254           1     8/10/2022 9:56 1380d.eml                       Comment on congestion tolling            Ted Power <tedpower@gmail.com>    "CBDTP" <CBDTP@dot.gov>


                                                                                                                                                                                                                                                          "Angel, Nichola" <nangel@mtabt.org>, catherine.leslie
                                                                                                                                                                                                         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <catherine.leslie@dot.ny.gov>, "Wojnar, Michael"
                                                                                                                                                                                                         "Choubah, Nick (DOT)"                            <mwojnar@mtahq.org>, "Smith, Patrick"
                                                                                                                                                                                                         <Nick.Choubah@dot.ny.gov>, "Carry, William"      <psmith@dot.nyc.gov>, "Ullom, William"
                                                                                                                                                                                                         <WCarry@dot.nyc.gov>, "Marquis, Rick (FHWA)"     <wullom@dot.nyc.gov>, catherine.leslie
                                                                                                                              RE: CBDTP Hearings ‐ On Camera During                                      <Rick.Marquis@dot.gov>, "C. de Cerreno, Allison" <catherine.leslie@dot.ny.gov>, "Price, Anna (FHWA)"
679⠀    AR Organization: 05 ‐ Emails   DOT_0040255 DOT_0040256           2    8/10/2022 11:18 13b9c.eml                       Comments                              "Flax, Leah" <leah.flax@mtabt.org>   <allison.cdecerreno@mtahq.org>                   <anna.price@dot.gov>




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                                                                                             New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                     Administrative Record



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680⠀    AR Organization: 05 ‐ Emails    DOT_0040257 DOT_0040257           1    8/11/2022 13:46 137f1.eml   Congestion Tolls                            john paulits <johnpaulits@hotmail.com>   "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                                                                       Sofiya Chavdaroff
681⠀    AR Organization: 05 ‐ Emails    DOT_0040258 DOT_0040258           1     8/12/2022 7:06 137eb.eml   Congestion plan                             <schavdaroff@gmail.com>                  "CBDTP" <CBDTP@dot.gov>
682⠀    AR Organization: 05 ‐ Emails    DOT_0040259 DOT_0040259           1    8/12/2022 11:16 137ea.eml   关于拥堵费                                       Alex Y <hhhymx0704@gmail.com>            "CBDTP" <CBDTP@dot.gov>
683⠀    AR Organization: 05 ‐ Emails    DOT_0040260 DOT_0040260           1    8/12/2022 20:54 137e0.eml   Cbd tolling program                         David Caylor <dwcaylor@gmail.com>        "CBDTP" <CBDTP@dot.gov>
                                                                                                                                                       "MTA Customer Service Team"              "undisclosed‐recipients@custhelp.com"
684⠀    AR Organization: 05 ‐ Emails    DOT_0040261 DOT_0040261           1     8/13/2022 8:01 14308.eml   CBD Tolling Program tally                   <response@mta.info>                      <undisclosed‐recipients@custhelp.com>
                                                                                                                                                       Davindranauth Shiwratan
685⠀    AR Organization: 05 ‐ Emails    DOT_0040262 DOT_0040262           1    8/14/2022 13:37 137db.eml   REJECT Congestion Pricing                   <davindranauth@gmail.com>                "CBDTP" <CBDTP@dot.gov>                           "CBDTP@mtabt.org" <CBDTP@mtabt.org>
                                                                                                                                                       Donald Wuertz
686⠀    AR Organization: 05 ‐ Emails    DOT_0040263 DOT_0040263           1    8/15/2022 11:46 137d8.eml   Congestion Planning                         <donald2dumont@aol.com>                  "CBDTP@dot.gov" <CBDTP@dot.gov>

687⠀    AR Organization: 05 ‐ Emails    DOT_0040264 DOT_0040264           1    8/15/2022 13:09 13979.eml   FW: Congestion Tolls                        "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

688⠀    AR Organization: 05 ‐ Emails    DOT_0040265 DOT_0040265           1    8/15/2022 13:10 13972.eml   FW: 关于拥堵费                                   "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

689⠀    AR Organization: 05 ‐ Emails    DOT_0040266 DOT_0040266           1    8/15/2022 13:12 13967.eml   FW: Cbd tolling program                     "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

690⠀    AR Organization: 05 ‐ Emails    DOT_0040267 DOT_0040267           1    8/15/2022 13:14 13962.eml   FW: REJECT Congestion Pricing               "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

691⠀    AR Organization: 05 ‐ Emails    DOT_0040268 DOT_0040268           1    8/15/2022 13:43 137d4.eml   Comment on proposed CBDTP              "lizzelvin@aol.com" <lizzelvin@aol.com>       "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                           Funeral Home Owner located in the East
692⠀    AR Organization: 05 ‐ Emails    DOT_0040269 DOT_0040269           1    8/15/2022 14:49 137d1.eml   Village                                Daniel Buzzetta <jaremafh@gmail.com>          CBDTP@mtabt.org, CBDTP@dot.gov
                                                                                                                                                  Yael Silverberg‐Urian
693⠀    AR Organization: 05 ‐ Emails    DOT_0040270 DOT_0040270           1    8/16/2022 15:32 137b7.eml   CBD TOLLING                            <ysu1960@gmail.com>                           "CBDTP" <CBDTP@dot.gov>
                                                                                                                                                  Carole Lamadore
694⠀    AR Organization: 05 ‐ Emails    DOT_0040271 DOT_0040271           1    8/16/2022 15:50 137b3.eml   Congestion Pricing                     <clamadore@gmail.com>                         "CBDTP" <CBDTP@dot.gov>
                                                                                                           FW: New message from "WIRELESS         "Pavlik, Monica (FHWA)"
695⠀    AR Organization: 05 ‐ Emails    DOT_0040272 DOT_0040273           2    8/16/2022 16:32 1494f.eml   CALLER from 6468310152"                <Monica.Pavlik@dot.gov>                       "'cbdtp@mtabt.org'" <cbdtp@mtabt.org>
696⠀    AR Organization: 08 ‐ Meeting   DOT_0040274 DOT_0040274           1    8/16/2022 16:32 vmail.mp3

697⠀    AR Organization: 05 ‐ Emails    DOT_0040275 DOT_0040275           1    8/16/2022 16:56 137a7.eml   Comments                                    Edwin Vazquez <evaz430553@gmail.com> "CBDTP" <CBDTP@dot.gov>
                                                                                                                                                       Brian Kirkpatrick
698⠀    AR Organization: 05 ‐ Emails    DOT_0040276 DOT_0040276           1    8/16/2022 20:11 1378d.eml   Comments to CBT Program                     <bkirkpatrick6033@gmail.com>         "CBDTP" <CBDTP@dot.gov>
699⠀    AR Organization: 05 ‐ Emails    DOT_0040277 DOT_0040277           1    8/16/2022 20:49 1378a.eml   Cbd                                         levbobr <levbobr@aol.com>            "CBDTP" <CBDTP@dot.gov>
                                                                                                                                                       Kirk Edmondson
700⠀    AR Organization: 05 ‐ Emails    DOT_0040278 DOT_0040278           1     8/17/2022 7:20 13779.eml   Help for Residents Within Zone              <kirkedmondson@gmail.com>            "CBDTP" <CBDTP@dot.gov>

701⠀    AR Organization: 05 ‐ Emails    DOT_0040279 DOT_0040279           1    8/17/2022 13:40 1376e.eml   Congestion tolling                          cecelia demicco <cfsdlaw@yahoo.com>      "CBDTP" <CBDTP@dot.gov>

702⠀    AR Organization: 05 ‐ Emails    DOT_0040280 DOT_0040280           1     8/18/2022 9:33 13932.eml   FW: Congestion Pricing                      "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

703⠀    AR Organization: 05 ‐ Emails    DOT_0040281 DOT_0040281           1     8/18/2022 9:41 13926.eml   FW: Comments                                "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

704⠀    AR Organization: 05 ‐ Emails    DOT_0040282 DOT_0040282           1     8/18/2022 9:57 13909.eml   FW: Cbd                                     "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

705⠀    AR Organization: 05 ‐ Emails    DOT_0040283 DOT_0040283           1    8/18/2022 10:05 138f7.eml   FW: Help for Residents Within Zone          "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

                                                                                                           Re: Request for Extension of Comment                                                 "C. de Cerreno, Allison"                          "Price, Anna (FHWA)" <anna.price@dot.gov>, "Angel, Nichola"
                                                                                                           Period: Central Business District Tolling   "Marquis, Rick (FHWA)"                   <allison.cdecerreno@mtahq.org>, "Pavlik, Monica   <nangel@mtabt.org>, "Flax, Leah" <leah.flax@mtabt.org>,
706⠀    AR Organization: 05 ‐ Emails    DOT_0040284 DOT_0040285           2    8/19/2022 16:24 13683.eml   Program Environmental Assessment            <Rick.Marquis@dot.gov>                   (FHWA)" <Monica.Pavlik@dot.gov>                   "Wojnar, Michael" <mwojnar@mtahq.org>

707⠀    AR Organization: 05 ‐ Emails    DOT_0040286 DOT_0040286           1    8/21/2022 19:49 1374b.eml   Congestion pricing                          Shaun Lamoureux <shaunlam@me.com>        "CBDTP" <CBDTP@dot.gov>

708⠀    AR Organization: 05 ‐ Emails    DOT_0040287 DOT_0040287           1    8/22/2022 10:53 138cb.eml   FW: Congestion pricing                      "CBDTP" <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>

                                                                                                                                                                                                "C. de Cerreno, Allison"
                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>,                   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Wojnar,
                                                                                                                                                                                                "nick.choubah@dot.ny.gov"                         Michael" <mwojnar@mtahq.org>, "Flax, Leah"
                                                                                                           Re: EXTENSION ON EA COMMENTS FOR            "Marquis, Rick (FHWA)"                   <nick.choubah@dot.ny.gov>,                        <leah.flax@mtabt.org>, "Angel, Nichola"
709⠀    AR Organization: 05 ‐ Emails    DOT_0040288 DOT_0040289           2    8/22/2022 17:12 1429e.eml   CDTP                                        <Rick.Marquis@dot.gov>                   "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>         <nangel@mtabt.org>




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                                                                                                                                                                                                                             "C. de Cerreno, Allison"
                                                                                                                                                                                                                             <allison.cdecerreno@mtahq.org>, "Flax, Leah"
                                                                                                                                             CBDTP ‐ tracking requests for comment   "Pavlik, Monica (FHWA)"                 <leah.flax@mtabt.org>, "Angel, Nichola"            "Price, Anna (FHWA)" <anna.price@dot.gov>, "Marquis, Rick
710⠀    AR Organization: 05 ‐ Emails         DOT_0040290 DOT_0040290           1    8/22/2022 19:04 100fe.eml                                period extension                        <Monica.Pavlik@dot.gov>                 <nangel@mtabt.org>                                 (FHWA)" <Rick.Marquis@dot.gov>
711⠀    AR Organization: 06 Correspondence   DOT_0040291 DOT_0040291           1    8/19/2022 16:16 EA_CBDTP_Exension_Request.pdf
712⠀    AR Organization: 06 Correspondence   DOT_0040292 DOT_0040293           2    8/18/2022 10:56 Extension_Request.pdf

713⠀    AR Organization: 06 Correspondence   DOT_0040294 DOT_0040295           2    8/22/2022 15:58 Extension_letter_on_EA_August_2022.pdf
                                                                                                                                                                                     Kevin Rodgers
714⠀    AR Organization: 05 ‐ Emails         DOT_0040296 DOT_0040297           2    8/22/2022 19:04 unnamed.eml                              EA Public Comment                       <kevinfitzrodgers@gmail.com>            "CBDTP" <CBDTP@dot.gov>
                                                                                                                                                                                     "MTA Customer Service Team"             "undisclosed‐recipients@custhelp.com"
715⠀    AR Organization: 05 ‐ Emails         DOT_0040298 DOT_0040298           1     8/23/2022 8:02 142fe.eml                                CBD Tolling Program tally               <response@mta.info>                     <undisclosed‐recipients@custhelp.com>
                                                                                                                                                                                                                                                                              "Hartz, Ian" <ian.hartz@mtabt.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                              <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                             RE: Any Comments Sent Via Mail to                                               "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <nangel@mtabt.org>, "Wojnar, Michael"
716⠀    AR Organization: 05 ‐ Emails         DOT_0040299 DOT_0040300           2    8/23/2022 14:39 13b8a.eml                                FHWA?                                   "Flax, Leah" <leah.flax@mtabt.org>      "Price, Anna (FHWA)" <anna.price@dot.gov>        <mwojnar@mtahq.org>

                                                                                                                                             CBDTP ‐ Requests to extend the          "Pavlik, Monica (FHWA)"                                                                    "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
717⠀    AR Organization: 05 ‐ Emails         DOT_0040301 DOT_0040301           1    8/23/2022 17:08 1491b.eml                                comment period                          <Monica.Pavlik@dot.gov>                 "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>      Damaris (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                                    Final_‐
718⠀    AR Organization: 06 Correspondence   DOT_0040302 DOT_0040303           2    8/23/2022 17:08 _Malliotakis_EA_Letter_to_FHWA.pdf

                                                                                                                                             Request for extension of comment                                                                                                   "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>,
719⠀    AR Organization: 05 ‐ Emails         DOT_0040304 DOT_0040305           2    8/23/2022 17:08 unnamed(1).eml                           period ‐ NYC Congestion Pricing EA      Greg Cohen <greg@2349solutions.com>     CBDTP <CBDTP@mtabt.org>                            "Stephanie.Pollack@dot.gov" <Stephanie.Pollack@dot.gov>
                                                                                                                                                                                     Kevin Rodgers
720⠀    AR Organization: 05 ‐ Emails         DOT_0040306 DOT_0040307           2    8/23/2022 17:08 unnamed.eml                              EA Public Comment                       <kevinfitzrodgers@gmail.com>            "CBDTP" <CBDTP@dot.gov>

                                                                                                                                                                                                                             "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                             Fair@dot.gov>, "Biondi, Emily (FHWA)"
                                                                                                    FW_ CBDTP ‐ Requests to extend the       FW: CBDTP ‐ Requests to extend the      "Marquis, Rick (FHWA)"                  <Emily.Biondi@dot.gov>, "Gavin, James (FHWA)"
721⠀    AR Organization: 05 ‐ Emails         DOT_0040308 DOT_0040309           2    8/23/2022 17:12 comment period.msg                       comment period                          <Rick.Marquis@dot.gov>                  <james.gavin@dot.gov>                              "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>

                                                                                                    Request_for_extension_of_comment_peri Request for extension of comment                                                                                                      "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>,
722⠀    AR Organization: 05 ‐ Emails         DOT_0040310 DOT_0040311           2    8/23/2022 17:12 od_‐_NYC_Congestion_Pricing_EA.eml    period ‐ NYC Congestion Pricing EA         Greg Cohen <greg@2349solutions.com>     CBDTP <CBDTP@mtabt.org>                            "Stephanie.Pollack@dot.gov" <Stephanie.Pollack@dot.gov>


                                                                                                                                                                                                                             "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                             "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                             "C. de Cerreno, Allison"
                                                                                                                                                                                                                             <allison.cdecerreno@mtahq.org>, "Wojnar,
                                                                                                                                                                                                                             Michael" <mwojnar@mtahq.org>, "Oliva, Louis"
                                                                                                                                             RE: URGENT: CBD Tolling Program ‐                                               <LOLIVA@mtahq.org>, "Friman, Paul"
723⠀    AR Organization: 05 ‐ Emails         DOT_0040312 DOT_0040313           2    8/24/2022 13:47 13b87.eml                                8/25/22 Hearing Going Past Midnight  "Flax, Leah" <leah.flax@mtabt.org>         <pfriman@mtabt.org>                              "Hartz, Ian" <ian.hartz@mtabt.org>
                                                                                                                                             CBD Tolling Program Environmental    Pedro Valdez‐Rivera
724⠀    AR Organization: 05 ‐ Emails         DOT_0040314 DOT_0040314           1    8/24/2022 15:36 13731.eml                                Assessment Comment                   <mrpvr1991@gmail.com>                      CBDTP@mtabt.org, CBDTP@dot.gov                     "derrick@ridersalliance.org" <derrick@ridersalliance.org>
                                                                                                                                             CBD+Tolling+Program+Environmental+As "wnoyes@gmail.com"
725⠀    AR Organization: 05 ‐ Emails         DOT_0040315 DOT_0040315           1    8/24/2022 15:37 13730.eml                                sessment+Comment                     <wnoyes@gmail.com>                         CBDTP@mtabt.org, CBDTP@dot.gov                     "derrick@ridersalliance.org" <derrick@ridersalliance.org>
                                                                                                                                             CBD Tolling Program Environmental
726⠀    AR Organization: 05 ‐ Emails         DOT_0040316 DOT_0040316           1    8/24/2022 20:26 13725.eml                                Assessment Comment                   Ella Ryan <ellaryan@gmail.com>             CBDTP@mtabt.org, CBDTP@dot.gov                     "derrick@ridersalliance.org" <derrick@ridersalliance.org>
                                                                                                                                             CBD Tolling Program Environmental
727⠀    AR Organization: 05 ‐ Emails         DOT_0040317 DOT_0040317           1    8/24/2022 20:35 13724.eml                                Assessment Comment                   Audrey Pinn <audreypinn@gmail.com>         CBDTP@mtabt.org, CBDTP@dot.gov                     "derrick@ridersalliance.org" <derrick@ridersalliance.org>

728⠀    AR Organization: 05 ‐ Emails         DOT_0040318 DOT_0040318           1     8/25/2022 9:25 1371b.eml                                Monday August 29 meeting                Mr bert hirsch <berthirsch@yahoo.com>   "CBDTP@dot.gov" <CBDTP@dot.gov>

                                                                                                                                             CBD+Tolling+Program+Environmental+As                                            "CBDTP@mtabt.org" <CBDTP@mtabt.org>,
729⠀    AR Organization: 05 ‐ Emails         DOT_0040319 DOT_0040319           1    8/25/2022 10:43 13718.eml                                sessment+Comment                     Tina <tinanannarone@hotmail.com>           "CBDTP@dot.gov" <CBDTP@dot.gov>                    "derrick@ridersalliance.org" <derrick@ridersalliance.org>


                                                                                                                                                                                                                                                                                "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                             RE: Per message to reschedule talking at "Pavlik, Monica (FHWA)"                "Flax, Leah" <leah.flax@mtabt.org>, "Price, Anna   "Angel, Nichola" <nangel@mtabt.org>, "Friman, Paul"
730⠀    AR Organization: 05 ‐ Emails         DOT_0040320 DOT_0040321           2    8/25/2022 13:24 14914.eml                                Congestion Pricing Hearings              <Monica.Pavlik@dot.gov>                (FHWA)" <anna.price@dot.gov>                       <pfriman@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>




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                                                                                                                                                        "winds1nyht@aol.com"
731⠀    AR Organization: 05 ‐ Emails   DOT_0040322 DOT_0040323           2    8/25/2022 18:43 13708.eml        EA Public Comment Submission:            <winds1nyht@aol.com>                   "CBDTP@dot.gov" <CBDTP@dot.gov>

                                                                                                               Congestion pricing testimony for public Katie Foley
732⠀    AR Organization: 05 ‐ Emails   DOT_0040324 DOT_0040324           1    8/26/2022 10:11 136fa.eml        hearing                                 <katherinemichellefoley@gmail.com>      "CBDTP" <CBDTP@dot.gov>
                                                                                                               FW:
                                                                                                               CBD+Tolling+Program+Environmental+As
733⠀    AR Organization: 05 ‐ Emails   DOT_0040325 DOT_0040325           1    8/26/2022 10:55 138b1.eml        sessment+Comment                        "CBDTP" <CBDTP@dot.gov>                 "CBDTP@mtabt.org" <CBDTP@mtabt.org>

                                                                                                               FW: CBD Tolling Program Environmental
734⠀    AR Organization: 05 ‐ Emails   DOT_0040326 DOT_0040326           1    8/26/2022 11:04 138a5.eml        Assessment Comment                    "CBDTP" <CBDTP@dot.gov>                   "CBDTP@mtabt.org" <CBDTP@mtabt.org>
                                                                                                                                                     John Quaglione
735⠀    AR Organization: 05 ‐ Emails   DOT_0040327 DOT_0040328           2    8/26/2022 11:49 136f7.eml        EA Public Comment Submission          <johnquaglione@gmail.com>                 "CBDTP" <CBDTP@dot.gov>

736⠀    AR Organization: 05 ‐ Emails   DOT_0040329 DOT_0040329           1    8/26/2022 14:19 1389b.eml        FW: Monday August 29 meeting             "CBDTP" <CBDTP@dot.gov>               "leah.flax@mtabt.org" <leah.flax@mtabt.org>
                                                                                                                                                                                              CBDTP <CBDTP@dot.gov>, "Hartz, Ian"
737⠀    AR Organization: 05 ‐ Emails   DOT_0040330 DOT_0040330           1    8/26/2022 14:31 139a6.eml        RE: Monday August 29 meeting             "Flax, Leah" <leah.flax@mtabt.org>    <ian.hartz@mtabt.org>
                                                                                                                                                                                              CBDTP@dot.gov, "CBDTP@mtabt.org"
738⠀    AR Organization: 05 ‐ Emails   DOT_0040331 DOT_0040331           1    8/26/2022 16:23 136ed.eml        Pro Congestion Pricing                   Jyothi Chandra <jchandra84@gmail.com> <CBDTP@mtabt.org>

                                                                                                               CBD Tolling Program Environmental        miriam fisher                          "CBDTP@mtabt.org" <CBDTP@mtabt.org>,
739⠀    AR Organization: 05 ‐ Emails   DOT_0040332 DOT_0040333           2    8/26/2022 22:36 136e5.eml        Assessment Comment                       <fisherfreund@hotmail.com>             "CBDTP@dot.gov" <CBDTP@dot.gov>              "derrick@ridersalliance.org" <derrick@ridersalliance.org>
                                                                                                                                                        Ollie Ingram
740⠀    AR Organization: 05 ‐ Emails   DOT_0040334 DOT_0040334           1    8/27/2022 12:29 136e3.eml        Information                              <salonsystemselect@gmail.com>          "CBDTP" <CBDTP@dot.gov>

741⠀    AR Organization: 05 ‐ Emails   DOT_0040335 DOT_0040335           1    8/28/2022 16:42 136d6.eml        Opposed to congestion pricing            Amy Goldstein <amyari@hotmail.com>     "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                               CBD Tolling Program Environmental        Leah Retherford
742⠀    AR Organization: 05 ‐ Emails   DOT_0040336 DOT_0040336           1     8/29/2022 5:51 136d3.eml        Assessment Comment                       <leahmariereth@gmail.com>              CBDTP@mtabt.org, CBDTP@dot.gov               "derrick@ridersalliance.org" <derrick@ridersalliance.org>
                                                                                                                                                        "John W. Tomac"                        CBDTP@dot.gov, "CBDTP@mtabt.org"
743⠀    AR Organization: 05 ‐ Emails   DOT_0040337 DOT_0040337           1    8/29/2022 18:03 136c3.eml        Enact congestion pricing ASAP            <john@johnwtomac.com>                  <CBDTP@mtabt.org>

                                                                                                               FW: CBD Tolling Program Environmental
744⠀    AR Organization: 05 ‐ Emails   DOT_0040338 DOT_0040339           2    8/30/2022 11:34 13866.eml        Assessment Comment                    "CBDTP" <CBDTP@dot.gov>                   "CBDTP@mtabt.org" <CBDTP@mtabt.org>

745⠀    AR Organization: 05 ‐ Emails   DOT_0040340 DOT_0040340           1    8/30/2022 11:35 13864.eml        FW: Information                          "CBDTP" <CBDTP@dot.gov>                "CBDTP@mtabt.org" <CBDTP@mtabt.org>
                                                                                                               Additional testimony re Congestion
746⠀    AR Organization: 05 ‐ Emails   DOT_0040341 DOT_0040341           1    8/30/2022 11:46 136b0.eml        Pricing NYC                              Joanna Smith <jo@nycsmith.com>         "CBDTP" <CBDTP@dot.gov>

747⠀    AR Organization: 05 ‐ Emails   DOT_0040342 DOT_0040342           1    8/30/2022 12:46 13844.eml        FW: Enact congestion pricing ASAP        "CBDTP" <CBDTP@dot.gov>                "CBDTP@mtabt.org" <CBDTP@mtabt.org>
                                                                                                               FW: Additional testimony re Congestion
748⠀    AR Organization: 05 ‐ Emails   DOT_0040343 DOT_0040343           1    8/30/2022 12:58 13831.eml        Pricing NYC                              "CBDTP" <CBDTP@dot.gov>                "CBDTP@mtabt.org" <CBDTP@mtabt.org>
                                                                                                                                                        Jerry Saltzman
749⠀    AR Organization: 05 ‐ Emails   DOT_0040344 DOT_0040344           1    8/30/2022 14:44 136aa.eml        No congestion pricing                    <JerrySaltzman@outlook.com>            "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                               FW: Concern for my health , economic
750⠀    AR Organization: 05 ‐ Emails   DOT_0040345 DOT_0040346           2    8/30/2022 11:30 unnamed.eml      and environment                          CBDTP <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>

751⠀    AR Organization: 05 ‐ Emails   DOT_0040347 DOT_0040348           2    8/30/2022 11:30 unnamed(1).eml   FW: Congestion Pricing                   CBDTP <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                                                                            "allison.cdecerreno@mtahq.org"
                                                                                                               FW: NYS State Senator Krueger                                                                                                <allison.cdecerreno@mtahq.org>, "Marquis, Rick (FHWA)"
752⠀    AR Organization: 05 ‐ Emails   DOT_0040349 DOT_0040349           1    8/30/2022 17:48 1382f.eml        Testimony Regarding CBDTP                "CBDTP" <CBDTP@dot.gov>                "CBDTP@mtabt.org" <CBDTP@mtabt.org>          <Rick.Marquis@dot.gov>
                                                                                                                                                                                                                                            "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Pavlik, Monica (FHWA)"
753⠀    AR Organization: 05 ‐ Emails   DOT_0040350 DOT_0040351           2    8/30/2022 17:50 unnamed.eml      FW: EA Public Comment Submission         CBDTP <CBDTP@dot.gov>                  "CBDTP@mtabt.org" <CBDTP@mtabt.org>          <Monica.Pavlik@dot.gov>
                                                                                                                                                        Warren Green
754⠀    AR Organization: 05 ‐ Emails   DOT_0040352 DOT_0040352           1    8/30/2022 20:45 136a1.eml        Comments on Congestion Pricing           <warren_s_green@hotmail.com>           "CBDTP@MTAbt.org" <CBDTP@MTAbt.org>          "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                                                                        Stephanie Heintzeler
755⠀    AR Organization: 05 ‐ Emails   DOT_0040353 DOT_0040353           1     8/31/2022 9:15 13699.eml        Supporting congestion pricing            <stephanieheintzeler@gmail.com>        "CBDTP" <CBDTP@dot.gov>

756⠀    AR Organization: 05 ‐ Emails   DOT_0040354 DOT_0040354           1     8/31/2022 9:17 13818.eml        FW: Supporting congestion pricing        "CBDTP" <CBDTP@dot.gov>                "CBDTP@mtabt.org" <CBDTP@mtabt.org>




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                                                                                                                                                                                                                           "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                           Fair@dot.gov>, "Biondi, Emily (FHWA)"
                                                                                                    RE_ CBDTP ‐ Requests to extend the       RE: CBDTP ‐ Requests to extend the       "Marquis, Rick (FHWA)"               <Emily.Biondi@dot.gov>, "Gavin, James (FHWA)"
757⠀    AR Organization: 05 ‐ Emails         DOT_0040355 DOT_0040356           2    8/31/2022 10:42 comment period.msg                       comment period                           <Rick.Marquis@dot.gov>               <james.gavin@dot.gov>                              "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>
758⠀    AR Organization: 05 ‐ Emails         DOT_0040357 DOT_0040357           1    8/31/2022 13:23 13684.eml                                Congestion pricing                       Janet Nash <jn4lb@optonline.net>     "CBDTP" <CBDTP@dot.gov>

                                                                                                                                                                                                                           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                           "C. de Cerreno, Allison"
                                                                                                                                             RE: CBDTP ‐ Request: Air Quality                                              <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
759⠀    AR Organization: 05 ‐ Emails         DOT_0040358 DOT_0040359           2    8/31/2022 14:20 13b76.eml                                Technical Report                         "Flax, Leah" <leah.flax@mtabt.org>   <nangel@mtabt.org>                               "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                             RE: CBDTP ‐ Request: Air Quality         "Benjamin, Arielle"                                                                   "Black, Lily" <Black.Lily@epa.gov>, "Schaffer, Anne"
760⠀    AR Organization: 05 ‐ Emails         DOT_0040360 DOT_0040361           2    8/31/2022 16:42 13eaa.eml                                Technical Report                         <Benjamin.Arielle@epa.gov>           "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <Schaffer.Anne@epa.gov>

                                                                                                                                                                                                                           "C. de Cerreno, Allison"
                                                                                                                                             RE: flag for EIS requests/extension of   "Marquis, Rick (FHWA)"               <allison.cdecerreno@mtahq.org>, "Pavlik, Monica
761⠀    AR Organization: 05 ‐ Emails         DOT_0040362 DOT_0040365           4    8/31/2022 17:25 14289.eml                                public comment period                    <Rick.Marquis@dot.gov>               (FHWA)" <Monica.Pavlik@dot.gov>

762⠀    AR Organization: 05 ‐ Emails         DOT_0040366 DOT_0040367           2     9/2/2022 13:42 12d33.eml                                FW: Comments on Congestion Pricing       "CBDTP" <CBDTP@dot.gov>              "CBDTP@mtabt.org" <CBDTP@mtabt.org>
                                                                                                                                                                                                                                                                              "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                                                                                              "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                              <allison.cdecerreno@mtahq.org>, "Price, Anna (FHWA)"
763⠀    AR Organization: 05 ‐ Emails         DOT_0040368 DOT_0040369           2     9/2/2022 14:16 12d21.eml                                FW:                                      "CBDTP" <CBDTP@dot.gov>              "CBDTP@mtabt.org" <CBDTP@mtabt.org>                <anna.price@dot.gov>

764⠀    AR Organization: 05 ‐ Emails         DOT_0040370 DOT_0040370           1     9/5/2022 20:45 116f3.eml                                Congestion Pricing Program's           Elya Oberlander <elyaobe@gmail.com>    undisclosed‐recipients:;
                                                                                                                                             FW: Please read my request as a Chesed
765⠀    AR Organization: 05 ‐ Emails         DOT_0040371 DOT_0040372           2     9/5/2022 20:55 12ce7.eml                                of Williamsburg member                 "CBDTP" <CBDTP@dot.gov>                "CBDTP@mtabt.org" <CBDTP@mtabt.org>


                                                                                                                                                                                                                           CBDTP <CBDTP@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                                                           <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)"
                                                                                                                                             FW: CBDTP ‐ Requests to extend the       "Marquis, Rick (FHWA)"               <anna.price@dot.gov>, "Santiago, Damaris (FHWA)"
766⠀    AR Organization: 05 ‐ Emails         DOT_0040373 DOT_0040375           3     9/6/2022 12:23 11d43.eml                                comment period                           <Rick.Marquis@dot.gov>               <Damaris.Santiago@dot.gov>

                                                                                                                                                                                                                           "Flax, Leah" <leah.flax@mtabt.org>, CBDTP
                                                                                                                                                                                                                           <CBDTP@dot.gov>, "Pavlik, Monica (FHWA)"           "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
767⠀    AR Organization: 05 ‐ Emails         DOT_0040376 DOT_0040378           3       9/7/2022 8:49 11d3e.eml                               RE: EA Public Comment Submission         CBDTP <CBDTP@dot.gov>                <Monica.Pavlik@dot.gov>                            "Hartz, Ian" <ian.hartz@mtabt.org>
                                                                                                                                                                                                                                                                              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Wojnar,
                                                                                                                                                                                                                                                                              Michael" <mwojnar@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                      "Price, Anna (FHWA)"                                                                    <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
768⠀    AR Organization: 05 ‐ Emails         DOT_0040379 DOT_0040380           2     9/7/2022 17:24 12ff1.eml                                RE: EA Repository Questions              <anna.price@dot.gov>                 "Flax, Leah" <leah.flax@mtabt.org>                 <nangel@mtabt.org>

                                                                                                                                                                                                                                                                              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Wojnar,
                                                                                                                                                                                                                                                                              Michael" <mwojnar@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                      "Price, Anna (FHWA)"                                                                    <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
769⠀    AR Organization: 05 ‐ Emails         DOT_0040381 DOT_0040382           2     9/8/2022 14:13 12fed.eml                                RE: EA Repository Questions              <anna.price@dot.gov>                 "Flax, Leah" <leah.flax@mtabt.org>                 <nangel@mtabt.org>, "Hartz, Ian" <ian.hartz@mtabt.org>
                                                                                                                                                                                                                           "Monica.Pavlik@dot.gov"
                                                                                                                                           FW: CBD Tolling Program ‐ Draft EA ‐                                            <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)"      "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
770⠀    AR Organization: 05 ‐ Emails         DOT_0040383 DOT_0040385           3     9/9/2022 13:27 13b71.eml                              National Park Service Comments             "Flax, Leah" <leah.flax@mtabt.org>   <anna.price@dot.gov>                               "Angel, Nichola" <nangel@mtabt.org>
                                                                                                    20220715_NPS_Section_4(f)_Letter_to_FH
                                                                                                    WA_for_the_CBDTP_Project_SignedCopy_
771⠀    AR Organization: 06 Correspondence   DOT_0040386 DOT_0040387           2    7/15/2022 10:03 1B.pdf
                                                                                                                                                                                                                                                                              "Sams, Cheryl A" <Cheryl_Sams@nps.gov>, "Schlegel, Kathryn
                                                                                                                                                                                                                                                                              A" <Kathy_Schlegel@nps.gov>, "Porter, Jed M"
                                                                                                                                                                                                                                                                              <jed_porter@nps.gov>, "Racine, Laurel A"
                                                                                                                                                                                                                                                                              <Laurel_Racine@nps.gov>, "Monica.Pavlik@dot.gov"
                                                                                                                                             RE: CBD Tolling Program ‐ Draft EA ‐     CBDTP Outreach                       "Eberle, Mark D" <mark_eberle@nps.gov>, CBDTP      <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)"
772⠀    AR Organization: 05 ‐ Emails         DOT_0040388 DOT_0040390           3     9/9/2022 15:32 13bef.eml                                National Park Service Comments           <CBDTP.outreach@mtabt.org>           Outreach <CBDTP.outreach@mtabt.org>                <anna.price@dot.gov>




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                                                                                                                                                                                                                                                                    "Angel, Nichola" <nangel@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                                                                                                                    <mwojnar@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                    <allison.cdecerreno@mtahq.org>, "Oliva, Louis"
                                                                                                                                      RE: Public Comment Submissions ‐                                              "Price, Anna (FHWA)" <anna.price@dot.gov>,      <LOLIVA@mtahq.org>, "Marquis, Rick (FHWA)"
773⠀    AR Organization: 05 ‐ Emails   DOT_0040391 DOT_0040392           2     9/14/2022 8:31 13b6f.eml                               Question on Sharing with TMRB           "Flax, Leah" <leah.flax@mtabt.org>    "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <Rick.Marquis@dot.gov>
                                                                                                                                                                                                                    "C. de Cerreno, Allison"
                                                                                                                                                                                                                    <allison.cdecerreno@mtahq.org>, "Flax, Leah"
                                                                                                                                                                              "Price, Anna (FHWA)"                  <leah.flax@mtabt.org>, "Angel, Nichola"
774⠀    AR Organization: 05 ‐ Emails   DOT_0040393 DOT_0040393           1    9/14/2022 14:42 12fe4.eml                               EA Comments                             <anna.price@dot.gov>                  <nangel@mtabt.org>                              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                    "Price, Anna (FHWA)" <anna.price@dot.gov>, "C. de "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Hartz,
                                                                                                                                                                                                                    Cerreno, Allison" <allison.cdecerreno@mtahq.org>, Ian" <ian.hartz@mtabt.org>, "Wojnar, Michael"
775⠀    AR Organization: 05 ‐ Emails   DOT_0040394 DOT_0040395           2    9/14/2022 19:13 13b6e.eml                               RE: EA Comments                         "Flax, Leah" <leah.flax@mtabt.org>    "Angel, Nichola" <nangel@mtabt.org>               <mwojnar@mtahq.org>
                                                                                                                                                                              "MTA Customer Service Team"           "undisclosed‐recipients@custhelp.com"
776⠀    AR Organization: 05 ‐ Emails   DOT_0040396 DOT_0040396           1     9/17/2022 8:02 142e7.eml                               CBD Tolling Program tally               <response@mta.info>                   <undisclosed‐recipients@custhelp.com>

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777⠀    AR Organization: 05 ‐ Emails   DOT_0040397 DOT_0040397           1    9/16/2022 20:45 unnamed(8).eml                          Please Protect My Livelihood            <VIANELA.CONTIN.573073799@p2a.co>     Pete Buttigieg <CBDTP@dot.gov>

                                                                                              FW:_Rep._Malliotakis_Rep._Gottheimer_‐ FW: Rep. Malliotakis/Rep. Gottheimer ‐
                                                                                              _Letter_to_FHWA_on_CBDTP_Public_Com Letter to FHWA on CBDTP Public              "Marquis, Rick (FHWA)"                "Nick.Choubah@dot.ny.gov"
778⠀    AR Organization: 05 ‐ Emails   DOT_0040398 DOT_0040398           1    9/19/2022 17:05 ment.eml                               Comment                                  <Rick.Marquis@dot.gov>                <nick.choubah@dot.ny.gov>
                                                                                              FW:_NYC_CBDTP_EA_Comment_Letter.em                                              "Marquis, Rick (FHWA)"                "Nick.Choubah@dot.ny.gov"
779⠀    AR Organization: 05 ‐ Emails   DOT_0040399 DOT_0040399           1    9/19/2022 17:05 l                                      FW: NYC CBDTP EA Comment Letter          <Rick.Marquis@dot.gov>                <nick.choubah@dot.ny.gov>


                                                                                              CBDTP_Public_Comment_Submission_‐     CBDTP Public Comment Submission ‐ WE "Marquis, Rick (FHWA)"                     "Nick.Choubah@dot.ny.gov"
780⠀    AR Organization: 05 ‐ Emails   DOT_0040400 DOT_0040400           1    9/19/2022 17:05 _WE_ACT_for_Environmental_Justice.eml ACT for Environmental Justice        <Rick.Marquis@dot.gov>                     <nick.choubah@dot.ny.gov>
                                                                                                                                                                         "MTA Customer Service Team"                "undisclosed‐recipients@custhelp.com"
781⠀    AR Organization: 05 ‐ Emails   DOT_0040401 DOT_0040401           1     9/20/2022 8:02 142e4.eml                             CBD Tolling Program tally            <response@mta.info>                        <undisclosed‐recipients@custhelp.com>

                                                                                                                                                                                                                                                                    "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
782⠀    AR Organization: 05 ‐ Emails   DOT_0040402 DOT_0040403           2     9/20/2022 9:21 13d34.eml                               Re: CBDTP ‐ information                 "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                              CBDTP_‐
                                                                                              _Requests_to_extend_the_comment_peri    CBDTP ‐ Requests to extend the          "Pavlik, Monica (FHWA)"                                                                 "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
783⠀    AR Organization: 05 ‐ Emails   DOT_0040404 DOT_0040405           2    8/23/2022 17:08 od.eml                                  comment period                          <Monica.Pavlik@dot.gov>               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>     Damaris (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                              RE:_CBDTP_‐
                                                                                              _Requests_to_extend_the_comment_peri    RE: CBDTP ‐ Requests to extend the      "Pavlik, Monica (FHWA)"                                                                 "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
784⠀    AR Organization: 05 ‐ Emails   DOT_0040406 DOT_0040407           2    8/23/2022 17:08 od.eml                                  comment period                          <Monica.Pavlik@dot.gov>               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>     Damaris (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                                                                                                                                                                                                      "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Pavlik, Monica (FHWA)"
785⠀    AR Organization: 05 ‐ Emails   DOT_0040408 DOT_0040409           2    8/23/2022 17:08 FW:_EA_Public_Comment_Submission.eml FW: EA Public Comment Submission           CBDTP <CBDTP@dot.gov>                 "CBDTP@mtabt.org" <CBDTP@mtabt.org>               <Monica.Pavlik@dot.gov>

                                                                                              Request_for_extension_of_comment_peri Request for extension of comment                                                                                                  "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>,
786⠀    AR Organization: 05 ‐ Emails   DOT_0040410 DOT_0040411           2    8/23/2022 17:08 od_‐_NYC_Congestion_Pricing_EA.eml    period ‐ NYC Congestion Pricing EA        Greg Cohen <greg@2349solutions.com>   CBDTP <CBDTP@mtabt.org>                           "Stephanie.Pollack@dot.gov" <Stephanie.Pollack@dot.gov>


                                                                                                                                                                                                                                                                    "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                      Re: CBDTP ‐ information ‐ status on                                                                                           "Price, Anna (FHWA)" <anna.price@dot.gov>, "Oliva, Louis"
787⠀    AR Organization: 05 ‐ Emails   DOT_0040412 DOT_0040414           3     9/20/2022 9:57 13d32.eml                               comments submisison                     "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>


                                                                                                                                                                                                                                                                    "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                      Re: CBDTP ‐ information ‐ status on                                                                                           "Price, Anna (FHWA)" <anna.price@dot.gov>, "Oliva, Louis"
788⠀    AR Organization: 05 ‐ Emails   DOT_0040415 DOT_0040417           3    9/20/2022 10:12 13d31.eml                               comments submisison                     "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>

                                                                                                                                                                              "C. de Cerreno, Allison"              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)" <anna.price@dot.gov>, "Oliva, Louis"
789⠀    AR Organization: 05 ‐ Emails   DOT_0040418 DOT_0040421           4    9/20/2022 10:50 13c2d.eml                               RE: CBDTP ‐ information                 <allison.cdecerreno@mtahq.org>        "Angel, Nichola" <nangel@mtabt.org>              <LOLIVA@mtahq.org>




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                                                                                                                                                                                  "Pavlik, Monica (FHWA)"
                                                                                                                                                                                  </O=EXCHANGELABS/OU=EXCHANGE
                                                                                                                                                                                  ADMINISTRATIVE GROUP
                                                                                                    CBDTP_‐                                                                       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1
                                                                                                    _Requests_to_extend_the_comment_peri CBDTP ‐ Requests to extend the           279DE24195242AB8D7120E517AC5D6B‐                                                       "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
790⠀    AR Organization: 05 ‐ Emails         DOT_0040422 DOT_0040423           2    8/23/2022 17:08 od.eml                               comment period                           PAVLIK, MON>                         "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>     Damaris (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                                                                                                                  "Pavlik, Monica (FHWA)"
                                                                                                                                                                                  </O=EXCHANGELABS/OU=EXCHANGE
                                                                                                                                                                                  ADMINISTRATIVE GROUP
                                                                                                    RE:_CBDTP_‐                                                                   (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1
                                                                                                    _Requests_to_extend_the_comment_peri RE: CBDTP ‐ Requests to extend the       279DE24195242AB8D7120E517AC5D6B‐                                                       "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
791⠀    AR Organization: 05 ‐ Emails         DOT_0040424 DOT_0040425           2    8/23/2022 17:08 od.eml                               comment period                           PAVLIK, MON>                         "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>     Damaris (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                                                                                                                                                                                                         "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                         <allison.cdecerreno@mtahq.org>, "Pavlik, Monica (FHWA)"
792⠀    AR Organization: 05 ‐ Emails         DOT_0040426 DOT_0040427           2    8/23/2022 17:08 FW:_EA_Public_Comment_Submission.eml FW: EA Public Comment Submission         CBDTP <CBDTP@dot.gov>                 "CBDTP@mtabt.org" <CBDTP@mtabt.org>              <Monica.Pavlik@dot.gov>

                                                                                                    Request_for_extension_of_comment_peri Request for extension of comment                                                                                               "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>,
793⠀    AR Organization: 05 ‐ Emails         DOT_0040428 DOT_0040429           2    8/23/2022 17:08 od_‐_NYC_Congestion_Pricing_EA.eml    period ‐ NYC Congestion Pricing EA      Greg Cohen <greg@2349solutions.com>   CBDTP <CBDTP@mtabt.org>                          "Stephanie.Pollack@dot.gov" <Stephanie.Pollack@dot.gov>

                                                                                                                                                                                                                                                                         "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                            Re: CBDTP Duplicate Submissions       "C. de Cerreno, Allison"              "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
794⠀    AR Organization: 05 ‐ Emails         DOT_0040430 DOT_0040431           2    9/20/2022 17:40 13c2b.eml                               Approach                              <allison.cdecerreno@mtahq.org>        "Price, Anna (FHWA)" <anna.price@dot.gov>        "Friman, Paul" <pfriman@mtabt.org>
                                                                                                                                                                                  "Pavlik, Monica (FHWA)"               "C. de Cerreno, Allison"                         "Price, Anna (FHWA)" <anna.price@dot.gov>, "Marquis, Rick
795⠀    AR Organization: 05 ‐ Emails         DOT_0040432 DOT_0040432           1    9/26/2022 16:41 CBDTP coordination with the EPA.msg     CBDTP coordination with the EPA       <Monica.Pavlik@dot.gov>               <allison.cdecerreno@mtahq.org>                   (FHWA)" <Rick.Marquis@dot.gov>
                                                                                                                                                                                                                                                                         "Price, Anna (FHWA)" <anna.price@dot.gov>, "Marquis, Rick
                                                                                                                                                                                                                                                                         (FHWA)" <Rick.Marquis@dot.gov>, "Benjamin, Arielle"
                                                                                                                                                                                  "Pavlik, Monica (FHWA)"               "C. de Cerreno, Allison"                         <Benjamin.Arielle@epa.gov>, "Austin, Mark"
796⠀    AR Organization: 05 ‐ Emails         DOT_0040433 DOT_0040434           2    9/26/2022 17:00 RE_ CBDTP coordination with the EPA.msg RE: CBDTP coordination with the EPA   <Monica.Pavlik@dot.gov>               <allison.cdecerreno@mtahq.org>                   <Austin.Mark@epa.gov>


                                                                                                                                                                                                                        "CBDTP@mtabt.org" <CBDTP@mtabt.org>, "Pavlik,
                                                                                                                                                                                  "Price, Anna (FHWA)"                  Monica (FHWA)" <Monica.Pavlik@dot.gov>,
797⠀    AR Organization: 05 ‐ Emails         DOT_0040435 DOT_0040435           1    9/28/2022 10:45 12fba.eml                               CBDTP comments from NYS MCA           <anna.price@dot.gov>                  "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>
798⠀    AR Organization: 06 Correspondence   DOT_0040436 DOT_0040442           7    9/28/2022 10:43 SKM_C450i22092809430.pdf


                                                                                                                                                                                                                        "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                    RE_ CBDTP comments from NYS MCA                                               "Pavlik, Monica (FHWA)"               "CBDTP@mtabt.org" <CBDTP@mtabt.org>,
799⠀    AR Organization: 05 ‐ Emails         DOT_0040443 DOT_0040443           1    9/28/2022 10:53 (372).msg                               RE: CBDTP comments from NYS MCA       <Monica.Pavlik@dot.gov>               "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>
                                                                                                                                                                                                                                                                         "Flax, Leah" <leah.flax@mtabt.org>, "Price, Anna (FHWA)"
                                                                                                                                                                                                                                                                         <anna.price@dot.gov>, "Marquis, Rick (FHWA)"
                                                                                                                                                                                                                                                                         <Rick.Marquis@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                  "Pavlik, Monica (FHWA)"               "C. de Cerreno, Allison"                         <lee.ellen.carter@dot.gov>, "Dresser, Christopher (FHWA)"
800⠀    AR Organization: 05 ‐ Emails         DOT_0040444 DOT_0040444           1    9/28/2022 17:15 CBDTP ‐ AQ FHWA tech support.msg        CBDTP ‐ AQ FHWA tech support          <Monica.Pavlik@dot.gov>               <allison.cdecerreno@mtahq.org>                   <christopher.dresser@dot.gov>




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                                                                                                                                                                                                                "C. de Cerreno, Allison"
                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>, "Price, Anna
                                                                                                                                                                                                                (FHWA)" <anna.price@dot.gov>, "Vaughn‐Fair,
                                                                                                                                                                                                                Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                                                "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                <lee.ellen.carter@dot.gov>, "Cogburn, Megan
                                                                                                                                                                                                                (FHWA)" <megan.cogburn@dot.gov>, "Oliva, Louis"
                                                                                                                                                                                                                <LOLIVA@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                <nangel@mtabt.org>, "catherine.leslie"           "Elizabeth Knauer" <eknauer@sprlaw.com>, "Friman, Paul"
                                                                                                                                                                                                                <catherine.leslie@dot.ny.gov>,                   <pfriman@mtabt.org>, "Mark Chertok"
                                                                                                                                                                                                                "Alma.Lafferty@dot.ny.gov"                       <mchertok@sprlaw.com>, "Flax, Leah"
                                                                                                                                                                                                                <Alma.Lafferty@dot.ny.gov>,                      <leah.flax@mtabt.org>, "Shepard, Katie R."
                                                                                                                                                                                                                "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,       <Katie.Shepard@wsp.com>, "nick.choubah@dot.ny.gov"
                                                                                               RE_ CBDTP ‐ Comment_Response check‐                                              "Pavlik, Monica (FHWA)"         "Smith, Patrick" <psmith@dot.nyc.gov>, "Tiernan, <nick.choubah@dot.ny.gov>, "jcowing@akrf.com"
801⠀    AR Organization: 05 ‐ Emails   DOT_0040445 DOT_0040446           2     9/28/2022 18:17 in.msg                                     RE: CBDTP ‐ Comment/Response check‐in <Monica.Pavlik@dot.gov>         Christine" <Christine.Tiernan@wsp.com>           <jcowing@akrf.com>




                                                                                                                                                                                                                "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                                                                                                                                                Fair@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                <lee.ellen.carter@dot.gov>, "Cogburn, Megan
                                                                                                                                                                                                                (FHWA)" <megan.cogburn@dot.gov>, "Oliva, Louis"
                                                                                                                                                                                                                <LOLIVA@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                <nangel@mtabt.org>, catherine.leslie             Elizabeth Knauer <eknauer@sprlaw.com>, "Friman, Paul"
                                                                                                                                                                                                                <catherine.leslie@dot.ny.gov>,                   <pfriman@mtabt.org>, Mark Chertok
                                                                                                                                                                                                                "Alma.Lafferty@dot.ny.gov"                       <mchertok@sprlaw.com>, "Flax, Leah"
                                                                                                                                                                                                                <Alma.Lafferty@dot.ny.gov>,                      <leah.flax@mtabt.org>, "Shepard, Katie R."
                                                                                                                                                                                                                "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,       <Katie.Shepard@wsp.com>, "nick.choubah@dot.ny.gov"
                                                                                               RE_ CBDTP ‐ Comment_Response check‐in                                        "C. de Cerreno, Allison"            "Smith, Patrick" <psmith@dot.nyc.gov>, "Tiernan, <nick.choubah@dot.ny.gov>, "jcowing@akrf.com"
802⠀    AR Organization: 05 ‐ Emails   DOT_0040447 DOT_0040449           3     9/28/2022 18:28 (16).msg                               RE: CBDTP ‐ Comment/Response check‐in <allison.cdecerreno@mtahq.org>      Christine" <Christine.Tiernan@wsp.com>           <jcowing@akrf.com>
                                                                                                                                                                            "Pavlik, Monica (FHWA)"             "'C. de Cerreno, Allison'"
803⠀    AR Organization: 05 ‐ Emails   DOT_0040450 DOT_0040450            1    9/29/2022 14:30 PG02 responding to comments_pdf.msg    PG02 responding to comments.pdf       <Monica.Pavlik@dot.gov>             <allison.cdecerreno@mtahq.org>
804⠀    AR Organization: 09 ‐ Report   DOT_0040451 DOT_0040462           12     6/2/2006 10:29 PG02_responding_to_comments.pdf
                                                                                                                                                                            "Pavlik, Monica (FHWA)"             "'C. de Cerreno, Allison'"
805⠀    AR Organization: 05 ‐ Emails   DOT_0040463 DOT_0040463           1     9/29/2022 15:28 RE_ confirmation on letters.msg        RE: confirmation on letters           <Monica.Pavlik@dot.gov>             <allison.cdecerreno@mtahq.org>
                                                                                                                                                                            "Pavlik, Monica (FHWA)"
806⠀    AR Organization: 05 ‐ Emails   DOT_0040464 DOT_0040464           1     10/3/2022 16:48 Thank you!.msg                         Thank you!                            <Monica.Pavlik@dot.gov>             "'Benjamin, Arielle'" <Benjamin.Arielle@epa.gov>
                                                                                                                                                                            "Marquis, Rick (FHWA)"
807⠀    AR Organization: 05 ‐ Emails   DOT_0040465 DOT_0040465           1     10/6/2022 14:22 FHWA_ NYC CBDTP congestion pricing.msg FHWA, NYC CBDTP congestion pricing    <Rick.Marquis@dot.gov>              garcia.lisa epa.gov <Garcia.Lisa@epa.gov>

                                                                                                                                                                                                                "C. de Cerreno, Allison"
                                                                                                                                                                                                                <allison.cdecerreno@mtahq.org>, "Pavlik, Monica
                                                                                                                                          FW: FHWA, Carbon Reduction Program          "Marquis, Rick (FHWA)"    (FHWA)" <Monica.Pavlik@dot.gov>, "Price, Anna
808⠀    AR Organization: 05 ‐ Emails   DOT_0040466 DOT_0040466           1 10/11/2022 16:40 13595.eml                                     Guidance and Funding Table                  <Rick.Marquis@dot.gov>    (FHWA)" <anna.price@dot.gov>
                                                                                            CBDTP ‐ Elected official letters on the                                                   "Pavlik, Monica (FHWA)"   "C. de Cerreno, Allison"                           "Price, Anna (FHWA)" <anna.price@dot.gov>, "Marquis, Rick
809⠀    AR Organization: 05 ‐ Emails   DOT_0040467 DOT_0040467           1 10/11/2022 17:37 EA.msg                                        CBDTP ‐ Elected official letters on the EA <Monica.Pavlik@dot.gov>    <allison.cdecerreno@mtahq.org>                     (FHWA)" <Rick.Marquis@dot.gov>
                                                                                            RE_ CBDTP ‐ Elected official letters on the   RE: CBDTP ‐ Elected official letters on the "Pavlik, Monica (FHWA)"   "C. de Cerreno, Allison"                           "Price, Anna (FHWA)" <anna.price@dot.gov>, "Marquis, Rick
810⠀    AR Organization: 05 ‐ Emails   DOT_0040468 DOT_0040469           2 10/12/2022 14:34 EA (338).msg                                  EA                                          <Monica.Pavlik@dot.gov>   <allison.cdecerreno@mtahq.org>                     (FHWA)" <Rick.Marquis@dot.gov>
                                                                                            RE_ CBDTP ‐ Elected official letters on the   RE: CBDTP ‐ Elected official letters on the "Pavlik, Monica (FHWA)"   "C. de Cerreno, Allison"                           "Price, Anna (FHWA)" <anna.price@dot.gov>, "Marquis, Rick
811⠀    AR Organization: 05 ‐ Emails   DOT_0040470 DOT_0040471           2 10/12/2022 14:43 EA.msg                                        EA                                          <Monica.Pavlik@dot.gov>   <allison.cdecerreno@mtahq.org>                     (FHWA)" <Rick.Marquis@dot.gov>

                                                                                                                                                                                   "Buzzelle, Stanley"          "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
812⠀    AR Organization: 05 ‐ Emails   DOT_0040472 DOT_0040472           1 10/18/2022 13:42 RE_ CBDTP ‐ EJ neutral facilitator (76).msg RE: CBDTP ‐ EJ neutral facilitator         <Buzzelle.Stanley@epa.gov>   "Benjamin, Arielle" <Benjamin.Arielle@epa.gov>   "Price, Anna (FHWA)" <anna.price@dot.gov>




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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                                   Subject                                 From                                 To                                               Cc
                                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                  FW_ NYC CBDTP (congestion pricing) EA    FW: NYC CBDTP (congestion pricing) EA       "Pavlik, Monica (FHWA)"              <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
813⠀    AR Organization: 05 ‐ Emails         DOT_0040473 DOT_0040473           1 10/18/2022 17:41 comment letter.msg                       comment letter                              <Monica.Pavlik@dot.gov>              <nangel@mtabt.org>                               "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                  ML_Borelli_Congestion_Pricing_Letter_wit
814⠀    AR Organization: 06 Correspondence   DOT_0040474 DOT_0040479           6 9/10/2022 10:58 h_signatures_FINAL.docx

                                                                                                                                                                                       "Pavlik, Monica (FHWA)"              "Benjamin, Arielle" <Benjamin.Arielle@epa.gov>,
815⠀    AR Organization: 05 ‐ Emails         DOT_0040480 DOT_0040481           2 10/24/2022 18:25 FW_ EJ TAG Meeting #5 Follow‐Up.msg          FW: EJ TAG Meeting #5 Follow‐Up         <Monica.Pavlik@dot.gov>              "Austin, Mark" <Austin.Mark@epa.gov>              "Price, Anna (FHWA)" <anna.price@dot.gov>

                                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>,                   "Angel, Nichola" <nangel@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                                                                            "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>,        <mwojnar@mtahq.org>, "Friman, Paul"
                                                                                                  RE_ invitation for a tour with South Bronx   RE: invitation for a tour with South Bronx "Pavlik, Monica (FHWA)"           "nick.choubah@dot.ny.gov"                         <pfriman@mtabt.org>, "Price, Anna (FHWA)"
816⠀    AR Organization: 05 ‐ Emails         DOT_0040482 DOT_0040482           1 10/31/2022 16:16 Unite (302).msg                              Unite                                      <Monica.Pavlik@dot.gov>           <nick.choubah@dot.ny.gov>                         <anna.price@dot.gov>

                                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                            "Nick.Choubah@dot.ny.gov"                         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
                                                                                                                                               FW: HHS OASH Comments on NY             "Marquis, Rick (FHWA)"               <nick.choubah@dot.ny.gov>,                        Anna (FHWA)" <anna.price@dot.gov>, "Santiago, Damaris
817⠀    AR Organization: 05 ‐ Emails         DOT_0040483 DOT_0040483           1    11/7/2022 20:18 1357a.eml                                  Congestion Tolling Bronx                <Rick.Marquis@dot.gov>               "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>         (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                                    SIGNED_NY_Congestion_Tolling_Bronx_Co
818⠀    AR Organization: 06 Correspondence   DOT_0040484 DOT_0040488           5    11/7/2022 17:53 mments_FINAL_11.7.2022.pdf

                                                                                                                                                                                                                                                                              "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                               FW: HHS OASH Comments on NY             "Marquis, Rick (FHWA)"                                                                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Price,
819⠀    AR Organization: 05 ‐ Emails         DOT_0040489 DOT_0040489           1    11/7/2022 20:27 13579.eml                                  Congestion Tolling Bronx                <Rick.Marquis@dot.gov>               "Angel, Nichola" <nangel@mtabt.org>               Anna (FHWA)" <anna.price@dot.gov>

                                                                                                                                                                                                                                                                            "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                                                                                            <leah.flax@mtabt.org>, "Friman, Paul" <pfriman@mtabt.org>,
                                                                                                                                                                                       "C. de Cerreno, Allison"                                                             "Crim, Stephen" <stephen.crim@mtabt.org>, "Oliva, Louis"
820⠀    AR Organization: 05 ‐ Emails         DOT_0040490 DOT_0040490           1 11/16/2022 17:35 Draft Methodology for white paper.msg        Draft Methodology for white paper       <allison.cdecerreno@mtahq.org>       "Pavlik, Monica (FHWA)" <monica.pavlik@dot.gov> <LOLIVA@mtahq.org>

                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    RE_ 508 Compliance Contractors used by     RE: 508 Compliance Contractors used by "Pavlik, Monica (FHWA)"               "Flax, Leah" <leah.flax@mtabt.org>, "Price, Anna "Angel, Nichola" <nangel@mtabt.org>, "Hartz, Ian"
821⠀    AR Organization: 05 ‐ Emails         DOT_0040491 DOT_0040492           2    11/21/2022 9:22 FHWA.msg                                   FHWA                                   <Monica.Pavlik@dot.gov>               (FHWA)" <anna.price@dot.gov>                     <ian.hartz@mtabt.org>
                                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                    FW_ NYC Congestion Pricing Impact on       FW: NYC Congestion Pricing Impact on    "Pavlik, Monica (FHWA)"              <nangel@mtabt.org>, "Flax, Leah"
822⠀    AR Organization: 05 ‐ Emails         DOT_0040493 DOT_0040493           1    11/21/2022 9:33 Immigrant Black & Brown Families.msg       Immigrant Black & Brown Families        <Monica.Pavlik@dot.gov>              <leah.flax@mtabt.org>                            "Price, Anna (FHWA)" <anna.price@dot.gov>
                                                                                                                                                                                                                                                                             "Flax, Leah" <leah.flax@mtabt.org>, "Angel, Nichola"
                                                                                                                                                                                       "Pavlik, Monica (FHWA)"              "C. de Cerreno, Allison"                         <nangel@mtabt.org>, "Price, Anna (FHWA)"
823⠀    AR Organization: 05 ‐ Emails         DOT_0040494 DOT_0040494           1 11/21/2022 12:04 CBDTP ‐ Final EA distribution.msg            CBDTP ‐ Final EA distribution           <Monica.Pavlik@dot.gov>              <allison.cdecerreno@mtahq.org>                   <anna.price@dot.gov>, "CBDTP" <CBDTP@dot.gov>


                                                                                                                                                                                                                                                                            "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                            "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                                                                                            <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
                                                                                                                                                                                                                                                                            "Friman, Paul" <pfriman@mtabt.org>, Mark Chertok
                                                                                                  Revised Draft Methodology for Tech Memo Revised Draft Methodology for Tech           "Crim, Stephen"                                                                      <mchertok@sprlaw.com>, Elizabeth Knauer
824⠀    AR Organization: 05 ‐ Emails         DOT_0040495 DOT_0040495           1 11/21/2022 21:57 on Traffic and Health Effects.msg       Memo on Traffic and Health Effects           <stephen.crim@mtabt.org>             "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> <eknauer@sprlaw.com>
                                                                                                  Meeting Request Regarding Congestion    Meeting Request Regarding Congestion         Scott Cantone
825⠀    AR Organization: 05 ‐ Emails         DOT_0040496 DOT_0040496           1 11/30/2022 12:41 Pricing.msg                             Pricing                                      <scott@bendercantone.com>            "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>     Maren Koehler <maren@bendercantone.com>
                                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Price, Anna      "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
826⠀    AR Organization: 05 ‐ Emails         DOT_0040497 DOT_0040498           2 12/13/2022 13:41 13b39.eml                                    RE: EJ TAG                              "Flax, Leah" <leah.flax@mtabt.org>   (FHWA)" <anna.price@dot.gov>                      "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>

                                                                                                                                                                                       "Price, Anna (FHWA)"                 "Flax, Leah" <leah.flax@mtabt.org>, "C. de Cerreno, "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
827⠀    AR Organization: 05 ‐ Emails         DOT_0040499 DOT_0040500           2 12/13/2022 13:55 12f72.eml                                    RE: EJ TAG                              <anna.price@dot.gov>                 Allison" <allison.cdecerreno@mtahq.org>             "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>

                                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                                  RE_ FHWA Guidance on Response to EPA         RE: FHWA Guidance on Response to EPA "C. de Cerreno, Allison"                "Flax, Leah" <leah.flax@mtabt.org>, "Price, Anna <LOLIVA@mtahq.org>, "Rotsko, Nathanael"
828⠀    AR Organization: 05 ‐ Emails         DOT_0040501 DOT_0040503           3 12/19/2022 12:20 Comment #7.msg                               Comment #7                           <allison.cdecerreno@mtahq.org>          (FHWA)" <anna.price@dot.gov>                     <nathanael.rotsko@mtabt.org>




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Row #   AR Organization                      Bates Beg   Bates End     Pages       Primary Date     Filename                                  Subject                                  From                                 To                                                Cc


                                                                                                                                                                                                                            "Ngau, Guinevere" <Guinevere.Ngau@hdrinc.com>,
                                                                                                  RE_ Ngau_ Guinevere is inviting you to     RE: Ngau, Guinevere is inviting you to    "Pavlik, Monica (FHWA)"              "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
829⠀    AR Organization: 05 ‐ Emails         DOT_0040504 DOT_0040507           4 12/19/2022 19:30 collaborate on Federal Live Edit (207).msg collaborate on Federal Live Edit          <Monica.Pavlik@dot.gov>              "Price, Anna (FHWA)" <anna.price@dot.gov>


                                                                                                  CBDTP Sensitivity Analysis ‐ NYC Taxi_FHV                                                                                 "Rick. Marquis (Rick.Marquis@dot.gov)"            "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                  Fare Increase and 3rd Avenue              CBDTP Sensitivity Analysis ‐ NYC Taxi/FHV                                       <rick.marquis@dot.gov>, "Pavlik, Monica (FHWA)"   "Flax, Leah" <leah.flax@mtabt.org>, "Friman, Paul"
830⠀    AR Organization: 05 ‐ Emails         DOT_0040508 DOT_0040510           3 12/22/2022 10:17 Redesign.msg                              Fare Increase and 3rd Avenue Redesign "Angel, Nichola" <nangel@mtabt.org>       <Monica.Pavlik@dot.gov>                           <pfriman@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>


                                                                                                                                                                                                                                                                              "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    Draft EJ TAG #6 Presentation and                                                                                                                                          "Angel, Nichola" <nangel@mtabt.org>, "Friman, Paul"
831⠀    AR Organization: 05 ‐ Emails         DOT_0040511 DOT_0040512           2    12/30/2022 9:21 Notes.msg                                 Draft EJ TAG #6 Presentation and Notes   "Flax, Leah" <leah.flax@mtabt.org>   Monica Pavlik <monica.pavlik@dot.gov>             <pfriman@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>

                                                                                                                                                                                                                            "C. de Cerreno, Allison"                          "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                       "Marquis, Rick (FHWA)"               <allison.cdecerreno@mtahq.org>, "Choubah, Nick    Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
832⠀    AR Organization: 05 ‐ Emails         DOT_0040513 DOT_0040513           1 12/30/2022 12:36 CBDTP.msg                                   CBDTP                                    <Rick.Marquis@dot.gov>               (DOT)"y@<nick.choubah@dot.ny.gov>
                                                                                                                                                                                                                                                       g                      "Wojnar, Michael" <mwojnar@mtahq.org>
                                                                                                                                                                                                                            <ashley@southbronxunite.org>,
                                                                                                                                                                                                                            "maritza@alignny.org" <maritza@alignny.org>,
                                                                                                                                                                                                                            "dcastillo@elpuente.us" <dcastillo@elpuente.us>,
                                                                                                                                                                                                                            "juanita@cvhaction.org" <juanita@cvhaction.org>,
                                                                                                                                                                                                                            "environmentaljusticect@gmail.com"
                                                                                                                                                                                                                            <environmentaljusticect@gmail.com>,
                                                                                                                                                                                                                            "kcohen258@gmail.com"
                                                                                                                                                                                                                            <kcohen258@gmail.com>,
                                                                                                                                                                                                                            "JOrozco@HispanicFederation.org"
                                                                                                                                                                                                                            <JOrozco@HispanicFederation.org>,
                                                                                                                                                                                                                            "info@chhayacdc.org" <info@chhayacdc.org>, "Arif
                                                                                                                                                                                                                            Ullah <arif@southbronxunite.org>"
                                                                                                                                                                                                                            <arif@southbronxunite.org>, "melissa@njeja.org"
                                                                                                                                                                                                                            <melissa@njeja.org>, "eddie@nyc‐eja.org"
                                                                                                                                                                                                                            <eddie@nyc‐eja.org>, "kevin@nyc‐eja.org"
                                                                                                                                                                                                                            <kevin@nyc‐eja.org>, "elizabeth@uprose.org"
                                                                                                                                                                                                                            <elizabeth@uprose.org>, "dhopkins@ulgh.org"
                                                                                                                                                                                                                            <dhopkins@ulgh.org>, "sonal@weact.org"
                                                                                                                                                                                                                            <sonal@weact.org>, "dshuffler@ympj.org"
                                                                                                                                                                                                                            <dshuffler@ympj.org>, "damaris@goles.org"
                                                                                                                                                                                                                            <damaris@goles.org>,
                                                                                                                                                                                                                            "pastorsbartley@yahoo.com"
                                                                                                                                                                                                                            <pastorsbartley@yahoo.com>,
                                                                                                                                                                                                                            "info@southbronxunite.org"                       "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                    Follow‐Up:_CBDTP_‐                       Follow‐Up: CBDTP ‐ Environmental                                               <info@southbronxunite.org>,                      "Carry, William" <WCarry@dot.nyc.gov>, "Choubah, Nick
                                                                                                    _Environmental_Justice_Technical_Advisor Justice Technical Advisory Group Meeting CBDTP Outreach                        "tijanewilliams@gmail.com"                       (DOT)" <Nick.Choubah@dot.ny.gov>, "Angel, Nichola"
833⠀    AR Organization: 05 ‐ Emails         DOT_0040514 DOT_0040515           2    1/13/2023 10:27 y_Group_Meeting__7.eml                   #7                                       <CBDTP.outreach@mtabt.org>            <tijanewilliams@gmail.com>,                      <nangel@mtabt.org>
                                                                                                                                                                                                                                                                             "Dresser, Christopher (FHWA)"
                                                                                                                                                                                                                            "Benjamin.Arielle@epa.gov"                       <christopher.dresser@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                                                                                                            <Benjamin.Arielle@epa.gov>, "Buzzelle, Stanley"  <james.gavin@dot.gov>, "Cogburn, Megan (FHWA)"
                                                                                                                                                                                                                            <Buzzelle.Stanley@epa.gov>, "Schaffer, Anne"     <megan.cogburn@dot.gov>, "Price, Anna (FHWA)"
                                                                                                                                                                                                                            <Schaffer.Anne@epa.gov>, "Parker, Philip"        <anna.price@dot.gov>, "Carter, Lee Ellen (FHWA)"
                                                                                                                                                                                                                            <parker.philip@epa.gov>, "Nyer, Samantha"        <lee.ellen.carter@dot.gov>, "Vaughn‐Fair, Sharon (FHWA)"
                                                                                                                                                                                       "Pavlik, Monica (FHWA)"              <Nyer.Samantha@epa.gov>, "Oldham, Zoe"           <Sharon.Vaughn‐Fair@dot.gov>, "Fogle, Angela (FHWA)"
834⠀    AR Organization: 05 ‐ Emails         DOT_0040516 DOT_0040516           1    1/13/2023 16:23 CBDTP ‐ EJ TAG #7 presentation.msg        CBDTP ‐ EJ TAG #7 presentation           <Monica.Pavlik@dot.gov>              <Oldham.Zoe@epa.gov>                             <Angela.Fogle@dot.gov>

                                                                                                                                                                                       "C. de Cerreno, Allison"             "Richard J. Marquis" <rick.marquis@dot.gov>,    "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
835⠀    AR Organization: 05 ‐ Emails         DOT_0040517 DOT_0040517           1     1/18/2023 9:58 13ef1.eml                              CBDTP Final EA Submission                   <allison.cdecerreno@mtahq.org>       "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>
                                                                                                    CBDTP_Final_EA_Submission_Cvr_Ltr_to_F
836⠀    AR Organization: 06 Correspondence   DOT_0040518 DOT_0040519           2     1/18/2023 9:53 HWA_FIN_v1_1‐18‐23.pdf




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                 Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages        Primary Date     Filename                                Subject                                  From                                  To                                                 Cc

                                                                                                                                                                                                                                                                       "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                       "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Price, Anna
                                                                                                                                                                                                                                                                       (FHWA)" <anna.price@dot.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                "Benjamin, Arielle"                   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <allison.cdecerreno@mtahq.org>, "Marquis, Rick (FHWA)"
837⠀    AR Organization: 05 ‐ Emails   DOT_0040520 DOT_0040522           3     1/18/2023 10:44 RE:_CBDTP_Final_EA_Submission.eml       RE: CBDTP Final EA Submission            <Benjamin.Arielle@epa.gov>            "Burns, Donald (FTA)" <Donald.Burns@dot.gov>     <Rick.Marquis@dot.gov>

                                                                                                                                                                                                                                                                       "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                       "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Price, Anna
                                                                                                                                                                                                                                                                       (FHWA)" <anna.price@dot.gov>, "C. de Cerreno, Allison"
                                                                                                                                                                                "Burns, Donald (FTA)"                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, <allison.cdecerreno@mtahq.org>, "Marquis, Rick (FHWA)"
838⠀    AR Organization: 05 ‐ Emails   DOT_0040523 DOT_0040525           3     1/18/2023 10:44 RE:_CBDTP_Final_EA_Submission.eml       RE: CBDTP Final EA Submission            <Donald.Burns@dot.gov>                "Benjamin, Arielle" <Benjamin.Arielle@epa.gov>   <Rick.Marquis@dot.gov>

                                                                                                                                                                                                                      "C. de Cerreno, Allison"
                                                                                                                                                                                                                      <allison.cdecerreno@mtahq.org>, "Angel, Nichola"
                                                                                                                                                                                                                      <nangel@mtabt.org>, "nick.choubah@dot.ny.gov"
                                                                                               RE:_CBDTP_‐                                                                      "Marquis, Rick (FHWA)"                <nick.choubah@dot.ny.gov>, William Carry
839⠀    AR Organization: 05 ‐ Emails   DOT_0040526 DOT_0040527           2     7/12/2022 17:24 _Submission_of_the_Draft_EA.eml         RE: CBDTP ‐ Submission of the Draft EA   <Rick.Marquis@dot.gov>                <wcarry@dot.nyc.gov>                             "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                                                                         "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                         "Flax, Leah" <leah.flax@mtabt.org>, "Friman, Paul"
                                                                                               RE_ CBDTP Sensitivity Analysis ‐ NYC    RE: CBDTP Sensitivity Analysis ‐ NYC                                                                                              <pfriman@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
                                                                                               Taxi_FHV Fare Increase and 3rd Avenue   Taxi/FHV Fare Increase and 3rd Avenue    "Pavlik, Monica (FHWA)"                                                                  "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
840⠀    AR Organization: 05 ‐ Emails   DOT_0040528 DOT_0040530           3     1/19/2023 18:07 Redesign.msg                            Redesign                                 <Monica.Pavlik@dot.gov>               "Angel, Nichola" <nangel@mtabt.org>                Anna (FHWA)" <anna.price@dot.gov>


                                                                                                                                                                                                                                                                      "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                      "Flax, Leah" <leah.flax@mtabt.org>, "Friman, Paul"
                                                                                               RE_ CBDTP Sensitivity Analysis ‐ NYC    RE: CBDTP Sensitivity Analysis ‐ NYC                                                                                           <pfriman@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
                                                                                               Taxi_FHV Fare Increase and 3rd Avenue   Taxi/FHV Fare Increase and 3rd Avenue                                                                                          "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
841⠀    AR Organization: 05 ‐ Emails   DOT_0040531 DOT_0040533           3      1/20/2023 7:36 Redesign.msg                            Redesign                                 "Angel, Nichola" <nangel@mtabt.org>   "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov> Anna (FHWA)" <anna.price@dot.gov>


                                                                                                                                                                                                                                                                         "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                         "Flax, Leah" <leah.flax@mtabt.org>, "Friman, Paul"
                                                                                               RE:_CBDTP_Sensitivity_Analysis_‐      RE: CBDTP Sensitivity Analysis ‐ NYC                                                                                                <pfriman@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
                                                                                               _NYC_Taxi_FHV_Fare_Increase_and_3rd_A Taxi/FHV Fare Increase and 3rd Avenue      "Pavlik, Monica (FHWA)"                                                                  "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
842⠀    AR Organization: 05 ‐ Emails   DOT_0040534 DOT_0040536           3     1/19/2023 18:07 venue_Redesign.eml                    Redesign                                   <Monica.Pavlik@dot.gov>               "Angel, Nichola" <nangel@mtabt.org>                Anna (FHWA)" <anna.price@dot.gov>
                                                                                               RE_ Action Required_ NYSDOT R11 ITS   RE: Action Required: NYSDOT R11 ITS        "OConnor, Arthur (FHWA)"
843⠀    AR Organization: 05 ‐ Emails   DOT_0040537 DOT_0040539           3      2/2/2023 16:12 Architecture Review.msg               Architecture Review                        <Arthur.OConnor@dot.gov>              "'Anu ("AJ") J. Lahiri'" <ajl@consystec.com>       "rsj@consystec.com" <rsj@consystec.com>

                                                                                                                                                                                                                      "rick.marquis@dot.gov" <rick.marquis@dot.gov>,
                                                                                            FW:_Testimony_Submitted_for_Record.e                                                "C. de Cerreno, Allison"              "nick.choubah@dot.ny.gov"
844⠀    AR Organization: 05 ‐ Emails   DOT_0040540 DOT_0040540           1 11/18/2022 14:02 ml                                         FW: Testimony Submitted for Record       <allison.cdecerreno@mtahq.org>        <nick.choubah@dot.ny.gov>                          "Friman, Paul" <pfriman@mtabt.org>
                                                                                                                                                                                "Pavlik, Monica (FHWA)"               "Benjamin.Arielle@epa.gov"
845⠀    AR Organization: 05 ‐ Emails   DOT_0040541 DOT_0040541           1     2/23/2023 12:49 FYI.msg                                FYI                                       <Monica.Pavlik@dot.gov>               <Benjamin.Arielle@epa.gov>
                                                                                               Mitigation_and_Monitoring_Guidance_14J
846⠀    AR Organization: 04 ‐ Misc     DOT_0040542 DOT_0040561           20     1/14/2011 9:51 an2011.pdf

                                                                                                                                                                                                                      "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                "Benjamin, Arielle"                   About OMS Managing Editors <About‐OMS‐
847⠀    AR Organization: 05 ‐ Emails   DOT_0040562 DOT_0040562           1     2/23/2023 14:48 13e93.eml                               RE: FYI                                  <Benjamin.Arielle@epa.gov>            Managing‐Editors@epa.gov>

                                                                                                                                                                                                                                                                         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                "Marquis, Rick (FHWA)"                "C. de Cerreno, Allison"                           "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
848⠀    AR Organization: 05 ‐ Emails   DOT_0040563 DOT_0040563           1      3/1/2023 14:43 14253.eml                               RE: Final EA resubmission                <Rick.Marquis@dot.gov>                <allison.cdecerreno@mtahq.org>                     "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>

                                                                                                                                                                                                                      "rick.marquis@dot.gov" <rick.marquis@dot.gov>,
                                                                                                                                                                                                                      "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>,
                                                                                                                                                                                "C. de Cerreno, Allison"              "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐       "Friman, Paul" <pfriman@mtabt.org>, "Oliva, Louis"
849⠀    AR Organization: 05 ‐ Emails   DOT_0040564 DOT_0040564           1     3/10/2023 16:45 CBDTP_‐_language_edits.eml              CBDTP ‐ language edits                   <allison.cdecerreno@mtahq.org>        Fair@dot.gov>                                      <LOLIVA@mtahq.org>




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                                                                                                                                                                                                                       David Henley <davidhenley@gmail.com>,             "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Price,
                                                                                                                                               RE: Congestion Pricing Status ‐ New York "Fogle, Angela (FHWA)"         "Greenberg, Allen (FHWA)"                         Anna (FHWA)" <anna.price@dot.gov>, "Pavlik, Monica
850⠀    AR Organization: 05 ‐ Emails         DOT_0040565 DOT_0040565           1     3/14/2023 7:02 13ad1.eml                                  City                                     <Angela.Fogle@dot.gov>         <Allen.Greenberg@dot.gov>                         (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                       "rick.marquis@dot.gov" <rick.marquis@dot.gov>,
                                                                                                                                                                                                                       "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>,
                                                                                                    RE:_CBDTP_‐                                RE: CBDTP ‐ mitigation/enhancement     "C. de Cerreno, Allison"         "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐      "Oliva, Louis" <LOLIVA@mtahq.org>, "Friman, Paul"
851⠀    AR Organization: 05 ‐ Emails         DOT_0040566 DOT_0040566           1    3/14/2023 14:20 _mitigation_enhancement_table.eml          table                                  <allison.cdecerreno@mtahq.org>   Fair@dot.gov>                                     <pfriman@mtabt.org>

                                                                                                                                                                                                                       "rick.marquis@dot.gov" <rick.marquis@dot.gov>,
                                                                                                                                                                                                                       "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>,
                                                                                                                                                                                      "C. de Cerreno, Allison"         "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐      "Oliva, Louis" <LOLIVA@mtahq.org>, "Friman, Paul"
852⠀    AR Organization: 05 ‐ Emails         DOT_0040567 DOT_0040567           1    3/21/2023 15:52 CBDTP ‐ low‐income discount.msg            CBDTP ‐ low‐income discount            <allison.cdecerreno@mtahq.org>   Fair@dot.gov>                                     <pfriman@mtabt.org>
                                                                                                                                                                                                                                                                         "Friman, Paul" <pfriman@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                                         <LOLIVA@mtahq.org>, "Vaughn‐Fair, Sharon (FHWA)"
                                                                                                                                                                                      "Marquis, Rick (FHWA)"                                                             <Sharon.Vaughn‐Fair@dot.gov>, "Biondi, Emily (FHWA)"
853⠀    AR Organization: 05 ‐ Emails         DOT_0040568 DOT_0040569           2     3/28/2023 6:43 RE_ Section 508 Compliance.msg             RE: Section 508 Compliance             <Rick.Marquis@dot.gov>           "Wojnar, Michael" <mwojnar@mtahq.org>             <Emily.Biondi@dot.gov>

                                                                                                                                                                                                                                                                    "DeRuchie, Lizabeth" <liz@njtpa.org>, "Rick Cippoletti
                                                                                                                                                                                                                                                                    (rcippoletti@njtpa.org)" <rcippoletti@njtpa.org>, "Angel,
                                                                                                                                                                                                                                                                    Nichola" <nangel@mtabt.org>, "C. de Cerreno, Allison"
                                                                                                                                                                                                                                                                    <allison.cdecerreno@mtahq.org>, "Flax, Leah"
                                                                                                                                                                                      "Schneider, Josh"                                                             <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
854⠀    AR Organization: 05 ‐ Emails         DOT_0040570 DOT_0040571           2    4/17/2023 10:11 RE CBD Tolling Information.msg             RE: CBD Tolling Information            <JSchneider@mtabt.org>           "Kusuma, Markus" <Markus.Kusuma@stantec.com> "Friman, Paul" <pfriman@mtabt.org>

                                                                                                                                                                                                                                                                         "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                                                                                                         Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                      "C. de Cerreno, Allison"                                                           "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
855⠀    AR Organization: 05 ‐ Emails         DOT_0040572 DOT_0040572           1    4/25/2023 16:09 CBDTP 508‐Compliant submission.msg     CBDTP 508‐Compliant submission             <allison.cdecerreno@mtahq.org>   "rick.marquis@dot.gov" <rick.marquis@dot.gov>     "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>
                                                                                                    CBDTP_FinalEA_508_submission_CvrLtr_to
856⠀    AR Organization: 06 Correspondence   DOT_0040573 DOT_0040573           1    4/25/2023 16:05 _FHWA_FIN_v1_4‐25‐23.pdf
                                                                                                                                                                                                                                                                         "Friman, Paul" <pfriman@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                                         <LOLIVA@mtahq.org>, "Biondi, Emily (FHWA)"
                                                                                                                                                                                      "Marquis, Rick (FHWA)"           "C. de Cerreno, Allison"                          <Emily.Biondi@dot.gov>, "Powell, Vanessa (FHWA)"
857⠀    AR Organization: 05 ‐ Emails         DOT_0040574 DOT_0040574           1    4/26/2023 13:24 RE_ Exec Summary Updated.msg               RE: Exec Summary Updated               <Rick.Marquis@dot.gov>           <allison.cdecerreno@mtahq.org>                    <Vanessa.Powell@dot.gov>

                                                                                                    FW_ EIS Filing Deadlines for Memorial Day FW: EIS Filing Deadlines for Memorial   "Benjamin, Arielle"
858⠀    AR Organization: 05 ‐ Emails         DOT_0040575 DOT_0040576           2     5/2/2023 17:21 Weekend and Juneteenth.msg                Day Weekend and Juneteenth              <Benjamin.Arielle@epa.gov>       "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                                                                         "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                                                                                                         Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                                                                                                         "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                         "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Wojnar,
                                                                                                                                                                                      "Marquis, Rick (FHWA)"           "C. de Cerreno, Allison"                          Michael" <mwojnar@mtahq.org>, "Pavlik, Monica (FHWA)"
859⠀    AR Organization: 05 ‐ Emails         DOT_0040577 DOT_0040578           2     5/5/2023 15:59 11d14.eml                                  RE: CBDTP 508‐Compliant submission     <Rick.Marquis@dot.gov>           <allison.cdecerreno@mtahq.org>                    <Monica.Pavlik@dot.gov>

                                                                                                    CBDTP_FHWA_Final_EA_30_Day_Public_N
860⠀    AR Organization: 06 Correspondence   DOT_0040579 DOT_0040580           2     5/5/2023 10:55 otice_Approval_Letter_05052023.pdf

                                                                                                                                                                                                                                                                         "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                                                                                                         Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                                                                                                         "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                         "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Wojnar,
                                                                                                    Re_ CBDTP 508‐Compliant submission                                                "C. de Cerreno, Allison"                                                           Michael" <mwojnar@mtahq.org>, "Pavlik, Monica (FHWA)"
861⠀    AR Organization: 05 ‐ Emails         DOT_0040581 DOT_0040582           2     5/5/2023 16:01 (32).msg                                   Re: CBDTP 508‐Compliant submission     <allison.cdecerreno@mtahq.org>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>     <Monica.Pavlik@dot.gov>




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                                                                                                                                                                                                                                                                             "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                                                                                                             Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                                                                                                             "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                             "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Wojnar,
                                                                                                   RE_ CBDTP 508‐Compliant submission                                                 "Marquis, Rick (FHWA)"                "C. de Cerreno, Allison"                         Michael" <mwojnar@mtahq.org>, "Pavlik, Monica (FHWA)"
862⠀    AR Organization: 05 ‐ Emails       DOT_0040583 DOT_0040584           2      5/5/2023 16:08 (33).msg                                  RE: CBDTP 508‐Compliant submission       <Rick.Marquis@dot.gov>                <allison.cdecerreno@mtahq.org>                   <Monica.Pavlik@dot.gov>
                                                                                                                                                                                      "Pavlik, Monica (FHWA)"               "Benjamin.Arielle@epa.gov"
863⠀    AR Organization: 05 ‐ Emails       DOT_0040585 DOT_0040586           2      5/5/2023 17:28 FW_ CBDTP (24).msg                        FW: CBDTP                                <Monica.Pavlik@dot.gov>               <Benjamin.Arielle@epa.gov>

                                                                                                                                                                                                                                                                             "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                                                                                                             Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                                                            "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,   "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                      "Pavlik, Monica (FHWA)"               "C. de Cerreno, Allison"                         "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Wojnar,
864⠀    AR Organization: 05 ‐ Emails       DOT_0040587 DOT_0040588            2     5/5/2023 18:17 RE_ CBDTP 508‐Compliant submission.msg RE: CBDTP 508‐Compliant submission          <Monica.Pavlik@dot.gov>               <allison.cdecerreno@mtahq.org>                   Michael" <mwojnar@mtahq.org>
865⠀    AR Organization: 01‐ FONSI         DOT_0040589 DOT_0040619           31     5/5/2023 18:16 Draft_FONSI.docx

                                                                                                                                                                                                                                                                             "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>, "Vaughn‐
                                                                                                                                                                                                                                                                             Fair, Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>,
                                                                                                                                                                                                                                                                             "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                             "WCarry@dot.nyc.gov" <wcarry@dot.nyc.gov>, "Wojnar,
                                                                                                   RE_ CBDTP 508‐Compliant submission                                                 "Marquis, Rick (FHWA)"                "C. de Cerreno, Allison"                         Michael" <mwojnar@mtahq.org>, "Pavlik, Monica (FHWA)"
866⠀    AR Organization: 05 ‐ Emails       DOT_0040620 DOT_0040621           2      5/5/2023 18:20 (35).msg                                  RE: CBDTP 508‐Compliant submission       <Rick.Marquis@dot.gov>                <allison.cdecerreno@mtahq.org>                   <Monica.Pavlik@dot.gov>
                                                                                                   FW_ Briefing on the CBDTP Final EA        FW: Briefing on the CBDTP Final EA       Kara.Hogan@dot.gov Hogan, Kara E
867⠀    AR Organization: 05 ‐ Emails       DOT_0040622 DOT_0040623           2      5/8/2023 10:25 Tomorrow 5_9....pdf                       Tomorrow 5/9 10 AM                       (FHWA)                                LaurynRandall2@shinnecock.org Lauryn Randall     Jasoncofield@shinnecock.org Jason Cofield

                                                                                                                                                                                                                            Monica Pavlik <monica.pavlik@dot.gov>, "Price,
868⠀    AR Organization: 05 ‐ Emails       DOT_0040624 DOT_0040624           1        5/8/2023 7:37 13b0d.eml                                RE: Fed Invite Lists ‐ Feedback Requested "Flax, Leah" <leah.flax@mtabt.org>   Anna (FHWA)" <anna.price@dot.gov>                "Phillips, Tanisa" <tanisa.phillips@mtabt.org>
                                                                                                                                                                                                                            "Goodman, Stephen (FTA)"
                                                                                                                                                                                                                            <stephen.goodman@dot.gov>,
                                                                                                                                                                                                                            "kluesner.dave@epa.gov"
                                                                                                                                                                                                                            <kluesner.dave@epa.gov>, "Eberle, Mark D"
                                                                                                                                                                                                                            <mark_eberle@nps.gov>,
                                                                                                                                             Briefing on CBDTP Final EA Tomorrow 10 "Price, Anna (FHWA)"                    "Erik.Kulleseid@parks.ny.gov"                    "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
869⠀    AR Organization: 05 ‐ Emails       DOT_0040625 DOT_0040625           1        5/8/2023 9:54 12ef5.eml                                am                                     <anna.price@dot.gov>                    <Erik.Kulleseid@parks.ny.gov>                    Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                                                                                                             "Hogan, Kara E (FHWA)" <Kara.Hogan@dot.gov>, "Marquis,
                                                                                                   Briefing on the CBDTP Final EA Tomorrow   Briefing on the CBDTP Final EA Tomorrow "Price, Anna (FHWA)"                   "LaurynRandall2@shinnecock.org"                  Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik, Monica
870⠀    AR Organization: 05 ‐ Emails       DOT_0040626 DOT_0040626           1      5/8/2023 10:17 5_9 10 AM.pdf                             5/9 10 AM                               <anna.price@dot.gov>                   <LaurynRandall2@shinnecock.org>                  (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                     "Pavlik, Monica (FHWA)"                "Benjamin.Arielle@epa.gov"
871⠀    AR Organization: 05 ‐ Emails       DOT_0040627 DOT_0040627           1      5/8/2023 15:01 CBDTP ‐ close hold (18).msg               CBDTP ‐ close hold                      <Monica.Pavlik@dot.gov>                <Benjamin.Arielle@epa.gov>
        AR Organization: 02 ‐ FINAL EA +                                                           00_Executive_Summary_FINAL_03‐
872⠀    Appendices                         DOT_0040628 DOT_0040681           54    4/26/2023 20:25 2023.pdf
                                                                                                                                        CBDTP Final EA briefing tomorrow 5/9 10 "Price, Anna (FHWA)"                        "Brazee, Olivia (PARKS)"                         "Flax, Leah" <leah.flax@mtabt.org>, "Pavlik, Monica (FHWA)"
873⠀    AR Organization: 05 ‐ Emails       DOT_0040682 DOT_0040682           1      5/8/2023 15:07 12eec.eml                            am                                      <anna.price@dot.gov>                        <olivia.brazee@parks.ny.gov>                     <Monica.Pavlik@dot.gov>
                                                                                                   SHPO_Invite_Letter_from_FHWA_2023_df
874⠀    AR Organization: 08 ‐ Meeting      DOT_0040683 DOT_0040684           2      5/8/2023 11:09 tv3_050823.pdf




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                                                                                             New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                   Administrative Record



Row #   AR Organization                 Bates Beg   Bates End     Pages       Primary Date     Filename                                  Subject                                  From                                  To                                                 Cc




                                                                                                                                                                                                                        "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                        "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                                        "Price, Anna (FHWA)" <anna.price@dot.gov>, "C. de
                                                                                                                                                                                                                        Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                        "Angel, Nichola" <nangel@mtabt.org>, "Friman,
                                                                                                                                                                                                                        Paul" <pfriman@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                        <LOLIVA@mtahq.org>, "Lewis, Michael"
                                                                                                                                                                                                                        <Michael.Lewis@hdrinc.com>, "Wojnar, Michael"
                                                                                                                                                                                                                        <mwojnar@mtahq.org>, "Timoney, Caitlin"
                                                                                                                                                                                                                        <Caitlin.Timoney@hdrinc.com>, "Spierer, Hannah"
                                                                                                                                                                                                                        <hannah.spierer@mtahq.org>, "Michaelson,
                                                                                                                                                                                                                        Juliette" <Juliette.Michaelson@mtacd.org>,
                                                                                                                                         RE: Draft FONSI and Presentation Review                                        Elizabeth Knauer <eknauer@sprlaw.com>, Mark       "Graves, Paige" <Paige.Graves@mtahq.org>, "Vaughn‐Fair,
875⠀    AR Organization: 05 ‐ Emails    DOT_0040685 DOT_0040686           2     5/8/2023 15:50 13b07.eml                                 with FHWA                               "Flax, Leah" <leah.flax@mtabt.org>     Chertok <mchertok@sprlaw.com>                     Sharon (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>

                                                                                                                                                                                                                        "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                  "Marquis, Rick (FHWA)"                "Price, Anna (FHWA)" <anna.price@dot.gov>,
876⠀    AR Organization: 05 ‐ Emails    DOT_0040687 DOT_0040687           1       5/9/2023 6:47 11cd9.eml                                CBDTP                                    <Rick.Marquis@dot.gov>                CBDTP <CBDTP@dot.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               CBDTP_Agency_Invitation_Letter_‐       CBDTP Agency Invitation Letter ‐ Carl J.                                                                                             Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
877⠀    AR Organization: 05 ‐ Emails    DOT_0040688 DOT_0040688           1      5/9/2023 6:47 _Carl_J._Amento.eml                    Amento                                      "Flax, Leah" <leah.flax@mtabt.org>    "camento@scrcog.org" <camento@scrcog.org>          <WCarry@dot.nyc.gov>
                                                                                               CBDTP_Meeting_Invitation_051123_Carl_J
878⠀    AR Organization: 08 ‐ Meeting   DOT_0040689 DOT_0040689           1     5/8/2023 15:37 ._Amento.pdf

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               CBDTP_Agency_Invitation_Letter_‐       CBDTP Agency Invitation Letter ‐ Francis                                          "fpickering@westcog.org"                           Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
879⠀    AR Organization: 05 ‐ Emails    DOT_0040690 DOT_0040690           1      5/9/2023 6:47 _Francis_Pickering.eml                 Pickering                                "Flax, Leah" <leah.flax@mtabt.org>       <fpickering@westcog.org>                           <WCarry@dot.nyc.gov>
                                                                                               CBDTP_Meeting_Invitation_051123_Franci
880⠀    AR Organization: 08 ‐ Meeting   DOT_0040691 DOT_0040691           1     5/8/2023 15:37 s_Pickering.pdf

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                CBDTP_Agency_Invitation_Letter_‐         CBDTP Agency Invitation Letter ‐ Harry B.                                                                                         Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
881⠀    AR Organization: 05 ‐ Emails    DOT_0040692 DOT_0040692           1       5/9/2023 6:47 _Harry_B(1)._Wallace.eml                 Wallace                                   "Flax, Leah" <leah.flax@mtabt.org>   "hwall@aol.comn" <hwall@aol.comn>                  <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               CBDTP_Agency_Invitation_Letter_‐      CBDTP Agency Invitation Letter ‐ Harry B.                                                                                             Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
882⠀    AR Organization: 05 ‐ Emails    DOT_0040693 DOT_0040693           1      5/9/2023 6:47 _Harry_B._Wallace.eml                 Wallace                                   "Flax, Leah" <leah.flax@mtabt.org>       "hwall@aol.com" <hwall@aol.com>                    <WCarry@dot.nyc.gov>
                                                                                               CBDTP_Meeting_Invitation_051123_Harry
883⠀    AR Organization: 08 ‐ Meeting   DOT_0040694 DOT_0040694           1     5/8/2023 15:37 _B._Wallace_.pdf

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                CBDTP_Agency_Invitation_Letter_‐         CBDTP Agency Invitation Letter ‐ Richard                                                                                          Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
884⠀    AR Organization: 05 ‐ Emails    DOT_0040695 DOT_0040695           1       5/9/2023 6:47 _Richard_Velky(1).eml                    Velky                                    "Flax, Leah" <leah.flax@mtabt.org>    "STN1966@yahoo.com" <STN1966@yahoo.com>            <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                CBDTP_Agency_Invitation_Letter_‐         CBDTP Agency Invitation Letter ‐ Richard                                                                                          Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
885⠀    AR Organization: 05 ‐ Emails    DOT_0040696 DOT_0040696           1       5/9/2023 6:47 _Richard_Velky(2).eml                    Velky                                    "Flax, Leah" <leah.flax@mtabt.org>    "STN1966@yahoo.com" <STN1966@yahoo.com>            <WCarry@dot.nyc.gov>




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                                                                                             New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                Administrative Record



Row #   AR Organization                 Bates Beg   Bates End     Pages       Primary Date     Filename                               Subject                                  From                                   To                                                   Cc
                                                                                               CBDTP_Meeting_Invitation_051123_Richar
886⠀    AR Organization: 08 ‐ Meeting   DOT_0040697 DOT_0040697           1     5/8/2023 15:37 d_Velky.pdf

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                CBDTP_Agency_Invitation_Letter_‐       CBDTP Agency Invitation Letter ‐ Richard                                                                                            Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
887⠀    AR Organization: 05 ‐ Emails    DOT_0040698 DOT_0040698           1       5/9/2023 6:47 _Richard_Velky.eml                     Velky                                    "Flax, Leah" <leah.flax@mtabt.org>    "STN1699@yahoo.com" <STN1699@yahoo.com>              <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                  "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                  Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               CBDTP_Agency_Invitation_Letter_‐      CBDTP Agency Invitation Letter ‐ The                                                                                         Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
888⠀    AR Organization: 05 ‐ Emails    DOT_0040699 DOT_0040699           1      5/9/2023 6:47 _The_Golden_Hill_Paugussett(1).eml    Golden Hill Paugussett                    "Flax, Leah" <leah.flax@mtabt.org>     "jewel4198@yahoo.com" <jewel4198@yahoo.com> <WCarry@dot.nyc.gov>
                                                                                               CBDTP_Meeting_Invitation_051123_The_G
889⠀    AR Organization: 08 ‐ Meeting   DOT_0040700 DOT_0040700           1     5/8/2023 15:37 olden_Hill_Paugussett.pdf

                                                                                                                                                                                                                                                                  "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                  Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                CBDTP_Agency_Invitation_Letter_‐       CBDTP Agency Invitation Letter ‐ The                                                                                       Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
890⠀    AR Organization: 05 ‐ Emails    DOT_0040701 DOT_0040701           1       5/9/2023 6:47 _The_Golden_Hill_Paugussett.eml        Golden Hill Paugussett                  "Flax, Leah" <leah.flax@mtabt.org>     "jewel4198@yahoo.com" <jewel4198@yahoo.com> <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               RE:_CBDTP_Agency_Invitation_Letter_‐  RE: CBDTP Agency Invitation Letter ‐                                                                                                  Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
891⠀    AR Organization: 05 ‐ Emails    DOT_0040702 DOT_0040703           2      5/9/2023 6:47 _Ariella_Maron.eml                    Ariella Maron                             "Flax, Leah" <leah.flax@mtabt.org>     "amaron@dvrpc.org" <amaron@dvrpc.org>                <WCarry@dot.nyc.gov>
                                                                                               CBDTP_Meeting_Invitation_051123_Barry
892⠀    AR Organization: 08 ‐ Meeting   DOT_0040704 DOT_0040704           1     5/8/2023 15:37 _Seymour.pdf

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                RE:_CBDTP_Agency_Invitation_Letter_‐   RE: CBDTP Agency Invitation Letter ‐                                                                                                Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
893⠀    AR Organization: 05 ‐ Emails    DOT_0040705 DOT_0040706           2       5/9/2023 6:47 _David_Behrend(1).eml                  David Behrend                           "Behrend, David" <DBehrend@njtpa.org> "Flax, Leah" <leah.flax@mtabt.org>                    <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                RE:_CBDTP_Agency_Invitation_Letter_‐   RE: CBDTP Agency Invitation Letter ‐                                                                                                Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
894⠀    AR Organization: 05 ‐ Emails    DOT_0040707 DOT_0040708           2       5/9/2023 6:47 _David_Behrend.eml                     David Behrend                           "Flax, Leah" <leah.flax@mtabt.org>     "Behrend, David" <DBehrend@njtpa.org>                <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT)" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                                                                                           Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                                                                           <WCarry@dot.nyc.gov>, "Elder, David C"
                                                                                                                                                                                                                                                                           <David.Elder@ct.gov>, "Bell, Robert E."
                                                                                                RE:_CBDTP_Agency_Invitation_Letter_‐   RE: CBDTP Agency Invitation Letter ‐    "Eucalitto, Garrett T."                                                                     <Robert.E.Bell@ct.gov>, "Lesay, Kimberly C"
895⠀    AR Organization: 05 ‐ Emails    DOT_0040709 DOT_0040710           2       5/9/2023 6:47 _Garrett_Eucalitto(1).eml              Garrett Eucalitto                       <Garrett.Eucalitto@ct.gov>             "Flax, Leah" <leah.flax@mtabt.org>                   <Kimberly.Lesay@ct.gov>

                                                                                                                                                                                                                                                                           "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                           Nick (DOT)" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                                                                                           Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                                                                           <WCarry@dot.nyc.gov>, "Elder, David C"
                                                                                                                                                                                                                                                                           <David.Elder@ct.gov>, "Bell, Robert E."
                                                                                                RE:_CBDTP_Agency_Invitation_Letter_‐   RE: CBDTP Agency Invitation Letter ‐                                                                                                <Robert.E.Bell@ct.gov>, "Lesay, Kimberly C"
896⠀    AR Organization: 05 ‐ Emails    DOT_0040711 DOT_0040712           2       5/9/2023 6:47 _Garrett_Eucalitto.eml                 Garrett Eucalitto                       "Flax, Leah" <leah.flax@mtabt.org>     "Eucalitto, Garrett T." <Garrett.Eucalitto@ct.gov>   <Kimberly.Lesay@ct.gov>

                                                                                                                                                                                                                                                                      "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                      Nick (DOT)" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                RE:_CBDTP_Agency_Invitation_Letter_‐   RE: CBDTP Agency Invitation Letter ‐                                                                                           Allison" <allison.cdecerreno@mtahq.org>,
897⠀    AR Organization: 05 ‐ Emails    DOT_0040713 DOT_0040714           2       5/9/2023 6:47 _Gerry_Bogacz.eml                      Gerry Bogacz                            "Flax, Leah" <leah.flax@mtabt.org>     "Bogacz, Gerry (DOT)" <Gerry.Bogacz@dot.ny.gov> "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                Subject                                  From                                   To                                                 Cc

                                                                                                                                                                                                                                                                         "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                                                                                         Allison" <allison.cdecerreno@mtahq.org>, wcarry
                                                                                                                                                                                                                                                                         <wcarry@dot.nyc.gov>, "Palladino, Robert J. (CCAPRJP)"
                                                                                               RE:_CBDTP_Agency_Invitation_Letter_‐   RE: CBDTP Agency Invitation Letter ‐                                            "Colangelo‐Bryan, Jeremy C. (CPLNJCB)"             <RPalladino@njtransit.com>, "Safer, Mathew A. (CCAPMAS)"
898⠀    AR Organization: 05 ‐ Emails   DOT_0040715 DOT_0040716           2       5/9/2023 6:47 _Kevin_Corbett.eml                     Kevin Corbett                            "Flax, Leah" <leah.flax@mtabt.org>     <JColangelo‐bryan@njtransit.com>                   <MSafer@njtransit.com>

                                                                                                                                                                                                                                                                         "Rick.Marquis@dot.gov" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                         Nick (DOT)" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               Re:_CBDTP_Agency_Invitation_Letter_‐   Re: CBDTP Agency Invitation Letter ‐     "Bogacz, Gerry (DOT)"                                                                     Allison" <allison.cdecerreno@mtahq.org>,
899⠀    AR Organization: 05 ‐ Emails   DOT_0040717 DOT_0040718           2       5/9/2023 6:47 _Gerry_Bogacz.eml                      Gerry Bogacz                             <Gerry.Bogacz@dot.ny.gov>              "Flax, Leah" <leah.flax@mtabt.org>                 "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>




                                                                                                                                                                                                                      "Flax, Leah" <leah.flax@mtabt.org>, "Dan Garodnick
                                                                                                                                                                                                                      (DCP)" <DGarodnick@planning.nyc.gov>,
                                                                                                                                                                                                                      "Stephanie Shellooe (DCP)"                         "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      <SSHELLOOE@planning.nyc.gov>, "Susan Amron         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                               Re:_[EXTERNAL]_CBDTP_Agency_Invitation Re: [EXTERNAL] CBDTP Agency Invitation "Laura Smith (DCP)"                      (DCP)" <SAmron@planning.nyc.gov>, "Conor Clarke Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
900⠀    AR Organization: 05 ‐ Emails   DOT_0040719 DOT_0040720           2       5/9/2023 6:47 _Letter_‐_Daniel_Garodnick.eml         Letter ‐ Daniel Garodnick              <LSMITH@planning.nyc.gov>                (DCP)" <CCLARKE@planning.nyc.gov>                  <wcarry@dot.nyc.gov>
                                                                                                                                                                                                                                                                         "Oliva, Louis" <LOLIVA@mtahq.org>, "Vaughn‐Fair, Sharon
                                                                                                                                                                                                                                                                         (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>, "Pavlik, Monica
                                                                                                                                      RE: New publications added to MTA's      "Marquis, Rick (FHWA)"                                                                    (FHWA)" <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)"
901⠀    AR Organization: 05 ‐ Emails   DOT_0040721 DOT_0040722           2     5/9/2023 13:30 1346d.eml                               public advertising list                  <Rick.Marquis@dot.gov>                 "Wojnar, Michael" <mwojnar@mtahq.org>              <anna.price@dot.gov>

                                                                                                                                                                                                                      "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                               "Marquis, Rick (FHWA)"                 "Price, Anna (FHWA)" <anna.price@dot.gov>,
902⠀    AR Organization: 05 ‐ Emails   DOT_0040723 DOT_0040723           1    5/10/2023 10:39 11cb4.eml                               CBDTP                                    <Rick.Marquis@dot.gov>                 CBDTP <CBDTP@dot.gov>

                                                                                                                                                                                                                      "octc@orangecountygov.com"                         "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      <octc@orangecountygov.com>,                        Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐ Alan                                       "asorensen@orangecountygov.com"                    Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
903⠀    AR Organization: 05 ‐ Emails   DOT_0040724 DOT_0040725           2    5/10/2023 10:39 _Alan_Sorensen.eml                      Sorensen                                  "Flax, Leah" <leah.flax@mtabt.org>    <asorensen@orangecountygov.com>                    <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                         "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐ Carl                                                                                          Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
904⠀    AR Organization: 05 ‐ Emails   DOT_0040726 DOT_0040727           2    5/10/2023 10:39 _Carl_J._Amento.eml                     J. Amento                                 "Flax, Leah" <leah.flax@mtabt.org>    "camento@scrcog.org" <camento@scrcog.org>          <WCarry@dot.nyc.gov>

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                                                                                                                                                                                                                                                                         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐                                                                                               Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
905⠀    AR Organization: 05 ‐ Emails   DOT_0040728 DOT_0040729           2    5/10/2023 10:39 _David_Behrend.eml                      David Behrend                            "Behrend, David" <DBehrend@njtpa.org> "Flax, Leah" <leah.flax@mtabt.org>                  <WCarry@dot.nyc.gov>




                                                                                                                                                                                                                      "Adams, Lisa [DOT]" <Lisa.Adams@dot.nj.gov>,
                                                                                                                                                                                                                      "Gutierrez‐Scaccetti, Diane [DOT]"                 "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      <Diane.Scaccetti@dot.nj.gov>, "Swords, Andrew      Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐                                            [DOT]" <andrew.swords@dot.nj.gov>, "Russo,         Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
906⠀    AR Organization: 05 ‐ Emails   DOT_0040730 DOT_0040731           2    5/10/2023 10:39 _Diane_Gutierrez‐Scaccetti.eml          Diane Gutierrez‐Scaccetti                "Flax, Leah" <leah.flax@mtabt.org>     Michael [DOT]" <Mike.Russo@dot.nj.gov>             <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                         "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐                                                                                               Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
907⠀    AR Organization: 05 ‐ Emails   DOT_0040732 DOT_0040733           2    5/10/2023 10:39 _Harry_B._Wallace.eml                   Harry B. Wallace                         "Flax, Leah" <leah.flax@mtabt.org>     "hwall@aol.com" <hwall@aol.com>                    <WCarry@dot.nyc.gov>

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                                                                                                                                                                                                                                                                         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐    RE: CBDTP Agency Invitation Letter ‐                                            "HSemel@cityhall.nyc.gov"                          Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
908⠀    AR Organization: 05 ‐ Emails   DOT_0040734 DOT_0040735           2    5/10/2023 10:39 _Hilary_Semel.eml                       Hilary Semel                             "Flax, Leah" <leah.flax@mtabt.org>     <HSemel@cityhall.nyc.gov>                          <WCarry@dot.nyc.gov>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                                 Administrative Record



Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                 Subject                                  From                                  To                                               Cc

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                       Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐                                           "jackie.bray@dhses.ny.gov"                       Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
909⠀    AR Organization: 05 ‐ Emails   DOT_0040736 DOT_0040737           2    5/10/2023 10:39 _Jackie_Bray.eml                         Jackie Bray                              "Flax, Leah" <leah.flax@mtabt.org>    <jackie.bray@dhses.ny.gov>                       <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                       Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐ John                                                                                       Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
910⠀    AR Organization: 05 ‐ Emails   DOT_0040738 DOT_0040739           2    5/10/2023 10:39 _John_M._Keller.eml                      M. Keller                                 "Flax, Leah" <leah.flax@mtabt.org>   "keller@njta.com" <keller@njta.com>              <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                  "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                  Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐                                                                                       Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
911⠀    AR Organization: 05 ‐ Emails   DOT_0040740 DOT_0040741           2    5/10/2023 10:39 _Mark_Debald.eml                         Mark Debald                              "Flax, Leah" <leah.flax@mtabt.org>    "DCTC@dutchessny.gov" <DCTC@dutchessny.gov> <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                       Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐                                                                                            Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
912⠀    AR Organization: 05 ‐ Emails   DOT_0040742 DOT_0040743           2    5/10/2023 10:39 _Richard_Velky.eml                       Richard Velky                            "Flax, Leah" <leah.flax@mtabt.org>    "STN1699@yahoo.com" <STN1699@yahoo.com>          <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      "rcotton@panynj.gov" <rcotton@panynj.gov>,       Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐ Rick                                      "mkmurphy@panynj.gov"                            Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
913⠀    AR Organization: 05 ‐ Emails   DOT_0040744 DOT_0040745           2    5/10/2023 10:39 _Rick_Cotton.eml                         Cotton                                    "Flax, Leah" <leah.flax@mtabt.org>   <mkmurphy@panynj.gov>                            <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      "raggarwala@dep.nyc.gov"                         Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐                                           <raggarwala@dep.nyc.gov>,                        Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
914⠀    AR Organization: 05 ‐ Emails   DOT_0040746 DOT_0040747           2    5/10/2023 10:39 _Rohit_T._Aggarwala.eml                  Rohit T. Aggarwala                       "Flax, Leah" <leah.flax@mtabt.org>    "ccawley@dep.nyc.gov" <ccawley@dep.nyc.gov>      <WCarry@dot.nyc.gov>
                                                                                                                                                                                                                      "susan.donoghue@parks.nyc.gov"
                                                                                                                                                                                                                      <susan.donoghue@parks.nyc.gov>,
                                                                                                                                                                                                                      "Lindsay.Quartini@parks.nyc.gov"                 "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      <Lindsay.Quartini@parks.nyc.gov>,                Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐                                           "Meredith.griffin@parks.nyc.gov"                 Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
915⠀    AR Organization: 05 ‐ Emails   DOT_0040748 DOT_0040749           2    5/10/2023 10:39 _Susan_Donoghue.eml                      Susan Donoghue                           "Flax, Leah" <leah.flax@mtabt.org>    <Meredith.griffin@parks.nyc.gov>                 <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                  "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                  Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE:_CBDTP_Agency_Invitation_Letter_‐     RE: CBDTP Agency Invitation Letter ‐ The                                                                                   Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
916⠀    AR Organization: 05 ‐ Emails   DOT_0040750 DOT_0040751           2    5/10/2023 10:39 _The_Golden_Hill_Paugussett.eml          Golden Hill Paugussett                   "Flax, Leah" <leah.flax@mtabt.org>    "jewel4198@yahoo.com" <jewel4198@yahoo.com> <WCarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                      "Quartini, Lindsay (Parks)"                      Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                                      <Lindsay.Quartini@parks.nyc.gov>, "Donoghue,     Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                      Susan (Parks)" <Susan.Donoghue@parks.nyc.gov>,   <wcarry@dot.nyc.gov>, "Vazirani, Rhea (Parks)"
                                                                                              RE:_[EXTERNAL]_RE:_CBDTP_Agency_Invit RE: [EXTERNAL] RE: CBDTP Agency                                                   "Griffin, Meredith (Parks)"                      <Rhea.Vazirani@parks.nyc.gov>, "Alderson, Colleen (Parks)"
917⠀    AR Organization: 05 ‐ Emails   DOT_0040752 DOT_0040754           3    5/10/2023 10:39 ation_Letter_‐_Susan_Donoghue(1).eml  Invitation Letter ‐ Susan Donoghue          "Flax, Leah" <leah.flax@mtabt.org>    <Meredith.Griffin@parks.nyc.gov>                 <colleen.alderson@parks.nyc.gov>

                                                                                                                                                                                                                                                                       "Marquis, Rick (FHWA" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                       Nick (DOT" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                                                                                                                                                      "Flax, Leah" <leah.flax@mtabt.org>, "Donoghue,   Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
                                                                                                                                                                                                                      Susan (Parks)" <Susan.Donoghue@parks.nyc.gov>,   <wcarry@dot.nyc.gov>, "Vazirani, Rhea (Parks)"
                                                                                              RE:_[EXTERNAL]_RE:_CBDTP_Agency_Invit RE: [EXTERNAL] RE: CBDTP Agency             "Quartini, Lindsay (Parks)"           "Griffin, Meredith (Parks)"                      <Rhea.Vazirani@parks.nyc.gov>, "Alderson, Colleen (Parks)"
918⠀    AR Organization: 05 ‐ Emails   DOT_0040755 DOT_0040756           2    5/10/2023 10:39 ation_Letter_‐_Susan_Donoghue.eml     Invitation Letter ‐ Susan Donoghue          <Lindsay.Quartini@parks.nyc.gov>      <Meredith.Griffin@parks.nyc.gov>                 <Colleen.Alderson@parks.nyc.gov>
                                                                                                                                                                                "Benjamin, Arielle"                                                                    "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Austin,
919⠀    AR Organization: 05 ‐ Emails   DOT_0040757 DOT_0040757           1    5/10/2023 14:30 CBDTP ‐ Slide Deck.msg                   CBDTP ‐ Slide Deck                       <Benjamin.Arielle@epa.gov>            "Flax, Leah" <leah.flax@mtabt.org>               Mark" <Austin.Mark@epa.gov>
                                                                                                                                                                                Kara.Hogan@dot.gov Hogan, Kara E
920⠀    AR Organization: 05 ‐ Emails   DOT_0040758 DOT_0040759           2    5/12/2023 10:49 FW_ CBDTP Final EA and Draft FONSI.pdf   FW: CBDTP Final EA and Draft FONSI       (FHWA)                                LaurynRandall2@shinnecock.org Lauryn Randall




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date     Filename                                   Subject                                   From                                   To                                                 Cc

                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                          "Price, Anna (FHWA)" <anna.price@dot.gov>,         "Oliva, Louis" <LOLIVA@mtahq.org>, "Friman, Paul"
                                                                                                                                                                                                                          "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,     <pfriman@mtabt.org>, "Angel, Nichola"
                                                                                                                                         CBDTP Final EA and Draft FONSI Live                                              "Monica.Pavlik@dot.gov"                            <nangel@mtabt.org>, "Wojnar, Michael"
921⠀    AR Organization: 05 ‐ Emails   DOT_0040760 DOT_0040760           1     5/12/2023 8:10 13b01.eml                                  Online                                    "Flax, Leah" <leah.flax@mtabt.org>     <Monica.Pavlik@dot.gov>                            <mwojnar@mtahq.org>

                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Oliva, Louis" <LOLIVA@mtahq.org>, "Friman, Paul"
                                                                                                                                                                                                                          "Flax, Leah" <leah.flax@mtabt.org>, "Price, Anna   <pfriman@mtabt.org>, "Angel, Nichola"
                                                                                                                                         Re: CBDTP Final EA and Draft FONSI Live   "Marquis, Rick (FHWA)"                 (FHWA)" <anna.price@dot.gov>, "Pavlik, Monica      <nangel@mtabt.org>, "Wojnar, Michael"
922⠀    AR Organization: 05 ‐ Emails   DOT_0040761 DOT_0040761           1     5/12/2023 8:14 1344f.eml                                  Online                                    <Rick.Marquis@dot.gov>                 (FHWA)" <Monica.Pavlik@dot.gov>                    <mwojnar@mtahq.org>

                                                                                                                                                                                                                                                                             "muglan.walter@epa.gov" <muglan.walter@epa.gov>,
                                                                                                                                                                                                                                                                             "Benjamin, Arielle" <Benjamin.Arielle@epa.gov>, "Austin,
                                                                                                                                                                                                                                                                             Mark" <Austin.Mark@epa.gov>, "Nyer, Samantha"
                                                                                                                                                                                                                                                                             <Nyer.Samantha@epa.gov>, "kluesnar.david@epa.gov"
                                                                                                                                                                                                                                                                             <kluesnar.david@epa.gov>, "Ruvo, Richard"
                                                                                                                                                                                                                                                                             <Ruvo.Richard@epa.gov>, "laurita.matt@epa.gov"
                                                                                                                                                                                                                                                                             <laurita.matt@epa.gov>, "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                                                                             <Emily.Biondi@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                          RE: ACTION: New York, NYC Central                                                                                                  <james.gavin@dot.gov>, "Santiago, Damaris (FHWA)"
                                                                                              RE_ ACTION_ New York_ NYC Central           Business District Tolling Program ‐                                                                                                <Damaris.Santiago@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                              Business District Tolling Program ‐ Request Request for Concurrent Review of draft   "Marquis, Rick (FHWA)"                                                                    <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)"
923⠀    AR Organization: 05 ‐ Emails   DOT_0040762 DOT_0040764           3     5/12/2023 8:24 for Concurrent Review of draft EA.msg       EA                                       <Rick.Marquis@dot.gov>                 garcia.lisa epa.gov <Garcia.Lisa@epa.gov>          <anna.price@dot.gov>

                                                                                                                                                                                                                                                                             "muglan.walter@epa.gov" <muglan.walter@epa.gov>,
                                                                                                                                                                                                                                                                             "Benjamin, Arielle" <Benjamin.Arielle@epa.gov>, "Austin,
                                                                                                                                                                                                                                                                             Mark" <Austin.Mark@epa.gov>, "Nyer, Samantha"
                                                                                                                                                                                                                                                                             <Nyer.Samantha@epa.gov>, "kluesnar.david@epa.gov"
                                                                                                                                                                                                                                                                             <kluesnar.david@epa.gov>, "Ruvo, Richard (he/him/his)"
                                                                                                                                                                                                                                                                             <Ruvo.Richard@epa.gov>, "laurita.matt@epa.gov"
                                                                                                                                                                                                                                                                             <laurita.matt@epa.gov>, "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                                                                             <Emily.Biondi@dot.gov>, "Gavin, James (FHWA)"
                                                                                                                                          Re: ACTION: New York, NYC Central                                                                                                  <james.gavin@dot.gov>, "Santiago, Damaris (FHWA)"
                                                                                              Re_ ACTION_ New York_ NYC Central           Business District Tolling Program ‐                                                                                                <Damaris.Santiago@dot.gov>, "Pavlik, Monica (FHWA)"
                                                                                              Business District Tolling Program ‐ Request Request for Concurrent Review of draft                                                                                             <Monica.Pavlik@dot.gov>, "Price, Anna (FHWA)"
924⠀    AR Organization: 05 ‐ Emails   DOT_0040765 DOT_0040767           3     5/12/2023 8:30 for Concurrent Review of draft EA (2).msg EA                                         "Garcia, Lisa" <Garcia.Lisa@epa.gov>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>      <anna.price@dot.gov>




                                                                                                                                                                                                                          "Eberle, Mark D" <mark_eberle@nps.gov>,
                                                                                                                                                                                                                          "kluesner.dave@epa.gov"
                                                                                                                                                                                                                          <kluesner.dave@epa.gov>, "Benjamin, Arielle"
                                                                                                                                                                                                                          <Benjamin.Arielle@epa.gov>, "Brazee, Olivia
                                                                                                                                                                                                                          (PARKS)" <Olivia.Brazee@parks.ny.gov>, "Mackay,
                                                                                                                                                                                                                          Daniel (PARKS)" <Daniel.Mackay@parks.ny.gov>,      "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
                                                                                                                                                                                                                          "Burns, Donald (FTA)" <Donald.Burns@dot.gov>,      Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Flax, Leah"
                                                                                                                                                                                   "Price, Anna (FHWA)"                   "Porter, Jed M" <jed_porter@nps.gov>, "Nyer,       <leah.flax@mtabt.org>, "C. de Cerreno, Allison"
925⠀    AR Organization: 05 ‐ Emails   DOT_0040768 DOT_0040768           1     5/12/2023 8:59 12edb.eml                                  Link to CBDTP Final EA and Draft FONSI    <anna.price@dot.gov>                   Samantha" <Nyer.Samantha@epa.gov>                  <allison.cdecerreno@mtahq.org>
                                                                                                                                                                                                                                                                             "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                                                                                             "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                                                                                             <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "counciloftrustees@shinnecock.org"
                                                                                                                                                                                                                                                                             <counciloftrustees@shinnecock.org>,
                                                                                                                                                                                                                                                                             "JasonCofield@shinnecock.org"
                                                                                                                                                                                                                                                                             <JasonCofield@shinnecock.org>, "Flax, Leah"
                                                                                                                                                                                                                                                                             <leah.flax@mtabt.org>, "Pavlik, Monica (FHWA)"
                                                                                                                                                                                   "Price, Anna (FHWA)"                                                                      <Monica.Pavlik@dot.gov>, "Hogan, Kara E (FHWA)"
926⠀    AR Organization: 05 ‐ Emails   DOT_0040769 DOT_0040769           1     5/12/2023 9:05 CBDTP Final EA and Draft FONSI.pdf         CBDTP Final EA and Draft FONSI            <anna.price@dot.gov>                   Lauryn Randall <Laurynrandall2@shinnecock.org>     <Kara.Hogan@dot.gov>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date      Filename                                    Subject                                From                                 To                                                    Cc

                                                                                                                                                                                                                       "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                           FW: Final EA Comments Received May 12 "Price, Anna (FHWA)"                  "Santiago, Damaris (FHWA)"
927⠀    AR Organization: 05 ‐ Emails   DOT_0040770 DOT_0040770           1    5/15/2023 16:51 12ead.eml                                    ‐May 15                               <anna.price@dot.gov>                  <Damaris.Santiago@dot.gov>                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                       "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>,
                                                                                                                                                                                  "Price, Anna (FHWA)"                 "Santiago, Damaris (FHWA)"
928⠀    AR Organization: 05 ‐ Emails   DOT_0040771 DOT_0040771           1    5/15/2023 16:51 12eaa.eml                                    FW: CBDTP Comments on Final EA         <anna.price@dot.gov>                 <Damaris.Santiago@dot.gov>                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                       "Flax, Leah" <leah.flax@mtabt.org>, "Phillips,   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                                                                                                  "Price, Anna (FHWA)"                 Tanisa" <tanisa.phillips@mtabt.org>, "C. de      Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
929⠀    AR Organization: 05 ‐ Emails   DOT_0040772 DOT_0040772           1    5/16/2023 17:13 12ea0.eml                                  Comments Received as of 5:00 5/16        <anna.price@dot.gov>                 Cerreno, Allison" <allison.cdecerreno@mtahq.org> Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                              letter_of_legal_sufficiency_congestion_pri letter of legal sufficiency congestion
930⠀    AR Organization: 05 ‐ Emails   DOT_0040773 DOT_0040773           1    5/16/2023 17:13 cing.eml                                   pricing                                  Slava Rar <srar@unitedjewish.org>    "CBDTP" <CBDTP@dot.gov>

                                                                                                                                                                                                                                                                             "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Choubah,
                                                                                                                                                                                                                                                                             Nick (DOT)" <Nick.Choubah@dot.ny.gov>, "C. de Cerreno,
                                                                                              RE CBDTP Draft FONSI and Final EA            RE: CBDTP Draft FONSI and Final EA                                          "Gutierrez‐Scaccetti, Diane [DOT]"                    Allison" <allison.cdecerreno@mtahq.org>, "Carry, William"
931⠀    AR Organization: 05 ‐ Emails   DOT_0040774 DOT_0040775           2     5/17/2023 7:58 Available ‐ Agency Update.msg                Available ‐ Agency Update              "Flax, Leah" <leah.flax@mtabt.org>   <Diane.Scaccetti@dot.nj.gov>                          <WCarry@dot.nyc.gov>


                                                                                                                                                                                                                       "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>,
                                                                                                                                           CBDTP Comments on the Final EA 5/18 as "Price, Anna (FHWA)"                 Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
932⠀    AR Organization: 05 ‐ Emails   DOT_0040776 DOT_0040776           1    5/18/2023 17:42 12e91.eml                                    of 5:30                                <anna.price@dot.gov>                 Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                       "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "C.   "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
                                                                                                                                                                                                                       de Cerreno, Allison"                                  Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Marquis,
                                                                                              CBDTP Comments from 5_18 to 5_22                                                 "Pavlik, Monica (FHWA)"                 <allison.cdecerreno@mtahq.org>, "Flax, Leah"          Rick (FHWA)" <Rick.Marquis@dot.gov>, "CBDTP"
933⠀    AR Organization: 05 ‐ Emails   DOT_0040777 DOT_0040777           1     5/22/2023 9:24 AM.msg                                       CBDTP Comments from 5/18 to 5/22 AM <Monica.Pavlik@dot.gov>                 <leah.flax@mtabt.org>                                 <CBDTP@dot.gov>


                                                                                                                                                                                                                       "Flax, Leah" <leah.flax@mtabt.org>, "Phillips,   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
                                                                                              CBDTP Comments on Final EA as of 8 am        CBDTP Comments on Final EA as of 8 am "Price, Anna (FHWA)"                  Tanisa" <tanisa.phillips@mtabt.org>, "C. de      Monica (FHWA)" <Monica.Pavlik@dot.gov>, CBDTP
934⠀    AR Organization: 05 ‐ Emails   DOT_0040778 DOT_0040778           1     5/26/2023 8:21 5_26.msg                                     5/26                                  <anna.price@dot.gov>                  Cerreno, Allison" <allison.cdecerreno@mtahq.org> <CBDTP@dot.gov>


                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                                             <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
935⠀    AR Organization: 05 ‐ Emails   DOT_0040779 DOT_0040779           1    5/30/2023 18:29 CBDTP Feedback ‐ FHWA Request.msg            CBDTP Feedback ‐ FHWA Request          "Flax, Leah" <leah.flax@mtabt.org>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>         "Phillips, Tanisa" <tanisa.phillips@mtabt.org>


                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                              Re_ CBDTP Feedback ‐ FHWA Request                                                   "Marquis, Rick (FHWA)"                                                                     <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
936⠀    AR Organization: 05 ‐ Emails   DOT_0040780 DOT_0040781           2    5/30/2023 18:31 (806).msg                                    Re: CBDTP Feedback ‐ FHWA Request      <Rick.Marquis@dot.gov>               "Flax, Leah" <leah.flax@mtabt.org>                    "Phillips, Tanisa" <tanisa.phillips@mtabt.org>


                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                               RE_ CBDTP Feedback ‐ FHWA Request                                                  "Marquis, Rick (FHWA)"                                                                     <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
937⠀    AR Organization: 05 ‐ Emails   DOT_0040782 DOT_0040783           2       6/2/2023 9:26 (775).msg                                   RE: CBDTP Feedback ‐ FHWA Request      <Rick.Marquis@dot.gov>               "Flax, Leah" <leah.flax@mtabt.org>                    "Phillips, Tanisa" <tanisa.phillips@mtabt.org>




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                                                                                            New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
                                                                                                                                              Administrative Record



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                                                                                                                                                                                                             "leah.flax@mtabt.org" <leah.flax@mtabt.org>,
                                                                                                                                                                                                             "tanisa.phillips@mtabt.org"
                                                                                                                                                                                                             <tanisa.phillips@mtabt.org>,
                                                                                                                                                                                                             "allison.cdecerreno@mtahq.org"
                                                                                                                                                                                                             <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                             "nangel@mtabt.org" <nangel@mtabt.org>,
                                                                                                                                                                                                             "ian.hartz@mtabt.org" <ian.hartz@mtabt.org>,
                                                                                                                                                                                                             "pfriman@mtabt.org" <pfriman@mtabt.org>,
                                                                                                                                                                                                             "LOLIVA@mtahq.org" <loliva@mtahq.org>,
                                                                                                                                                                                                             "mwojnar@mtahq.org" <mwojnar@mtahq.org>,
                                                                                                                                                                                                             "Katie.Shepard@wsp.com"
                                                                                                                                                                                                             <katie.shepard@wsp.com>,
                                                                                                                                                                                                             "Christine.Tiernan@wsp.com"
                                                                                                                                                                                                             <christine.tiernan@wsp.com>,
                                                                                                                                                                                                             "mfitzpatrick@fhistudio.com"
                                                                                                                                                                                                             <mfitzpatrick@fhistudio.com>,
                                                                                                                                                                                                             "Rick.Marquis@dot.gov" <rick.marquis@dot.gov>,
                                                                                                                                                                                                             "Benjamin.Deutsch@nyct.com"
                                                                                                                                                                                                             <benjamin.deutsch@nyct.com>,
                                                                                                                                                                                                             "Mikael.Sheikh@nyct.com"
                                                                                                                                                                                                             <mikael.sheikh@nyct.com>, "Katiris.Marmol‐
                                                                                               CBDTP Cumulative Feedback Report                                         "MTA Customer Service (No Reply)"    Guzman@nyct.com" <katiris.marmol‐
938⠀    AR Organization: 05 ‐ Emails   DOT_0040784 DOT_0040784           1       6/3/2023 0:00 (752).msg                            CBDTP Cumulative Feedback Report    <noreply@mail.mta.info>              guzman@nyct.com>


                                                                                                                                                                                                                                                                 "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                              RE_ CBDTP Feedback ‐ FHWA Request                                                                                                                                  <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
939⠀    AR Organization: 05 ‐ Emails   DOT_0040785 DOT_0040785           1     6/6/2023 17:39 (704).msg                             RE: CBDTP Feedback ‐ FHWA Request   "Flax, Leah" <leah.flax@mtabt.org>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>       "Phillips, Tanisa" <tanisa.phillips@mtabt.org>


                                                                                                                                                                                                                                                                 "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                 "Angel, Nichola" <nangel@mtabt.org>, "Oliva, Louis"
                                                                                              RE_ CBDTP Feedback ‐ FHWA Request                                         "Marquis, Rick (FHWA)"                                                                   <LOLIVA@mtahq.org>, "Friman, Paul" <pfriman@mtabt.org>,
940⠀    AR Organization: 05 ‐ Emails   DOT_0040786 DOT_0040787           2     6/6/2023 17:42 (698).msg                             RE: CBDTP Feedback ‐ FHWA Request   <Rick.Marquis@dot.gov>               "Flax, Leah" <leah.flax@mtabt.org>                  "Phillips, Tanisa" <tanisa.phillips@mtabt.org>
                                                                                                                                                                                                             "DeCorla‐Souza, Patrick (FHWA)" <Patrick.DeCorla‐
                                                                                              RE:_Commenting_on_NYC_Congestion_Pri RE: Commenting on NYC Congestion     "Price, Anna (FHWA)"                 Souza@dot.gov>, "Greg Cohen"
941⠀    AR Organization: 05 ‐ Emails   DOT_0040788 DOT_0040789           2     6/8/2023 17:12 cing_FONSI.eml                       Pricing FONSI                        <anna.price@dot.gov>                 <greg@2349solutions.com>
                                                                                                                                                                                                             "DeCorla‐Souza, Patrick (FHWA)" <Patrick.DeCorla‐
                                                                                              RE:_Commenting_on_NYC_Congestion_Pri RE: Commenting on NYC Congestion     "Price, Anna (FHWA)"                 Souza@dot.gov>, "Greg Cohen"
942⠀    AR Organization: 05 ‐ Emails   DOT_0040790 DOT_0040791           2     6/8/2023 17:12 cing_FONSI(1).eml                      Pricing FONSI                      <anna.price@dot.gov>                 <greg@2349solutions.com>
                                                                                              Re_ 30 day review period on NYC        Re: 30 day review period on NYC    "Essenmacher, Cynthia (FHWA)"
943⠀    AR Organization: 05 ‐ Emails   DOT_0040792 DOT_0040792           1     6/8/2023 21:18 congestion toll pilot program (31).msg congestion toll pilot program      <Cynthia.Essenmacher@dot.gov>        Greg Cohen <greg@2349solutions.com>                 "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                                             "Essenmacher, Cynthia (FHWA)"
                                                                                               Re_ 30 day review period on NYC      Re: 30 day review period on NYC     "Pavlik, Monica (FHWA)"              <Cynthia.Essenmacher@dot.gov>, "Greg Cohen"
944⠀    AR Organization: 05 ‐ Emails   DOT_0040793 DOT_0040793           1       6/9/2023 8:36 congestion toll pilot program.msg    congestion toll pilot program       <Monica.Pavlik@dot.gov>              <greg@2349solutions.com>




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                                                                                                                                                                                                                               "Lieber, Janno" <Janno.Lieber@mtacd.org>, "Marie
                                                                                                                                                                                                                               Therese Dominguez ‐ NYSDOT
                                                                                                                                                                                                                               (marietherese.dominguez@dot.ny.gov)"
                                                                                                                                                                                                                               <marietherese.dominguez@dot.ny.gov>,
                                                                                                                                                                                                                               "nivardo.lopez@exec.ny.gov"
                                                                                                                                                                                                                               <Nivardo.Lopez@exec.ny.gov>, Kylah Hynes
                                                                                                                                                                                                                               <Kylah.Hynes@exec.ny.gov>, "Wojnar, Michael"
                                                                                                                                                                                                                               <mwojnar@mtahq.org>, "C. de Cerreno, Allison"
                                                                                                                                               FW: State of NJ: EA Comment Extension    "Marquis, Rick (FHWA)"                 <allison.cdecerreno@mtahq.org>, "Choubah, Nick
945⠀    AR Organization: 05 ‐ Emails         DOT_0040794 DOT_0040796           3      6/9/2023 15:17 11c56.eml                                 Request                                  <Rick.Marquis@dot.gov>                 (DOT)" <nick.choubah@dot.ny.gov>                 CBDTP <CBDTP@dot.gov>


                                                                                                                                                                                                                               "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                                                                                                        "Price, Anna (FHWA)"                   Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
946⠀    AR Organization: 05 ‐ Emails         DOT_0040797 DOT_0040797           1      6/12/2023 8:35 CBDTP Final EA comments 6_12_23.msg       CBDTP Final EA comments 6/12/23          <anna.price@dot.gov>                   Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                     Fwd:_Comment_‐                                                                                                            CBDTP <CBDTP@dot.gov>, "Price, Anna (FHWA)"
                                                                                                     _NYC_Central_Business_District_Tolling_Pr Fwd: Comment ‐ NYC Central Business      "Marquis, Rick (FHWA)"                 <anna.price@dot.gov>, "Santiago, Damaris (FHWA)"
947⠀    AR Organization: 05 ‐ Emails         DOT_0040798 DOT_0040798           1      6/12/2023 8:35 ogram_Final_EA.eml                        District Tolling Program Final EA        <Rick.Marquis@dot.gov>                 <Damaris.Santiago@dot.gov>
                                                                                                     Congestion_Pricing_‐
948⠀    AR Organization: 06 Correspondence   DOT_0040799 DOT_0040809           11     6/9/2023 16:21 _Letter_re_Final_EA_06‐09‐23.pdf

                                                                                                                                                                                                                                                                                   Charles Fall <fallc@nyassembly.gov>, gylee@nysad65.com,
                                                                                                                                                                                                                                                                                   glickd@assembly.state.ny.us, District1@council.nyc.gov, BPC
                                                                                                                                                                                                                                                                                   Neighborhood Association <hello@bpcna.org>, Justine Cuccia
                                                                                                                                                                                                                                                                                   <jgcuccia@aol.com>, Fitim Shabani
                                                                                                     HDA‐NY_‐                                                                                                                                                                      <shabanif@nyassembly.gov>, Samantha Day
                                                                                                     _Congestion_Pricing_Residential_Exemptio HDA‐NY ‐ Congestion Pricing Residential   Vittoria Fariello                                                                          <sday@nysad65.com>, info@savebpc.org, Caitlin Kelmar
949⠀    AR Organization: 05 ‐ Emails         DOT_0040810 DOT_0040812           3      6/12/2023 8:35 n_Letter.eml                              Exemption Letter                         <vittoria@vittorianyc.com>             CBDTP@dot.gov, CBDTP@mtabt.org                      <CKelmar@council.nyc.gov>
                                                                                                     2023‐‐6‐
950⠀    AR Organization: 06 Correspondence   DOT_0040813 DOT_0040814           2      6/12/2023 8:35 11_Congestion_Pricing_Letter_(3).pdf
                                                                                                     June_9,_2023_Comment_of_Battery_Allia June 9, 2023 Comment of Battery              John Dellaportas
951⠀    AR Organization: 05 ‐ Emails         DOT_0040815 DOT_0040815           1      6/12/2023 8:35 nce.eml                                   Alliance                                 <JDellaportas@EMMETMARVIN.COM>         "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                     Letter_Concerning_Congestion_Pricing_in_ Letter Concerning Congestion Pricing in
952⠀    AR Organization: 05 ‐ Emails         DOT_0040816 DOT_0040817           2      6/12/2023 8:35 NYC.eml                                   NYC                                      John Devall <jdevall@orsidny.com>      "CBDTP@dot.gov" <CBDTP@dot.gov>                     "marinide@nysenate.gov" <marinide@nysenate.gov>
                                                                                                     congestion_pricing_letter.June_2023.State
953⠀    AR Organization: 06 Correspondence   DOT_0040818 DOT_0040819           2      6/9/2023 17:06 _Senator_Krueger_(002).pdf
                                                                                                     New_York_City_Central_Business_District_ New York City Central Business District
                                                                                                     Tolling_Program_—_Environmental_Asses Tolling Program — Environmental
954⠀    AR Organization: 05 ‐ Emails         DOT_0040820 DOT_0040821           2      6/12/2023 8:35 sment.eml                                 Assessment                               Rebecca Thomas <rebecca@ps89pta.org> undisclosed‐recipients:;

                                                                                                                                                                                                                               "NewJersey.FHWA@fhwa.dot.gov"
                                                                                                     Rep._Sherrill_Comment_on_NYC_Congesti Rep. Sherrill Comment on NYC                                                        <NewJersey.FHWA@fhwa.dot.gov>,
                                                                                                     on_Pricing_Environmental_Assessment.em Congestion Pricing Environmental            "Taylor, Chris"                        "CBDTP@mtabt.org" <CBDTP@mtabt.org>,                "Ball, Alex" <Alex.Ball@mail.house.gov>, "Boyd, Blaine"
955⠀    AR Organization: 05 ‐ Emails         DOT_0040822 DOT_0040822           1      6/12/2023 8:35 l                                       Assessment                                 <Chris.Taylor@mail.house.gov>          "CBDTP@dot.gov" <CBDTP@dot.gov>                     <blaine.boyd@mail.house.gov>
                                                                                                     6‐9‐
                                                                                                     2023_Rep_Sherrill_Comment_on_NYC_Co
                                                                                                     ngestion_Pricing_Environmental_Assessme
956⠀    AR Organization: 06 Correspondence   DOT_0040823 DOT_0040824           2      6/9/2023 16:52 nt.pdf


                                                                                                                                                                                                                               "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                                                                                                        "Price, Anna (FHWA)"                   Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
957⠀    AR Organization: 05 ‐ Emails         DOT_0040825 DOT_0040825           1      6/12/2023 8:35 12e6a.eml                                 CBDTP Final EA comments 6/12/23          <anna.price@dot.gov>                   Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                     Fwd:_Comment_‐                                                                                                            CBDTP <CBDTP@dot.gov>, "Price, Anna (FHWA)"
                                                                                                     _NYC_Central_Business_District_Tolling_Pr Fwd: Comment ‐ NYC Central Business      "Marquis, Rick (FHWA)"                 <anna.price@dot.gov>, "Santiago, Damaris (FHWA)"
958⠀    AR Organization: 05 ‐ Emails         DOT_0040826 DOT_0040826           1      6/12/2023 8:35 ogram_Final_EA.eml                        District Tolling Program Final EA        <Rick.Marquis@dot.gov>                 <Damaris.Santiago@dot.gov>




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                                                                                                                                                           Administrative Record



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                                                                                                                                                                                                                                                                                    Charles Fall <fallc@nyassembly.gov>, gylee@nysad65.com,
                                                                                                                                                                                                                                                                                    glickd@assembly.state.ny.us, District1@council.nyc.gov, BPC
                                                                                                                                                                                                                                                                                    Neighborhood Association <hello@bpcna.org>, Justine Cuccia
                                                                                                                                                                                                                                                                                    <jgcuccia@aol.com>, Fitim Shabani
                                                                                                     HDA‐NY_‐                                                                                                                                                                       <shabanif@nyassembly.gov>, Samantha Day
                                                                                                     _Congestion_Pricing_Residential_Exemptio HDA‐NY ‐ Congestion Pricing Residential    Vittoria Fariello                                                                          <sday@nysad65.com>, info@savebpc.org, Caitlin Kelmar
959⠀    AR Organization: 05 ‐ Emails         DOT_0040827 DOT_0040829           3      6/12/2023 8:35 n_Letter.eml                             Exemption Letter                           <vittoria@vittorianyc.com>             CBDTP@dot.gov, CBDTP@mtabt.org                      <CKelmar@council.nyc.gov>
                                                                                                     June_9,_2023_Comment_of_Battery_Allia June 9, 2023 Comment of Battery               John Dellaportas
960⠀    AR Organization: 05 ‐ Emails         DOT_0040830 DOT_0040830           1      6/12/2023 8:35 nce.eml                                  Alliance                                   <JDellaportas@EMMETMARVIN.COM>         "CBDTP@dot.gov" <CBDTP@dot.gov>
                                                                                                     New_York_City_Central_Business_District_ New York City Central Business District
                                                                                                     Tolling_Program_—_Environmental_Asses Tolling Program — Environmental
961⠀    AR Organization: 05 ‐ Emails         DOT_0040831 DOT_0040832           2      6/12/2023 8:35 sment.eml                                Assessment                                 Rebecca Thomas <rebecca@ps89pta.org> undisclosed‐recipients:;

                                                                                                                                                                                                                                "NewJersey.FHWA@fhwa.dot.gov"
                                                                                                     Rep._Sherrill_Comment_on_NYC_Congesti Rep. Sherrill Comment on NYC                                                         <NewJersey.FHWA@fhwa.dot.gov>,
                                                                                                     on_Pricing_Environmental_Assessment.em Congestion Pricing Environmental             "Taylor, Chris"                        "CBDTP@mtabt.org" <CBDTP@mtabt.org>,                "Ball, Alex" <Alex.Ball@mail.house.gov>, "Boyd, Blaine"
962⠀    AR Organization: 05 ‐ Emails         DOT_0040833 DOT_0040833           1      6/12/2023 8:35 l                                      Assessment                                   <Chris.Taylor@mail.house.gov>          "CBDTP@dot.gov" <CBDTP@dot.gov>                     <blaine.boyd@mail.house.gov>


                                                                                                                                                 FW: New York City Central Business                                             "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>,
                                                                                                                                                 District Tolling Program — Environmental                                       Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
963⠀    AR Organization: 05 ‐ Emails         DOT_0040834 DOT_0040835           2      6/12/2023 8:54 11ea0.eml                                   Assessment                               "CBDTP" <CBDTP@dot.gov>               Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>
                                                                                                                                                                                                                                                                                       "Zeveloff, Dennis [GOV]" <Dennis.Zeveloff@nj.gov>,
                                                                                                                                                                                                                                                                                       "Gutierrez‐Scaccetti, Diane [DOT]"
                                                                                                                                                                                                                                                                                       <Diane.Scaccetti@dot.nj.gov>, "Hermann, Alexandria [GOV]"
                                                                                                     RE:_State_of_NJ:_EA_Comment_Extension RE: State of NJ: EA Comment Extension         "Marquis, Rick (FHWA)"                 "Sun, Richard [GOV]" <Richard.Sun@nj.gov>,             <Alexandria.Hermann@nj.gov>, "Clark, Robert (FHWA)"
964⠀    AR Organization: 05 ‐ Emails         DOT_0040836 DOT_0040838           3      6/9/2023 15:13 _Request.eml                          Request                                       <Rick.Marquis@dot.gov>                 "CBDTP@mtabt.org" <CBDTP@mtabt.org>                    <Robert.Clark@dot.gov>
                                                                                                                                                                                                                                                                                       "Zeveloff, Dennis [GOV]" <Dennis.Zeveloff@nj.gov>,
                                                                                                                                                                                                                                                                                       "Gutierrez‐Scaccetti, Diane [DOT]"
                                                                                                                                                                                                                                                                                       <Diane.Scaccetti@dot.nj.gov>, "Hermann, Alexandria [GOV]"
                                                                                                                                                 RE: State of NJ: EA Comment Extension   "Marquis, Rick (FHWA)"                 "Sun, Richard [GOV]" <Richard.Sun@nj.gov>,             <Alexandria.Hermann@nj.gov>, "Clark, Robert (FHWA)"
965⠀    AR Organization: 05 ‐ Emails         DOT_0040839 DOT_0040841           3      6/9/2023 15:13 unnamed(1).eml                              Request                                 <Rick.Marquis@dot.gov>                 "CBDTP@mtabt.org" <CBDTP@mtabt.org>                    <Robert.Clark@dot.gov>


                                                                                                                                                                                                                                                                                    "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                                    "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                         "Marquis, Rick (FHWA)"                                                                     <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
966⠀    AR Organization: 05 ‐ Emails         DOT_0040842 DOT_0040842           1     6/12/2023 12:17 RE_ CBDTP Feedback (453).msg                RE: CBDTP Feedback                      <Rick.Marquis@dot.gov>                 "Phillips, Tanisa" <tanisa.phillips@mtabt.org>      "Friman, Paul" <pfriman@mtabt.org>


                                                                                                                                                                                                                                "CBDTP@dot.gov" <CBDTP@dot.gov>, "Clark,        "Sun, Richard [GOV]" <Richard.Sun@nj.gov>, "Gutierrez‐
                                                                                                                                                                                                                                Robert (FHWA" <Robert.Clark@dot.gov>, "Marquis, Scaccetti, Diane [DOT]" <Diane.Scaccetti@dot.nj.gov>,
                                                                                                     CBDTP Draft FONSI and Final EA ‐ State of   CBDTP Draft FONSI and Final EA ‐ State of "Berns, Matthew [GOV]"               Rick (FHWA" <Rick.Marquis@dot.gov>,             "Hermann, Alexandria [GOV]" <Alexandria.Hermann@nj.gov>,
967⠀    AR Organization: 05 ‐ Emails         DOT_0040843 DOT_0040843           1     6/12/2023 16:42 New Jersey Comments.msg                     New Jersey Comments                       <Matthew.Berns@NJ.gov>               "CBDTP@mtabt.org" <CBDTP@mtabt.org>             "Medoway, Melissa [GOV]" <Melissa.Medoway@nj.gov>

                                                                                                     New_Jersey_Comments_on_CBDTP_Draft_
968⠀    AR Organization: 06 Correspondence   DOT_0040844 DOT_0040858           15    6/12/2023 16:29 FONSI_and_Final_EA_2023.06.12.pdf


                                                                                                                                                                                                                                "CBDTP@dot.gov" <CBDTP@dot.gov>, "Clark,        "Sun, Richard [GOV]" <Richard.Sun@nj.gov>, "Gutierrez‐
                                                                                                                                                                                                                                Robert (FHWA" <Robert.Clark@dot.gov>, "Marquis, Scaccetti, Diane [DOT]" <Diane.Scaccetti@dot.nj.gov>,
                                                                                                     CBDTP_Draft_FONSI_and_Final_EA_‐            CBDTP Draft FONSI and Final EA ‐ State of "Berns, Matthew [GOV]"               Rick (FHWA" <Rick.Marquis@dot.gov>,             "Hermann, Alexandria [GOV]" <Alexandria.Hermann@nj.gov>,
969⠀    AR Organization: 05 ‐ Emails         DOT_0040859 DOT_0040859           1     6/12/2023 16:42 _State_of_New_Jersey_Comments.eml           New Jersey Comments                       <Matthew.Berns@NJ.gov>               "CBDTP@mtabt.org" <CBDTP@mtabt.org>             "Medoway, Melissa [GOV]" <Melissa.Medoway@nj.gov>


                                                                                                                                                                                                                                "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
                                                                                                                                                                                         "Price, Anna (FHWA)"                   Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Santiago,
970⠀    AR Organization: 05 ‐ Emails         DOT_0040860 DOT_0040860           1     6/12/2023 17:02 CBDTP Final EA Comments.msg                 CBDTP Final EA Comments                 <anna.price@dot.gov>                   Allison" <allison.cdecerreno@mtahq.org>                Damaris (FHWA)" <Damaris.Santiago@dot.gov>




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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Row #   AR Organization                      Bates Beg   Bates End     Pages        Primary Date     Filename                                   Subject                                 From                                  To                                               Cc


                                                                                                                                                                                                                              "CBDTP@dot.gov" <CBDTP@dot.gov>, "Clark,        "Sun, Richard [GOV]" <Richard.Sun@nj.gov>, "Gutierrez‐
                                                                                                                                                                                                                              Robert (FHWA" <Robert.Clark@dot.gov>, "Marquis, Scaccetti, Diane [DOT]" <Diane.Scaccetti@dot.nj.gov>,
                                                                                                     CBDTP_Draft_FONSI_and_Final_EA_‐           CBDTP Draft FONSI and Final EA ‐ State of "Berns, Matthew [GOV]"              Rick (FHWA" <Rick.Marquis@dot.gov>,             "Hermann, Alexandria [GOV]" <Alexandria.Hermann@nj.gov>,
971⠀    AR Organization: 05 ‐ Emails         DOT_0040861 DOT_0040861           1     6/12/2023 17:02 _State_of_New_Jersey_Comments.eml          New Jersey Comments                       <Matthew.Berns@NJ.gov>              "CBDTP@mtabt.org" <CBDTP@mtabt.org>             "Medoway, Melissa [GOV]" <Melissa.Medoway@nj.gov>

                                                                                                     New_Jersey_Comments_on_CBDTP_Draft_
972⠀    AR Organization: 06 Correspondence   DOT_0040862 DOT_0040876           15    6/12/2023 16:29 FONSI_and_Final_EA_2023.06.12.pdf

                                                                                                                                                                                                                              "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                     FW:_New_York_City_Central_Business_Dis FW: New York City Central Business                                                "Santiago, Damaris (FHWA)"
                                                                                                     trict_Tolling_Program_‐                District Tolling Program ‐ Environmental "Marquis, Rick (FHWA)"                   <Damaris.Santiago@dot.gov>, CBDTP
973⠀    AR Organization: 05 ‐ Emails         DOT_0040877 DOT_0040878           2     6/12/2023 17:02 _Environmental_Assessment.eml          Assessment                               <Rick.Marquis@dot.gov>                   <CBDTP@dot.gov>

                                                                                                                                                                                                                              "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                              "Santiago, Damaris (FHWA)"
                                                                                                     FW:_Residential_Exemption_for_the_CBDT                                         "Marquis, Rick (FHWA)"                    <Damaris.Santiago@dot.gov>, CBDTP
974⠀    AR Organization: 05 ‐ Emails         DOT_0040879 DOT_0040881           3     6/12/2023 17:02 P.eml                                  FW: Residential Exemption for the CBDTP <Rick.Marquis@dot.gov>                    <CBDTP@dot.gov>
                                                                                                                                                                                                                                                                               cbdtp@dot.gov, David Niederman
                                                                                                                                                                                                                                                                               <DNiederman@unitedjewish.org>, David Katz
                                                                                                                                                                                                                                                                               <DKatz@unitedjewish.org>, Sam Stern
                                                                                                     HDA‐NY____CBD_Tolling_Program_30‐     HDA‐NY // CBD Tolling Program 30‐day                                                                                                <aawriting@gmail.com>, "E. Schnitzler"
975⠀    AR Organization: 05 ‐ Emails         DOT_0040882 DOT_0040882           1     6/12/2023 17:02 day_public_review_period_comments.eml public review period comments                Slava Rar <srar@unitedjewish.org>     newyork.fhwa@dot.gov                             <chesed18@gmail.com>, abrahams@chesed.org

                                                                                                     CBD_Tolling_Program_30‐
976⠀    AR Organization: 06 Correspondence   DOT_0040883 DOT_0040887           5     6/12/2023 17:02 day_Public_Review_Period_Comments.pdf
                                                                                                     NYC_Congestion_Pricing_Scheme_need_a NYC Congestion Pricing Scheme need a
977⠀    AR Organization: 05 ‐ Emails         DOT_0040888 DOT_0040888           1     6/12/2023 17:02 _Full_EIS.eml                         Full EIS                                     Corey Bearak <bearak@me.com>          "CBDTP" <CBDTP@dot.gov>                          secretarybuttigieg@dot.gov, DOTExecSec@dot.gov
978⠀    AR Organization: 06 Correspondence   DOT_0040889 DOT_0040890           2     6/12/2023 16:56 2023‐06‐12_Full_EIS_needed.pdf

                                                                                                                                                                                                                              <CBDTP@dot.gov>, <CBDTP@mtabt.org>,
                                                                                                                                                                                                                              <Rick.Marquis@dot.gov>, <Garcia.Lisa@epa.gov>,
                                                                                                                                                                                                                              <Stephen.Goodman@dot.gov>,
                                                                                                     New_York_City_Central_Business_District_ New York City Central Business District                                         <Allison.cdecerreno@mtahq.org>,
                                                                                                     Tolling_Program_‐                        Tolling Program ‐ Environmental           "rukmani@nycstemclub.com"             <nick.choubah@dot.ny.gov>,
979⠀    AR Organization: 05 ‐ Emails         DOT_0040891 DOT_0040891           1     6/12/2023 17:02 _Environmental_Assessment.eml            Assessment                                <rukmani@nycstemclub.com>             <wcarry@dot.nyc.gov>

                                                                                                                                                                                                                                                                               "Culotta, Michael (FTA)" <Michael.Culotta@dot.gov>, "Burns,
                                                                                                                                                                                                                                                                               Donald (FTA)" <Donald.Burns@dot.gov>, "Sautter, John (FTA)"
                                                                                                                                                                                                                                                                               <john.sautter@dot.gov>, "Price, Anna (FHWA)"
                                                                                                     RE:_Residential_Exemption_for_the_CBDT                                         "Marquis, Rick (FHWA)"                    "Goodman, Stephen (FTA)"                         <anna.price@dot.gov>, "Santiago, Damaris (FHWA)"
980⠀    AR Organization: 05 ‐ Emails         DOT_0040892 DOT_0040893           2     6/12/2023 17:02 P.eml                                  RE: Residential Exemption for the CBDTP <Rick.Marquis@dot.gov>                    <stephen.goodman@dot.gov>                        <Damaris.Santiago@dot.gov>, CBDTP <CBDTP@dot.gov>




                                                                                                                                                                                                                              "Clark, Robert (FHWA)" <Robert.Clark@dot.gov>,
                                                                                                                                                                                                                              "Rusnak, Allison (FHWA)"
                                                                                                                                                                                                                              <Allison.Rusnak@dot.gov>, "Arnade, Tim (FHWA)"
                                                                                                     Re:_Rep._Sherrill_Comment_on_NYC_Con Re: Rep. Sherrill Comment on NYC                                                    <Tim.Arnade@dot.gov>, "Biondi, Emily (FHWA)"     "Price, Anna (FHWA)" <anna.price@dot.gov>, "Santiago,
                                                                                                     gestion_Pricing_Environmental_Assessmen Congestion Pricing Environmental           "Marquis, Rick (FHWA)"                <Emily.Biondi@dot.gov>, "Vaughn‐Fair, Sharon     Damaris (FHWA)" <Damaris.Santiago@dot.gov>, CBDTP
981⠀    AR Organization: 05 ‐ Emails         DOT_0040894 DOT_0040894           1     6/12/2023 17:02 t.eml                                    Assessment                                <Rick.Marquis@dot.gov>                (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>             <CBDTP@dot.gov>
                                                                                                     Urgent:_Greyhound_Lines,_Inc._letter_to_ Urgent: Greyhound Lines, Inc. letter to
                                                                                                     FHWA_Administrator_Shailen_Bhatt_re:_N FHWA Administrator Shailen Bhatt re:                                                                                              "nicolle.fleury@dot.gov" <nicolle.fleury@dot.gov>,
982⠀    AR Organization: 05 ‐ Emails         DOT_0040895 DOT_0040895           1     6/12/2023 17:02 YC_Congestion_Tolling.eml                NYC Congestion Tolling                    Greg Cohen <greg@2349solutions.com>   "shailen.bhatt@dot.gov" <shailen.bhatt@dot.gov> "CBDTP@dot.gov" <CBDTP@dot.gov>
983⠀    AR Organization: 06 Correspondence   DOT_0040896 DOT_0040898           3     6/12/2023 11:55 0834_001.pdf

                                                                                                                                                                                                                              "Berns, Matthew [GOV]"
                                                                                                                                                                                                                              <Matthew.Berns@NJ.gov>, "CBDTP"                  "Sun, Richard [GOV]" <Richard.Sun@nj.gov>, "Gutierrez‐
                                                                                                                                                                                                                              <CBDTP@dot.gov>, "Clark, Robert (FHWA)"          Scaccetti, Diane [DOT]" <Diane.Scaccetti@dot.nj.gov>,
                                                                                                     RE_ CBDTP Draft FONSI and Final EA ‐ State RE: CBDTP Draft FONSI and Final EA ‐    "Marquis, Rick (FHWA)"                <Robert.Clark@dot.gov>, "CBDTP@mtabt.org"        "Hermann, Alexandria [GOV]" <Alexandria.Hermann@nj.gov>,
984⠀    AR Organization: 05 ‐ Emails         DOT_0040899 DOT_0040899           1     6/12/2023 17:10 of New Jersey Comments (380).msg           State of New Jersey Comments            <Rick.Marquis@dot.gov>                <CBDTP@mtabt.org>                                "Medoway, Melissa [GOV]" <Melissa.Medoway@nj.gov>




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                                                                                                                                                                                                                            "Berns, Matthew [GOV]"
                                                                                                                                                                                                                            <Matthew.Berns@NJ.gov>, CBDTP                       "Sun, Richard [GOV]" <Richard.Sun@nj.gov>, "Gutierrez‐
                                                                                                                                                                                                                            <CBDTP@dot.gov>, "Clark, Robert (FHWA)"             Scaccetti, Diane [DOT]" <Diane.Scaccetti@dot.nj.gov>,
                                                                                                                                            RE: CBDTP Draft FONSI and Final EA ‐      "Marquis, Rick (FHWA)"                <Robert.Clark@dot.gov>, "CBDTP@mtabt.org"           "Hermann, Alexandria [GOV]" <Alexandria.Hermann@nj.gov>,
985⠀    AR Organization: 05 ‐ Emails         DOT_0040900 DOT_0040900           1    6/12/2023 17:10 unnamed.eml                             State of New Jersey Comments              <Rick.Marquis@dot.gov>                <CBDTP@mtabt.org>                                   "Medoway, Melissa [GOV]" <Melissa.Medoway@nj.gov>




                                                                                                                                                                                                                            "'CBDTP@mtabt.org'" <CBDTP@mtabt.org>,
                                                                                                                                                                                                                            "'CBDTP@dot.gov'" <CBDTP@dot.gov>, "Wojnar,
                                                                                                                                                                                                                            Michael" <mwojnar@mtahq.org>, "'Schwartz,           Ishrael Gonzalez <igonzalez@bronxbp.nyc.gov>, Michael Ivory
                                                                                                                                                                                                                            William'" <wschwartz@mtahq.org>,                    <mivory@bronxbp.nyc.gov>, Arlene Mukoko
                                                                                                                                                                                                                            "rick.marquis@dot.gov" <rick.marquis@dot.gov>,      <amukoko@bronxbp.nyc.gov>, Janet Peguero
                                                                                                                                                                                                                            "allison.cdecerreno@mtabt.org"                      <jpeguero@bronxbp.nyc.gov>, Justin Cortes
                                                                                                                                                                                                                            <allison.cdecerreno@mtabt.org>,                     <jcortes@bronxbp.nyc.gov>, "Vanessa L. Gibson"
                                                                                                                                                                                                                            "nick.choubah@dot.ny.gov"                           <vgibson@bronxbp.nyc.gov>, Eric Pesner
                                                                                                    Congestion Pricing ‐ Bronx BP Gibson    Congestion Pricing ‐ Bronx BP Gibson      Juton Horstman                        <nick.choubah@dot.ny.gov>,                          <epesner@bronxbp.nyc.gov>, Marisol Halpern
986⠀    AR Organization: 05 ‐ Emails         DOT_0040901 DOT_0040901           1    6/12/2023 17:41 Letter ‐ 6_12_23 (375).msg              Letter ‐ 6.12.23                          <jhorstman@bronxbp.nyc.gov>           "wcarry@dot.nyc.gov" <wcarry@dot.nyc.gov>           <MHALPERN@bronxbp.nyc.gov>


                                                                                                                                                                                                                            "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                    FW_ Residential Exemption Requests                                                                                      Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
987⠀    AR Organization: 05 ‐ Emails         DOT_0040902 DOT_0040902           1     6/13/2023 9:05 (30).msg                                FW: Residential Exemption Requests        CBDTP <CBDTP@dot.gov>                 Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                            RE: OST‐S10‐230609‐013:
                                                                                                                                            Gottheimer/Menendez ‐ Urging the
                                                                                                                                            Secretary to reconsider FHWA's Draft of                                         "Price, Anna (FHWA)" <anna.price@dot.gov>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                                                            Finding No Significant Impact for NYC     "Phillips, Tanisa"                    Leah" <leah.flax@mtabt.org>, "C. de Cerreno,      Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
988⠀    AR Organization: 05 ‐ Emails         DOT_0040903 DOT_0040904           2     6/13/2023 9:37 1335c.eml                               Business District Tolling Program         <tanisa.phillips@mtabt.org>           Allison" <allison.cdecerreno@mtahq.org>           Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                            "Price, Anna (FHWA)" <anna.price@dot.gov>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
                                                                                                                                                                                      "Phillips, Tanisa"                    Leah" <leah.flax@mtabt.org>, "C. de Cerreno,      Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Santiago,
989⠀    AR Organization: 05 ‐ Emails         DOT_0040905 DOT_0040905           1     6/13/2023 9:42 RE_ Comments on CBDTP Final EA.msg     RE: Comments on CBDTP Final EA             <tanisa.phillips@mtabt.org>           Allison" <allison.cdecerreno@mtahq.org>           Damaris (FHWA)" <Damaris.Santiago@dot.gov>
                                                                                                    Residential_Exemption_for_the_CBDTP(10
990⠀    AR Organization: 05 ‐ Emails         DOT_0040906 DOT_0040907           2    6/12/2023 21:38 ).eml                                  Residential Exemption for the CBDTP        "Cy G. Yee" <cy.yee@mountsinai.org>   Stephen.goodman@dot.gov


                                                                                                                                                                                                                            "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>,
                                                                                                                                                                                      "Price, Anna (FHWA)"                  Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
991⠀    AR Organization: 05 ‐ Emails         DOT_0040908 DOT_0040908           1    6/13/2023 10:02 Feedback on CBDTP Final EA.msg          Feedback on CBDTP Final EA                <anna.price@dot.gov>                  Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                            "Price, Anna (FHWA)" <anna.price@dot.gov>, "Flax, "Santiago, Damaris (FHWA)" <Damaris.Santiago@dot.gov>,
                                                                                                                                                                                      "Phillips, Tanisa"                    Leah" <leah.flax@mtabt.org>, "C. de Cerreno,      "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
992⠀    AR Organization: 05 ‐ Emails         DOT_0040909 DOT_0040909           1    6/13/2023 13:13 RE_ Feedback on CBDTP Final EA.msg      RE: Feedback on CBDTP Final EA            <tanisa.phillips@mtabt.org>           Allison" <allison.cdecerreno@mtahq.org>           Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                            "C. de Cerreno, Allison"
                                                                                                                                                                                                                            <allison.cdecerreno@mtahq.org>, "Friman, Paul"
                                                                                                                                                                                                                            <pfriman@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                            <LOLIVA@mtahq.org>, "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                            <Emily.Biondi@dot.gov>, "Vaughn‐Fair, Sharon
                                                                                                                                                                                                                            (FHWA)" <Sharon.Vaughn‐Fair@dot.gov>, "Angel,
                                                                                                                                                                                      "Marquis, Rick (FHWA)"                Nichola" <nangel@mtabt.org>, "Nicolas Choubah,      "Serrano, Samara" <samara.serrano@mtabt.org>, "Houck,
993⠀    AR Organization: 05 ‐ Emails         DOT_0040910 DOT_0040911           2    6/13/2023 16:02 RE_ CBDTP Catchup with FHWA (336).msg RE: CBDTP Catchup with FHWA                 <Rick.Marquis@dot.gov>                PE" <nick.choubah@dot.ny.gov>                       Ivory" <ivory.houck@mtabt.org>

                                                                                                    CBD_Tolling_Program_30‐
994⠀    AR Organization: 06 Correspondence   DOT_0040912 DOT_0040916           5    6/13/2023 16:02 day_Public_Review_Period_Comments.pdf




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                                                                                                                                                                                                                         "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                                                                                                    "Price, Anna (FHWA)"                 Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
995⠀    AR Organization: 05 ‐ Emails         DOT_0040917 DOT_0040917           1    6/13/2023 16:05 CBDTP Comments Final EA.msg             CBDTP Comments Final EA                 <anna.price@dot.gov>                 Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                    FW:_HDA‐                                                                                                             "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                    NY____CBD_Tolling_Program_30‐         FW: HDA‐NY // CBD Tolling Program 30‐     "Marquis, Rick (FHWA)"               "Santiago, Damaris (FHWA)"                          "FHWA, NewYork (FHWA)" <NewYork.FHWA@dot.gov>,
996⠀    AR Organization: 05 ‐ Emails         DOT_0040918 DOT_0040918           1    6/13/2023 16:05 day_public_review_period_comments.eml day public review period comments         <Rick.Marquis@dot.gov>               <Damaris.Santiago@dot.gov>                          CBDTP <CBDTP@dot.gov>


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                                                                                                                                                                                    "Phillips, Tanisa"                   Leah" <leah.flax@mtabt.org>, "C. de Cerreno,      Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
997⠀    AR Organization: 05 ‐ Emails         DOT_0040919 DOT_0040919           1    6/13/2023 16:57 RE_ CBDTP Comments Final EA.msg         RE: CBDTP Comments Final EA             <tanisa.phillips@mtabt.org>          Allison" <allison.cdecerreno@mtahq.org>           Monica (FHWA)" <Monica.Pavlik@dot.gov>


                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                    "Phillips, Tanisa"                                                                       <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
998⠀    AR Organization: 05 ‐ Emails         DOT_0040920 DOT_0040920           1    6/14/2023 16:18 RE_ CBDTP Feedback (287).msg            RE: CBDTP Feedback                      <tanisa.phillips@mtabt.org>          "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>       "Friman, Paul" <pfriman@mtabt.org>


                                                                                                                                                                                                                                                                             "C. de Cerreno, Allison" <allison.cdecerreno@mtahq.org>,
                                                                                                                                                                                                                                                                             "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                    "Marquis, Rick (FHWA)"                                                                   <leah.flax@mtabt.org>, "Oliva, Louis" <LOLIVA@mtahq.org>,
999⠀    AR Organization: 05 ‐ Emails         DOT_0040921 DOT_0040921           1    6/15/2023 13:12 RE_ CBDTP Feedback (229).msg            RE: CBDTP Feedback                      <Rick.Marquis@dot.gov>               "Phillips, Tanisa" <tanisa.phillips@mtabt.org>      "Friman, Paul" <pfriman@mtabt.org>
                                                                                                                                                                                                                                                                             "Shepard, Katie R." <Katie.Shepard@wsp.com>, "Phillips,
                                                                                                                                                                                                                                                                             Tanisa" <tanisa.phillips@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                                                                                             <leah.flax@mtabt.org>, "Crim, Stephen"
1000⠀   AR Organization: 05 ‐ Emails         DOT_0040922 DOT_0040922           1    6/16/2023 10:51 11d87.eml                               Families for Battery Park City Letter   "Hartz, Ian" <ian.hartz@mtabt.org>   "Price, Anna (FHWA)" <anna.price@dot.gov>           <stephen.crim@mtabt.org>


                                                                                                                                                                                                                         "Phillips, Tanisa" <tanisa.phillips@mtabt.org>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Pavlik,
                                                                                                    FW_ Please change the approach to       FW: Please change the approach to                                            Leah" <leah.flax@mtabt.org>, "C. de Cerreno,           Monica (FHWA)" <Monica.Pavlik@dot.gov>, "Santiago,
1001⠀   AR Organization: 05 ‐ Emails         DOT_0040923 DOT_0040924           2    6/16/2023 10:59 congestion pricing.msg                  congestion pricing                      CBDTP <CBDTP@dot.gov>                Allison" <allison.cdecerreno@mtahq.org>                Damaris (FHWA)" <Damaris.Santiago@dot.gov>


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1002⠀   AR Organization: 05 ‐ Emails         DOT_0040925 DOT_0040925           1     6/20/2023 8:12 Feedback on CBDTP Final EA .msg         Feedback on CBDTP Final EA              <anna.price@dot.gov>                 Allison" <allison.cdecerreno@mtahq.org>                Monica (FHWA)" <Monica.Pavlik@dot.gov>
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                                                                                                    goldman_congestion_pricing_letter_of_su
1003⠀   AR Organization: 06 Correspondence   DOT_0040926 DOT_0040927           2    6/14/2023 15:59 pport_6.15.23.pdf
1004⠀   AR Organization: 05 ‐ Emails         DOT_0040928 DOT_0040928           1     6/20/2023 8:12 Congestion_tax.eml                      Congestion tax                          M Ferrer <mferrer313@gmail.com>      "CBDTP" <CBDTP@dot.gov>


                                                                                                                                                                                                                         "Price, Anna (FHWA)" <anna.price@dot.gov>, "Flax, "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>, "Santiago,
                                                                                                                                                                                    "Phillips, Tanisa"                   Leah" <leah.flax@mtabt.org>, "C. de Cerreno,      Damaris (FHWA)" <Damaris.Santiago@dot.gov>, "Pavlik,
1005⠀   AR Organization: 05 ‐ Emails         DOT_0040929 DOT_0040929           1    6/20/2023 15:26 RE_ Feedback on CBDTP Final EA .msg     RE: Feedback on CBDTP Final EA          <tanisa.phillips@mtabt.org>          Allison" <allison.cdecerreno@mtahq.org>           Monica (FHWA)" <Monica.Pavlik@dot.gov>

                                                                                                                                                                                                                         "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                                         "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                                                                         "Santiago, Damaris (FHWA)"
                                                                                                                                                                                    "Marquis, Rick (FHWA)"               <Damaris.Santiago@dot.gov>, CBDTP
1006⠀   AR Organization: 05 ‐ Emails         DOT_0040930 DOT_0040930           1     6/21/2023 7:59 CBDTP_ MTA feedback (70).msg            CBDTP, MTA feedback                     <Rick.Marquis@dot.gov>               <CBDTP@dot.gov>




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Row #   AR Organization                Bates Beg   Bates End     Pages       Primary Date    Filename                              Subject                            From                                To                                               Cc




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1007⠀   AR Organization: 05 ‐ Emails   DOT_0040931 DOT_0040931           1     6/21/2023 7:59 CBDTP_Cumulative_Feedback_Report.eml CBDTP Cumulative Feedback Report   <noreply@mail.mta.info>             guzman@nyct.com>




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1008⠀   AR Organization: 05 ‐ Emails   DOT_0040932 DOT_0040932           1     6/21/2023 7:59 CBDTP_Daily_Feedback_Report.eml      CBDTP Daily Feedback Report        <noreply@mail.mta.info>             guzman@nyct.com>




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1009⠀   AR Organization: 05 ‐ Emails   DOT_0040933 DOT_0040933           1     6/22/2023 0:00 CBDTP Daily Feedback Report (115).msg   CBDTP Daily Feedback Report       <noreply@mail.mta.info>             guzman@nyct.com>


                                                                                                                                                                                                            "Price, Anna (FHWA)" <anna.price@dot.gov>,
                                                                                                                                                                                                            "Pavlik, Monica (FHWA)" <Monica.Pavlik@dot.gov>,
                                                                                                                                                                        "Marquis, Rick (FHWA)"              CBDTP <CBDTP@dot.gov>, "Santiago, Damaris
1010⠀   AR Organization: 05 ‐ Emails   DOT_0040934 DOT_0040934           1    6/22/2023 15:09 CBDTP_ MTA feedback.msg                 CBDTP, MTA feedback               <Rick.Marquis@dot.gov>              (FHWA)" <Damaris.Santiago@dot.gov>




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1011⠀   AR Organization: 05 ‐ Emails   DOT_0040935 DOT_0040935           1    6/22/2023 15:09 CBDTP_Cumulative_Feedback_Report.eml CBDTP Cumulative Feedback Report     <noreply@mail.mta.info>             guzman@nyct.com>




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1012⠀   AR Organization: 05 ‐ Emails         DOT_0040936 DOT_0040936           1    6/22/2023 15:09 CBDTP_Daily_Feedback_Report.eml                CBDTP Daily Feedback Report             <noreply@mail.mta.info>             guzman@nyct.com>

                                                                                                                                                                                                                                                                                 "nick.choubah@dot.ny.gov" <nick.choubah@dot.ny.gov>,
                                                                                                                                                                                                                                                                                 "WCarry@dot.nyc.gov" <WCarry@dot.nyc.gov>, "Friman,
                                                                                                                                                                                                                                                                                 Paul" <pfriman@mtabt.org>, "Oliva, Louis"
                                                                                                                                                                                                                                                                                 <LOLIVA@mtahq.org>, "Biondi, Emily (FHWA)"
                                                                                                                                                                                           "Marquis, Rick (FHWA)"              "C. de Cerreno, Allison"                          <Emily.Biondi@dot.gov>, "Vaughn‐Fair, Sharon (FHWA)"
1013⠀   AR Organization: 05 ‐ Emails         DOT_0040937 DOT_0040938           2     6/23/2023 7:30 RE_ FONSI for CBDTP (72).msg                   RE: FONSI for CBDTP                     <Rick.Marquis@dot.gov>              <allison.cdecerreno@mtahq.org>                    <Sharon.Vaughn‐Fair@dot.gov>
                                                                                                                                                                                           "Marquis, Rick (FHWA)"              "C. de Cerreno, Allison"
1014⠀   AR Organization: 05 ‐ Emails         DOT_0040939 DOT_0040940           2    6/23/2023 14:29 RE_ FONSI for CBDTP (5).msg                    RE: FONSI for CBDTP                     <Rick.Marquis@dot.gov>              <allison.cdecerreno@mtahq.org>
                                                                                                                                                                                           "C. de Cerreno, Allison"
1015⠀   AR Organization: 05 ‐ Emails         DOT_0040941 DOT_0040942           2    6/23/2023 14:41 RE_ FONSI for CBDTP.msg                        RE: FONSI for CBDTP                     <allison.cdecerreno@mtahq.org>      "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>
                                                                                                    Central Business District Tolling Program ‐
                                                                                                    Traffic Mobility Review Board meets            Central Business District Tolling Program ‐ "Mendes, Diniece"
1016⠀   AR Organization: 05 ‐ Emails         DOT_0040943 DOT_0040944           2    7/18/2023 18:30 7_19.msg                                       Traffic Mobility Review Board meets 7/19 <DMendes@dot.nyc.gov>              "Mendes, Diniece" <DMendes@dot.nyc.gov>
                                                                                                    FW_ CBDTP Sensitivity Analysis ‐ NYC           FW: CBDTP Sensitivity Analysis ‐ NYC
                                                                                                    Taxi_FHV Fare Increase and 3rd Avenue          Taxi/FHV Fare Increase and 3rd Avenue                                                                                         Price, Anna (FHWA); Foley, Jennifer (FHWA); Gardner, Brian
1017⠀   AR Organization: 05 ‐ Emails         DOT_0040945 DOT_0040948           4     8/4/2023 13:06 Redesign.pdf                                   Redesign                                    Pavlik, Monica (FHWA)           Marquis, Rick (FHWA)                              (FHWA); Pihl, Eric (FHWA); CBDTP
1018⠀   AR Organization: 04 ‐ Misc           DOT_0040949 DOT_0040949           1     8/4/2023 13:06 Taxi 23% and 3rd Ave_AQ.xlsx
                                                                                                    Build PM‐RFK Taxi_3rdAve ‐
1019⠀   AR Organization: 09 ‐ Report         DOT_0040950 DOT_0040951           2     8/4/2023 13:06 Northbound.pdf
                                                                                                    Build PM‐RFK Taxi_3rdAve ‐
1020⠀   AR Organization: 09 ‐ Report         DOT_0040952 DOT_0040953           2     8/4/2023 13:06 Southbound.pdf

1021⠀   AR Organization: 04 ‐ Misc           DOT_0040954 DOT_0040954           1     8/4/2023 13:06 Sensitivity Analysis ‐ Flagged Highways.xlsx

1022⠀   AR Organization: 04 ‐ Misc           DOT_0040955 DOT_0040955           1     8/4/2023 13:06 LIC NoAction vs WithAction_Mitigation.xlsx

                                                                                                    Lower Manhattan NoAction vs
1023⠀   AR Organization: 04 ‐ Misc           DOT_0040956 DOT_0040956           1     8/4/2023 13:06 WithAction_NoMitigation_Required.xlsx
                                                                                                    Sensitivity Analy ‐ Flagged Intersections
1024⠀   AR Organization: 04 ‐ Misc           DOT_0040957 DOT_0040957           1     8/4/2023 13:06 AM.xlsx
                                                                                                                                                   FW: Central Business District Tolling
                                                                                                  Stockbridge_Munsee_Response_‐                    Program ‐ Consultation with Tribal
1025⠀   AR Organization: 05 ‐ Emails         DOT_0040958 DOT_0040960           3 10/13/2021 15:33 _Consultation_with_Tribal_Nations.pdf            Nations                                 Price, Anna (FHWA)                  Leslie, Catherine S. (DOT); Blair, Lori E (DOT)
1026⠀   AR Organization: 06 Correspondence   DOT_0040961 DOT_0040962           2 6/17/2019 14:52 DOC061719.pdf




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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                                                                                                  FHWA Response Nicole Malliotakis 06‐15‐
1027⠀   AR Organization: 06 Correspondence   DOT_0040963 DOT_0040963           1   6/15/2020 8:37 2020.pdf
1028⠀   AR Organization: 06 Correspondence   DOT_0040964 DOT_0040966           3   9/3/2020 13:48 Final NY Response Letters 9‐3‐20.pdf
                                                                                                  Response_to_September_4_2020_FHWA_l
1029⠀   AR Organization: 06 Correspondence   DOT_0040967 DOT_0040968           2 10/13/2020 13:19 tr_FIN_v1_10‐13‐20.pdf
                                                                                                  NYC_VPPP_EOI_Response_Final_10‐24‐
1030⠀   AR Organization: 06 Correspondence   DOT_0040969 DOT_0040971           3 10/23/2019 10:20 19.pdf
                                                                                                  3.30.2021 FHWA Letter to NYC CBDTP
1031⠀   AR Organization: 06 Correspondence   DOT_0040972 DOT_0040973           2   3/30/2021 8:58 NEPA COA.pdf
1032⠀   AR Organization: 06 Correspondence   DOT_0040974 DOT_0040975           2 3/29/2021 19:12 3.30.2021_FHWA_NYC_release.docx
1033⠀   AR Organization: 06 Correspondence   DOT_0040976 DOT_0040977           2   4/9/2021 12:16 Congestion Pricing.From NJ.pdf

                                                                                                                                                                                                                                                              "Carter, Lee Ellen (FHWA)" <lee.ellen.carter@dot.gov>,
                                                                                                                                                                                "Weingroff, Richard (FHWA)"                                                   "Gavin, James (FHWA)" <james.gavin@dot.gov>, "Biondi,
1034⠀   AR Organization: 06 Correspondence   DOT_0040978 DOT_0040978           1      5/27/2021 8:36 NYC Congestion Pricing.msg                NYC Congestion Pricing           <Richard.Weingroff@dot.gov>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>   Emily (FHWA)" <Emily.Biondi@dot.gov>
1035⠀   AR Organization: 06 Correspondence   DOT_0040979 DOT_0040981           3      3/25/2021 9:59 Congestion_Pricing.NYC.pdf

1036⠀   AR Organization: 06 Correspondence   DOT_0040982 DOT_0041005           24 5/26/2021 13:40 Congestion_Pricing_Assembly.Reply.pdf
                                                                                                  FHWA Acceptance of EA Initiation
1037⠀   AR Organization: 06 Correspondence   DOT_0041006 DOT_0041007           2 8/18/2021 14:46 08182021.pdf
                                                                                                  Shinnecock Letter of Initiation
1038⠀   AR Organization: 06 Correspondence   DOT_0041008 DOT_0041008           1   8/20/2021 8:45 08182021.pdf
                                                                                                  Agency Invite Letter from Project Sponsors
1039⠀   AR Organization: 06 Correspondence   DOT_0041009 DOT_0041010           2 8/20/2021 12:38 08182021_5.docx
                                                                                                  Agency Invite Letter from Project Sponsors
1040⠀   AR Organization: 06 Correspondence   DOT_0041011 DOT_0041012           2 8/20/2021 12:38 08182021_2.docx
                                                                                                  Agency Invite Letter from Project Sponsors
1041⠀   AR Organization: 06 Correspondence   DOT_0041013 DOT_0041014           2 8/20/2021 12:38 08182021_3.docx
                                                                                                  Agency Invite Letter from Project Sponsors
1042⠀   AR Organization: 06 Correspondence   DOT_0041015 DOT_0041016           2 8/20/2021 12:38 08182021_4.docx
                                                                                                  Agency Invite Letter from Project Sponsors
1043⠀   AR Organization: 06 Correspondence   DOT_0041017 DOT_0041018           2 8/20/2021 12:38 08182021_1.docx
                                                                                                  Agency Invite Letter from Project Sponsors
1044⠀   AR Organization: 06 Correspondence   DOT_0041019 DOT_0041020           2 8/20/2021 12:38 08182021_5.docx
                                                                                                  Agency Invite Letter from Project Sponsors
1045⠀   AR Organization: 06 Correspondence   DOT_0041021 DOT_0041022           2 8/20/2021 12:39 08182021_6.docx
                                                                                                  Traffic_and_Revenue_Cover_Letter_for_F
1046⠀   AR Organization: 06 Correspondence   DOT_0041023 DOT_0041023           1   9/9/2021 10:49 HWA_1‐27‐20_.pdf
1047⠀   AR Organization: 06 Correspondence   DOT_0041024 DOT_0041031           8 10/5/2021 13:59 Congestion Pricing.MOCs Reply.pdf
1048⠀   AR Organization: 06 Correspondence   DOT_0041032 DOT_0041033           2   10/6/2021 8:26 Congestion Pricing.From NJ.pdf
                                                                                                  Request to Begin CBDTP EA DFT v9 8‐17‐
1049⠀   AR Organization: 06 Correspondence   DOT_0041034 DOT_0041035           2   10/6/2021 8:42 21.pdf
                                                                                                  CBDTP Consulting Party Invitation Letter
1050⠀   AR Organization: 06 Correspondence   DOT_0041036 DOT_0041037           2 10/6/2021 12:58 Tribes (003).pdf
                                                                                                  CBDTP Consulting Party Invitation Letter
1051⠀   AR Organization: 06 Correspondence   DOT_0041038 DOT_0041039           2 10/12/2021 16:02 Stockbridge Munsee (2).pdf
                                                                                                  CBDTP Consulting Party Invitation Letter
1052⠀   AR Organization: 06 Correspondence   DOT_0041040 DOT_0041041           2 10/12/2021 16:04 Delaware Tribes.pdf
                                                                                                  CBDTP Consulting Party Invitation Letter
1053⠀   AR Organization: 06 Correspondence   DOT_0041042 DOT_0041043           2 10/12/2021 16:32 Delaware‐Nation.pdf

1054⠀   AR Organization: 06 Correspondence   DOT_0041044 DOT_0041045           2                  Letter_to_Mr._Janno_Lieber‐c2‐c2‐c2.pdf
                                                                                                  CBDTP_corr_FHWA_consulting parties 10‐
1055⠀   AR Organization: 06 Correspondence   DOT_0041046 DOT_0041047           2 10/21/2021 12:31 21‐21.pdf

                                                                                                     CBDTP ltr to Tribal Nations submitting
1056⠀   AR Organization: 06 Correspondence   DOT_0041048 DOT_0041049           2     10/29/2021 7:00 screening Delaware Tribe 10‐28‐21_.pdf

                                                                                                     CBDTP ltr to Tribal Nations submitting
1057⠀   AR Organization: 06 Correspondence   DOT_0041050 DOT_0041051           2     10/29/2021 7:01 screening Delaware Nation 10‐28‐21_.pdf




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                                                                                                    CBDTP ltr to Tribal Nations submitting
                                                                                                    screening Stockbridge‐Munsee 10‐28‐
1058⠀   AR Organization: 06 Correspondence   DOT_0041052 DOT_0041053           2    10/29/2021 7:03 21_.pdf
                                                                                                    CBDTP ltr to Tribal Nations submitting
                                                                                                    screening 10‐28‐21 Shinnecock Indian
1059⠀   AR Organization: 06 Correspondence   DOT_0041054 DOT_0041055           2    10/29/2021 7:04 Nation.pdf
                                                                                                    ltr NYSDOT to FHWA consulting parties 11‐
1060⠀   AR Organization: 06 Correspondence   DOT_0041056 DOT_0041057           2    11/9/2021 16:09 9‐21.pdf
                                                                                                    CBDTP Section 106 Consulting Party
1061⠀   AR Organization: 06 Correspondence   DOT_0041058 DOT_0041059           2    11/12/2021 4:21 Approval Letter (002).rtf
                                                                                                    CBDTP_Release_Draft_Final_to_FHWA_02
1062⠀   AR Organization: 06 Correspondence   DOT_0041060 DOT_0041061           2    2/23/2022 16:19 2322_v2.docx

1063⠀   AR Organization: 06 Correspondence   DOT_0041062 DOT_0041063           2     5/6/2020 15:48 Section_6F_OPRHP_Determination.pdf
                                                                                                    CBDTP_Request_for_Page_Exceedance_FI
1064⠀   AR Organization: 06 Correspondence   DOT_0041064 DOT_0041064           1    2/25/2022 15:11 N_v1_2‐25‐22.pdf
                                                                                                    CBDTP Consulting Party Invitation Letter
1065⠀   AR Organization: 06 Correspondence   DOT_0041065 DOT_0041066           2     3/1/2022 12:55 Tribes (003).docx
                                                                                                    2022‐03‐31T10‐49‐
                                                                                                    56_21PR06430.001CBDTSHPOresponsetos
1066⠀   AR Organization: 06 Correspondence   DOT_0041067 DOT_0041067           1    3/31/2022 12:41 ubmission5final.pdf
                                                                                                    2022‐04‐18T08‐39‐
                                                                                                    30_21PR06430.006SHPOresponsetoFinalFi
1067⠀   AR Organization: 06 Correspondence   DOT_0041068 DOT_0041068           1     4/18/2022 8:34 ndingDocCBDT.pdf
                                                                                                    FHWA to Tribal Nations_ Delaware Nation
1068⠀   AR Organization: 06 Correspondence   DOT_0041069 DOT_0041071           3    5/31/2022 14:43 signs_5 31 22.docx
                                                                                                    FHWA to Tribal Nations_ Stockbridge‐
1069⠀   AR Organization: 06 Correspondence   DOT_0041072 DOT_0041073           2     6/1/2022 11:23 Munsee signs_5 31 22.pdf
                                                                                                    FHWA to Tribal Nations_ Shinnecock Indian
1070⠀   AR Organization: 06 Correspondence   DOT_0041074 DOT_0041075           2     6/1/2022 11:24 Nation signs_5 31 22.pdf
                                                                                                    FHWA to Tribal Nations_ Delaware Tribe
1071⠀   AR Organization: 06 Correspondence   DOT_0041076 DOT_0041077           2     6/1/2022 11:26 signs_5 31 22.pdf
                                                                                                    2022‐06‐16T15‐43‐
                                                                                                    48_21PR06430.007CBDTSHPO
1072⠀   AR Organization: 06 Correspondence   DOT_0041078 DOT_0041078           1    6/17/2022 15:46 concurrence.pdf
                                                                                                    CBDTP_cor_ltr_DOT to FHWA_ 106
1073⠀   AR Organization: 06 Correspondence   DOT_0041079 DOT_0041081           3    6/21/2022 10:18 finding_ 6‐21‐22.pdf
                                                                                                    Final Draft CBDTP FHWA NAE
1074⠀   AR Organization: 06 Correspondence   DOT_0041082 DOT_0041083           2    6/21/2022 15:28 Determination.pdf
                                                                                                    CBDTP_EA_Submission_Cvr_Ltr_to_FHWA
1075⠀   AR Organization: 06 Correspondence   DOT_0041084 DOT_0041085           2    6/23/2022 19:40 _FIN_v1_6‐23‐22.pdf
1076⠀   AR Organization: 06 Correspondence   DOT_0041086 DOT_0041087           2    7/12/2022 19:45 CBDT_4f_Letter_07122022.pdf
                                                                                                                                                 Administrative Draft Environmental
                                                                                                                                                 Assessment June 2022 – Central Business
                                                                                                    EPA_CBDTP_ADEA_JUL22_Comment                 District Tolling Program (CBDTP), New
1077⠀   AR Organization: 06 Correspondence   DOT_0041088 DOT_0041096           9     7/14/2022 8:12 Letter_FINAL_07‐13‐2022.pdf                  York, NY (Project)
                                                                                                    Federal Transit Admin
                                                                                                    DOT_Goodman_Agency Invite Letter from
1078⠀   AR Organization: 06 Correspondence   DOT_0041097 DOT_0041098           2     7/19/2022 8:45 FHWA 07‐19‐2022.pdf

                                                                                                    National Park Service_Eberle_Agency Invite
1079⠀   AR Organization: 06 Correspondence   DOT_0041099 DOT_0041100           2     7/19/2022 8:46 Letter from FHWA 07‐19‐2022.pdf

                                                                                                    National Park Service_Schlegel_Agency
1080⠀   AR Organization: 06 Correspondence   DOT_0041101 DOT_0041102           2     7/19/2022 8:47 Invite Letter from FHWA 07‐19‐2022.pdf
                                                                                                    NYS Office of Parks Rec Hist
                                                                                                    Pres_Cumming_AAgency Invite Letter from
1081⠀   AR Organization: 06 Correspondence   DOT_0041103 DOT_0041104           2     7/19/2022 8:47 FHWA 07‐19‐2022.pdf
                                                                                                    NYS Office of Parks Rec Hist
                                                                                                    Pres_Herter_Agency Invite Letter from
1082⠀   AR Organization: 06 Correspondence   DOT_0041105 DOT_0041106           2     7/19/2022 8:48 FHWA 07‐19‐2022.pdf




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                                                                                                  New Jersey v. U.S. Dep’t of Transp., et al., Case No. 23‐3885 (D.N.J.)
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                                                                                                     NYS Office of Parks Rec Hist
                                                                                                     Pres_MacKay_Agency Invite Letter from
1083⠀   AR Organization: 06 Correspondence   DOT_0041107 DOT_0041108            2     7/19/2022 8:48 FHWA 07‐19‐2022.pdf

                                                                                                     EPA N.E and Caribbean_Austin_Agency
1084⠀   AR Organization: 06 Correspondence   DOT_0041109 DOT_0041110            2     7/19/2022 8:49 Invite Letter from FHWA 07‐19‐2022.pdf

                                                                                                     EPA N.E and Caribbean_Benjamin_Agency
1085⠀   AR Organization: 06 Correspondence   DOT_0041111 DOT_0041112            2     7/19/2022 8:50 Invite Letter from FHWA 07‐19‐2022.pdf

                                                                                                     EPA N.E and Caribbean_Kleusner_Agency
1086⠀   AR Organization: 06 Correspondence   DOT_0041113 DOT_0041114            2     7/19/2022 8:50 Invite Letter from FHWA 07‐19‐2022.pdf

                                                                                                   Federal Transit Admin DOT_Burns_Agency
1087⠀   AR Organization: 06 Correspondence   DOT_0041115 DOT_0041116            2   7/19/2022 8:51 Invite Letter from FHWA 07‐19‐2022.pdf
                                                                                                   CBDTP_‐
                                                                                                   _Ageny_Invitation_Kevin_Corbett_NJT.doc
1088⠀   AR Organization: 06 Correspondence   DOT_0041117 DOT_0041117            1   8/1/2022 21:24 x
1089⠀   AR Organization: 06 Correspondence   DOT_0041118 DOT_0041118            1 8/17/2022 11:50 Schepisi_letter_re_CBDTP.pdf
                                                                                                   Senator_Krueger_Testimony_to_the_MTA
1090⠀   AR Organization: 06 Correspondence   DOT_0041119 DOT_0041121            3 8/30/2022 13:39 _Regarding_the_CBDTP.pdf
                                                                                                   Final_‐
                                                                                                   _Mallitotakis_Letter_to_FHWA_Public_Co
1091⠀   AR Organization: 06 Correspondence   DOT_0041122 DOT_0041123            2 9/19/2022 17:05 mment_Extension.pdf
                                                                                                   CBDTP_Comment_WE_ACT_for_Environm
1092⠀   AR Organization: 06 Correspondence   DOT_0041124 DOT_0041133           10 9/14/2022 22:14 ental_Justice_9_2022.pdf
1093⠀   AR Organization: 06 Correspondence   DOT_0041134 DOT_0041135            2   9/8/2022 15:41 20220908154140552.pdf
                                                                                                   AM Glick_MTA
1094⠀   AR Organization: 06 Correspondence   DOT_0041136 DOT_0041137            2   9/9/2022 12:48 CBDT_Testimony_9.9.22.pdf
1095⠀   AR Organization: 06 Correspondence   DOT_0041138 DOT_0041138            1 9/20/2022 15:51 SKM_C450i22092014511.pdf
                                                                                                   FHWA_July_12_2022_response_to_June_2
1096⠀   AR Organization: 06 Correspondence   DOT_0041139 DOT_0041143            5 7/12/2022 17:10 3_2022_NYC_CBDTP_EA.pdf
                                                                                                   FHWA Feb 17 2023 response to Jan 18
1097⠀   AR Organization: 06 Correspondence   DOT_0041144 DOT_0041147            4 2/17/2023 14:16 2023 NYC CBDTP draft Final EA.pdf
                                                                                                   Testimony_of_IDGAziz_Bah_before_TMRB
1098⠀   AR Organization: 06 Correspondence   DOT_0041148 DOT_0041151            4 8/25/2022 11:21 _2022.pdf
                                                                                                   CP EA Prior Concurrence Memo EB
1099⠀   AR Organization: 06 Correspondence   DOT_0041152 DOT_0041152            1 4/26/2023 11:49 cmts_LEC.docx
                                                                                                   EPA Invite Letter from
1100⠀   AR Organization: 06 Correspondence   DOT_0041153 DOT_0041154            2   5/8/2023 11:07 FHWA_2023_dftv3_050823.pdf
                                                                                                   Shinnecock Invite Letter from
1101⠀   AR Organization: 06 Correspondence   DOT_0041155 DOT_0041156            2   5/8/2023 11:08 FHWA_2023_dftv3_050823.pdf
                                                                                                   SHPO Invite Letter from
1102⠀   AR Organization: 06 Correspondence   DOT_0041157 DOT_0041158            2   5/8/2023 11:09 FHWA_2023_dftv3_050823.pdf
                                                                                                   NPS Invite Letter from
1103⠀   AR Organization: 06 Correspondence   DOT_0041159 DOT_0041160            2   5/8/2023 11:10 FHWA_2023_dftv3_050823.pdf
                                                                                                   FTA Federal NYS Agency Invite Letter from
1104⠀   AR Organization: 06 Correspondence   DOT_0041161 DOT_0041162            2   5/8/2023 11:11 FHWA_2023_dftv3_050823.pdf
                                                                                                   congestion_price_letter_to_secretary_butt
1105⠀   AR Organization: 06 Correspondence   DOT_0041163 DOT_0041164            2 5/15/2023 12:17 igieg.pdf
                                                                                                   3.30.2021 FHWA Letter to NYC CBDTP
1106⠀   AR Organization: 06 Correspondence   DOT_0041165 DOT_0041166            2   3/30/2021 8:58 NEPA COA.pdf
                                                                                                   CBDTP_ltr_to_Tribal_Nations_submitting_s
                                                                                                   creening_Stockbridge‐Munsee_10‐28‐
1107⠀   AR Organization: 06 Correspondence   DOT_0041167 DOT_0041168            2 10/13/2021 15:33 21_.pdf
                                                                                                   CBDTP_Consulting_Party_Invitation_Letter
1108⠀   AR Organization: 06 Correspondence   DOT_0041169 DOT_0041170            2 10/13/2021 15:33 _Stockbridge_Munsee.pdf
1109⠀   AR Organization: 07 ‐ Presentation   DOT_0041171 DOT_0041189           19 8/28/2019 16:58 ICG Presentation 9C.pptx
1110⠀   AR Organization: 07 ‐ Presentation   DOT_0041190 DOT_0041200           11 10/13/2019 22:04 NYC VPPP EJ.pptx
1111⠀   AR Organization: 07 ‐ Presentation   DOT_0041201 DOT_0041203            3 10/22/2019 13:46 NYC VPPP EJ2.pptx
                                                                                                   NYC VPPP.2019Oct16 brief.followup car
1112⠀   AR Organization: 07 ‐ Presentation   DOT_0041204 DOT_0041213           10 10/24/2019 23:09 work trip OD by County.pptx




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                                                                                                     CBDTP PPT for Public Outreach Webinars
1113⠀   AR Organization: 07 ‐ Presentation   DOT_0041214 DOT_0041248           35     9/2/2021 10:23 DFT v6 8‐25‐21.pdf
                                                                                                     CBDTP PPT for Agency Meeting #2 FIN v1 9‐
1114⠀   AR Organization: 07 ‐ Presentation   DOT_0041249 DOT_0041268           20      9/8/2021 8:00 7‐21 to FHWA.pdf

1115⠀   AR Organization: 07 ‐ Presentation   DOT_0041269 DOT_0041288           20  9/10/2021 11:08 CBDTP PPT for Agencies Leads 9‐9‐21.pdf
1116⠀   AR Organization: 07 ‐ Presentation   DOT_0041289 DOT_0041289            1  9/10/2021 15:33 CBDTP Agency Meeting 9‐10‐21.mp4
                                                                                                   CBDTP PPT for EJ TAG Meeting_FNL
1117⠀   AR Organization: 07 ‐ Presentation   DOT_0041290 DOT_0041313           24 10/14/2021 11:42 10142021.pdf
                                                                                                   CBDTP PPT SWG2 v15 DFT 11‐30‐21 for
1118⠀   AR Organization: 07 ‐ Presentation   DOT_0041314 DOT_0041328           15 12/9/2021 10:45 presentation.pdf

1119⠀   AR Organization: 07 ‐ Presentation   DOT_0041329 DOT_0041349           21  12/9/2021 10:46 CBDTP PPT for DEC‐EJ_FIN V3 12‐06‐21.pdf
                                                                                                   CBDTP PPT for TAG2.1 v8 02‐09‐22 DFT
1120⠀   AR Organization: 07 ‐ Presentation   DOT_0041350 DOT_0041376           27   2/10/2022 9:01 REV ALCC.pdf
                                                                                                   CBDTP_PPT_for_EJTAG2_DFT_v6_11‐02‐
1121⠀   AR Organization: 07 ‐ Presentation   DOT_0041377 DOT_0041400           24 11/12/2021 16:19 21_presented_to_EJTAG.pdf

1122⠀   AR Organization: 07 ‐ Presentation   DOT_0041401 DOT_0041424           24     11/9/2021 9:25 CBDTP_PPT_SWG1_V6_FIN_11‐09‐21.pdf
                                                                                                     CBDTP_FHWA_EJ_Workshop_2_05‐06‐
1123⠀   AR Organization: 07 ‐ Presentation   DOT_0041425 DOT_0041449           25     5/6/2022 16:20 2022_DFT_v2_05‐05‐22.pptx
                                                                                                     CBDTP_Range_of_Potential_Effects_DFT_v
1124⠀   AR Organization: 07 ‐ Presentation   DOT_0041450 DOT_0041479           30    5/20/2022 17:54 1_05‐20‐22.pptx
                                                                                                     CBDTP_Poster_Long_Form_Ad_Virtual_FIN
1125⠀   AR Organization: 07 ‐ Presentation   DOT_0041480 DOT_0041480            1     7/8/2022 13:15 _v10_7‐8‐22.docx

1126⠀   AR Organization: 07 ‐ Presentation   DOT_0041481 DOT_0041514           34  10/4/2022 13:11 CBDTP EA Public Hearing FIN v3 8‐9‐22.pdf
                                                                                                   CBDTP_EJTAG_Meeting__5_‐
                                                                                                   _Suggested_Mitigation_FIN_v1_10‐6‐
1127⠀   AR Organization: 07 ‐ Presentation   DOT_0041515 DOT_0041525           11 10/6/2022 14:01 22.pptx
                                                                                                   CBDTP_EJTAG_Meeting__6_‐
1128⠀   AR Organization: 07 ‐ Presentation   DOT_0041526 DOT_0041534            9 12/30/2022 10:50 _Dft_V7_123022.pdf
                                                                                                   CBDTP_EJTAG_Mtg__7_‐
                                                                                                   _Proposed_Investments_share_DFT_v1_01
1129⠀   AR Organization: 07 ‐ Presentation   DOT_0041535 DOT_0041561           27   1/13/2023 8:00 1323.pdf
                                                                                                   CBDTP Presentation on Final EA FIN v1 5‐8‐
1130⠀   AR Organization: 07 ‐ Presentation   DOT_0041562 DOT_0041574           13 10/20/2023 14:43 23.pdf
                                                                                                   CBDTP ‐ EJ New Jersey Public Meeting ‐
1131⠀   AR Organization: 07 ‐ Presentation   DOT_0041575 DOT_0041575            1                  10122021.mp4
                                                                                                   CBDTP ‐ Northern NY Suburbs Public
1132⠀   AR Organization: 07 ‐ Presentation   DOT_0041576 DOT_0041576            1                  Meeting ‐ 09292021.mp4
                                                                                                   CBDTP ‐ EJ New Jersey Public Meeting ‐
1133⠀   AR Organization: 07 ‐ Presentation   DOT_0041577 DOT_0041577            1                  1282021.mp4
                                                                                                   CBDTP ‐ Long Island Public Meeting ‐
1134⠀   AR Organization: 07 ‐ Presentation   DOT_0041578 DOT_0041578            1                  09292021.mp4
                                                                                                   CBDTP ‐ EJ New York Public Meeting ‐
1135⠀   AR Organization: 07 ‐ Presentation   DOT_0041579 DOT_0041579            1                  1072021.mp4
                                                                                                   CBDTP ‐ EJ New Jersey Public Meeting ‐
1136⠀   AR Organization: 07 ‐ Presentation   DOT_0041580 DOT_0041580            1                  10272021.mp4
                                                                                                   CBDTP ‐ New Jersey Public Meeting ‐
1137⠀   AR Organization: 07 ‐ Presentation   DOT_0041581 DOT_0041581            1                  09242021.mp4
                                                                                                   CBDTP ‐ Connecticut Public Meeting ‐
1138⠀   AR Organization: 07 ‐ Presentation   DOT_0041582 DOT_0041582            1                  1012021.mp4
                                                                                                   CBDTP ‐ EJ Connecticut Public Meeting ‐
1139⠀   AR Organization: 07 ‐ Presentation   DOT_0041583 DOT_0041583            1                  10282021.mp4
                                                                                                   CBDTP ‐ EJ New York Public Meeting ‐
1140⠀   AR Organization: 07 ‐ Presentation   DOT_0041584 DOT_0041584            1                  10262021.mp4
1141⠀   AR Organization: 07 ‐ Presentation   DOT_0041585 DOT_0041585            1                  CBDTP Presentation.mp4
                                                                                                   CBDTP ‐ Manhattan Outside CBD Public
1142⠀   AR Organization: 07 ‐ Presentation   DOT_0041586 DOT_0041586            1                  Meeting ‐ 1062021.mp4
                                                                                                   CBDTP ‐ EJ New York Public Meeting ‐
1143⠀   AR Organization: 07 ‐ Presentation   DOT_0041587 DOT_0041587            1                  1272021.mp4




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                                                                                                      CBDTP ‐ NYC Outer Boroughs Public
1144⠀   AR Organization: 07 ‐ Presentation   DOT_0041588 DOT_0041588            1                     Meeting ‐ 09232021.mp4
                                                                                                      CBDTP ‐ Northern NY Suburbs Public
1145⠀   AR Organization: 07 ‐ Presentation   DOT_0041589 DOT_0041589            1                     Meeting ‐ 1052021.mp4
                                                                                                      CBDTP ‐ EJ Connecticut Public Meeting ‐
1146⠀   AR Organization: 07 ‐ Presentation   DOT_0041590 DOT_0041590            1                     1292021.mp4
                                                                                                      CBDTP ‐ EJ Connecticut Public Meeting ‐
1147⠀   AR Organization: 07 ‐ Presentation   DOT_0041591 DOT_0041591            1                     10132021.mp4
                                                                                                      CBDTP ‐ NYC Outer Boroughs Public
1148⠀   AR Organization: 07 ‐ Presentation   DOT_0041592 DOT_0041592            1                     Meeting ‐ 09302021.mp4
                                                                                                      Manhattan CBD Public Meeting ‐
1149⠀   AR Organization: 07 ‐ Presentation   DOT_0041593 DOT_0041593            1                     09232021.mp4
                                                                                                      CBDTP ‐ New Jersey Public Meeting ‐
1150⠀   AR Organization: 07 ‐ Presentation   DOT_0041594 DOT_0041594            1                     1042021.mp4
1151⠀   AR Organization: 07 ‐ Presentation   DOT_0041595 DOT_0041595            1                     CBDTP Public Hearing ‐ 8272022.mp4
1152⠀   AR Organization: 07 ‐ Presentation   DOT_0041596 DOT_0041596            1                     CBDTP Public Hearing ‐ 8282022.mp4
1153⠀   AR Organization: 07 ‐ Presentation   DOT_0041597 DOT_0041597            1                     CBDTP Public Hearing ‐ 8252022.mp4
1154⠀   AR Organization: 07 ‐ Presentation   DOT_0041598 DOT_0041598            1                     CBDTP Public Hearing ‐ 8292022.mp4
1155⠀   AR Organization: 07 ‐ Presentation   DOT_0041599 DOT_0041599            1                     CBDTP Public Hearing ‐ 8302022.mp4
1156⠀   AR Organization: 07 ‐ Presentation   DOT_0041600 DOT_0041600            1                     CBDTP Public Hearing ‐ 8312022.mp4
                                                                                                      Congestion_Pricing_04252019_Meeting_S
1157⠀   AR Organization: 08 ‐ Meeting        DOT_0041601 DOT_0041603            3     4/25/2019 17:54 ummary.docx
                                                                                                      8‐29‐19 ICG meeting minutes re CBDTP
1158⠀   AR Organization: 08 ‐ Meeting        DOT_0041604 DOT_0041605            2      9/9/2019 13:28 NYMTC.pdf
1159⠀   AR Organization: 08 ‐ Meeting        DOT_0041606 DOT_0041607            2      8/19/2021 9:19 Group 1 A with phone #s.docx
                                                                                                      9_3_PM_Eng_MTA CB District Tolling
1160⠀   AR Organization: 08 ‐ Meeting        DOT_0041608 DOT_0041608            1      9/3/2021 13:57 Program_21x27_V2 (1)[83].pdf

                                                                                                      9_3_MTA CB District Tolling
1161⠀   AR Organization: 08 ‐ Meeting        DOT_0041609 DOT_0041609            1      9/3/2021 18:18 Program_21x27_Spanish Russian[7].pdf

                                                                                                      9_3_MTA CB District Tolling
1162⠀   AR Organization: 08 ‐ Meeting        DOT_0041610 DOT_0041610            1      9/3/2021 18:19 Program_21x27_Portuguese Italian[29].pdf

                                                                                                      9_3_MTA CB District Tolling
1163⠀   AR Organization: 08 ‐ Meeting        DOT_0041611 DOT_0041611            1      9/3/2021 18:20 Program_21x27_Creole Bengali[92].pdf

                                                                                                   9_3_MTA CB District Tolling
1164⠀   AR Organization: 08 ‐ Meeting        DOT_0041612 DOT_0041612            1   9/3/2021 18:21 Program_21x27_Chinese Korean[93].pdf
1165⠀   AR Organization: 08 ‐ Meeting        DOT_0041613 DOT_0041616            4  9/15/2021 14:29 Group 1 B.docx
                                                                                                   CBDTP Agency 2 Meeting Summary DFT v2
1166⠀   AR Organization: 08 ‐ Meeting        DOT_0041617 DOT_0041620            4 9/20/2021 10:04 09‐20‐2021.docx
                                                                                                   Table CBD Tolling Program Invited
1167⠀   AR Organization: 08 ‐ Meeting        DOT_0041621 DOT_0041621            1 10/21/2021 12:32 Consulting Parties ‐ responses.pdf
                                                                                                   Meeting_Agenda_Attendance_Sheet_for_i
                                                                                                   ntneral_use_EJ_TAG_Meeting_2_Fin_V1_1
1168⠀   AR Organization: 08 ‐ Meeting        DOT_0041622 DOT_0041625            4 11/2/2021 17:08 1.2.21.docx
1169⠀   AR Organization: 08 ‐ Meeting        DOT_0041626 DOT_0041629            4 9/15/2021 14:29 Group_1_B.docx
1170⠀   AR Organization: 08 ‐ Meeting        DOT_0041630 DOT_0041631            2 9/15/2021 14:29 Group_1_A.docx
                                                                                                   CBDTP_‐
                                                                                                   _Regional_Transportation_Stakeholder_inv
1171⠀   AR Organization: 08 ‐ Meeting        DOT_0041632 DOT_0041633            2 7/27/2022 13:04 itation_07‐27‐22.pdf
                                                                                                   CBDTP Regional Transportation and NYC
                                                                                                   Agency Meeting Summary DFT_08‐04‐
1172⠀   AR Organization: 08 ‐ Meeting        DOT_0041634 DOT_0041638            5   8/9/2022 10:53 2022.docx

                                                                                                      118398_08.28.2022_CBDTP_Congestion
1173⠀   AR Organization: 08 ‐ Meeting        DOT_0041639 DOT_0041905           267    9/13/2022 17:02 Pricing Public Hearing_REVISED‐1.pdf
                                                                                                      118399_08.29.22_CBDTP_Congestion
1174⠀   AR Organization: 08 ‐ Meeting        DOT_0041906 DOT_0042222           317    9/14/2022 18:21 Pricing Public Hearing_Revised‐1.pdf
                                                                                                      118400_08.30.2022_CBDTP_Congestion
1175⠀   AR Organization: 08 ‐ Meeting        DOT_0042223 DOT_0042655           433    9/15/2022 15:47 Pricing Public Hearing.Revised‐1.pdf




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                                                                                                    118396_08.25.2022_CBDTP_Congestion
1176⠀      AR Organization: 08 ‐ Meeting   DOT_0042656 DOT_0043014           359    9/15/2022 17:38 Pricing Public Hearing_Revised‐1.pdf

                                                                                                    118401_08.31.2022_CBDTP_Congestion
1177⠀      AR Organization: 08 ‐ Meeting   DOT_0043015 DOT_0043556           542    9/16/2022 13:31 Pricing Public Hearing_Revised‐1.pdf
                                                                                                    118397_08.27.2022_CBDTP_Congestion
1178⠀      AR Organization: 08 ‐ Meeting   DOT_0043557 DOT_0043817           261    9/16/2022 16:11 Pricing Public Hearin_Revised‐1.pdf
                                                                                                    CBDTP Regional Transportation and NYC
                                                                                                    Agency Meeting Summary DFT V1_05‐11‐
1179⠀      AR Organization: 08 ‐ Meeting   DOT_0043818 DOT_0043821             4    5/24/2023 13:11 2023.docx

                                                                                                  Central Business District Tolling Program
1180⠀      AR Organization: 08 ‐ Meeting   DOT_0043822 DOT_0043827             6 10/10/2023 18:31 EA English Hearing Notice.pdf
1181⠀      AR Organization: 09 ‐ Report    DOT_0043828 DOT_0044081           254 11/22/2010 11:11 ohd‐final‐report.pdf
                                                                                                  Managing the NEPA process for Toll Lanes
1182⠀      AR Organization: 09 ‐ Report    DOT_0044082 DOT_0044098            17 8/23/2016 14:57 and Toll Roads 8‐16.pdf                    Planning & Environment
1183⠀      AR Organization: 09 ‐ Report    DOT_0044099 DOT_0044149            51   4/3/2019 16:12 truck‐deliveries‐ll189.pdf
1184⠀      AR Organization: 09 ‐ Report    DOT_0044150 DOT_0044151             2 4/25/2019 17:54 CBD_Tolling_Program_Handout.pdf
1185⠀      AR Organization: 09 ‐ Report    DOT_0044152 DOT_0044234            83 6/16/2015 16:33 Final_SOA_061515.pdf
                                                                                                  SOP_Construction_Assessment_Monitorin
                                                                                                  g_Program_‐
1186⠀      AR Organization: 09 ‐ Report    DOT_0044235 DOT_0044268            34 6/16/2015 16:33 _December_2018_FINAL_SIGNED.pdf
                                                                                                  NYMTC.2017_Hub‐Bound‐
1187⠀      AR Organization: 09 ‐ Report    DOT_0044269 DOT_0044398           130   8/15/2019 7:19 August_15_2019.pdf
1188⠀      AR Organization: 09 ‐ Report    DOT_0044399 DOT_0044638           240   9/30/2019 9:10 MTA 2020‐2024 Capital Program.pdf

                                                                                                    CBDTP_Appendix_A_‐
1189⠀      AR Organization: 09 ‐ Report    DOT_0044639 DOT_0044641             3    1/27/2020 14:33 _Summary_of_BPM_FIN_v3_01‐27‐20.pdf

1190⠀      AR Organization: 09 ‐ Report    DOT_0044642 DOT_0044660            19    5/10/2021 12:06 CBDTP SEMP DFT v6 5‐7‐21 to FHWA.pdf
                                                                                                    TTspPsear2019Update_Final_5‐22‐           New York City Sub‐Regional ITS
1191⠀      AR Organization: 09 ‐ Report    DOT_0044661 DOT_0044734            74     12/1/2021 4:55 2020_V5_20210722.pdf                      Architecture
                                                                                                    CBDTP Draft Prop Final Finding            Section 106 Finding Documentation Draft
1192⠀      AR Organization: 09 ‐ Report    DOT_0044735 DOT_0044804            70    4/12/2022 10:48 Documentation_ Att 3.pdf                  (Proposed Final) VOL 2

                                                                                                    Practioner's_Handbook__2__Responding_t
                                                                                                    o_Comments_on_an_Environmental_Impa
1193⠀      AR Organization: 09 ‐ Report    DOT_0044805 DOT_0044817            13    9/29/2022 10:39 ct_Statement_(August_2016).pdf
                                                                                                    Practioner's_Handbook__3__Managing_th
                                                                                                    e_NEPA_Process_for_Toll_Lanes_and_Toll
1194⠀      AR Organization: 09 ‐ Report    DOT_0044818 DOT_0044834            17    9/29/2022 10:39 _Roads_(August_2016).pdf

                                                                                                    ANALYSIS_OF_BPMY2012_UPDATE_HIGH
                                                                                                    WAY_VOLUME_VALIDATION_AT_NYC_CRO
1195⠀      AR Organization: 09 ‐ Report    DOT_0044835 DOT_0044867            33    3/16/2023 13:40 SSINGS_paul_balmacund_sept_2022.pdf


                                                                                                                                              This EPA guidance document describes
                                                                                                                                              how transportation conformity
                                                                                                                                              determinations are done in areas where
                                                                                                                                              multiple metropolitan planning
                                                                                                                                              organizations (MPOs), states, and/or
                                                                                                                                              other agencies have jurisdiction in a
                                                                                                    20120701_otaq_epa‐420_b‐12‐               nonattainment or maintenance area,
                                                                                                    046_guidance_multi‐                       covering both existing and future areas.
    1196                                   DOT_0044868 DOT_0044921            54     7/23/2013 9:26 jurisdictional_transport_conformity.pdf   (EPA publication # EPA‐420‐B‐12‐046)
                                                                                                    FW_ CBDTP Agency Invitation Letter ‐      FW: CBDTP Agency Invitation Letter ‐     "Price, Anna (FHWA)"
    1197                                   DOT_0044922 DOT_0044925             4     9/9/2021 14:38 Diane Gutierrez‐Scaccetti.msg             Diane Gutierrez‐Scaccetti                <anna.price@dot.gov>   "Marquis, Rick (FHWA)" <Rick.Marquis@dot.gov>




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                                                                                     CBDTP_‐
                                                                                     _Community_Impact_Assessment_in_EA_
                                                                                     Response_DFT_v3_2021‐09‐
    1198                     DOT_0044926 DOT_0044930           5      9/9/2021 18:17 09_CLEAN.docx



                                                                                                                                                                                                                                                       "Patel, Munnesh R (DOT)" <Munnesh.Patel@dot.ny.gov>,
                                                                                                                                                                                                                                                       "Afshar, Ali (DOT‐CONSULTANT)" <Ali.Afshar@dot.ny.gov>,
                                                                                                                                                                                                                                                       "Buffamonte, Joseph (DOT)"
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                                                                                                                                                                                                    <Debra.Nelson@dot.ny.gov>, "Byrne, Mary (DOT)" <Terry.Smith@dot.ny.gov>, "Hill, Jonathan (DOT)"
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                                                                                                                                                                                                    "cbauer@cdtcmpo.org" <cbauer@cdtcmpo.org>,         <Uchenna.Madu@dot.ny.gov>, "Jobson, Sandra (DOT)"
                                                                                                                                                                                                    Chaim Simon <csimon@cdtcmpo.org>, Aaron            <Sandra.Jobson@dot.ny.gov>, "Wichser, Greg (DOT)"
                                                                                                                                                                                                    Frankenfeld <aaron@agftc.org>,                     <Greg.Wichser@dot.ny.gov>, "Kleinberg, Joel A (DOT)"
                                                                                                                                                                                                    "JStack@gtcmpo.org" <JStack@gtcmpo.org>,           <Joel.Kleinberg@dot.ny.gov>, "Windecker, Deborah (DOT)"
                                                                                                                                                                                                    "akone@gtcmpo.org" <akone@gtcmpo.org>, "Reff, <Deborah.Windecker@dot.ny.gov>, "Eshbaugh, Pam (DOT)"
                                                                                                                                                                                                    Kristopher H. (DOT)" <Kristopher.Reff@dot.ny.gov>, <Pam.Eshbaugh@dot.ny.gov>, "Heyboer, Sharon (DOT)"
                                                                                                                                                                                                    "rguarino@gbnrtc.org" <rguarino@gbnrtc.org>,       <Sharon.Heyboer@dot.ny.gov>, "DeRocco, Mark (DOT)"
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                                                                                                                                                                                                    "Mani, Gautam (FHWA)" <gautam.mani@dot.gov>, <AFOLABI.AIYEDUN@dot.ny.gov>, "Cross, Bryan (DOT)"
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                                                                                                                                                                                                    "laurita.matthew@epa.gov"                          <Ronald.Shaffer@dot.ny.gov>, "Price, Anna (FHWA)"
                                                                                                                                                                                                    <laurita.matthew@epa.gov>, "Sheehan, Michael P <anna.price@dot.gov>, "Neerackal, George (DOT)"
                                                                                     Air Quality Conformity ICG meeting notes   Air Quality Conformity ICG meeting   "Lentlie, Patrick (DOT)"       (DEC)" <michael.sheehan@dec.ny.gov>, "Black, Lily" <George.Neerackal@dot.ny.gov>, "Kochersberger, Carl R.
    1199                     DOT_0044931 DOT_0044932           2     2/14/2022 14:12 February 9 2022.msg                        notes: February 9, 2022              <Patrick.Lentlie@dot.ny.gov>   <Black.Lily@epa.gov>                               (DOT)" <Carl.Kochersberger@dot.ny.gov>
    1200                     DOT_0044933 DOT_0044936           4     2/14/2022 14:08 Air_Quality_ICG_Notes_2‐9‐2022.docx

                                                                                                                        Pre‐Draft Environmental Assessment –
                                                                                     CBDTP‐Pre‐Draft_EA‐                Central Business District Tolling Program,
    1201                     DOT_0044937 DOT_0044945           9      4/1/2022 15:13 EPA_Comment_Letter_031022.pdf      New York, NY (CBDTP)
                                                                                     CBDTP_ICG_Meeting_DRAFT_v12_041820
    1202                     DOT_0044946 DOT_0044958           13    4/18/2022 17:22 22.pptx




                                                                                                                                                                                                    "Lentlie, Patrick (DOT)"
                                                                                                                                                                                                    <Patrick.Lentlie@dot.ny.gov>, "Sheehan, Michael P
                                                                                                                                                                                                    (DEC)" <michael.sheehan@dec.ny.gov>,               "Smith, Terry (DOT)" <Terry.Smith@dot.ny.gov>, "Leslie,
                                                                                                                                                                                                    "gautam.mani@dot.gov" <gautam.mani@dot.gov>, Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>, "Nelson,
                                                                                                                                                                                                    "anna.price@dot.gov" <anna.price@dot.gov>,         Debra (DOT)" <Debra.Nelson@dot.ny.gov>, "Neerackal,
                                                                                                                                                                                                    "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, George (DOT)" <George.Neerackal@dot.ny.gov>,
                                                                                     RE_ CBDTP Air Quality ICG Meeting_                                                                             "Black, Lily" <Black.Lily@epa.gov>, "Burns, Donald "Nierenberg, Daniel R (DOT)"
                                                                                     Presentation and proposed methodology      RE: CBDTP Air Quality ICG Meeting:    "Laurita, Matthew"            (FTA)" <Donald.Burns@dot.gov>, "Anukwe, Uzoma <Daniel.Nierenberg@dot.ny.gov>, "Savage, Laura E (DOT)"
    1203                     DOT_0044959 DOT_0044960           2      4/22/2022 7:56 (76).msg                                   Presentation and proposed methodology <Laurita.Matthew@epa.gov>     (FTA)" <uzoma.anukwe@dot.gov>                      <Laura.Savage@dot.ny.gov>




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                                                                                                                                                                                                 "Lentlie, Patrick (DOT)"
                                                                                                                                                                                                 <Patrick.Lentlie@dot.ny.gov>, "Sheehan, Michael P "Smith, Terry (DOT)" <Terry.Smith@dot.ny.gov>, "Leslie,
                                                                                                                                                                                                 (DEC)" <michael.sheehan@dec.ny.gov>, "Mani,         Catherine S. (DOT)" <Catherine.Leslie@dot.ny.gov>, "Nelson,
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                                                                                                                                                                                                 Anna (FHWA)" <anna.price@dot.gov>, "Moser,          George (DOT)" <George.Neerackal@dot.ny.gov>, "Laurita,
                                                                                    RE_ CBDTP Air Quality ICG Meeting_                                                                           Daniel (FTA)" <daniel.moser@dot.gov>, "Black, Lily" Matthew" <Laurita.Matthew@epa.gov>, "Nierenberg, Daniel
                                                                                    Presentation and proposed methodology   RE: CBDTP Air Quality ICG Meeting:    "Burns, Donald (FTA)"          <Black.Lily@epa.gov>, "Anukwe, Uzoma (FTA)"         R (DOT)" <Daniel.Nierenberg@dot.ny.gov>, "Savage, Laura E
    1204                     DOT_0044961 DOT_0044962           2    4/22/2022 14:55 (75).msg                                Presentation and proposed methodology <Donald.Burns@dot.gov>         <uzoma.anukwe@dot.gov>                              (DOT)" <Laura.Savage@dot.ny.gov>




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                                                                                                                                                                                                 "Daniel.moser@dot.gov" <daniel.moser@dot.gov>, George (DOT)" <George.Neerackal@dot.ny.gov>,
                                                                                    RE_ CBDTP Air Quality ICG Meeting_                                                                           "Black, Lily" <Black.Lily@epa.gov>, "Burns, Donald "Nierenberg, Daniel R (DOT)"
                                                                                    Presentation and proposed methodology   RE: CBDTP Air Quality ICG Meeting:    "Sheehan, Michael P (DEC)"     (FTA)" <Donald.Burns@dot.gov>, "Anukwe, Uzoma <Daniel.Nierenberg@dot.ny.gov>, "Savage, Laura E (DOT)"
    1205                     DOT_0044963 DOT_0044965           3    4/22/2022 18:02 (74).msg                                Presentation and proposed methodology <michael.sheehan@dec.ny.gov>   (FTA)" <uzoma.anukwe@dot.gov>                      <Laura.Savage@dot.ny.gov>


                                                                                                                                                                                                                                                    "Angel, Nichola" <nangel@mtabt.org>, "Flax, Leah"
                                                                                                                                                                                                                                                    <leah.flax@mtabt.org>, "Wojnar, Michael"
                                                                                                                                                                                                                                                    <mwojnar@mtahq.org>, "Nelson, Debra (DOT)"
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                                                                                                                                                                                                                                                    <Patrick.Lentlie@dot.ny.gov>, "anna.price@dot.gov"
                                                                                                                                                                                                                                                    <anna.price@dot.gov>, "Moser, Daniel (FTA)"
                                                                                                                                                                                                                                                    <daniel.moser@dot.gov>, "Black, Lily" <Black.Lily@epa.gov>,
                                                                                                                                                                                                                                                    "Burns, Donald (FTA)" <Donald.Burns@dot.gov>, "Anukwe,
                                                                                                                                                                                                                                                    Uzoma (FTA)" <uzoma.anukwe@dot.gov>, "Smith, Terry
                                                                                                                                                                                                                                                    (DOT)" <Terry.Smith@dot.ny.gov>, "Leslie, Catherine S.
                                                                                                                                                                                                                                                    (DOT)" <Catherine.Leslie@dot.ny.gov>, "Nierenberg, Daniel R
                                                                                    Re CBDTP Air Quality ICG Meeting                                                                                                                                (DOT)" <Daniel.Nierenberg@dot.ny.gov>, "Savage, Laura E
                                                                                    Presentation and proposed            Re: CBDTP Air Quality ICG Meeting:    "C. de Cerreno, Allison"          "Lentlie, Patrick (DOT)"                           (DOT)" <Laura.Savage@dot.ny.gov>, "Neerackal, George
    1206                     DOT_0044966 DOT_0044968           3    4/25/2022 14:52 methodology.msg                      Presentation and proposed methodology <allison.cdecerreno@mtahq.org>    <Patrick.Lentlie@dot.ny.gov>                       (DOT)" <George.Neerackal@dot.ny.gov>
                                                                                    CBDTP_EJ_Technical_Workshop_Agenda_P
    1207                     DOT_0044969 DOT_0044970           2     5/4/2022 20:48 art2.docx
                                                                                    CBDTP_FHWA_05‐05‐
                                                                                    22_Meeting_Summary_DFT_v4_05‐09‐
    1208                     DOT_0044971 DOT_0044974           4     5/9/2022 13:07 22.docx




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                                                                                                                                                                                                      "Nelson, Debra (DOT)"
                                                                                                                                                                                                      <Debra.Nelson@dot.ny.gov>, "Byrne, Mary (DOT)" "Heyboer, Sharon (DOT)" <Sharon.Heyboer@dot.ny.gov>,
                                                                                                                                                                                                      <Mary.Byrne@dot.ny.gov>, Mark Debald               "Smith, Terry (DOT)" <Terry.Smith@dot.ny.gov>, "Hill,
                                                                                                                                                                                                      <mdebald@dutchessny.gov>,                          Jonathan (DOT)" <Jonathan.Hill@dot.ny.gov>, "Lewis, Harriet
                                                                                                                                                                                                      "lburns@orangecountygov.com"                       (DOT)" <Harriet.Lewis@dot.ny.gov>, "Shank, Jason B (DOT)"
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                                                                                                                                                                                                      <ASorensen@orangecountygov.com>,                   <Laura.Savage@dot.ny.gov>, "Murrell, Glenn (DOT)"
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                                                                                                                                                                                                      Aaron Frankenfeld <aaron@agftc.org>,               <Uchenna.Madu@dot.ny.gov>, "Jobson, Sandra (DOT)"
                                                                                                                                                                                                      "JStack@gtcmpo.org" <JStack@gtcmpo.org>,           <Sandra.Jobson@dot.ny.gov>, "Wichser, Greg (DOT)"
                                                                                                                                                                                                      "akone@gtcmpo.org" <akone@gtcmpo.org>, "Reff, <Greg.Wichser@dot.ny.gov>, "Kleinberg, Joel A (DOT)"
                                                                                                                                                                                                      Kristopher H. (DOT)" <Kristopher.Reff@dot.ny.gov>, <Joel.Kleinberg@dot.ny.gov>, "Buffamonte, Joseph (DOT)"
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                                                                                                                                                                                                      "mgrabau@gbnrtc.org" <mgrabau@gbnrtc.org>,         (DOT)" <Deborah.Windecker@dot.ny.gov>, "Eshbaugh, Pam
                                                                                                                                                                                                      "Mani, Gautam (FHWA)" <gautam.mani@dot.gov>, (DOT)" <Pam.Eshbaugh@dot.ny.gov>, "DeRocco, Mark (DOT)"
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                                                                                                                                                                                                      <laurita.matthew@epa.gov>, "Sheehan, Michael P <Ronald.Shaffer@dot.ny.gov>, "Price, Anna (FHWA)"
                                                                                                                                                                                                      (DEC)" <michael.sheehan@dec.ny.gov>, "Black, Lily" <anna.price@dot.gov>, "Neerackal, George (DOT)"
                                                                                     Air Quality ICG April 13 2022 Meeting   Air Quality ICG: April 13, 2022 Meeting   "Lentlie, Patrick (DOT)"       <Black.Lily@epa.gov>, "Price, Anna (FHWA)"         <George.Neerackal@dot.ny.gov>, "Long, Stephanie (DOT)"
    1209                     DOT_0044975 DOT_0044976            2    5/13/2022 11:05 Notes.msg                               Notes                                     <Patrick.Lentlie@dot.ny.gov>   <anna.price@dot.gov>                               <Stephanie.Long@dot.ny.gov>

    1210                     DOT_0044977 DOT_0044979            3  5/13/2022 11:04 Air_Quality_ICG_Notes_4‐13‐2022.docx
                                                                                   CBDTP_FHWA_05‐06‐
                                                                                   22_Meeting_Summary_DFT_v3_05‐10‐
    1211                     DOT_0044980 DOT_0044984            5 5/13/2022 15:10 22_clean.docx
                                                                                   CBDTP_Range_of_Potential_Effects_DFT_v
    1212                     DOT_0044985 DOT_0045014           30 5/20/2022 17:54 1_05‐20‐22.pptx
                                                                                   FW_ Poverty Threshold for Congestion      FW: Poverty Threshold for Congestion      "Gavin, James (FHWA)"          "Carter, Lee Ellen (FHWA)"
    1213                     DOT_0045015 DOT_0045016            2    6/2/2022 9:59 Pricing.msg                               Pricing                                   <james.gavin@dot.gov>          <lee.ellen.carter@dot.gov>
                                                                                   CBDTP_FHWA_05‐09‐
                                                                                   22_Meeting_Summary_DFT_v3_05‐13‐
    1214                     DOT_0045017 DOT_0045018            2 5/17/2022 18:49 22_clean_refLF.docx
                                                                                   CBDTP_07‐19‐
                                                                                   22_Working_Session_Meeting_Summary_f
    1215                     DOT_0045019 DOT_0045023            5   8/29/2022 9:50 inV1_082922.docx
                                                                                   Draft_Environmental_Assessment‐
                                                                                   _Central_Business_District_Tolling_Progra
    1216                     DOT_0045024 DOT_0045035           12 9/22/2022 18:05 m,_New_York,_NY_.pdf
                                                                                   OCTC Air Quality Conformity
                                                                                   Determination_SIGNED RESOLUTION
    1217                     DOT_0045036 DOT_0045061           26 10/11/2022 14:58 FINAL.pdf

                                                                                     FINAL_PONA_1997_Ozone_Conformity_De FINAL PONA Conformity Determination
    1218                     DOT_0045062 DOT_0045078           17    10/14/2022 9:12 termination_101322_FINAL.pdf          Statement (Summer 2022)
                                                                                     Approval Letter 2022_11_07 NYMTC OCTC
                                                                                     DCTC FHWA FTA AQConformity
    1219                     DOT_0045079 DOT_0045080            2     11/7/2022 8:19 Determination Ltr.pdf
                                                                                     CBDTP_10‐03‐
                                                                                     22_FHWA_and_EPA_Meeting_v5_110322.
    1220                     DOT_0045081 DOT_0045084            4     11/3/2022 8:33 docx

                                                                                   CBDTP_ejtraffichealthanalysis_proposedm
    1221                     DOT_0045085 DOT_0045087            3 11/21/2022 21:48 ethodology_dft_v10_11‐21‐22.docx
                                                                                   EPA_CBDTP_EJTechMemo_JAN_23_Comm
    1222                     DOT_0045088 DOT_0045089            2   1/4/2023 16:48 ent_Letter.pdf




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    1223                   DOT_0045090 DOT_0045328       239 1/25/2023 13:06 NYMTC Procedures MAP Forum.pdf
                                                                                                                                                              "Marquis, Rick (FHWA)"   "Carter, Lee Ellen (FHWA)"
    1224                   DOT_0045329 DOT_0045329          1   3/28/2023 16:27 CBDTP (2).msg                          CBDTP                                  <Rick.Marquis@dot.gov>   <lee.ellen.carter@dot.gov>
                                                                                                                                                                                                                                           "Vaughn‐Fair, Sharon (FHWA)" <Sharon.Vaughn‐
                                                                                FW_ CMAQ and TRU Mitigation at Hunts FW: CMAQ and TRU Mitigation at Hunts     "Marquis, Rick (FHWA)"                                                       Fair@dot.gov>, "Arnold, Robert (FHWA)"
    1225                   DOT_0045330 DOT_0045333          4    4/4/2023 14:52 Point.msg                            Point                                    <Rick.Marquis@dot.gov>   "Biondi, Emily (FHWA)" <Emily.Biondi@dot.gov>       <Robert.Arnold@dot.gov>
                                                                                CBDTP_Memo_response_to_comments.pd
    1226                   DOT_0045334 DOT_0045345         12   4/26/2023 11:25 f

                                                                                                                                                                                                                                           "Rusnak, Allison (FHWA)" <Allison.Rusnak@dot.gov>,
                                                                                                                                                                                                                                           "Walters, Joan (FHWA)" <Joan.Walters@dot.gov>, "Dean,
                                                                                                                                                                                                                                           Heather (FHWA)" <Heather.Dean@dot.gov>, "Sosa, Mayela
                                                                                                                                                                                                                                           (FHWA)" <Mayela.Sosa@dot.gov>, "Santiago, Damaris
                                                                                                                                                                                                                                           (FHWA)" <Damaris.Santiago@dot.gov>, "Clark, Robert
                                                                                                                                                                                       "Lynch, Michael (FHWA)"                             (FHWA)" <Robert.Clark@dot.gov>, "Fleury, Nicolle (FHWA)"
                                                                                RE_ Congestion Pricing Call with Gov                                                                   <michael.lynch@dot.gov>, "FHWA‐OfficialBrief        <Nicolle.Fleury@dot.gov>, "Vaughn‐Fair, Sharon (FHWA)"
                                                                                Murphy Background Materials Request    RE: Congestion Pricing Call with Gov   "Marquis, Rick (FHWA)"   (FHWA)" <FHWA‐Official.Brief@dot.gov>, "Biondi,     <Sharon.Vaughn‐Fair@dot.gov>, "Turner, Derrell (FHWA)"
    1227                   DOT_0045346 DOT_0045350          5   5/26/2023 15:02 (5).msg                                Murphy Background Materials Request    <Rick.Marquis@dot.gov>   Emily (FHWA)" <Emily.Biondi@dot.gov>                <Derrell.Turner@dot.gov>

                                                                                New_Jersey_Comments_on_CBDTP_Draft_
    1228                   DOT_0045351 DOT_0045365         15   6/12/2023 16:29 FONSI_and_Final_EA_2023.06.12.pdf

                                                                                CBDTP‐ EPA's review of Final EA                                                                                                                            Nick Choubah; C. de Cerreno, Allison; Pavlik, Monica (FHWA);
    1229                   DOT_0045366 DOT_0045367          2   11/8/2023 15:44 3.15.23(763379.1).pdf                  CBDTP‐ EPA"s final review              Garcia, Lisa             rick.marquis@dot.gov                                wcarry@dot.nyc.gov; Glenn, Olivia; Mugdan, Walter




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                                                                                                                                                                                       reisenstPpanynj.gov; Siegel, Beth
                                                                                                                                                                                       <bsieaelPpanvnj.gov>; jburkharPpanynj.gov;          C. de Cerreno, Allison <allison.cdecerrenoPmtahq.orp;
                                                                                                                                                                                       dmcshanePpanynj.gov; jchiuPpanynj.gov; Wong,        Schreibman, Lisa <Lisa.SchreibmanPnyct.com>; Krantz, Jay
                                                                                                                                                                                       Gregory B. <gwongPpanynj.gov>;                      <Jay.KrantzPnyct.com>; Wojnar, Michael
                                                                                                                                                                                       mdiculesPpanvnj.gov; Kriegel, Russell               <mwojnarl@mtahq.org>; Lennon, Lawrence
                                                                                                                                                                                       <rkriegelPpanvnj.gov>; Safer, Mathew A.             <Lawrence.LennonPmtacd.org>; Desantis, Romolo
                                                                                                                                                                                       (CCAPMAS) <MSaferPnjtransit.com>; Kearns, Alan      <Romolo.DesantisPmtacd.org>; Ian McNamara
                                                                                                                       RE: CBDTP‐PANYNJ/NJT on Hoboken                                 D. (CCAPADK) <AKearnsPnjtransit.com>; Viqueira,     <ian.mcnamaraPwsp.com>; mark.walkerPwsb.com; Hannah
    1230                   DOT_0045368 DOT_0045371          4 11/14/2023 12:30 Hoboken Meeting Follow‐up.pdf           Follow up                              Angel, Nichola           William (CFINWXV) <WViaueiraPnjtransit,com>         Brockhaus <hbrockhausPfhistudio.com>
                                                                               2022 NYMTC Conformity
    1231                   DOT_0045372 DOT_0045429         58 11/14/2023 17:48 Determination.pdf




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